                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                 )
    In re:                                                       )        Chapter 11
                                                                 )
    GALLERIA 2425 OWNER, LLC,                                    )
                                                                 )        Case No. 23-34815
                               Debtor.                           )
                                                                 )

    TRUSTEE’S OMNIBUS REPLY TO RESPONSES TO OBJECTIONS TO CLAIM OF
                               INSIDERS

             Christopher R. Murray, the chapter 11 trustee (the “Trustee”) in the above-captioned

chapter 11 case, hereby replies as follows to the (a) Response to Trustee’s Claim No. 7 of 2425

WL, LLC [ECF No. 595] (the “Claim No. 7 Response”), (b) Response to Trustee’s Omnibus

Objection to Claims No. 21 and 22 of Ali Choudhri as to Claim No. 21 (Tax Liens) [ECF No. 591]

(the “Claim No. 21 Response”); Response to Trustee’s Omnibus Objection to Claim Nos. 21 and

22 of Ali Choudhri as to Claim No. 22 (Reimbursement) [ECF No. 592] (the “Claim No. 22

Response”); (c) Response to Trustee’s Omnibus Objection to Claim Nos. 23 and 24 of Jetall

Capital, LLC as to Claim No. 23 (Tenant Improvement Allowance) [ECF No. 593] (the “Claim

No. 23 Response”); and (d) Response to Trustee’s Omnibus Objection to Claim Nos. 23 and 24 of

Jetall Capital, LLC as to Claim No. 24 (the “Claim No. 24 Response”):

                                        PRELIMINARY STATEMENT1

             1.     The Trustee objected to various proofs of claim filed by 2425 WL LLC, Ali

Choudhri and Jetall Capital on June 3, 2024. These entities, represented by a single attorney, filed

responses to the Trustee’s objections to claim on July 3, 2024. Because of the overlap in certain




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    Capitalized used but not defined in this section have the meanings ascribed to them in other sections of this reply.



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issues, and for ease of reference for the Court and opposing counsel, the Trustee replies to the

responses together.

       2.      Each of the Trustee’s objections should be sustained. As set out below, the

presumption of validity has been rebutted with respect to each of the asserted claims. Claim No. 7

(2425 WL LLC) and Claim No. 21 (Choudhri—Tax Loan Claim) are facially unsupportable based

on the pleadings. Claim No. 23 (Jetall Capital—Lease Claim) and Claim No. 24 (Jetall Capital—

Management Leasing Agreement Claim) fail to meet the requirements of Bankruptcy Rule

3001(c)(1), are inconsistent with Debtor’s schedules, and it is Jetall Companies that is the correct

counterparty to the relevant agreements. Claim No. 22 (Choudhri—Reimbursement Claim) has

been rebutted by the Trustee’s allegations and inconsistency between the asserted amount of the

claim and the attached documentation and should be disallowed even if advances by Choudhri are

demonstrated because the payments constitute equity contributions and were made in exchange

for personal benefits received by Choudhri. While the claimants could potentially present evidence

to meet their burden of proof with respect to Claim Nos. 22, 23, and 24 the Trustee does not believe

that any credible evidence will be adduced by the claimants.

                             OVERLAPPING/COMMON ISSUES

   A. Standard regarding rebutting the prima facie validity of proofs of claim.

       3.      Each of the responses contains a recitation regarding the prima facie validity of the

proofs of claim and the burden shifting under Bankruptcy Rule 3001(f). However, this summary

ignores that the evidence necessary to rebut the presumption depends on the evidentiary heft of

the proof of claim. In re High Standard Mfg. Co., 2016 Bankr. LEXIS 3701, at *6-7 (Bankr. S.D.

Tex. Oct. 13, 2016) (citing In re Wyly, 552 B.R. 338, 375 (Bankr. N.D. Tex. 2016)).

       4.      No evidence is necessary to rebut the presumption of validity where the proof of

claim has no evidentiary weight. This is so where the proofs of claim do not contain supporting


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documents required to be attached by Bankruptcy Rule 3001(c), e.g., Pearl Res. Operating Co.,

LLC v. Transcon Cap., LLC (In re Pearl Res. LLC), 2024 Bankr. LEXIS 405, at *21 (Bankr. S.D.

Tex. Feb. 20, 2024) or where legal arguments based upon the contents of the claim and its

supporting documents undercuts the validity of the claim, e.g., In re Tug Robert J. Bouchard Corp.,

2023 U.S. Dist. LEXIS 102356, at *6 (S.D. Tex. June 13, 2023).

        5.       Further, an objection to claim can rebut the prima facie validity of a proof of claim

with specific and detailed allegations to put the validity of the claim issue. E.g., id.; In re High

Standard Mfg. Co., 2016 Bankr. LEXIS 3701, at *7 (Bankr. S.D. Tex. Oct. 13, 2016); In re Walker,

2012 Bankr. LEXIS 2202, at *8 (Bankr. S.D. Tex. May 17, 2012) In re Goldston, 2012 Bankr.

LEXIS 35, at *8 (Bankr. S.D. Tex. Jan. 3, 2012). Among other reasons, this is because a claim

objection under Bankruptcy Local Rule 3007-1(a) requires an affidavit or declaration that has the

effect of putting the objection on the same evidentiary basis as the proof of claim.2 Ultimately, the

question is whether there is a true dispute. Collier on Bankruptcy ¶ 3001.09[2].

        6.       As more fully set out below, the Trustee’s claim objections have rebutted the

presumption of validity provided by Bankruptcy Rule 3001(f) for each of the respective claims.

The ultimate burden to establish the validity of the claims by the preponderance of the evidence

therefore rests with the claimants. In re Tug Robert J. Bouchard Corp., 2023 U.S. Dist. LEXIS

102356, at *6. The Trustee does not believe that the claimants will be able to meet this burden

because the claims are not valid.

    B. Application of the adversary rules.

        7.       In the Claim No. 7 Response and Claim No. 21 Response, 2425 WL LLC and

Choudhri respectively assert that the Trustee’s objections amount to adversary proceedings under


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 Bankruptcy Local Rule 3007-1 requires an affidavit but 28 U.S. Code § 1746 provides that a declaration suffices
when a rule made pursuant to law requires an affidavit.


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Bankruptcy Rule 7001(1) & (9). Bankruptcy Rule 7001(1) provides that a proceeding to recover

money or property, with some exceptions, is an adversary proceeding. Bankruptcy Rule 7001(9)

provides that a proceeding to obtain declaratory judgment with respect to any other matter

constituting an adversary proceeding is an adversary proceeding. Neither of those is applicable to

any of the Trustee’s objections to claim.

        8.       Bankruptcy Rule 7001(2) would be a better fit for the claimants’ arguments but also

does not apply. According to Bankruptcy Rule 7001(2), a proceeding to determine the validity,

priority, or extent of a lien or other interest in property, with certain exceptions, is an adversary

proceeding. But the Trustee is not seeking any determinations of the validity, priority, or extent of

a lien or other interest through the claim objections. Rather, the Trustee challenges the underlying

right to payment (i.e., the claim) purportedly secured by the asserted liens.

        9.       While Bankruptcy Rule 9014(c) authorizes courts to apply the adversary rules to

contested matters, the claimants have not requested that relief and it is not necessary here. Several

of the adversary rules already apply to contested matters under Bankruptcy Rule 9014(c) and

Bankruptcy Local Rule 9013-1(g).3 The procedure under the Bankruptcy Rules for contested

matters is sufficient.

    C. Effect of this Court’s prior orders and confirmation of the plan.

        10.      Each of the responses contains a section regarding the effect of the confirmation of

the Chapter 11 Plan of Liquidation of the Debtor by National Bank of Kuwait S.A.K.P., New York

Branch (the “Plan”). According to the claimants, the Plan and the Court’s order [ECF No. 566]

confirming the Plan (the “Confirmation Order”) do not have any res judicata or collateral estoppel



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 Bankruptcy Rule 9014(c) provides that Bankruptcy Rules 7009, 7017, 7021, 7025, 7026, 7028–7037, 7041, 7042,
7052, 7054–7056, 7064, 7069, and 7071 apply in contested matters. Bankruptcy Local Rule 9013-1(g) provides that
Bankruptcy Rule 7008 applies in contested matters.


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effect because the Confirmation Order is subject to an appeal and the effective date and substantial

consummation of the Plan have not yet occurred.

        11.    It is not clear how the Plan or Confirmation Order would bolster the Trustee’s claim

objections, and there are other reasons to disallow the relevant claims. To the extent it matters,

however, the Court’s orders are entitled to collateral estoppel notwithstanding any pending appeal.

Medliant Inc. v. Delgado, 2024 U.S. Dist. LEXIS 79535, at *13 (E.D. Tex. May 1, 2024) (“[T]he

fact that the appeal of the District of Nevada’s order remains pending does not preclude application

of the collateral estoppel doctrine.”); United States v. Safety Nat'l Cas. Corp., 782 F. Supp. 2d 420,

424 (S.D. Tex. 2011) (“The Court must follow clear Fifth Circuit precedent, and accordingly holds

that, where the prior order was based on federal law, a pending appeal of that order has no effect

on its effect as collateral estoppel.”); see also Stevens v. St. Tammany Par. Gov’t, 17 F.4th 563,

571 (5th Cir. 2021) (“Generally, ‘a judgment is entitled to preclusive effect even though an appeal

is pending.’”) (deciding the issue based on Louisiana law).

        12.    The law of the case is perhaps more relevant. The essence of the doctrine is that

when a court decides a legal issue in a case, the decision should continue to govern the same issue

in subsequent stages of the case. In re Pilgrim's Pride Corp., 442 B.R. 522, 529 (Bankr. N.D. Tex.

2010) (quoting Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988)). In a

bankruptcy proceeding, the “case” consists of all the various components of the case. See id. at

530. But the law of the case doctrine does not prevent the Court from revisiting its own decisions,

especially where the evidence is substantially different or the decision was clearly erroneous and

would work manifest injustice. See id. at 531 (quoting Royal Ins. Co. v. Quinn-L Capital Corp., 3

F.3d 877, 880 (5th Cir. 1993)). It is appropriate for the Court’s prior decisions to inform its decision

here.




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       13.     Further, the Court may consider testimony and exhibits admitted in prior hearings

in this case in determining the Trustee’s claim objections. See In re Liao, 553 B.R. 584, 587 n.1

(Bankr. S.D. Tex. 2016) (citing In re Acequia, Inc., 787 F.2d 1352, 1358-59 (9th Cir. 1986); Credit

Alliance Corp. v. Idaho Asphalt Supply, Inc. (In re Blumer), 95 B.R. 143, 146 (B.A.P. 9th Cir.

1988)). The Court is not required to evaluate the Trustee’s claim objections in a vacuum even if it

does not apply collateral estoppel or rely on the law of the case in reaching its decisions.

                         REPLY TO THE CLAIM NO. 7 RESPONSE

       14.     2425 WL LLC filed proof of claim no. 7 on March 21, 2024, and an amended proof

of claim on June 28, 2024 (as amended, “Claim No. 7”). In Claim No. 7, 2425 WL LLC asserts a

claim on account of a purported note dated May 23, 20218, in the original amount of

$14,780,332.38 that is secured by a deed of trust also dated May 23, 2018. A copy of the purported

note, the deed of trust, and the settlement statement related to the May 23, 2018, sale and financing

transaction are attached to the amended version of Claim No. 7.

       15.     The Trustee filed an objection to Claim No. 7 [ECF No. 402] (the “Claim No. 7

Objection”) on June 3, 2024. The basis of the Trustee’s objection is that (a) the promissory note is

unenforceable (i) due to a lack of consideration or (ii) because Ali Choudhri (“Choudhri”) lacked

authority to bind the Debtor at the time the note was executed and (b) the doctrine of quasi-estoppel

should prevent 2425 WL LLC from asserting that the “Seller Credit to Buyer” was actually an

undisclosed loan. The Claim No. 7 Objection contained detailed allegations supported by twelve

(12) exhibits thereto and legal arguments supported by citations to relevant authority.

       16.     2425 WL LLC filed the Claim No. 7 Response on July 3, 2024. 2425 WL LLC’s

response on the merits consisted of nothing more than general statements that (a) considering the

note, deed of trust, and settlement statement, the note and lien are valid, (b) a delay in recording




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the deed of trust does not render the transaction void or fraudulent, and (c) the evidence at trial

will prove that the transaction was an arms-length, valid transaction. Additionally, 2425 WL LLC

asserts that the Trustee’s objection is an adversary proceeding and the Trustee lacks standing to

object to Claim No. 7.

       17.     For the reasons set out below and in the Claim No. 7 Objection, the Trustee’s

objection to Claim No. 7 should be sustained. The Trustee clearly has standing and authority to

pursue objections to claim and the Trustee’s objection to Claim No. 7 does not constitute an

adversary proceeding. The Trustee has also rebutted the prima facie validity of Claim No. 7

through the detailed allegations in the Claim No. 7 Objection supported by the attached documents,

and 2425 WL LLC should be prohibited from presenting any evidence that would have been

responsive to the Trustee’s discovery requests on 2425 WL LLC. There is no possible way for

2425 WL LLC to prove that Claim No. 7 reflects “an arms-length, valid transaction.”

   A. The Trustee has standing and may pursue an objection to Claim No. 7.

       18.     2425 WL LLC asserts that the estate has no liability on Claim No. 7 and therefore

the Trustee has no standing to object. (Claim No. 7 Response ¶ 4). If so, the lack of liability of the

Debtor or property of the Debtor would be grounds for the Claim No. 7 Objection to be sustained.

See 11 U.S.C. § 502(b)(1) (providing that claims that are unenforceable against a debtor and

property of the debtor should be disallowed).

       19.     To the extent that Claim No. 7 represents a claim that would be enforceable against

the Debtor or the property of the Debtor according to its terms, however, the Trustee has standing

to pursue an objection to the claim. As 2425 WL LLC itself has successfully argued in this case

[ECF Nos. 312, 321], any party in interest may object to a claim. See 11 U.S.C. § 502(a). The

Trustee is a party in interest and can raise any issue in this chapter 11 case. See 11 U.S.C. § 1109(b)

(“A party in interest, including . . . the trustee . . . may raise and may appear and be heard on any


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issue in a case under this chapter.”). Moreover, among the Trustee’s duties in this case is to

examine proofs of claim and object to the allowance of any claim that is improper. 11 U.S.C. §§

704(a)(5) & 1106(a)(1).

   B. The Trustee’s objection to Claim No. 7 is not an adversary proceeding.

       20.     2425 WL LLC asserts that the Trustee’s objection to Claim No. 7 involves

determination of the validity and enforceability of 2425 WL LLC’s deed of trust lien and therefore

is an adversary proceeding. (Claim No. 7 Response ¶ 3). That mischaracterizes the Claim No. 7

Objection.

       21.     While 2425 WL LLC’s asserted lien could likely be challenged successfully, the

Claim No. 7 Objection does not seek a determination of the validity, priority, or extent of the lien.

Rather, the Trustee’s objection to Claim No. 7 challenges the underlying claim—i.e., the right to

payment, see 11 U.S.C. 101(5)—that the lien purportedly secures on three grounds: (1) The

promissory note is unenforceable due to lack of consideration; (2) If the promissory note was

executed in 2018, the note is additionally unenforceable because Choudhri lacked apparent or

actual authority at that time to bind the Debtor in connection with the note; and (3) Equitable

estoppel should prevent 2425 WL LLC from asserting the $14,730,332.38 reduction in the amount

due to 2425 WL LLC in connection with the sale of the the property was for a loan instead of a

“Seller Credit to Buyer,” as reflected in the settlement statement executed by 2425 WL LLC. This

does not constitute an adversary proceeding. See, e.g., In re Concepts Am., Inc., 621 B.R. 848, 854

(Bankr. N.D. Ill. 2020) (collecting cases); In re Anderson, 330 B.R. 180, 188 (Bankr. S.D. Tex.

2005) (holding that challenges that do not go to the existence or legitimacy of the lien itself do not

require an adversary proceeding).

       22.     The Trustee’s Claim No. 7 Objection references the irregularities in the 2425 WL

LLC deed of trust only to demonstrate that the promissory note was likely invented in 2021, rather


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than May 23, 2018. The note indicates that the deed of trust already exists and incorporates terms

thereof. (Claim No. 7 at p. 5). The deed of trust purports that it is dated May 23, 2018, but that is

contradicted by the jurat indicating that it was executed in 2021. (Claim No. 7 at pp. 9, 16). And it

is undisputed that the deed of trust was filed in 2021 (Claim No. 7 at pp. 9, 22). While the note

would still be unenforceable even if it was created in 2018, the lack of consideration is even more

obvious if it was created in 2021.

    C. The Trustee has rebutted the prima facie validity of Claim No. 7.

         23.      The Claim No. 7 Response describes the prima facie validity of proofs of claim and

the burden shifting process. (Claim No. 7 Response ¶ 5). Here, the prima facie validity of the Claim

No. 7 has been rebutted by the detailed allegations of the Claim No. 7 Objection, the supporting

documents thereto, the arguments regarding the documents attached to Claim No. 7, and other

evidence in this chapter 11 case. The validity of Claim No. 7 has been brought into question and

2425 WL LLC has the burden establish the validity of the claim by the preponderance of the

evidence.

         24.      The documents attached to Claim No. 7 (as amended) support the Trustee’s

objection. The settlement statement indicates that the reduced purchase price was a “Seller Credit

to Buyer.” (Claim No. 7 at p. 23). A seller credit has the effect of lowering the amount owed by

the Buyer. See Johnson v. Kacimi, 2024 Del. C.P. LEXIS 13, *1-*4 (describing the mechanism of

a seller credit in a real estate transaction). A loan from the seller would be indicated on lines 204-

209 of the HUD-1 Settlement Statement. See https://www.consumerfinance.gov/rules-

policy/regulations/1024/2017-10-19/a/.4 Further, the discrepancy regarding the date of the deed of



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  While the May 23, 2018, transaction was not required to use a HUD-1 Settlement Statement under the relevant
regulations, the instructions are nevertheless relevant to understanding what the settlement statement attached to Claim
No. 7 shows.


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trust—purportedly of even date with the promissory note—is apparent in the jurat.5 (See Claim

No. 7 at p. 16). At a minimum, the inconsistencies in the documents attached to Claim No. 7 rebut

the presumption of validity in connection with the Trustee’s allegations.

         25.      Other evidence already in the record in this chapter 11 case also supports the

Trustee’s objection. Several documents related to the May 23, 2018, sale of the real property from

2425 WL LLC to the Debtor and the related financing are already in the record, including the loan

agreement [ECF Nos. 87-2, 501-10] between the Debtor and the National Bank of Kuwait

(“NBK”),6 the note [ECF Nos. 143-7, 501-12] issued by the Debtor to NBK pursuant to the loan

agreement,7 the deed of trust delivered by the Debtor to NBK [ECF Nos. 143-8, 501-11],8 and the

assignment of leases and rents delivered by the Debtor to NBK [ECF No. 143-9].9 Each of these

documents was dated May 23, 2018, and related to the sale of the real property and attendant

financing but was not executed by Choudhri on behalf of the Debtor. They were each executed by

Azeemeh Zaheer as managing member of Naissance Capital Real Estate, LLC, in turn as managing

member of Galleria 2425 JV, LLC, and in turn sole member of the Debtor. When coupled with the

Trustee’s allegations, they are sufficient to rebut the presumption of validity of Claim No. 7.




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 While the jurat technically indicates the date that the deed of trust was acknowledged rather than executed, the rest
of the document demonstrates that the jurat was authored contemporaneously. The year 2021 was typed in to the
document and the document control number at the bottom is consistent throughout.
6
 The loan agreement between the Debtor and NBK at ECF No. 87-2 was admitted into evidence at the January 31,
2024, hearing. (Courtroom Minutes, ECF No. 97). The loan agreement was also reflected at ECF No. 501-10 and
admitted into evidence at the June 19, 2024, hearing. (Courtroom Minutes, ECF No. 549).
7
  The note issued by the Debtor to NBK at ECF No. 143-7 was admitted into evidence at the March 22, 2024, hearing.
(Courtroom Minutes, ECF. No. 153). The note was also reflected at ECF No. 501-12 and admitted into evidence at
the June 19, 2024, hearing. (Courtroom Minutes, ECF No. 549).
8
  The deed of trust granted by the Debtor to NBK at ECF No. 143-8 was admitted into evidence at the March 22, 2024,
hearing. (Courtroom Minutes, ECF No. 153). The deed of trust was also reflected at ECF No. 501-11 and admitted
into evidence at the June 19, 2024, hearing. (Courtroom Minutes, ECF No. 549).
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  The assignment of rents and leases granted by the Debtor to NBK at ECF No. 143-9 was admitted into evidence at
the March 22, 2024, hearing. (Courtroom Minutes, ECF No. 153).


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       D. 2425 WL LLC should be estopped from presenting contrary evidence responsive to
          the Trustee’s discovery requests.

           26.      The Trustee sought discovery from 2425 WL LLC regarding the issues surrounding

the Claim No. 7 Objection but 2425 WL LLC has provided no documents and refused to make a

corporate representative available. The Trustee served a Notice of Deposition and Subpoena Duces

Tecum on 2425 WL LLC and other parties in interest in the case on May 21, 2024. The original

date of the deposition was scheduled for June 11, 2024, with a deadline to provide documents of

June 7, 2024. The deadline for 2425 WL LLC to provide responsive documents was extended by

agreement to June 13, 2024. However, the documents were not produced. All of this is already

demonstrated by evidence in the record [ECF Nos. 505-1, 505-7, 505-9, 505-10, and 505-11].10

More than a month has passed and still no documents have been provided and 2425 WL LLC has

still not agreed to produce a corporate representative. 2425 WL LLC should not be allowed to

present evidence on the topics related to that refused discovery.

           27.      The Trustee’s requested discovery covered most of what might be relevant to Claim

No. 7. The Trustee’s deposition topics for 2425 WL LLC’s corporate representative included:

                2425 WL LLC’s historic ownership, organizational, and management structure (Topic
                 No. 1);

                The facts and circumstances surrounding 2425 WL LLC’s sale of the Real Property to
                 the Debtor, including any financing related thereto (Topic No. 3);

                Any distribution of funds in connection with 2425 WL LLC’s sale of the Real Property
                 to the Debtor (Topic 4);

                The Settlement Statement in connection with 2425 WL LLC’s sale of the Real Property
                 to the Debtor (Topic No. 5);

                The facts and circumstances surrounding the 2425 WL DOT, including its (a) creation,
                 (b) execution, and (c) filing (Topic No. 6);



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     These documents were admitted into evidence at the June 17, 2024, hearing. (Courtroom Minutes, ECF No. 536).


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            The facts and circumstances surrounding the 2425 WL Note, including its (a) creation,
             (b) execution, and (c) any consideration provided (Topic No. 7); and

            Any payments 2425 WL LLC received under the 2425 WL Note (Topic No. 8).

[ECF No. 505-7 at p. 10, 507-9 at p. 9]. The documents requested from 2425 WL LLC included:11

            All documents reflecting, describing, or evidencing 2425 WL LLC’s corporate
             structure and management, including but not limited to any (a) company agreement,
             (b) the membership interests in 2425 WL LLC, (c) management of 2425 WL LLC,
             and (d) the basis for Ali Choudhri to act on behalf of 2425 WL LLC (Request No. 1);

            Communications or documents referencing, describing, or evidencing the preparation
             and drafting of the 2425 WL Note (Request No. 3);

            Communications and other documents referencing, describing, or evidencing any
             consideration 2425 WL LLC provided to the Debtor in exchange for the 2425 WL
             Note (Request No. 4);

            Communications or documents referencing, describing, or evidencing any
             indebtedness of the Debtor to 2425 WL LLC prior to May 11, 2021 (Request No. 5);

            Communications or documents exchanged with Azeemah Zaheer, Naissance Capital
             Real Estate, LLC, or Galleria 2425 JV, LLC regarding the 2425 WL Note (Request
             No. 8);

            Communications or documents referencing, describing, or evidencing the distribution
             of funds from 2425 WL LLC’s sale of the Real Property to the Debtor (Request No.
             9);

            The final version and any drafts of the Settlement Statement (Request No. 10);

            Communications or documents referencing, describing, or evidencing the preparation
             of the Settlement Statement (Request No. 11);

            Communications or documents referencing, describing, or evidencing the “Seller
             Credit” indicated on the Settlement Statement (Request No. 12); and

            All communications or documents exchanged with NBK in connection wit the sale of
             the Real Property on or before May 23, 2018 (Request No. 13); and



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   The Trustee also requested copies of the 2425 WL LLC promissory note and the settlement statement for the May
23, 2018, transaction because they were not attached to the original version of Claim No. 7. While not provided in
response to the Trustee’s discovery requests, 2425 WL LLC had previously provided those documents informally and
attached them to the amended Claim No. 7. While 2425 WL LLC can certainly introduce and present arguments about
those documents, the fact is that the settlement statement does not indicate any financing from 2425 WL LLC.


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            All communications or documents exchanged with the Debtor in connection with the
             sale of the Real Property on or before May 23, 2018 (Request No. 14).

[ECF Nos. 505-7 at pp. 18-19, 505-10 at pp. 11-12].

       28.      As has been 2425 WL LLC’s typical practice in this chapter 11 case, the Trustee

anticipates that 2425 WL LLC will request additional time to comply with discovery in an effort

to delay and increase the cost of the proceedings. The Court should deny that request. Giving 2425

WL LLC additional time to meet the deadlines to which it agreed [ECF No. 505-1 at ¶ 11] would

only reward its refusal to participate in discovery with what it hoped to obtain.

   E. The Trustee’s Objection to Claim No. 7 should be sustained.

       29.      2425 WL LLC’s response to merits the Claim No. 7 Objection consisted of only

the following three sentences:




The Claim No. 7 Response does not address the Trustee’s allegations regarding the lack of

consideration or Choudhri’s lack of authority to execute the note, dispute the validity of any of the

exhibits attached to the Claim No. 7 Objection, or address the Trustee’s arguments with respect to

equitable estoppel. Instead, 2425 WL LLC asserts that the evidence will show that Choudhri acted

at arms-length with himself.

       30.      2425 WL LLC’s failure to deny or otherwise address substantively the allegations

in the Claim No. 7 Objection, or the exhibits thereto, limits the issues for a hearing. 2425 WL LLC

will not be able to establish that the promissory note from the Debtor to 2425 WL LLC executed

by Choudhri was arms-length. Choudhri dealing with himself through entities under his control at



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arms-length is a contradiction. The Court should not allow 2425 WL LLC to perform a bait and

switch and assert an alternative argument at the hearing on the Trustee’s objection to Claim No. 7.

        31.      The inability of 2425 WL LLC to establish its claim by a preponderance of the

evidence is further compounded by its failure to provide documents or testimony in response to

the Trustee’s discovery requests. Even if the Claim No. 7 Response was sufficient to raise

meaningful issues, the inability of 2425 WL LLC to present evidence on these topics because of

its failure to respond to discovery leaves nothing material for a hearing. 2425 WL LLC cannot

establish its claim by a preponderance of the evidence just based on the documents attached to

Claim No. 7. The inconsistencies therein and the other evidence in the record overwhelm the

evidentiary weight they provide.

        32.      To the extent that 2425 WL LLC is allowed to present evidence beyond what was

produced in discovery and referenced in the Claim No. 7 Response, the Court should evaluate that

evidence critically. If 2425 WL LLC submits testimony that the settlement statement is incorrect

or incomplete, the Court should require direct corroborating evidence that the 2425 WL LLC note

was known and consented to by the other parties in that transaction. Sections 5.26 and 6.1(g) of

the loan agreement between the Debtor and NBK (Claim No. 7 Objection, Ex. C, at pp. 38, 41

[ECF No. 402-5])12 provided that the Debtor represented that it had not and would not incur any

debt that was secured or evidenced by a note other than the loan from NBK. Similarly, if 2425 WL

LLC submits testimony that Choudhri was authorized to execute the 2425 WL LLC note on behalf

of the Debtor, the Court should require direct corroborating evidence that he was authorized by

Naissance Capital Real Estate, LLC (“NCRE”). As reflected in the Galleria 2425 JV Company




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   2425 WL LLC did not dispute the authenticity of the loan agreement between the Debtor and NBK attached to the
Claim No. 7 Objection and the loan agreement has been admitted into evidence previously.



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Agreement (Claim No. 7 Objection, Ex. I, at pp. 10, 29 [ECF No. 402-11]),13 NCRE was the

managing member of the Galleria 2425 JV, LLC and had the sole authority to act on behalf of the

sole member of the Debtor. There was no reason for NBK or the mezzanine lender to accept

inaccurate documents in connection with the May 23, 2018, transaction while there is every reason

for 2425 WL LLC to misrepresent what happened in response to the Trustee’s objection.

                           REPLY TO THE CLAIM NO. 21 RESPONSE14

        33.      Ali Choudhri filed proof of claim no. 21 (“Claim No. 21”) on April 9, 2024. In

Claim No. 21, Choudhri asserts a claim in the amount of $4,176,657.46 on account of tax loans

assigned to him by Caz Creek TX II, LLC (the “Caz Creek Tax Loans”). Copies of a loan

modification agreement between the Debtor and Caz Creek TX II, LLC, documents filed with the

real property records of Harris County assigning the notes, liens, and all loan documents to

Choudhri, and a breakdown of the asserted accrued interest are attached to Claim No. 21.

        34.      The Trustee filed an objection to Claim No. 21 and another claim asserted by

Choudhri [ECF No. 403] (the “Choudhri Claims Objection”) on June 3, 2024. With respect to

Claim No. 21, the Trustee asserts that Caz Creek Tax Loans have been assigned to NBK, as

reflected in the certified copy of the assignment document executed by Choudhri, notarized, and

filed in the Harris County real property records and attached to the Choudhri Claims Objection as

Exhibit A thereto [ECF No. 403-3] (the “NBK Assignment”). The NBK Assignment expressly

indicates that it is transferring “the Note, Liens, and any and all other related loan documents,

including other agreements, instruments and other collateral which evidence, secure or otherwise



13
  2425 WL LLC did not dispute the authenticity of 2425 JV Company Agreement attached to the Claim No. 7
Objection.
14
  Counsel for Choudhri has indicated an intent to withdrawal Claim No. 21. The Trustee does not oppose such a
withdrawal provided that it is a withdrawal of the underlying claim, including any corresponding scheduled claim. An
order has not yet been agreed upon at the time of the filing of this reply.


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relate to the Transferor’s right, title or interest in the Note and Liens.” The NBK Assignment also

references the Confidential Settlement Agreement, about which the Court has heard testimony and

was attached as Exhibit B to the Choudhri Claims Objection [ECF No. 403-4].

       35.     Choudhri filed the Claim No. 21 Response on July 3, 2024. On the merits, Choudhri

asserts that the Confidential Settlement Agreement required NBK to return the Caz Creek Tax

Loans to him upon the termination of the Confidential Settlement Agreement irrespective of the

reason for any breach. Choudhri does not dispute the Trustee’s factual allegations or the

authenticity of the exhibits attached to the Choudhri Claims Objection. Additionally, Choudhri

argues that the Trustee’s objection to Claim No. 21 constitutes adversary proceeding, the Trustee

lacks standing to object to Claim No. 21, the objection to claim should be consolidated with

Adversary Proceeding No. 24-03120.

       36.     For the reasons set out below and in the Choudhri Claims Objection, the Trustee’s

objection to Claim No. 21 should be sustained. The Trustee clearly has standing and authority to

pursue an objection to Claim No. 21 and the Trustee’s objection does not constitute an adversary

proceeding because it challenges the claim secured by the lien rather than the lien itself. The

Trustee has rebutted the prima facie validity of Claim No. 21 by presenting detailed allegations

and attaching a certified copy of the NBK Assignment and the Confidential Settlement Agreement.

Further, Choudhri asserts in other proceedings before this Court that the relevant obligations and

tax liens have not been assigned back by NBK, which is necessary for Choudhri to have an

enforceable claim against the Debtor and thus an allowable claim. In light of the Claim No. 21

Response and Choudhri’s allegations in Adversary Proceeding No. 24-03120, there is no possible

way for Choudhri to establish Claim No. 21 by a preponderance of the evidence.




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     A. The Trustee has standing and may pursue an objection to Claim No. 21.

         37.      Choudhri asserts in the Claim No. 21 Response that the Trustee lacks standing to

bring or pursue his objection to Claim No. 21 because (a) the Trustee is not a party to the

Confidential Settlement Agreement, (b) Claim No. 21 involves in rem rights to two tax liens, and

(c) the tax liens will be paid from the proceeds of the sale of the Debtor’s real property. (Claim

No. 21 Response ¶¶ 4 & 6). Choudhri’s position lacks any merit.

         38.      The Trustee disagrees that only a party to the Confidential Settlement Agreement

can object to Claim No. 21 based on matters related to the agreement and that doing so is necessary

for the Trustee’s objection to Claim No. 21.15 But even if that was so, the Debtor was a party to

the Confidential Settlement Agreement any legal or equitable rights of the Debtor became property

of the estate subject to the Trustee’s control. 11 U.S.C. § 541(a)(1). This argument in the Claim

No. 21 Response is inapposite.

         39.      Choudhri’s argument that the Trustee lacks standing because Claim No. 21 involves

in rem rights related to tax liens is similarly off base. Claim No. 21 asserts a debt against the

Debtor—which would be satisfied from the bankruptcy estate—that is secured by a lien. The

Trustee’s objection to Claim No. 21 turns on the assignment of the obligation reflected by the Caz

Creek Tax Loans, not the lien securing that obligation. Further, even if Claim No. 21 did require

determination the lien rights themselves, the Trustee would still have standing because the asserted

lien attached to property of the estate.16




15
   The Confidential Settlement Agreement is relevant to the Trustee’s Objection only because it provides context about
why the NBK Assignment was executed.
16
  If there were actually competing claims of ownership regarding a lien against property of the estate—which is not
the case with respect to Claim No. 21—the Trustee’s interest would be in determining which entity owned the lien so
that it could be addressed according to the Bankruptcy Code. Administering the estate would require that
determination.



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        40.      Choudhri’s assertion that the Trustee lacks standing because the winning bidder of

for the real property must pay the tax liens rather than the Trustee is also incorrect. Paragraph 30

of the sale order [ECF No. 608] provides that the Trustee is making payments to the non-contested

claims secured by tax liens. In the event that Choudhri has a claim secured by a tax lien, that would

similarly be paid by the Trustee, absent the provisions of the Plan.17

        41.      As described above with respect to Claim No. 7, to the extent that Claim No. 21

represents a claim that would be enforceable against the Debtor or the property of the Debtor

according to its terms, the Trustee has standing and can pursue an object to the claim. Any party

in interest may object to a claim. See 11 U.S.C. § 502(a). The Trustee is clearly a party in interest.

See 11 U.S.C. § 1109(b). Among the Trustee’s duties in this case is to examine proofs of claim

and object to the allowance of any claim that is improper. 11 U.S.C. §§ 704(a)(5) & 1106(a)(1).

     B. The Trustee’s Objection to Claim No. 21 is not an adversary proceeding.

        42.      Choudhri asserts that the Trustee’s objection to Claim No. 21 involves

determination of whether the rights to two (2) tax liens is owned by NBK or Choudhri pursuant to

the terms of the Confidential Settlement Agreement. (Claim No. 21 Response ¶ 4). That

mischaracterizes the Trustee’s objection to Claim No. 21.

        43.      The Trustee’s objection is based on the uncontested fact that Choudhri assigned the

Caz Creek Tax Loans—and particularly the underlying obligation—to NBK and NBK has not

assigned them back to Choudhri. The NBK Assignment and the documentation attached to Claim

No. 21 indicate there is an underlying note that was assigned in connection with the Caz Creek




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  Choudhri asserts that the Plan does not render Claim No. 21 moot. (Claim No. 21 Response ¶ 10). If so, the Plan
similarly does not render the Trustee’s objection to Claim No. 21 moot.


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Tax Loans. What is critical to the Trustee’s objection is the assignment of the obligation secured

by the tax lien.18

     C. The Trustee’s objection to Claim No. 21 should not be consolidated with Adversary
        Proceeding No. 24-03120.

         44.      Choudhri argues in the Claim No. 21 Response that the Trustee’s objection to Claim

No. 21 should be consolidated with Adversary Proceeding No. 24-03120. (Claim No. 21 Response

¶ 5). Choudhri’s reasoning is that the adversary proceeding “includes all of the issues raised by the

Trustee in the Objection to Claim No. 21). Again, this is off the mark.

         45.      In the Plaintiff’s Third Amended Complaint [Adv. Proc. No. 24-03120, Dkt. 8] (the

“Choudhri Complaint”), Choudhri seeks monetary damages against NBK for not assigning back

to Choudhri the Caz Creek Tax Loans. It is not a dispute over who owns the tax liens or the

obligations secured by the tax liens but rather what the Confidential Settlement Agreement

required between Choudhri and NBK. Indeed, the damages Choudhri seeks includes the proceeds

from payments NBK receives on account of the Caz Creek Tax Loans. (Choudhri Complaint ¶¶ 3,

62).

         46.      The only overlap between Adversary Proceeding No. 24-03120 and the Trustee’s

objection to Claim No. 21 is that they are both predicated on the undisputed fact that Caz Creek

Loans that Choudhri assigned to NBK have not been assigned back to Choudhri. (Choudhri

Complaint ¶¶ 21 & 50; Choudhri Claims Objection ¶ 9). Whether NBK has liability to Choudhri




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  As defined by Bankruptcy Code § 101(37) and in ordinary usage, a “lien” is a “charge against or interest in property
to secure payment of debt or performance of an obligation.” Chapter 32 of the Texas Tax Code is unambiguous that
there is a distinction between the tax lien and the obligation arising from the advance of funds to pay taxes. Tex. Tax
Code § 32.07 provides that “property taxes are the personal obligation of the person who owns or acquires the property
on January 1 of the year for which the tax is imposed . . . .” Tex. Tax Code § 32.01 provides that “a tax lien attaches
to property to secure the payment of all taxes, penalties, and interest ultimately imposed for the year on the property,
whether or not the taxes are imposed in the year the lien attaches.” Further, Tex. Tax Code § 32.06 describes the
contract and agreed upon interest on money advanced separate and apart from the underlying tax lien.


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under those facts is immaterial to whether Choudhri has an enforceable obligation against the

Debtor giving rise to an allowable claim.

   D. The Trustee has rebutted the prima facie validity of Claim No. 21.

       47.     The Claim No. 21 Response describes the prima facie validity of proofs of claim

and the burden shifting process. (Claim No. 21 Response ¶ 7). Here, the prima facie validity of

Claim No. 21 has been rebutted by the detailed allegations of the Choudhri Claims Objection, the

NBK Assignment attached thereto, and Choudhri’s own assertions in the Choudhri Complaint.

Choudhri has the burden of proof to establish the validity of Claim No. 21 by the preponderance

of the evidence.

       48.     In the Choudhri Claims Objection, the Trustee specifically alleges that the Caz

Creek Tax Loans were assigned by Choudhri to NBK. Exhibit A to the Choudhri Claims Objection

[ECF No. 403-3] contained a certified copy of the NBK Assignment effectuating this transfer. The

NBK Assignment was signed by Choudhri, acknowledged before a notary, and filed in the real

property records of Harris County. This is sufficient to rebut the presumption of Claim No. 21,

which attached an assignment of the Caz Creek Tax Loans to Choudhri prior in time to the NBK

Claim as its evidentiary support.

       49.     Further, other evidence already in the record in this chapter 11 case also supports

the Trustee’s objection. The Court has heard testimony regarding the Confidential Settlement

Statement, the transactions related thereto, and the Caz Creek Tax Loans. Even more relevant are

Choudhri’s statements in the Choudhri Complaint that he assigned the Caz Creek Tax Loans to

NBK and NBK has not assigned them back. The record contains sufficient evidence to rebut the

presumption of validity of Claim No. 21.




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   E. The Trustee’s Objection to Claim No. 21 should be sustained.

       50.     Choudhri’s response to merits of the Trustee’s objection to Claim No. 21 is that the

Confidential Settlement Agreement required NBK to assign back the Caz Creek Tax Loans to

Choudhri. (Claim No. 21 Response ¶ 9). Choudhri does not dispute that he assigned the Caz Creek

Tax Loans to NBK or the authenticity of the NBK Assignment attached as Exhibit A to the

Choudhri Claims Objection [ECF No. 403-3], assert that the Caz Creek Tax Loans have been

assigned back to him, or even claim that he has right to payment from the Debtor notwithstanding

the assignment. Indeed, in the Choudhri Complaint, Choudhri asserts affirmatively that NBK has

not assigned the Caz Creek Tax Loans back and seeks monetary damages against NBK under

various theories as the result of this fact. What Choudhri does not seek in Adversary Proceeding

No. 24-03120—at least as of July 3, 2024, when both the Choudhri Complaint and the Claim No.

21 Response were filed—is a declaration that he owns the Caz Creek Tax Loans.

       51.     There is no dispute with respect to the enforceability of Claim No. 21 against the

Debtor or property of the Debtor’s estate. There are not even any legal arguments or operative

documents that the Court must evaluate. The only actual dispute is whether NBK’s refusal to assign

the Caz Creek Tax Loans back to Choudhri gives rise to claims against NBK. But that has nothing

to do with the Trustee’s objection to Claim No. 21 or whether Choudhri has an enforceable claim

against the Debtor. The Trustee’s objection to Claim No. 21 should therefore be sustained.

                       REPLY TO THE CLAIM NO. 22 RESPONSE

       52.     Ali Choudhri filed proof of claim no. 22 (“Claim No. 22”) on April 9, 2024. In

Claim No. 22, Choudhri asserts a claim in the amount of $1,844,500.45 on account of a bond

payment made on behalf of the Debtor and legal advances. An email from NBK’s attorney Charles

Conrad indicating that payments totaling $961,959.08 had been paid by the Debtor to NBK was

attached to Claim No. 22.


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        53.    The Trustee filed an objection to Claim No. 22 through the Choudhri Claims

Objection on June 3, 2024. With respect to Claim No. 22, the Trustee asserted that the claim should

be disallowed because (a) the documentation attached to the proof of claim did not match the

$1,844,500.45 amount claimed, (b) the documentation attached to the proof of claim does not

indicate that the $961,959.08 of payments to NBK constituted amounts owed by the Debtor to

Choudhri, (c) to the extent that Choudhri advanced the funds, the documentation attached to the

proof of claim does not indicate that advances were loans rather than equity contributions, (d) the

payments to NBK reflected in the documentation were on account of the Confidential Settlement

Agreement under which Choudhri received a release.

        54.    Choudhri filed the Claim No. 22 Response on July 3, 2024. With respect to the

merits, Choudhri asserts that Claim No. 22 reflects the reimbursement to which he is entitled for

two separate expenses of the Debtor paid by Choudhri: (a) the payments totaling $961,959.08

under the Confidential Settlement Agreement reflected in the email attached to Claim No. 22 (the

“CSA Payments”) and (b) payments totaling $882,541.37 of for the Debtor’s prepetition operating

expenses, including legal fees incurred by the Debtor for litigation against NBK and George Lee

(the “Operating Expense Payments”). The Claim No. 22 Response indicates that Choudhri will

demonstrate that he is entitled to claim for these amounts through evidence of wire transfers and

receipts.

        55.    For the reasons set out below and in the Choudhri Claims Objection, the asserted

claim CSA Payments should be disallowed and the asserted claim for Operating Expense Payments

should be disallowed absent evidence demonstrating that the amounts were advanced by Choudhri,

the payments constituted loans rather than equity contributions, and the payments were for

expenses of the Debtor rather than of Choudhri personally. The Trustee has rebutted the limited




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prima facie validity of Claim No. 22 by presenting allegations calling into question amount

claimed and the Debtor’s obligation to Choudhri on account of any such payments. While Claim

No. 22 Response presents legitimate issues for a hearing, the burden is on Choudhri to establish

the validity of his claims by the preponderance of the evidence.

   A. The Trustee has rebutted the prima facie validity of Claim No. 22.

       56.     The Claim No. 22 Response describes the prima facie validity of proofs of claim

and the burden shifting process. (Claim No. 22 Response ¶ 4). The Trustee’s allegations and

arguments in the Choudhri Claims Objection with respect to Claim No. 22 are sufficient to rebut

the prima facie validity of Claim No. 22. As pointed out in the Trustee’s objection, the

documentation attached to Claim No. 22 did not match the $1,844,500.45 amount claimed. Further,

as asserted by the Trustee, (a) the documentation does not indicate that the $961,959.08 of

payments from the Debtor to NBK constituted amounts owed by the Debtor to Choudhri, (b) to

the extent that Choudhri advanced the funds, the documentation attached to the proof of claim does

not indicate that advances were loans rather than equity contributions, and (c) the payments to

NBK reflected in the documentation were on account of the Confidential Settlement Agreement,

under which Choudhri received a release.

   B. The Trustee’s objection to Claim No. 22 should be sustained with respect to the CSA
      Payments and sustained with respect to the Operating Expense Payments absent
      evidence from Choudhri demonstrating the enforceability of the asserted obligations.

       57.     Choudhri’s response to the merits of the Trustee’s objection to Claim No. 22 is that

he advanced the CSA Payments to the Debtor and the Operating Expense Payments on behalf of

the Debtor and is entitled to reimbursement because such amounts constituted a loan. (Claim No.

22 Response ¶¶ 6-9). Choudhri does not dispute that the CSA Payments were made pursuant to

the Confidential Settlement Agreement, that he received a release through the Confidential

Settlement Agreement, or the authenticity of the copy of the Confidential Settlement Agreement


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attached as Exhibit B to the Choudhri Claims Objection [ECF No. 403-4]. Instead, Choudhri

asserts that evidence of the wire transfers and receipts will be provided at trial.

         58.      The CSA Payments should be disallowed even if Choudhri presents evidence of the

three (3) wire transfers from Choudhri to the Debtor described in the Claim No. 22 Response.

Choudhri received consideration on account of those payments through the Confidential

Settlement Agreement in the form of the release from NBK. Further, the Trustee anticipates that

the evidence will demonstrate that these payments, if made, reflect equity contributions rather than

debt owed by the Debtor to Choudhri.19

         59.      The Operating Expense Payments should also be disallowed even if Choudhri

presents evidence that he made payments on behalf of the Debtor. The Trustee anticipates that the

evidence will show any payments made by Choudhri on behalf of the Debtor reflect equity

contributions rather than debt owed by the Debtor to Choudhri. Further, any legal expenses paid

by Choudhri likely involved matters in which Choudhri was personally liable for the expenses or

received a personal benefit. Choudhri asserts that the payments were related to litigation against

NBK and George Lee. The Harris County District Court indicates that the only lawsuit by George

Lee against the Debtor (Cause No. 2019-89764) was dismissed for want of prosecution while

several other lawsuits were asserted by George Lee against Choudhri individually. And while the

litigation against the National Bank of Kuwait was significant, the evidence will likely demonstrate

that it was motivated by Choudhri’s personal interests rather than the interests of the Debtor.




19
  Whether advances constitute debt or equity is a proper basis for an objection to claim. Grossman v. Lothian Oil Inc.
(In re Lothian Oil Inc.), 650 F.3d 539, 543 (5th Cir. 2011).


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                        REPLY TO THE CLAIM NO. 23 RESPONSE

       60.     Jetall Capital, LLC (“Jetall Capital”) filed proof of claim no. 23 (“Claim No. 23”)

on April 9, 2024. In Claim No. 23, Jetall Capital asserts a claim in the amount of $1,699,750.00.

The proof of claim contains no basis in line 8 of Official Form 410 and attaches no documents.

       61.     The Trustee filed an objection to Claim No. 23 and another claim asserted by Jetall

Capital [ECF No. 404] (the “Jetall Claims Objection”) on June 3, 2024. The Trustee asserted that

Claim No. 23 provided no basis for the claim or supporting documentation and that the claim was

contrary to the Debtor’s schedules [ECF No. 70]. Both Jetall Capital and the Debtor are controlled

by Choudhri.

       62.     Jetall Capital filed the Claim No. 23 Response on July 3, 2024. With respect to the

merits, Jetall Capital asserts that Claim No. 23 reflects amounts owed to it for the tenant

improvement allowance (the “Tenant Improvement Allowance”) under the Third Amendment to

Lease Agreement (the “Third Amendment”). Jetall Capital also argues that the Trustee’s objection

to Claim No. 23 should be consolidated with Adversary Proceeding No. 24-03120, in which the

Trustee seeks, among other things, to avoid the Third Amendment and recover the value of the

transfer from Jetall Companies, Inc. (“Jetall Companies”).

       63.     For the reasons set out below and in the Jetall Claims Objection, the Trustee’s

objection to Claim No. 23 should be sustained. Claim No. 23 has no prima facie validity because

it fails to comply with Bankruptcy Rule 3001(c)(1). If Jetall Capital’s claim was based on the Third

Amendment, that document should have been attached to Claim No. 23. Further, to the extent that

Claim No. 23 has any presumption of validity, the Trustee’s reference to the Debtor’s schedules—

which were admitted into evidence as ECF No. 171-4 (Courtroom Minutes, ECF No. 183)—is

sufficient to rebut that presumption. The Debtor’s schedules do not list Jetall Capital as a creditor




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and indicate that Jetall Companies is the counterparty to the relevant lease. The Third Amendment

and the underlying lease indicate that it is Jetall Companies that is the relevant counterparty.

    A. The Trustee’s objection to Claim No. 23 should not be consolidated with Adversary
       Proceeding No. 24-03120.

          64.   Jetall Capital argues in the Claim No. 23 Response that the Trustee’s objection to

Claim No. 23 should be consolidated with Adversary Proceeding No. 24-03120, in which the

Trustee seeks, among other things, to avoid the Third Amendment and recover against Jetall

Companies. (Claim No. 23 Response ¶ 4). Jetall Capital’s reasoning is that the adversary

proceeding “includes all of the issues raised by the Trustee in the Objection to Claim No. 23.” That

is not accurate.

          65.   Claim No. 23 should be disallowed because Jetall Capital is not the counterparty to

the lease. The Third Amendment indicates that it and the underlying lease are between the Debtor

and Jetall Companies, which is confirmed by the Debtor’s schedules. Even if the Third

Amendment is not avoided or otherwise invalidated, Claim No. 23 should nonetheless be

disallowed.

          66.   At the hearing on the Trustee’s objection to Claim No. 23, Jetall Capital can present

evidence that it is the proper counterparty to the Third Amendment and defeat that basis of the

Trustee’s objection. Absent such showing, however, there is no basis for consolidation. Rather

than delay, the Court should go forward with the Trustee’s objection and address the issue if it

arises.

    B. Claim No. 23 is not entitled to any prima facie validity and the Trustee has rebutted
       any presumption.

          67.   The Claim No. 23 Response describes the prima facie validity of proofs of claim

and the burden shifting process. (Claim No. 23 Response ¶ 5). According to Jetall Capital, Claim




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No. 23 includes all documents and information required by Bankruptcy Rule 3001(c) and Official

Form 410. That is obviously contradicted by the contents of Claim No. 23.

         68.      Claim No. 23 contains absolutely no information regarding the basis of Jetall

Capital’s asserted claim. Line 8 of Official Form 410 setting out the basis of the claim is blank.

Further, despite Jetall Capital’s assertion that Claim No. 23 is based on the Third Amendment, that

document is not attached to Claim No. 23 as required by Bankruptcy Rule 3001(c)(1).

         69.      Moreover, even if Claim No. 23 was entitled to a presumption of validity, that

presumption has been rebutted by the Trustee’s allegations. The Trustee pointed out that the

Debtor—an insider to Jetall Capital that is also controlled by Choudhri—did not include any claim

by Jetall Capital on its schedules. Further, the Debtor’s schedules indicate that Jetall Companies

is the counterparty to the relevant lease. While the Debtor’s schedules are the barest of evidence,

they are sufficient to rebut the presumption of an entirely unsupported proof of claim filed by an

insider that was not scheduled. The Debtor’s non-scheduling of the insider Jetall Capital raises a

legitimate question about the validity of the claim.

     C. The Trustee’s objection to Claim No. 23 should be sustained.

         70.      Even taking everything in Jetall Capital’s response to the merits of the Trustee’s

objection to Claim No. 23 at face value, Claim No. 23 should be disallowed. In essence, Jetall

Capital asserts rejection damages under an unexpired lease prior to the rejection of the lease. While

the lease might be rejected in the future, that has not yet occurred, and might never occur.20 Claim

No. 23 is premature according to Jetall Capital’s own position.

         71.      The Trustee anticipates that the evidence at the hearing, however, will show that

Jetall Capital does not have a valid claim. The Third Amendment and lease indicate that the


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  As Jetall Capital points out in paragraph 8 of the Claim No. 23 response, the effective date of the Plan has not yet
occurred. Further, there is the possibility that the lease will be assumed and assigned to QB Loop Property LP.


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counterparty is Jetall Companies. The Debtor’s schedules agree and do not list Jetall Capital as a

creditor. If Jetall Capital presents evidence purporting to show something different at the hearing

on the Trustee’s objection to Claim No. 24, that evidence should be evaluated critically.

                         REPLY TO THE CLAIM NO. 24 RESPONSE

       72.     Jetall Capital filed proof of claim no. 24 (“Claim No. 24”) on April 9, 2024. In

Claim No. 24, Jetall Capital asserts a claim in the amount of $1,699,750.00. The proof of claim

contains no basis in line 8 of Official Form 410 and attaches no documents.

       73.     The Trustee filed an objection to Claim No. 24 in the Jetall Claims Objection on

June 3, 2024. The Trustee asserted that Claim No. 24 provided no basis for the claim or supporting

documentation and that the claim was contrary to the Debtor’s schedules [ECF No. 70]. Both Jetall

Capital and the Debtor are controlled by Choudhri.

       74.     Jetall Capital filed the Claim No. 24 Response on July 3, 2024. With respect to the

merits, Jetall Capital asserts that Claim No. 24 reflects amounts owed to it for advances made by

wire and bank transfers to pay payroll and other expenses of the Debtor, and for unpaid lease

commissions and management fees pursuant to a “Management Leasing Agreement.”

       75.     For the reasons set out below and in the Jetall Claims Objection, the Trustee’s

objection to Claim No. 24 should be sustained. Claim No. 24 has no prima facie validity because

it fails to comply with Bankruptcy Rule 3001(c)(1). If Jetall Capital’s claim was based on the wire

and bank transfers and the Management Leasing Agreement, those documents should have been

attached to Claim No. 24. Further, to the extent that Claim No. 24 has any presumption of validity,

the Trustee’s reference to the Debtor’s schedules is sufficient to rebut that presumption. The

Debtor’s schedules do not list Jetall Capital as a creditor, do not indicate that Jetall Capital as the

counterparty to a “Management Leasing Agreement,” and indicate that Jetall Companies is the




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counterparty to the vaguely similar “Property Management Agreement.” The Trustee anticipates

any evidence presented by Jetall Capital will demonstrate that the correct creditor under the

referenced agreement is Jetall Companies. Further, Claim No. 24 is an exact duplicate of Claim

No. 23, despite Jetall Capital’s post-hoc assertion that Claim No. 23 and Claim No. 24 represent

distinct claims.

   A. Claim No. 24 is not entitled to prima facie validity and the Trustee has rebutted any
      presumption.

       76.     The Claim No. 24 Response describes the prima facie validity of proofs of claim

and the burden shifting process. (Claim No. 24 Response ¶ 3). According to Jetall Capital, Claim

No. 23 includes all documents and information required by Bankruptcy Rule 3001(c) and Official

Form 410. This is obviously false, and Claim No. 24 is not entitled to any presumption of validity.

       77.     Claim No. 24 contains absolutely no information regarding the basis of Jetall

Capital’s asserted claim. Line 8 of Official Form 410 setting out the basis of the claim is blank.

Further, despite Jetall Capital’s assertion that Claim No. 24 is based on the Managing Leasing

Agreement, wire transfers, and bank transfers, none of these documents are attached to Claim No.

24, as required by Bankruptcy Rule 3001(c)(1).

       78.     Even if Claim No. 24 was entitled to a presumption of validity, it would be rebutted

by the Trustee’s allegations. As described in the Trustee’s Jetall Claims Objection, the Debtor—

an entity also controlled by Choudhri—did not include a claim by Jetall Capital on its schedules.

The schedules are also silent about any “Management Leasing Agreement” but indicate that Jetall

Companies is the relevant counterparty to a “Property Management Agreement.” While the

Debtor’s schedules are the barest of evidence, they overcome the nullity of Claim No. 24,

especially as the Debtor is an insider of Jetall Capital. The Debtor’s non-scheduling of Jetall

Capital raises a legitimate question about the validity of the claim



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       79.     Further, Claim No. 23 and Claim No. 24 are exact duplicates. It is not merely that

their content is the same—the proofs of claim have a number of aberrations to Official Form 410

that are precisely repeated and Choudhri’s signature is identical on both. This sufficiently calls

into question Jetall Capital’s assertions in its responses that Claim No. 23 and Claim No. 24

represent distinct claims to rebut any presumption of validity of the claims. The circumstances at

least raise the question of whether the claim was inadvertently filed twice and Jetall Capital’s

arguments are merely post-hoc justifications.

   B. The Trustee’s objection to Claim No. 24 should be sustained.

       80.     The Trustee anticipates that the evidence at the hearing will show that Jetall Capital

does not have a valid claim. On information and belief, Claim No. 24 did not have any description

or documentation because there is none. The Debtor’s schedules indicate that Jetall Capital does

not have a claim because there is none. Jetall Capital is not indicated in the Debtor’s schedules as

the counterparty to any agreement because it is Jetall Companies—which filed its own

$3,180,223.25 Claim [Proof of Claim No. 20]—that is the correct counterparty. If Jetall Capital

presents evidence purporting to show something different at the hearing that evidence should be

evaluated critically.

       81.     The apparent duplication of Claim No. 23 and Claim No. 24 is a separate problem.

Whatever actually happened, it is consistent with the conduct of insiders to the Debtor in this case

that the same proof of claim was inadvertently filed twice and a story was concocted afterwards.

Again, the Court should evaluate critically any contrary explanation provided at the hearing.

                                         CONCLUSION

       For the reasons set out above, the Trustee respectfully submits that the Court should sustain

the Trustee’s objections to Claim No. 7 (2425 WL LLC), Claim No. 21 (Choudhri—Tax Loan

Claim), Claim No. 22 (Choudhri—Reimbursement Claim), Claim No. 23 (Jetall Capital—Lease


                                                30
                                                                                               000514
Claim), and Claim No. 24 (Jetall Capital—Management Leasing Agreement Claim). The

conclusory responses to the Trustee’s objections aside, the evidence and arguments at the hearing

will show that these claims are not allowable.

 Dated: July 20, 2024                            Respectfully submitted,

                                                 SHANNON & LEE LLP

                                                 /s/R. J. Shannon                       .
                                                 Kyung S. Lee (TBA No. 12128400)
                                                 R. J. Shannon (TBA No. 24108062)
                                                 2100 Travis Street, STE 1525
                                                 Houston, TX 77002
                                                 Telephone: (713) 714-5770
                                                 Email: klee@shannonleellp.com
                                                          rshannon@shannonleellp.com

                                                 Counsel to the Chapter 11 Trustee




                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing document was served by the
Court’s CM/ECF system on all parties registered to receive such service at the time of filing,
including the following persons:

H. Gray Burks, IV
BurksBaker, PLLC
950 Echo Lane, Suite 300
Houston, TX 77024
Counsel to 2425 WL LLC, Ali Choudhri,
and Jetall Capital, LLC

                                                           /s/R. J. Shannon




                                                  31
                                                                                            000515
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                       )
 In re:                                                )      Case No. 23-34815
                                                       )
 GALLERIA 2425 OWNER, LLC,                             )
                                                       )      Chapter 11
                          Debtor.                      )
                                                       )
                                    WITNESS AND EXHIBIT LIST

 Judge:                       Hon. Jeffrey P. Norman
 Hearing Date:                July 24, 2024
 Hearing Time:                11:00 a.m. prevailing Central Time
 Party’s Name:                Christopher R. Murray, Chapter 11 Trustee
 Attorney’s Name:             R. J. Shannon
 Attorney’s Phone:            (713) 714-5770
 Nature of Proceeding:        Hearing on:
                                  Trustee’s Objection to Claim No. 7 of 2425 WL LLC [ECF
                                     No. 402];
                                       Trustee’s Omnibus Objection to Claim Nos. 21 and 22 of Ali
                                        Choudhri [ECF No. 403]; and
                                       Trustee’s Omnibus Objection to Claim Nos. 23 and 24 of
                                        Jetall Capital, LLC [ECF No. 404]

          Christopher R. Murray, the chapter 11 trustee in the above-captioned case (the “Trustee”),

hereby submits this witness and exhibit list in connection with the hearing to be held on July 8,

2024, at 9:00 a.m. (Central Time) (the “Hearing”).

                                             WITNESSES

          The Trustee may call any of the following witnesses at the Hearing, whether in person, by

proffer, or by declaration pursuant to Fed. R. Civ. P. Rule 43(c) made applicable by Bankruptcy

Local Rule 9017-1(c):

          1. Christopher R. Murray;



                                                                                              000516
         2. Ali Choudhri;

         3. Any witness called or designated by any other party; and

         4. Any witness necessary to rebut the testimony of any witness called or designated by
            any other party.

                                              EXHIBITS

         The Trustee may offer for admission into evidence any of the following exhibits, any

  exhibit designated by any other party, and any document filed on the docket in the above-captioned

  case at the Hearing:


                                                                                Admitted
Ex.                      Description                      Offered   Objection     /Not     Disposition
                                                                                Admitted

1     Proof of Claim No. 7 (Amended)

2     Appendix A to Part 1024 – Instructions for
      Completing HUD-1 and HUD-1 a
      Settlement Statements; Sample HUD-1 and
      HUD-1 a Statements (10/19/2017 Version),
      available at
      https://www.consumerfinance.gov/rules-
      policy/regulations/1024/2017-10-19/a/

3     Plaintiff’s Original Petition and Exhibits in
      Cause No. 2021-63370 (281st District
      Court, Harris County, Texas)

4     Loan Agreement dated May 23, 2018,
      between the Debtor and NBK (Ex. C to
      Trustee’s objection to Claim No. 7 [ECF
      No. 402-5] and previously admitted as ECF
      Nos. 87-2 and 501-10)

5     Note issued by the Debtor to NBK dated
      May 23, 2018 (Ex. D to Trustee’s objection
      to Claim No. 7 [ECF No. 402-6] and
      previously admitted as ECF No. 143-7 and
      501-12)



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                                                                                              000517
                                                                              Admitted
Ex.                   Description                       Offered   Objection     /Not     Disposition
                                                                              Admitted

6     Deed of trust granted by the Debtor to NBK
      dated May 23, 2018 (Ex. E to Trustee’s
      objection to Claim No. 7 [ECF No. 402-7]
      and previously admitted as ECF No. 143-8
      and 501-11)

7     Absolute assignment of leases granted by
      the Debtor to NBK dated May 23, 2018
      (previously admitted as ECF No. 143-9)

8     Sworn Document Authorizing Transfer of
      Tax Lien (Ex. G to Trustee’s objection to
      Claim No. 7 [ECF No. 402-9])

9     Tax Lien Contract (Ex. H to Trustee’s
      objection to Claim No. 7 [ECF No. 402-10])

10    Debtor Corporate Organization Chart (Ex. B
      to NBK Disclosure Statement [ECF No.
      195]

11    Galleria 2425 Owner, LLC Application for
      Registration of a Foreign Limited Liability
      Company filed April 5, 2018

12    Amended and Restated Limited Liability
      Company Agreement of Galleria 2425 JV,
      LLC dated May 23, 2018 (Ex. I to Trustee’s
      objection to Claim No. 7 [ECF No. 402-11]

13    Galleria 2425 JV, LLC Application for
      Registration of a Foreign Limited Liability
      Company filed April 5, 2018 (Ex. B to
      Trustee’s objection to Claim No. 7 [ECF
      No. 402-4]

14    Galleria 2425 JV, LLC Unanimous Consent
      of Members in Lieu of Meeting (Ex. J to
      Trustee’s Objection to Claim No. 7 [ECF
      No. 402-12]



                                                    3
                                                                                            000518
                                                                             Admitted
Ex.                  Description                       Offered   Objection     /Not     Disposition
                                                                             Admitted

15    Notice of Deposition and Subpoena Duces
      Tecum to 2425 WL LLC (previously
      admitted as ECF No. 505-7)

16    Subpoena to Testify at a Deposition in a
      Bankruptcy Case (or Adversary Proceeding)
      (previously admitted as ECF No. 505-9)

17    Subpoena to Produce Documents,
      Information, or Objects or to Permit
      Inspection of Premises in a Bankruptcy
      Case (or Adversary Proceeding) (previously
      admitted as ECF No. 505-10)

18    June 7, 2024, emails between R. Shannon
      and M. Smith re Extension of Deadline for
      2425 WL LLC Document Production to
      June 13, 2024

19    Notice of Appearance of Mark E. Smith on
      behalf of 2425 WL LLC [ECF No. 439]

20    June 26, 2024, emails between R. Shannon
      and S. Sather re outstanding discovery

21    July 16, 2024, email from R. Shannon and
      S. Sather and G. Burks re outstanding
      discovery

22    Proof of Claim No. 21

23    Assignment of Tax Liens (Ex. A to
      Trustee’s objection to Claim Nos. 21 and 22
      [ECF No. 403-3])

24    Plaintiff’s Third Amended Complaint in
      Adv. Proc. No. 24-03120 [Adv. Proc. Dkt.
      No. 8]

25    Proof of Claim No. 22



                                                   4
                                                                                           000519
                                                                                Admitted
Ex.                   Description                       Offered   Objection       /Not        Disposition
                                                                                Admitted

26    Confidential Settlement Agreement (Ex. B
      to Trustee’s objection to Claim Nos. 21 and
      22 [ECF No. 403-4])

27    Ali Choudhri Net Worth Affidavit filed in
      Cause No. 2012-27197A (333rd District
      Court, Harris County, Texas)

28    Proof of Claim No. 23

29    Lease Agreement between the Debtor and
      Jetall Companies, Inc. and Amendments
      thereto

30    Debtor’s Schedules and Statement of
      Financial Affairs [ECF No. 70] (previously
      admitted as ECF No. 171-4)

31    Proof of Claim No. 24

32    Transcript of January 31, 2024, hearing

33    Internal Notes of NBK on Loan to Galleria
      2425 Owner

         The Trustee reserves the right to supplement, amend, or delete any witness and exhibits

  prior to the Hearing. The Trustee also reserves the right to (a) ask the Court to take judicial notice

  of any document, (b) introduce exhibits previously admitted or attached as exhibits to the relevant

  pleadings, and (c) introduce any exhibit necessary or appropriate to necessary to rebut the

  testimony of any witnesses called or designated by any other party or an exhibit introduced or

  designated by any other party.




                                                    5
                                                                                                  000520
Dated: July 22, 2024   Respectfully submitted,

                       SHANNON & LEE LLP

                       /s/R. J. Shannon                      .
                       Kyung S. Lee (TBA No. 12128400)
                       R. J. Shannon (TBA No. 24108062)
                       2100 Travis Street, STE 1525
                       Houston, TX 77002
                       Telephone: (713) 714-5770
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                                rshannon@shannonleellp.com

                       Counsel to the Chapter 11 Trustee




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                                            (cfpb.gov/)



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       Statements; Sample HUD-1 and HUD-1a
       Statements
               This version is not the current regulation.
               You are viewing a previous version of this regulation with amendments that went into
               effect on Oct. 19, 2017.
               View all versions of this regulation (cfpb.gov/rules-policy/regulations/1024/versions/
               a/)



       The following are instructions for completing the HUD-1 settlement statement, required
       under section 4 of RESPA and 12 CFR part 1024 (Regulation X) of the Bureau of Consumer
       Financial Protection (Bureau) regulations. This form is to be used as a statement of actual
       charges and adjustments paid by the borrower and the seller, to be given to the parties in
       connection with the settlement. The instructions for completion of the HUD-1 are primarily
       for the benefit of the settlement agents who prepare the statements and need not be
       transmitted to the parties as an integral part of the HUD-1. There is no objection to the use
       of the HUD-1 in transactions in which its use is not legally required. Refer to the definitions
       section of the regulations (12 CFR 1024.2) for specific definitions of many of the terms that
       are used in these instructions.



       General Instructions
       Information and amounts may be filled in by typewriter, hand printing, computer printing, or
       any other method producing clear and legible results. Refer to the Bureau's regulations
       (Regulation X) regarding rules applicable to reproduction of the HUD-1 for the purpose of
       including customary recitals and information used locally in settlements; for example, a
       breakdown   of payoff
       Previous version      figures,
                        (effective    a breakdown
                                   Oct. 19, 2017 to of the
                                                    July 1,Borrower's
                                                           2020)      total monthly mortgage
                                                                                                                              000551
https://www.consumerfinance.gov/rules-policy/regulations/1024/2017-10-19/a/                                                                  1/20
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       payments, check disbursements, a statement indicating receipt of funds, applicable special
       stipulations between Borrower and Seller, and the date funds are transferred.

       The settlement agent shall complete the HUD-1 to itemize all charges imposed upon the
       Borrower and the Seller by the loan originator and all sales commissions, whether to be
       paid at settlement or outside of settlement, and any other charges which either the
       Borrower or the Seller will pay at settlement. Charges for loan origination and title services
       should not be itemized except as provided in these instructions. For each separately
       identified settlement service in connection with the transaction, the name of the person
       ultimately receiving the payment must be shown together with the total amount paid to
       such person. Items paid to and retained by a loan originator are disclosed as required in the
       instructions for lines in the 800-series of the HUD-1 (and for per diem interest, in the 900-
       series of the HUD-1).

       As a general rule, charges that are paid for by the seller must be shown in the seller's
       column on page 2 of the HUD-1 (unless paid outside closing), and charges that are paid for
       by the borrower must be shown in the borrower's column (unless paid outside closing).
       However, in order to promote comparability between the charges on the GFE and the
       charges on the HUD-1, if a seller pays for a charge that was included on the GFE, the charge
       should be listed in the borrower's column on page 2 of the HUD-1. That charge should also
       be offset by listing a credit in that amount to the borrower on lines 204-209 on page 1 of the
       HUD-1, and by a charge to the seller in lines 506-509 on page 1 of the HUD-1. If a loan
       originator (other than for no-cost loans), real estate agent, other settlement service provider,
       or other person pays for a charge that was included on the GFE, the charge should be listed
       in the borrower's column on page 2 of the HUD-1, with an offsetting credit reported on
       page 1 of the HUD-1, identifying the party paying the charge.

       Charges paid outside of settlement by the borrower, seller, loan originator, real estate
       agent, or any other person, must be included on the HUD-1 but marked “P.O.C.” for “Paid
       Outside of Closing” (settlement) and must not be included in computing totals. However,
       indirect payments from a lender to a mortgage broker may not be disclosed as P.O.C., and
       must be included as a credit on Line 802. P.O.C. items must not be placed in the Borrower
       or Seller columns, but rather on the appropriate line outside the columns. The settlement
       agent must indicate whether P.O.C. items are paid for by the Borrower, Seller, or some other
       party by marking the items paid for by whoever made the payment as “P.O.C.” with the party
       making the payment identified in parentheses, such as “P.O.C. (borrower)” or “P.O.C.
       (seller)”.

       In the case of “no cost” loans where “no cost” encompasses third party fees as well as the
       upfront payment to the loan originator, the third party services covered by the “no cost”
       provisions must be itemized and listed in the borrower's column on the HUD-1/1A with the
       charge for the third party service. These itemized charges must be offset with a negative
       adjusted origination charge on Line 803 and recorded in the columns.

       Blank lines are provided in section L for any additional settlement charges. Blank lines are
       Previous
       also     version
            provided  for(effective
                          additionalOct. 19, 2017
                                     insertions into July 1, J2020)
                                                   sections    and K. The names of the recipients of
                                                                                                                              000552
https://www.consumerfinance.gov/rules-policy/regulations/1024/2017-10-19/a/                                                                  2/20
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       the settlement charges in section L and the names of the recipients of adjustments
       described in section J or K should be included on the blank lines.

       Lines and columns in section J which relate to the Borrower's transaction may be left blank
       on the copy of the HUD-1 which will be furnished to the Seller. Lines and columns in section
       K which relate to the Seller's transaction may be left blank on the copy of the HUD-1 which
       will be furnished to the Borrower.



       Line Item Instructions
       Instructions for completing the individual items on the HUD-1 follow.

       Section A. This section requires no entry of information.

       Section B. Check appropriate loan type and complete the remaining items as applicable.

       Section C. This section provides a notice regarding settlement costs and requires no
       additional entry of information.

       Sections D and E. Fill in the names and current mailing addresses and zip codes of the
       Borrower and the Seller. Where there is more than one Borrower or Seller, the name and
       address of each one is required. Use a supplementary page if needed to list multiple
       Borrowers or Sellers.

       Section F. Fill in the name, current mailing address and zip code of the Lender.

       Section G. The street address of the property being sold should be listed. If there is no
       street address, a brief legal description or other location of the property should be inserted.
       In all cases give the zip code of the property.

       Section H. Fill in name, address, zip code and telephone number of settlement agent, and
       address and zip code of “place of settlement.”

       Section I. Fill in date of settlement.

       Section J. Summary of Borrower's Transaction. Line 101 is for the contract sales price of the
       property being sold, excluding the price of any items of tangible personal property if
       Borrower and Seller have agreed to a separate price for such items.

       Line 102 is for the sales price of any items of tangible personal property excluded from Line
       101. Personal property could include such items as carpets, drapes, stoves, refrigerators,
       etc. What constitutes personal property varies from State to State. Manufactured homes are
       not considered personal property for this purpose.

       Line 103 is used to record the total charges to Borrower detailed in section L and totaled on
       Line 1400.
       Previous version (effective Oct. 19, 2017 to July 1, 2020)
                                                                                                                              000553
https://www.consumerfinance.gov/rules-policy/regulations/1024/2017-10-19/a/                                                                  3/20
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       Lines 104 and 105 are for additional amounts owed by the Borrower, such as charges that
       were not listed on the GFE or items paid by the Seller prior to settlement but reimbursed by
       the Borrower at settlement. For example, the balance in the Seller's reserve account held in
       connection with an existing loan, if assigned to the Borrower in a loan assumption case, will
       be entered here. These lines will also be used when a tenant in the property being sold has
       not yet paid the rent, which the Borrower will collect, for a period of time prior to the
       settlement. The lines will also be used to indicate the treatment for any tenant security
       deposit. The Seller will be credited on Lines 404-405.

       Lines 106 through 112 are for items which the Seller had paid in advance, and for which the
       Borrower must therefore reimburse the Seller. Examples of items for which adjustments will
       be made may include taxes and assessments paid in advance for an entire year or other
       period, when settlement occurs prior to the expiration of the year or other period for which
       they were paid. Additional examples include flood and hazard insurance premiums, if the
       Borrower is being substituted as an insured under the same policy; mortgage insurance in
       loan assumption cases; planned unit development or condominium association
       assessments paid in advance; fuel or other supplies on hand, purchased by the Seller, which
       the Borrower will use when Borrower takes possession of the property; and ground rent
       paid in advance.

       Line 120 is for the total of Lines 101 through 112.

       Line 201 is for any amount paid against the sales price prior to settlement.

       Line 202 is for the amount of the new loan made by the Lender when a loan to finance
       construction of a new structure constructed for sale is used as or converted to a loan to
       finance purchase. Line 202 should also be used for the amount of the first user loan, when a
       loan to purchase a manufactured home for resale is converted to a loan to finance purchase
       by the first user. For other loans covered by 12 CFR part 1024 (Regulation X) which finance
       construction of a new structure or purchase of a manufactured home, list the sales price of
       the land on Line 104, the construction cost or purchase price of manufactured home on Line
       105 (Line 101 would be left blank in this instance) and amount of the loan on Line 202. The
       remainder of the form should be completed taking into account adjustments and charges
       related to the temporary financing and permanent financing and which are known at the
       date of settlement. For reverse mortgage transactions, the amount disclosed on Line 202 is
       the initial principal limit.

       Line 203 is used for cases in which the Borrower is assuming or taking title subject to an
       existing loan or lien on the property.

       Lines 204-209 are used for other items paid by or on behalf of the Borrower. Lines 204-209
       should be used to indicate any financing arrangements or other new loan not listed in Line
       202. For example, if the Borrower is using a second mortgage or note to finance part of the
       purchase price, whether from the same lender, another lender or the Seller, insert the
       principal amount of the loan with a brief explanation on Lines 204-209. Lines 204-209
       should
       Previousalso be used
                 version      whereOct.
                         (effective the 19,
                                        Borrower  receives
                                            2017 to July 1, a credit from the Seller for closing costs,
                                                            2020)
                                                                                                                              000554
https://www.consumerfinance.gov/rules-policy/regulations/1024/2017-10-19/a/                                                                  4/20
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       including seller-paid GFE charges. They may also be used in cases in which a Seller
       (typically a builder) is making an “allowance” to the Borrower for items that the Borrower is
       to purchase separately. For reverse mortgages, the amount of any initial draw at settlement
       is disclosed on Line 204.

       Lines 210 through 219 are for items which have not yet been paid, and which the Borrower
       is expected to pay, but which are attributable in part to a period of time prior to the
       settlement. In jurisdictions in which taxes are paid late in the tax year, most cases will show
       the proration of taxes in these lines. Other examples include utilities used but not paid for
       by the Seller, rent collected in advance by the Seller from a tenant for a period extending
       beyond the settlement date, and interest on loan assumptions.

       Line 220 is for the total of Lines 201 through 219.

       Lines 301 and 302 are summary lines for the Borrower. Enter total in Line 120 on Line 301.
       Enter total in Line 220 on Line 302.

       Line 303 must indicate either the cash required from the Borrower at settlement (the usual
       case in a purchase transaction), or cash payable to the Borrower at settlement (if, for
       example, the Borrower's earnest money exceeds the Borrower's cash obligations in the
       transaction or there is a cash-out refinance). Subtract Line 302 from Line 301 and enter the
       amount of cash due to or from the Borrower at settlement on Line 303. The appropriate box
       should be checked. If the Borrower's earnest money is applied toward the charge for a
       settlement service, the amount so applied should not be included on Line 303 but instead
       should be shown on the appropriate line for the settlement service, marked “P.O.C.
       (Borrower)”, and must not be included in computing totals.

       Section K. Summary of Seller's Transaction. Instructions for the use of Lines 101 and 102
       and 104-112 above, apply also to Lines 401-412. Line 420 is for the total of Lines 401
       through 412.

       Line 501 is used if the Seller's real estate broker or other party who is not the settlement
       agent has received and holds a deposit against the sales price (earnest money) which
       exceeds the fee or commission owed to that party. If that party will render the excess
       deposit directly to the Seller, rather than through the settlement agent, the amount of
       excess deposit should be entered on Line 501 and the amount of the total deposit
       (including commissions) should be entered on Line 201.

       Line 502 is used to record the total charges to the Seller detailed in section L and totaled on
       Line 1400.

       Line 503 is used if the Borrower is assuming or taking title subject to existing liens which are
       to be deducted from sales price.

       Lines 504 and 505 are used for the amounts (including any accrued interest) of any first
       and/or second loans which will be paid as part of the settlement.
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       Line 506 is used for deposits paid by the Borrower to the Seller or other party who is not the
       settlement agent. Enter the amount of the deposit in Line 201 on Line 506 unless Line 501 is
       used or the party who is not the settlement agent transfers all or part of the deposit to the
       settlement agent, in which case the settlement agent will note in parentheses on Line 507
       the amount of the deposit that is being disbursed as proceeds and enter in the column for
       Line 506 the amount retained by the above-described party for settlement services. If the
       settlement agent holds the deposit, insert a note in Line 507 which indicates that the
       deposit is being disbursed as proceeds.

       Lines 506 through 509 may be used to list additional liens which must be paid off through
       the settlement to clear title to the property. Other Seller obligations should be shown on
       Lines 506-509, including charges that were disclosed on the GFE but that are actually being
       paid for by the Seller. These Lines may also be used to indicate funds to be held by the
       settlement agent for the payment of either repairs, or water, fuel, or other utility bills that
       cannot be prorated between the parties at settlement because the amounts used by the
       Seller prior to settlement are not yet known. Subsequent disclosure of the actual amount of
       these post-settlement items to be paid from settlement funds is optional. Any amounts
       entered on Lines 204-209 including Seller financing arrangements should also be entered
       on Lines 506-509.

       Instructions for the use of Lines 510 through 519 are the same as those for Lines 210 to 219
       above.

       Line 520 is for the total of Lines 501 through 519.

       Lines 601 and 602 are summary lines for the Seller. Enter the total in Line 420 on Line 601.
       Enter the total in Line 520 on Line 602.

       Line 603 must indicate either the cash required to be paid to the Seller at settlement (the
       usual case in a purchase transaction), or the cash payable by the Seller at settlement.
       Subtract Line 602 from Line 601 and enter the amount of cash due to or from the Seller at
       settlement on Line 603. The appropriate box should be checked.


       Section L. Settlement Charges.
       Line 700 is used to enter the sales commission charged by the sales agent or real estate
       broker.

       Lines 701-702 are to be used to state the split of the commission where the settlement
       agent disburses portions of the commission to two or more sales agents or real estate
       brokers.

       Line 703 is used to enter the amount of sales commission disbursed at settlement. If the
       sales agent or real estate broker is retaining a part of the deposit against the sales price
       (earnest money) to apply towards the sales agent's or real estate broker's commission,
       include
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                  Line 703  only that
                         (effective   part
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                                               the commission    being disbursed at settlement and
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       insert a note on Line 704 indicating the amount the sales agent or real estate broker is
       retaining as a “P.O.C.” item.

       Line 704 may be used for additional charges made by the sales agent or real estate broker,
       or for a sales commission charged to the Borrower, which will be disbursed by the
       settlement agent.

       Line 801 is used to record “Our origination charge,” which includes all charges received by
       the loan originator, except any charge for the specific interest rate chosen (points). This
       number must not be listed in either the buyer's or seller's column. The amount shown in
       Line 801 must include any amounts received for origination services, including
       administrative and processing services, performed by or on behalf of the loan originator.

       Line 802 is used to record “Your credit or charge (points) for the specific interest rate
       chosen,” which states the charge or credit adjustment as applied to “Our origination
       charge,” if applicable. This number must not be listed in either column or shown on page
       one of the HUD-1.

       For a mortgage broker originating a loan in its own name, the amount shown on Line 802
       will be the difference between the initial loan amount and the total payment to the
       mortgage broker from the lender. The total payment to the mortgage broker will be the sum
       of the price paid for the loan by the lender and any other payments to the mortgage broker
       from the lender, including any payments based on the loan amount or loan terms, and any
       flat rate payments. For a mortgage broker originating a loan in another entity's name, the
       amount shown on Line 802 will be the sum of all payments to the mortgage broker from the
       lender, including any payments based on the loan amount or loan terms, and any flat rate
       payments.

       In either case, when the amount paid to the mortgage broker exceeds the initial loan
       amount, there is a credit to the borrower and it is entered as a negative amount. When the
       initial loan amount exceeds the amount paid to the mortgage broker, there is a charge to
       the borrower and it is entered as a positive amount. For a lender, the amount shown on Line
       802 may include any credit or charge (points) to the Borrower.

       Line 803 is used to record “Your adjusted origination charges,” which states the net amount
       of the loan origination charges, the sum of the amounts shown in Lines 801 and 802. This
       amount must be listed in the columns as either a positive number (for example, where the
       origination charge shown in Line 801 exceeds any credit for the interest rate shown in Line
       802 or where there is an origination charge in Line 801 and a charge for the interest rate
       (points) is shown on Line 802) or as a negative number (for example, where the credit for
       the interest rate shown in Line 802 exceeds the origination charges shown in Line 801).

       In the case of “no cost” loans, where “no cost” refers only to the loan originator's fees, the
       amounts shown in Lines 801 and 802 should offset, so that the charge shown on Line 803 is
       zero. Where “no cost” includes third party settlement services, the credit shown in Line 802
       will more than offset the amount shown in Line 801. The amount shown in Line 803 will be a
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       negative number to offset the settlement charges paid indirectly through the loan
       originator.

       Lines 804-808 may be used to record each of the “Required services that we select.” Each
       settlement service provider must be identified by name and the amount paid recorded
       either inside the columns or as paid to the provider outside closing (“P.O.C.”), as described
       in the General Instructions.

       Line 804 is used to record the appraisal fee.

       Line 805 is used to record the fee for all credit reports.

       Line 806 is used to record the fee for any tax service.

       Line 807 is used to record any flood certification fee.

       Lines 808 and additional sequentially numbered lines, as needed, are used to record other
       third party services required by the loan originator. These Lines may also be used to record
       other required disclosures from the loan originator. Any such disclosures must be listed
       outside the columns.

       Lines 901-904. This series is used to record the items which the Lender requires to be paid
       at the time of settlement, but which are not necessarily paid to the lender (e.g., FHA
       mortgage insurance premium), other than reserves collected by the Lender and recorded in
       the 1000-series.

       Line 901 is used if interest is collected at settlement for a part of a month or other period
       between settlement and the date from which interest will be collected with the first regular
       monthly payment. Enter that amount here and include the per diem charges. If such interest
       is not collected until the first regular monthly payment, no entry should be made on Line
       901.

       Line 902 is used for mortgage insurance premiums due and payable at settlement,
       including any monthly amounts due at settlement and any upfront mortgage insurance
       premium, but not including any reserves collected by the Lender and recorded in the 1000-
       series. If a lump sum mortgage insurance premium paid at settlement is included on Line
       902, a note should indicate that the premium is for the life of the loan.

       Line 903 is used for homeowner's insurance premiums that the Lender requires to be paid
       at the time of settlement, except reserves collected by the Lender and recorded in the 1000-
       series.

       Lines 904 and additional sequentially numbered lines are used to list additional items
       required by the Lender (except for reserves collected by the Lender and recorded in the
       1000-series), including premiums for flood or other insurance. These lines are also used to
       list amounts paid at settlement for insurance not required by the Lender.

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       Lines 1000-1007. This series is used for amounts collected by the Lender from the Borrower
       and held in an account for the future payment of the obligations listed as they fall due.
       Include the time period (number of months) and the monthly assessment. In many
       jurisdictions this is referred to as an “escrow”, “impound”, or “trust” account. In addition to
       the property taxes and insurance listed, some Lenders may require reserves for flood
       insurance, condominium owners' association assessments, etc. The amount in line 1001
       must be listed in the columns, and the itemizations in lines 1002 through 1007 must be
       listed outside the columns.

       After itemizing individual deposits in the 1000 series, the servicer shall make an adjustment
       based on aggregate accounting. This adjustment equals the difference between the deposit
       required under aggregate accounting and the sum of the itemized deposits. The
       computation steps for aggregate accounting are set out in 12 CFR 1024.17(d). The
       adjustment will always be a negative number or zero (-0-), except for amounts due to
       rounding. The settlement agent shall enter the aggregate adjustment amount outside the
       columns on a final line of the 1000 series of the HUD-1 or HUD-1A statement. Appendix E to
       this part sets out an example of aggregate analysis.

       Lines 1100-1108. This series covers title charges and charges by attorneys and closing or
       settlement agents. The title charges include a variety of services performed by title
       companies or others, and include fees directly related to the transfer of title (title
       examination, title search, document preparation), fees for title insurance, and fees for
       conducting the closing. The legal charges include fees for attorneys representing the
       lender, seller, or borrower, and any attorney preparing title work. The series also includes
       any settlement, notary, and delivery fees related to the services covered in this series.
       Disbursements to third parties must be broken out in the appropriate lines or in blank lines
       in the series, and amounts paid to these third parties must be shown outside of the columns
       if included in Line 1101. Charges not included in Line 1101 must be listed in the columns.

       Line 1101 is used to record the total for the category of “Title services and lender's title
       insurance.” This amount must be listed in the columns.

       Line 1102 is used to record the settlement or closing fee.

       Line 1103 is used to record the charges for the owner's title insurance and related
       endorsements. This amount must be listed in the columns.

       Line 1104 is used to record the lender's title insurance premium and related endorsements.

       Line 1105 is used to record the amount of the lender's title policy limit. This amount is
       recorded outside of the columns.

       Line 1106 is used to record the amount of the owner's title policy limit. This amount is
       recorded outside of the columns.

       Line 1107 is used to record the amount of the total title insurance premium, including
       endorsements,
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       columns.

       Line 1108 used to record the amount of the total title insurance premium, including
       endorsements, that is retained by the title underwriter. This amount is recorded outside of
       the columns.

       Additional sequentially numbered lines in the 1100-series may be used to itemize title
       charges paid to other third parties, as identified by name and type of service provided.

       Lines 1200-1206. This series covers government recording and transfer charges. Charges
       paid by the borrower must be listed in the columns as described for lines 1201 and 1203,
       with itemizations shown outside the columns. Any amounts that are charged to the seller
       and that were not included on the Good Faith Estimate must be listed in the columns.

       Line 1201 is used to record the total “Government recording charges,” and the amount must
       be listed in the columns.

       Line 1202 is used to record, outside of the columns, the itemized recording charges.

       Line 1203 is used to record the transfer taxes, and the amount must be listed in the
       columns.

       Line 1204 is used to record, outside of the columns, the amounts for local transfer taxes and
       stamps.

       Line 1205 is used to record, outside of the columns, the amounts for state transfer taxes and
       stamps.

       Line 1206 and additional sequentially numbered lines may be used to record specific
       itemized third party charges for government recording and transfer services, but the
       amounts must be listed outside the columns.

       Line 1301 and additional sequentially numbered lines must be used to record required
       services that the borrower can shop for, such as fees for survey, pest inspection, or other
       similar inspections. These lines may also be used to record additional itemized settlement
       charges that are not included in a specific category, such as fees for structural and
       environmental inspections; pre-sale inspections of heating, plumbing or electrical
       equipment; or insurance or warranty coverage. The amounts must be listed in either the
       borrower's or seller's column.

       Line 1400 must state the total settlement charges as calculated by adding the amounts
       within each column.



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       Comparison of Good Faith Estimate (GFE) and HUD-1/1A Charges
       The HUD-1/1-A is a statement of actual charges and adjustments. The comparison chart on
       page 3 of the HUD-1 must be prepared using the exact information and amounts for the
       services that were purchased or provided as part of the transaction, as that information and
       those amounts are shown on the GFE and in the HUD-1. If a service that was listed on the
       GFE was not obtained in connection with the transaction, pages 1 and 2 of the HUD-1
       should not include any amount for that service, and the estimate on the GFE of the charge
       for the service should not be included in any amounts shown on the comparison chart on
       Page 3 of the HUD-1. The comparison chart is comprised of three sections: “Charges That
       Cannot Increase,” “Charges That Cannot Increase More Than 10%,” and “Charges That Can
       Change”.

       “Charges That Cannot Increase.” The amounts shown in Blocks 1 and 2, in Line A, and in
       Block 8 on the borrower's GFE must be entered in the appropriate line in the Good Faith
       Estimate column. The amounts shown on Lines 801, 802, 803 and 1203 of the HUD-1/1A
       must be entered in the corresponding line in the HUD-1/1A column. The HUD-1/1A column
       must include any amounts shown on page 2 of the HUD-1 in the column as paid for by the
       borrower, plus any amounts that are shown as P.O.C. by or on behalf of the borrower. If
       there is a credit in Block 2 of the GFE or Line 802 of the HUD-1/1A, the credit should be
       entered as a negative number.

       “Charges That Cannot Increase More Than 10%.” A description of each charge included in
       Blocks 3 and 7 on the borrower's GFE must be entered on separate lines in this section, with
       the amount shown on the borrower's GFE for each charge entered in the corresponding
       line in the Good Faith Estimate column. For each charge included in Blocks 4, 5 and 6 on the
       borrower's GFE for which the loan originator selected the provider or for which the
       borrower selected a provider identified by the loan originator, a description must be
       entered on a separate line in this section, with the amount shown on the borrower's GFE for
       each charge entered in the corresponding line in the Good Faith Estimate column. The loan
       originator must identify any third party settlement services for which the borrower selected
       a provider other than one identified by the loan originator so that the settlement agent can
       include those charges in the appropriate category. Additional lines may be added if
       necessary. The amounts shown on the HUD-1/1A for each line must be entered in the HUD-
       1/1A column next to the corresponding charge from the GFE, along with the appropriate
       HUD-1/1A line number. The HUD-1/1A column must include any amounts shown on page 2
       of the HUD-1 in the column as paid for by the borrower, plus any amounts that are shown as
       P.O.C. by or on behalf of the borrower.

       The amounts shown in the Good Faith Estimate and HUD-1/1A columns for this section must
       be separately totaled and entered in the designated line. If the total for the HUD-1/1A
       column is greater than the total for the Good Faith Estimate column, then the amount of the
       increase must be entered both as a dollar amount and as a percentage increase in the
       appropriate line.
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       “Charges That Can Change.” The amounts shown in Blocks 9, 10 and 11 on the borrower's
       GFE must be entered in the appropriate lines in the Good Faith Estimate column. Any third
       party settlement services for which the borrower selected a provider other than one
       identified by the loan originator must also be included in this section. The amounts shown
       on the HUD-1/1A for each charge in this section must be entered in the corresponding line
       in the HUD-1/1A column, along with the appropriate HUD-1/1A line number. The HUD-1/1A
       column must include any amounts shown on page 2 of the HUD-1 in the column as paid for
       by the borrower, plus any amounts that are shown as P.O.C. by or on behalf of the borrower.
       Additional lines may be added if necessary.



       Loan Terms
       This section must be completed in accordance with the information and instructions
       provided by the lender. The lender must provide this information in a format that permits
       the settlement agent to simply enter the necessary information in the appropriate spaces,
       without the settlement agent having to refer to the loan documents themselves. For reverse
       mortgages, the initial monthly amount owed for principal, interest, and any mortgage
       insurance must read “N/A” and the loan term is disclosed as “N/A” when the loan term is
       conditioned upon the occurrence of a specified event, such as the death of the borrower or
       the borrower no longer occupying the property for a certain period of time. Additionally, for
       reverse mortgages the question “Even if you make payments on time, can your loan balance
       rise?” must be answered as “Yes” and the maximum amount disclosed as “Unknown.”

       For reverse mortgages that establish an arrangement for the payment of property taxes,
       homeowner's insurance, or other recurring charges through draws from the principal limit,
       the second box in the “Total monthly amount owed including escrow payments” section
       must be checked. The blank following the first $ must be completed with “0” and an asterisk,
       and all items that will be paid using draws from the principal limit, such as for property taxes,
       must also be indicated. An asterisk must also be placed in this section with the following
       statement: “Paid by or through draws from the principal limit.” Reverse mortgage
       transactions are not considered to be balloon transactions for the purposes of the loan
       terms disclosed on page 3 of the HUD-1.



       Instructions for Completing HUD-1A
       Note: The HUD-1A is an optional form that may be used for refinancing and subordinate-
       lien federally related mortgage loans, as well as for any other one-party transaction that
       does not involve the transfer of title to residential real property. The HUD-1 form may also
       be used for such transactions, by utilizing the borrower's side of the HUD-1 and following
       the relevant parts of the instructions as set forth above. The use of either the HUD-1 or HUD-
       1A is not mandatory for open-end lines of credit (home-equity plans), as long as the
       provisions of Regulation
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       Background
       The HUD-1A settlement statement is to be used as a statement of actual charges and
       adjustments to be given to the borrower at settlement, as defined in this part. The
       instructions for completion of the HUD-1A are for the benefit of the settlement agent who
       prepares the statement; the instructions are not a part of the statement and need not be
       transmitted to the borrower. There is no objection to using the HUD-1A in transactions in
       which it is not required, and its use in open-end lines of credit transactions (home-equity
       plans) is encouraged. It may not be used as a substitute for a HUD-1 in any transaction that
       has a seller.

       Refer to the “definitions” section (§ 1024.2) of 12 CFR part 1024 (Regulation X) for specific
       definitions of terms used in these instructions.



       General Instructions
       Information and amounts may be filled in by typewriter, hand printing, computer printing, or
       any other method producing clear and legible results. Refer to 12 CFR 1024.9 regarding
       rules for reproduction of the HUD-1A. Additional pages may be attached to the HUD-1A for
       the inclusion of customary recitals and information used locally for settlements or if there
       are insufficient lines on the HUD-1A. The settlement agent shall complete the HUD-1A in
       accordance with the instructions for the HUD-1 to the extent possible, including the
       instructions for disclosing items paid outside closing and for no cost loans.

       Blank lines are provided in section L for any additional settlement charges. Blank lines are
       also provided in section M for recipients of all or portions of the loan proceeds. The names
       of the recipients of the settlement charges in section L and the names of the recipients of
       the loan proceeds in section M should be set forth on the blank lines.



       Line-Item Instructions

       Page 1
       The identification information at the top of the HUD-1A should be completed as follows:
       The borrower's name and address is entered in the space provided. If the property securing
       the loan is different from the borrower's address, the address or other location information
       on the property should be entered in the space provided. The loan number is the lender's
       identification number for the loan. The settlement date is the date of settlement in
       accordance with 12 CFR 1024.2, not the end of any applicable rescission period. The name
       and address of the lender should be entered in the space provided.

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       Section L. Settlement Charges. This section of the HUD-1A is similar to section L of the HUD-
       1, with minor changes or omissions, including deletion of lines 700 through 704, relating to
       real estate broker commissions. The instructions for section L in the HUD-1 should be
       followed insofar as possible. Inapplicable charges should be ignored, as should any
       instructions regarding seller items.

       Line 1400 in the HUD-1A is for the total settlement charges charged to the borrower. Enter
       this total on line 1601. This total should include section L amounts from additional pages, if
       any are attached to this HUD-1A.

       Section M. Disbursement to Others. This section is used to list payees, other than the
       borrower, of all or portions of the loan proceeds (including the lender, if the loan is paying
       off a prior loan made by the same lender), when the payee will be paid directly out of the
       settlement proceeds. It is not used to list payees of settlement charges, nor to list funds
       disbursed directly to the borrower, even if the lender knows the borrower's intended use of
       the funds.

       For example, in a refinancing transaction, the loan proceeds are used to pay off an existing
       loan. The name of the lender for the loan being paid off and the pay-off balance would be
       entered in section M. In a home improvement transaction when the proceeds are to be paid
       to the home improvement contractor, the name of the contractor and the amount paid to
       the contractor would be entered in section M. In a consolidation loan, or when part of the
       loan proceeds is used to pay off other creditors, the name of each creditor and the amount
       paid to that creditor would be entered in section M. If the proceeds are to be given directly
       to the borrower and the borrower will use the proceeds to pay off existing obligations, this
       would not be reflected in section M.

       Section N. Net Settlement. Line 1600 normally sets forth the principal amount of the loan as
       it appears on the related note for this loan. In the event this form is used for an open-ended
       home equity line whose approved amount is greater than the initial amount advanced at
       settlement, the amount shown on Line 1600 will be the loan amount advanced at
       settlement. Line 1601 is used for all settlement charges that both are included in the totals
       for lines 1400 and 1602, and are not financed as part of the principal amount of the loan.
       This is the amount normally received by the lender from the borrower at settlement, which
       would occur when some or all of the settlement charges were paid in cash by the borrower
       at settlement, instead of being financed as part of the principal amount of the loan. Failure
       to include any such amount in line 1601 will result in an error in the amount calculated on
       line 1604. Items paid outside of closing (P.O.C.) should not be included in Line 1601.

       Line 1602 is the total amount from line 1400.

       Line 1603 is the total amount from line 1520.

       Line 1604 is the amount disbursed to the borrower. This is determined by adding together
       the amounts for lines 1600 and 1601, and then subtracting any amounts listed on lines 1602
       and 1603.
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       Page 2
       This section of the HUD-1A is similar to page 3 of the HUD-1. The instructions for page 3 of
       the HUD-1 should be followed insofar as possible. The HUD-1/1A Column should include
       any amounts shown on page 1 of the HUD-1A in the column as paid for by the borrower,
       plus any amounts that are shown as P.O.C. by the borrower. Inapplicable charges should be
       ignored.




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       Editorial Note:At 78 FR 80105, Dec. 31, 2013, appendix A to part 1024 was amended;
       however, amendatory instructions E and F could not be incorporated due to inaccurate
       amendatory instructions.




           Previous section - § 1024.41 (cfpb.gov/r                           Next section - B (cfpb.gov/rules-policy/r
           ules-policy/regulations/1024/2017-10-1                                    egulations/1024/2017-10-19/b/)
           9/41/)                                                              Appendix B to Part 1024 — Illustrations
           § 1024.41 Loss mitigation procedures.                                           of Requirements of RESPA



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                                LOAN AGREEMENT

                              Dated as of May 23, 2018

                                       among

                           GALLERIA 2425 OWNER, LLC,

                                    as Borrower,

            NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH,

                               as Administrative Agent,

                                         and

NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH, and certain other lenders who
                    may now or later be made party hereto,

                               collectively, as Lenders




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EXHIBIT B - Form of Assignment and Assumption Agreement

SCHEDULE 13.12 - Amount of Loan Attributable to Lender

SCHEDULE 15.1 - Lenders’ Offices, Addresses for Notices




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                                         LOAN AGREEMENT

       THIS LOAN AGREEMENT dated as of May 23, 2018 (as amended, restated, replaced,
supplemented or otherwise modified from time to time, this “Agreement”), among (1) GALLERIA 2425
OWNER, LLC, a Delaware limited liability company, having an address at 3139 W Holcombe Blvd #845,
Houston, Texas 77025 (“Borrower”), (2) the Lenders (as hereinafter defined), and (3) NATIONAL
BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH, a banking corporation organized under the laws
of Kuwait, acting through its New York branch, having an address at 299 Park Avenue, New York, New
York 10171, as administrative and collateral agent for the Lenders (in such capacity, and together with its
successors and assigns, “Administrative Agent”).

                                              RECITALS:

       WHEREAS, Lenders have agreed to make a certain $51,675,000.00 loan to Borrower (the
“Loan”); and

        WHEREAS, the Loan shall be (i) governed by this Agreement, (ii) evidenced by the Note (as
hereinafter defined), and (iii) secured by the Deed of Trust (as hereinafter defined).

        NOW THEREFORE, in consideration of the making of the Loan by the Lenders and the
covenants, agreements, representations and warranties set forth in this Agreement, the parties hereto
hereby covenant, agree, represent and warrant as follows:

                                         ARTICLE I
                         DEFINITIONS; PRINCIPLES OF CONSTRUCTION

        Section 1.1. Definitions. For all purposes of this Agreement, except as otherwise expressly
required or unless the context clearly indicates a contrary intent:

       “Access Laws” shall mean, collectively, the Americans with Disabilities Act of 1990, the Fair
Housing Amendments Act of 1988, all other federal, state and local laws, regulations, rules, statutes,
ordinances, orders and decrees related to handicapped access, including, without limitation, the American
with Disabilities Act Accessibility Guidelines for Buildings and Facilities.

        “Action Notice” shall have the meaning set forth in Section 13.15 hereof.
        “Actual Proceeds” shall have the meaning set forth in Section 8.3 hereof.

        “Administrative Agent Loan Documents” shall have the meaning set forth in Section 13.1 hereof.

        “Affiliate” shall mean, as to any specified Person, (a) any Person that directly or indirectly
through one or more intermediaries Controls, is Controlled by or is under common Control with such
Person, (b) any Person owning or controlling 10% or more of the outstanding voting securities of or other
ownership interests in such Person, (c) any officer, director, partner, employee or member (direct or
indirect and no matter how remote) of such Person, (d) if such Person is an individual, any entity for
which such Person directly or indirectly acts as an officer, director, partner, owner employee or member,
(e) any entity in which such Person (together with the members of his family if the Person in question is
an individual) owns, directly or indirectly through one or more intermediaries an interest in any class of
stock (or other beneficial interest in such entity) of 10% or more, (f) any immediate family member of
such Person, (g) with respect to any Borrower or Guarantor, any other Borrower or Guarantor, or (h) with
respect to any Borrower or Guarantor, any direct or indirect owner of an interest in such Borrower or
Guarantor.




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        “Affiliated Manager” shall have the meaning set forth in Section 7.1 hereof.

        “Agent Discretion Standard” shall have the meaning set forth in Section 13.15 hereof.

        “Annex” shall have the meaning set forth in Section 4.23 hereof.

        “Applicable Percentage” shall have the meaning set forth in Section 8.3 hereof.

        “Appraised Value” shall have the meaning set forth in Section 5.29 hereof.

        “Approving Lenders” shall have the meaning set forth in Section 13.3 hereof.

        “Assignee” shall have the meaning set forth in Section 12.1 hereof.

       “Assignment of Agreements, Licenses, Permits and Contracts” shall mean the Assignment of
Agreements, Licenses, Permits and Contracts dated as of the Closing Date, made by Borrower to
Administrative Agent, on behalf of Lenders, as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time.

        “Assignment of Interest Rate Agreement” shall mean, with respect to any Interest Rate Protection
Product entered into between Borrower and a third-party, an Assignment of Interest Rate Agreement
made by Borrower to Administrative Agent, on behalf of Lenders, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time.

        “Assignment of Leases and Rents” shall mean the absolute assignment by Borrower to
Administrative Agent of the Property Income with respect to the Property and the Project pursuant to that
certain Absolute Assignment of Leases and Rents dated as of the Closing Date made by Borrower to
Administrative Agent, on behalf of Lenders, encumbering the Project, as the same may be amended,
restated, replaced, supplemented or otherwise modified from time to time.

      “Award” shall mean any compensation paid by any Governmental Authority in connection with a
Condemnation in respect of all or any part of the Project.

        “Balance” shall have the meaning set forth in Section 8.3 hereof.
        “Benefit Plan” shall mean any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA, Section 412 of the Internal Revenue Code or Section 302
or 303 of ERISA, that is or, within any of the preceding six (6) plan years was, sponsored, maintained or
contributed to by Borrower or any of its Subsidiaries or ERISA Affiliates (or by any Person that was an
ERISA Affiliate within the last six (6) years), or with respect to which Borrower or any of its Subsidiaries
or ERISA Affiliates has any liability, whether actual or contingent.
       “Benefit Plan Investor” shall mean any of the following: (a) an “employee benefit plan” (within
the meaning of Section 3(3) of ERISA), whether or not it is subject to ERISA and including governmental
and foreign plans, (b) a “plan” as defined in Section 4975 of the Internal Revenue Code of 1986, as
amended, or (c) a Person whose underlying assets include “plan assets” of the foregoing by reason of
investment by an employee benefit plan or plan in such Person.

        “Borrower Materials” shall have the meaning set forth in Section 12.2 hereof.
        “Borrower Members” shall have the meaning set forth in Section 4.1 hereof.




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         “Borrower Operating Agreement” shall mean Borrower’s Amended and Restated Limited
Liability Company Agreement dated as of May 23, 2018, as the same may hereafter be amended in
accordance with the terms and provisions hereof.

        “Business Day” shall have the meaning set forth in the Note.

        “Casualty” shall have the meaning set forth in Section 8.3 hereof.

        “Closing Date” shall mean the date hereof.

        “Condemnation” shall mean a temporary or permanent taking by any Governmental Authority as
the result, in lieu or in anticipation, of the exercise of the right of condemnation or eminent domain, of all
or any part of the Project, or any interest therein or right accruing thereto, including any right of access
thereto or any change of grade affecting the Project or any part thereof.

        “Consented Assignee” shall have the meaning set forth in Section 12.1 hereof.
         “Contractual Obligation” shall mean as to any Person, any provision of any security issued by
such Person or of any agreement, instrument or undertaking, to which such Person is a party or by which
it or any of its property is bound, or any provision of the foregoing.

        “Control” shall have the meaning set forth in Section 7.1 hereof.

        “Control Account Agreement” means that certain Control Account Agreement dated as of May
18, 2018 and effective as of the Closing Date, entered into by and among Borrower, Administrative Agent
and Frost Bank, a Texas state bank, with respect to Borrower’s deposit account, as more particularly
described therein.

        “Coverage Advance” shall have the meaning set forth in Section 13.11 hereof.
         “Creditors’ Rights Laws” shall mean with respect to any Person any existing or future law of any
jurisdiction, domestic or foreign, relating to bankruptcy, insolvency, reorganization, conservatorship,
arrangement, adjustment, winding-up, liquidation, dissolution, composition or other relief with respect to
its debts or debtors.

        “DSCR” shall have the meaning set forth in Section 5.28 hereof.

        “DSCR Threshold” shall have the meaning set forth in Section 5.28 hereof.
       “Debt” shall mean the outstanding principal amount set forth in, and evidenced by, this
Agreement and the Note, together with all interest accrued and unpaid thereon and all other sums due to
Lenders in respect of the Loan under the Note, this Agreement, the Deed of Trust or any other Loan
Document.

        “Debt Service” shall mean, with respect to any particular period of time, scheduled interest and
principal payments under the Note and/or this Agreement.

        “Debt Service Payments” shall have the meaning set forth in Section 13.12 hereof.

         “Deed of Trust” shall mean that certain Deed of Trust, Assignment of Leases and Rents and
Profits, Security Agreement and Fixture Filing dated as of the Closing Date made by Borrower to Salima
Umatiya, as trustee, for the benefit of Administrative Agent, on behalf of Lenders, in the principal amount
of $51,675,000.00, encumbering the Project, as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time.


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        “Default” shall mean the occurrence of any event hereunder or under any other Loan Document
which, but for the giving of notice or passage of time, or both, would be an Event of Default.

        “Defaulting Lender” shall have the meaning set forth in Section 13.16 hereof.

        “Defaulting Lender’s Interest” shall have the meaning set forth in Section 13.16 hereof.

        “Disapproving Lenders” shall have the meaning set forth in Section 13.3 hereof.

        “Dollars” or “$” shall mean lawful money of the United States of America.

        “Eligible Assignee” shall have the meaning set forth in Section 12.1 hereof.

        “Embargoed Person” shall have the meaning set forth in Section 4.22 hereof.

       “Engineering Report” shall mean any written report resulting from the property condition
assessments of the Project delivered to Administrative Agent in connection with the Loan.

       “Environmental Indemnity Agreement” shall mean that certain Environmental Indemnity
Agreement dated as of the Closing Date made by Borrower and Guarantor in favor of Administrative
Agent, on behalf of Lenders, as the same may be amended, restated, replaced, supplemented or otherwise
modified from time to time.

       “Environmental Report” shall mean any written report resulting from the environmental site
assessments of the Project delivered to Administrative Agent in connection with the Loan.

       “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as amended from
time to time and any successor statutes thereto and applicable regulations issued pursuant thereto in
temporary or final form.

       “ERISA Affiliate” shall mean any trade or business (whether or not incorporated) that, together
with Borrower, is treated as a single employer under Section 414(b), (c), (m) or (o) of the Internal
Revenue Code.

         “ERISA Event” shall mean (a) any “reportable event”, as defined in Section 4043 of ERISA or
the regulations issued thereunder with respect to a Benefit Plan (other than an event for which the 30 day
notice period is waived); (b) a failure to satisfy the minimum funding standards of Section 412 of the
Internal Revenue Code or Section 302 of ERISA, whether or not waived; (c) the filing pursuant to Section
412(c) of the Internal Revenue Code or Section 302(c) of ERISA of an application for a waiver of the
minimum funding standards with respect to any Benefit Plan; (d) a failure to make any required
installment under Section 430(j) of the Internal Revenue Code with respect to any Benefit Plan; (e) a
failure to make any required contribution to a Multiemployer Plan when due; (f) the incurrence by
Borrower or any of its ERISA Affiliates of any liability under Title IV of ERISA with respect to the
termination of any Benefit Plan; (g) the receipt by Borrower or any ERISA Affiliate from the PBGC or a
plan administrator of any notice relating to an intention to terminate any Benefit Plan or Benefit Plans or
to appoint a trustee to administer any Benefit Plan; (h) the incurrence by Borrower or any of its ERISA
Affiliates of any liability with respect to the withdrawal or partial withdrawal from any Benefit Plan or
Multiemployer Plan; (i) the receipt by Borrower or any ERISA Affiliate of any notice, or the receipt by
any Multiemployer Plan from Borrower or any ERISA Affiliate of any notice, concerning the imposition
of Withdrawal Liability; (j) a determination that a Multiemployer Plan is, or is expected to be, insolvent
or in reorganization, or in endangered or critical status within the meaning of Section 432 of the Internal
Revenue Code or Title IV of ERISA; (k) a determination that any Benefit Plan is in “at risk” status (as
defined in Section 430 of the Internal Revenue Code or Section 303 of ERISA); or (l) the imposition of a


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Lien under the Internal Revenue Code or ERISA on the assets of Borrower, any Subsidiary or any ERISA
Affiliate, or Borrower or any Subsidiary or ERISA Affiliate has been notified in writing that such a Lien
will be imposed on the assets of Borrower, Subsidiary or ERISA Affiliate.

        “Event of Default” shall have the meaning set forth in Section 10.1 hereof.

        “Excess Funds” shall have the meaning set forth in Section 8.3 hereof.

        “Existing Leases” means (i) the Key Tenant Lease, (ii) the Jetall Lease, (iii) the Regus Lease, (iv)
Official Lease Agreement, dated October 3, 2012, by and between G3 Visas & Passports, Inc., as tenant,
and Borrower, as successor-in-interest to Seller, as landlord, as amended by First Amendment to Lease
Agreement, (v) Lease Agreement, dated November 1, 2014, by and between PEM Offshore, Inc., a Texas
corporation, as tenant, and Borrower, as successor-in-interest to Seller, as landlord, as amended by First
Amendment to Lease Agreement, (vi) Lease Agreement, dated November 1, 2014, by and between
PrimeLending, a PlainsCapital Company, a Texas Corporation, as tenant, and Borrower, as successor-in-
interest to Seller, as landlord, as amended by First Amendment to Lease Agreement, (vii) Lease
Agreement, dated December 2016, by and between SIBS International, Inc. a Texas corporation, as tenant,
and Borrower, as successor-in-interest to Seller, as landlord, (viii) Lease Agreement, dated November 1,
2014, by and between Uptown Cosmetic and Implant Dentistry/Dr. Robert Velasco, DDS, as tenant, and
Borrower, as successor-in-interest to Seller, as landlord, (ix) Lease Agreement, dated December 1, 2015,
by and between Vasso’s Bar and Grill, as tenant, and Borrower, as successor-in-interest to Seller, as
landlord, and (x) Lease Agreement, dated January 1, 2015, by and between Wallis State Bank, as tenant,
and Borrower, as successor-in-interest to Seller, as landlord; as each has been and may hereafter be
amended, extended, restated and assigned in accordance with the terms and provisions of this Agreement.

         “FATCA” shall mean (i) Sections 1471 through 1474 of the Internal Revenue Code, as of the date
of this Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official interpretations
thereof and any agreements entered into pursuant to the foregoing and (ii) any similar law adopted by any
non-U.S. Governmental Authority pursuant to an intergovernmental agreement between such non-U.S.
jurisdiction and the United States.

        “Federal Funds Rate” shall mean, for any day, the rate per annum (rounded upwards, if necessary,
to the nearest 1/100 of 1%) equal to the weighted average of the rates on overnight Federal funds
transactions with members of the Federal Reserve System arranged by Federal funds brokers on such day,
as published by the Federal Reserve Bank of New York on the Business Day next succeeding such day;
provided that (a) if such day is not a Business Day, the Federal Funds Rate for such day shall be such rate
on such transactions on the next preceding Business Day as so published on the next succeeding Business
Day, and (b) if no such rate is so published on such next succeeding Business Day, the Federal Funds
Rate for such day shall be the average rate charged to NBK on such day on such transactions as
determined by Administrative Agent.

      “Fee Letter” shall mean that certain Fee Letter dated as of the Closing Date between Borrower
and NBK.

        “Financial Statements” shall have the meaning set forth in Section 5.11 hereof.

         “Governmental Authority” shall mean any court, board, agency, department, commission, office
or other authority of any nature whatsoever for any governmental unit (federal, state, county, municipal,
city, town, special district or otherwise) whether now or hereafter in existence.

        “Guarantor” shall mean Bradley Parker, an individual.


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        “Guaranty” shall mean that certain Guaranty, dated as of the Closing Date, made by Guarantor for
the benefit of Administrative Agent, on behalf of Lenders, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time.

        “Indemnified Liabilities” shall have the meaning set forth in Section 14.1 hereof.

        “Indemnified Parties” shall mean (a) Lenders, (b) Administrative Agent, (c) any prior owner or
holder of the Loan or Participations in the Loan, (d) any servicer or prior servicer of the Loan, (e) any
Participant or Assignee or any prior Participant or Assignee of the Loan, (f) any trustees, custodians or
other fiduciaries who hold or who have held a full or partial interest in the Loan for the benefit of any
Participant or Assignee or other third party, (g) any receiver or other fiduciary appointed in a foreclosure
or other Creditors’ Rights Laws proceeding, (h) any officers, directors, shareholders, partners, member,
employees, agents, servants, representatives, contractors, subcontractors, affiliates or subsidiaries of any
and all of the foregoing, and (i) the heirs, legal representatives, successors and assigns of any and all of
the foregoing (including, without limitation, any successors by merger, consolidation or acquisition of all
or a substantial portion of the Indemnified Parties’ assets and business), in all cases whether during the
term of the Loan or as part of or following a foreclosure of the Deed of Trust.

        “Inspector” shall have the meaning set forth in Section 8.3 hereof.

        “Insurance Certificates” shall have the meaning set forth in Section 8.1(b) hereof.
        “Insurance Premiums” shall have the meaning set forth in Section 8.1(b) hereof.

        “Insurance Proceeds” shall have the meaning set forth in Section 8.3 hereof.

       “Intercreditor Agreement” shall mean that certain Intercreditor Agreement, dated as of the
Closing Date, by and between Administrative Agent, Lenders and Mezzanine Lender.

        “Interest Rate” shall have the meaning set forth in the Note.

         “Interest Rate Protection Products” shall mean any interest rate hedging agreement(s) relating to
the Loan entered into by Borrower, any Lender or any Affiliate of any Lender, including, without
limitation, any Transaction (as defined in any ISDA Master Agreement), and any interest rate swap, basis
swap, forward rate transaction, commodity swap, commodity option, equity or index swap or option bond,
note or bill option, interest rate option, forward foreign exchange transaction, cap, collar, or floor
transaction, currency swap, cross currency swap, swap option, currency option, or any similar transaction,
including, without limitation, under any ISDA Master Agreement, entered into by Borrower, any Lender
or any affiliate of Lenders.

        “Interest Reserve Account” shall have the meaning set forth in Section 3.18 hereof.

        “Internal Revenue Code” shall mean the Internal Revenue Code of 1986, as amended, as it may
be further amended from time to time, and any successor statutes thereto, and applicable U.S. Department
of Treasury regulations issued pursuant thereto in temporary or final form.

        “Involuntary Rate” shall have the meaning set forth in the Note.
       “ISDA Master Agreement” shall mean any Master Agreement published by the International
SWAP Dealers Association, Inc. or commonly used by swap dealers, as the same may be amended by any
Lender or any Affiliate of such Lender.

      “Jetall Lease” shall mean that certain Lease Agreement dated April 1, 2016 by and between Jetall
Companies, Inc., as tenant, and Borrower, as successor-in-interest to Seller, as landlord.

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        “Judgment Amount” shall have the meaning set forth in Section 13.15 hereof.

        “Key Principal” shall mean, collectively, Azeemeh Zaheer, an individual, and NCRE.

        “Key Tenant” shall mean Specialty Retailers, Inc., a Texas corporation.

        “Key Tenant Lease” shall mean that certain Office Lease Agreement, dated as of May 27, 2015,
by and between Key Tenant and Borrower, as successor-in-interest to Seller, as landlord.

         “Lease” shall mean the Existing Leases and any lease entered into by Borrower, as landlord, for
all or any portion of the Project.

         “Legal Requirements” shall mean all statutes, laws, rules, orders, regulations, ordinances,
judgments, decrees and injunctions of Governmental Authorities affecting Borrower or the Project or any
part thereof, or the construction, use, alteration or operation thereof, whether now or hereafter enacted and
in force, and all permits, licenses, authorizations and regulations relating thereto, and all covenants,
agreements, restrictions and encumbrances contained in any instruments, either of record or known to
Borrower, at any time in force affecting Borrower or the Project or any part thereof, including, without
limitation, any which may (a) require repairs, modifications or alterations in or to the Project or any part
thereof, or (b) in any way limit the use and enjoyment thereof.

        “Lender Interest Rate” shall have the meaning set forth in Section 13.11 hereof.

        “Lender(s)” shall mean, individually and collectively, any financial institution that either (a) is
listed on the signature pages hereof as a “Lender” or (b) from time to time becomes a party hereto
pursuant to the terms and provisions of this Agreement, in each case together with its successors.

         “Lien” shall mean any mortgage, deed of trust, lien, pledge, hypothecation, assignment, security
interest, or any other encumbrance, charge or transfer of, on or affecting Borrower, the Project, any
portion thereof or any interest therein, including, without limitation, any conditional sale or the title
retention agreement, any financing lease having substantially the same economic effect as any of the
foregoing, the filing of any financing statement, and mechanics’, materialmens’ and other similar liens
and encumbrances.

        “Loan” shall have the meaning set forth in the Recitals.
         “Loan Documents” shall mean, collectively, this Agreement, the Note, the Deed of Trust, the
Assignment of Leases and Rents, the Guaranty, the Environmental Indemnity Agreement, the Assignment
of Agreements, Licenses, Permits and Contracts, the Subordination of Management Agreement, the Fee
Letter, the Intercreditor Agreement, the Control Account Agreement, any Assignment of Interest Rate
Agreement entered into after the Closing Date and any and all other documents, agreements and
certificates executed and/or delivered in connection with the Loan, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time. Loan Documents shall also include any
Interest Rate Protection Product or ISDA Master Agreement.

          “Losses” shall mean any and all claims, suits, liabilities (including, without limitation, strict
liabilities), actions, proceedings, obligations, debts, damages, losses, costs, expenses, fines, penalties,
charges, fees, judgments, awards, amounts paid in settlement of whatever kind or nature (including, but
not limited to, legal fees and other costs of defense).

        “LTVR” shall have the meaning set forth in Section 5.29 hereof.

        “LTVR Threshold” shall have the meaning set forth in Section 5.29 hereof.


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        “Management Agreement” shall mean, with respect to the Project, that certain Property
Management Agreement dated on or about the Closing Date by and between Borrower and Manager,
pursuant to which such Manager is to provide management, leasing and other services with respect to the
Project, as the same may be amended, restated, replaced, supplemented or otherwise modified in
accordance with the terms of this Agreement.

        “Manager” shall mean (a) Boxer Property Management Corporation, a Texas corporation, (b) a
Qualified Manager, or (c) any other management organization prior to whose employment as manager of
the Project, such employment shall have been approved by Administrative Agent, which approval shall
not be unreasonably delayed, conditioned or denied.

         “Material Lease” shall mean (i) the Key Tenant Lease, (ii) the Regus Lease, (iii) the Jetall Lease,
and (iv) any Lease which (A) individually or in the aggregate (with respect to such Tenant and its
Affiliates) cover more than 20,000 square feet of the Improvements, (B) provide the Tenant under such
Lease with an option or other preferential right to purchase all or any portion of the Project, or (C) the
Tenant under such Lease is an Affiliate of the Borrower.

        “Maturity Date” shall have the meaning set forth in the Note.

        “Maximum Rate” shall have the meaning set forth in the Note.

        “Mezzanine Borrower” shall mean the Sole Member.
      “Mezzanine Lender” shall mean Naissance Galleria, LLC, a Cayman Islands limited liability
company.

      “Mezzanine Loan” shall mean the $16,100,000 loan made by Mezzanine Lender to Mezzanine
Borrower, secured by the Mezzanine Pledge Agreement.

        “Mezzanine Loan Agreement” shall mean that certain Mezzanine Loan Agreement, dated as of
the Closing Date, by and between Mezzanine Lender and Mezzanine Borrower.

       “Mezzanine Loan Documents” shall have the meaning given to the term “Loan Documents” in
the Mezzanine Loan Agreement.

        “Mezzanine Pledge Agreement” shall mean that certain Pledge and Security Agreement, dated as
of the Closing Date, by and between Mezzanine Borrower and Mezzanine Lender.

        “Multiemployer Plan” shall mean a multiemployer plan as defined in Section 3(37) of ERISA as
to which Borrower or any ERISA Affiliate contributes or, within the last six (6) years, contributed or had
any obligation to contribute or otherwise has any obligation or liability, whether actual or contingent.

        “NCRE” shall mean Naissance Capital Real Estate, LLC, a Delaware limited liability company.

        “NBK” shall mean National Bank of Kuwait, S.A.K.P., New York Branch.

        “Net Operating Income” shall mean the difference between:

                (a)    the sum of (i) actual rent collections for the period in question from Tenants and
other Persons paying rent to Borrower plus (ii) any miscellaneous income actually received by Borrower
from the Project. Net Operating Income shall not include any amounts paid by a Tenant under any Lease,
including without limitation, the Existing Leases, for reimbursement of operating costs and expenses
(including Taxes); and



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                (b)     actual operating expenses for the period in question (not including non-recurring
expenses such as leasing commissions, tenant improvement costs, bonuses paid to managers for turning
over space at the Project, and other renovation expenses), other than: (i) Debt Service due under the Note
and (ii) all operating costs and expenses (including Taxes) payable by a Tenant under any Lease,
including, without limitation, the Existing Leases. Any refunds or rebates to operating expenses are to be
applied and credited against the applicable operating expenses for the period that such operating expenses
were incurred.

        “Note” shall mean that certain Promissory Note dated as of the Closing Date in the original
principal amount of the Loan made by Borrower to Administrative Agent, on behalf of Lenders, as the
same may be amended, restated, replaced, supplemented or otherwise modified from time to time.

        “OECD” shall mean the Organization for Economic Cooperation and Development.
        “OFAC” shall mean the Office of Foreign Assets Control, Department of the Treasury.

        “Organizational Documents” shall mean, as to any Person, the certificate of incorporation and by-
laws with respect to a corporation; the articles of organization (or the equivalent of such items under
applicable state law) and operating agreement with respect to a limited liability company; the certificate
of limited partnership and partnership agreement with respect to a limited partnership, or any other
organizational or governing documents of such Person.

        “Other Charges” shall mean all ground rents, maintenance charges, impositions other than Taxes,
and any other charges, including, without limitation, vault charges and license fees for the use of vaults,
chutes and similar areas adjoining the Project, now or hereafter levied or assessed or imposed against the
Project or any part thereof.

        “Participant” shall have the meaning set forth in Section 12.1 hereof.

        “Participations” shall have the meaning set forth in Section 12.1 hereof.

        “Patriot Act” shall have the meaning set forth in Section 4.23 hereof.

        “Permitted Encumbrances” shall mean, with respect to the Project, collectively, (a) Liens, if any,
for Taxes imposed by any Governmental Authority not yet due and payable or delinquent, (b) Liens for
Taxes being contested in accordance with Section 5.4(d), (c) Liens, if any, for mechanics, materialmen or
laborers which are fully bonded over in accordance with Section 5.4(c), (d) Liens set forth on Schedule B
of the Title Policy, and (e) such other encumbrances as Administrative Agent has approved or may
approve in writing in Administrative Agent’s sole and absolute discretion.

        “Permitted Transfers” shall mean the following:

        (a)     a Lease entered into in accordance with the terms and conditions of the Loan Documents;

        (b)    provided that no Event of Default shall then exist and be continuing, any transfer, Sale or
        Pledge of an interest in Borrower or any Restricted Party to any Person provided that:
                 (i)     such transfer shall not (x) cause the transferee (other than Key Principal), together
                 with its Affiliates, to acquire Control of Borrower or Sole Member or to acquire or
                 increase its direct or indirect interest in Borrower or in Sole Member to an amount which
                 equals or exceeds forty-nine percent (49%) of the equity interests in Borrower or Sole
                 Member, or (y) result in Borrower or Sole Member no longer being Controlled by Key
                 Principal;


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                 (ii)    after giving effect to such Transfer, Key Principal(s) shall continue to Control the
                 day to day operations of Borrower and continue to own at least 51% of all equity interests
                 (direct or indirect) in Borrower; and

                 (iii)  Borrower shall continue to be a single purpose entity in accordance with
                 Section 6.1 and Sole Member shall continue to be the sole managing member of
                 Borrower;

        (c)     provided that no Event of Default shall then exist and be continuing, a transfer for estate
        planning purposes of any Key Principal’s direct or indirect interests in Borrower to the spouse,
        child, parent, grandparent, grandchild, niece, nephew, aunt or uncle of such Key Principal, or to a
        trust for the benefit of such Key Principal or for the benefit of the spouse, child, parent,
        grandparent, grandchild, niece, nephew, aunt or uncle of such Key Principal so long as
        immediately following such transfer, Key Principals continue to Control the day to day operations
        of Borrower.

        “Person” shall mean any individual, corporation, partnership, joint venture, limited liability
company, estate, trust, unincorporated association, any other entity, any federal, state, county or
municipal government or any bureau, department or agency thereof and any fiduciary acting in such
capacity on behalf of any of the foregoing.

        “Pre-Approved Accounting Firm” shall mean Pannell Kerr Forster of Texas, P.C.

        “Plans” shall have the meaning set forth in Section 8.3 hereof.

        “Platform” shall have the meaning set forth in Section 12.2 hereof.
        “Policies” shall have the meaning set forth in Section 8.1(b) hereof.

        “Policy” shall have the meaning set forth in Section 8.1(b) hereof.

        “Prepayment Premium” shall have the meaning set forth in the Note.
        “Prohibited Transfer” shall have the meaning set forth in Section 7.2(a) hereof.

        “Project” shall mean the Property and that certain 281,590 rentable square foot office building
located at the Property, and all other buildings and structures thereon, and all easements, rights, privileges
and appurtenances (including, without limitation, any air or development rights, if any) thereunto
belonging or in any way appurtenant, and all of the estate, right, title, interest, claim or demand
whatsoever of Borrower therein, and all estates, rights, titles, interests, privileges, tenements,
hereditaments, and appurtenances of any nature whatsoever, in any way belonging, relating or pertaining
to the Property, either in law or in equity, in possession or expectancy, now or hereafter acquired.

       “Property” shall mean that certain parcel of land located at 2425 West Loop South, City of
Houston, County of Harris, State of Texas.

        “Property Income” shall mean all rents, income, issues, profits, security deposits and other
benefits to which Borrower may now or hereafter be entitled from the Project.

        “Provided Information” shall have the meaning set forth in Section 12.1 hereof.

        “Pro Rata Share” shall have the meaning set forth in Section 13.12 hereof.




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        “PSA” shall mean the Contract of Sale dated as of April 16, 2018 by and between Sole Member
and Seller, as assigned by Sole Member to Borrower pursuant to that certain Assignment and Assumption
of Contract dated as of the Closing Date.

        “Purchase Price” shall have the meaning set forth in Section 13.3 hereof.

         “Qualified Manager” shall mean a property manager which (i) is a reputable and experienced
professional management company having at least five (5) years’ experience in the management of
commercial properties with similar uses as the Project and in the jurisdiction in which the Project is
located, (ii) has, for at least three (3) years prior to its proposed engagement as “Manager”, managed at
least five (5) properties of the same property type, quality and size as the Project, and (iii) is not the
subject of a bankruptcy or similar insolvency proceeding. For the avoidance of doubt, an Affiliate of the
Manager initially named in this Agreement shall be deemed to be a “Qualified Manager” for purposes of
this Agreement.

        “Regus Lease” shall mean the Lease Agreement dated February 29, 1995, as amended by
Amendment No. 1 to Lease Agreement dated July 28, 1997, Amendment No. 2 to Lease Agreement dated
February 26, 2001, Amendment No. 3 to Lease Agreement effective as of January 1, 2005, Amendment
No. 4 to Lease Agreement effective as of October 3, 2011, Amendment No. 5 to Lease Agreement
effective as of October 3, 2011, Amendment No. 6 to Lease Agreement effective as of September 11,
2012 and Amendment No. 7 to Lease Agreement effective as of November 15, 2012, by and between
RGN-Houston XXXIX, as successor-in-interest to Abby Executive Suites, West Loop, Inc. and Abby
Office Centers, Uptown, Ltd., as tenant, and Borrower, as successor-in-interest to Seller, as landlord.
        “Required Lenders” shall have the meaning set forth in Section 13.2 hereof.

        “Restoration Account” shall have the meaning set forth in Section 8.3 hereof.

        “Restoration Work” shall have the meaning set forth in Section 8.3 hereof.

        “Restricted Party” shall have the meaning set forth in Section 7.1 hereof.

        “Sale or Pledge” shall have the meaning set forth in Section 7.1 hereof.

        “Seller” shall mean 2425 West Loop, LP, a Texas limited partnership.
        “Servicer” shall have the meaning set forth in Section 12.1 hereof.

        “Servicing Fee” shall have the meaning set forth in Section 13.17 hereof.

        “SNDA” shall mean a Subordination, Non-Disturbance and Attornment Agreement.

      “Sole Member” shall mean Galleria 2425 JV, LLC, a Delaware limited liability company, the sole
member of Borrower.

        “State” shall mean, with respect to the Project, the state in which the Project or any part thereof is
located, and with respect to Borrower, the state of Borrower’s organization.

       “Subordination of Management Agreement” shall mean, during such time as a Management
Agreement may be in place, that certain Assignment and Subordination of Management Agreement
among Administrative Agent, Borrower and Manager, as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time.




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        “Subsidiary” shall mean any corporation, partnership, limited liability company or other entity in
which a Person holds an equity interest which is more than twenty percent (20%) of the equity classes
issued by such entity.

        “Syndication” shall have the meaning set forth in Section 12.1 hereof.

         “Taxes” shall mean all real estate and personal property taxes, assessments, water rates or sewer
rents, now or hereafter levied, assessed, or imposed against the Project (or any part thereof).

        “Telecom Leases” shall mean leases with telecommunications providers or their affiliates or
agents for the installation and maintenance of communication equipment, including, without limitation,
antennas, at the Property.

        “Tenant” shall mean any Person leasing, subleasing or otherwise occupying any portion of the
Project under a Lease or other occupancy agreement with Borrower or any predecessor-in-interest to
Borrower.

        “Term” shall have the meaning set forth in the Note.

        “Title Company” shall have the meaning set forth in Section 3.2 hereof.
        “Title Policy” shall have the meaning set forth in Section 3.2 hereof.

        “UCC” or “Uniform Commercial Code” shall mean the Uniform Commercial Code as in effect in
the State.

      “West Loop” shall mean Galleria West Loop Investments II, LLC, a Texas limited liability
company.

         “Withdrawal Liability” shall mean liability to a Multiemployer Plan as a result of a complete or
partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title
IV of ERISA.

        Section 1.2. Interpretation. Unless the context of this Agreement otherwise clearly requires, the
following rules of construction shall apply to this Agreement and each of the Loan Documents:

                (a)     Number; Inclusion. To the extent the context so requires, references to the plural
include the singular, references to the singular include the plural, and references to the part include the
whole; “or” has the inclusive meaning represented by the phrase “and/or”; and “including” has the
meaning represented by the phrase “including, without limitation,”;

                 (b)    Determination. References to “determination” of or by Administrative Agent or
Lenders shall be deemed to include good-faith estimates by Administrative Agent or Lenders (in the case
of quantitative determinations), and good-faith beliefs by Administrative Agent or Lenders (in the case of
qualitative determinations), and such determination shall be conclusive absent manifest error;

                 (c)     Construction. This Agreement and all other Loan Documents shall be construed
without regard to any presumption or other rule requiring construction against the party causing this
Agreement and all such other Loan Documents to be drafted. If any words or phrases in this Agreement
or any other Loan Document shall have been stricken out or otherwise eliminated, whether or not any
other words or phrases have been added, this Agreement and all other Loan Documents shall be construed
as if the words or phrase so stricken out or otherwise eliminated were never included herein or therein and
no implication or inference shall be drawn from the fact that said words or phrases were so stricken out or
otherwise eliminated;

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                 (d)     Agent’s or Lenders Discretion and Consent. Whenever Administrative Agent or
Lenders are granted the right herein or in any Loan Document to make any decision or determination, to
exercise any right, remedy or power or otherwise to act in its or their sole discretion or to grant or
withhold consent, such right shall be exercised in good faith utilizing generally accepted commercial
practices for transactions similar to the transaction that is the subject matter of this Agreement or such
Loan Document (as the case may be);

               (e)      Documents Taken as a Whole. The words “hereof,” “herein,” “hereunder,”
“hereto” and similar terms in this Agreement or in any Loan Document refer to this Agreement or such
Loan Document as a whole and not to any particular provision of this Agreement or such Loan Document;

                (f)    Headings. The section and other headings contained in this Agreement or any
Loan Document and the table of contents (if any) preceding this Agreement or any Loan Document are
for reference purposes only and shall not control or affect the construction of this Agreement or such
Loan Document or the interpretation thereof in any respect;

               (g)      Implied References to this Agreement. Article, section, subsection, clause,
schedule and exhibit references are to this Agreement unless otherwise specified;

                 (h)     Persons. Reference to any Person includes such Person’s successors and assigns
but, if applicable, only if such successors and assigns are permitted by this Agreement or by such Loan
Document, as the case may be, and reference to a Person in a particular capacity excludes such Person in
any other capacity;

                 (i)     Modifications to Documents. Reference to any agreement (including this
Agreement and any Loan Document, together with the schedules and exhibits hereto or thereto),
document or instrument means such agreement, document or instrument as amended, modified, replaced,
substituted for, superseded or restated at the relevant time;

                (j) From, To and Through. Relative to the determination of any period of time, “from”
means “from and including,” “to” means “to but excluding,” and “through” means “through and
including”; and

                (k)    Shall; Will. References to “shall” and “will” are intended to have the same
meaning.

                                            ARTICLE II
                                          GENERAL TERMS

        Section 2.1. Loan Commitment; Extension.

               (a)     Subject to the terms, provisions, covenants and conditions of this Agreement,
Lenders shall make the Loan to Borrower in an amount equal to FIFTY ONE MILLION SIX HUNDRED
SEVENTY FIVE THOUSAND AND NO/100THS DOLLARS ($51,675,000.00).

                (b)     The Loan shall be secured by the Deed of Trust, the Assignment of Leases and
Rents, and the other Loan Documents.

                (c)     Borrower shall use the proceeds of the Loan to (i) partially finance Borrower’s
acquisition of the Project, (ii) make a deposit into the Interest Reserve Account, and (iii) pay costs and
expenses incurred in connection with the closing of the Loan, as approved by Administrative Agent.

        Section 2.2. Interest Rate and Loan Payments.


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                (a)     The Loan shall bear interest at the per annum rates set forth in the Note.

                (b)     Borrower hereby agrees to make principal and interest payments as set forth in
the Note.

                (c)     All payments to be made by Borrower shall be made without condition or
deduction for any counterclaim, defense, recoupment or setoff. Except as otherwise expressly provided
herein, all payments by Borrower hereunder and under the other Loan Documents shall be made to the
Administrative Agent, for the account of the respective Lenders to which such payment is owed, at the
Administrative Agent’s office in Dollars and in immediately available funds not later than 2:00 p.m. EST
on the date specified herein. All payments received by the Administrative Agent after 2:00 p.m. EST shall
be deemed received on the next succeeding Business Day and any applicable interest or fee shall continue
to accrue. If any payment to be made by Borrower shall come due on a day other than a Business Day,
payment shall be made on the next following Business Day, and such extension of time shall be reflected
in computing interest or fees, as the case may be.

         Section 2.3. Usury Savings. This Agreement and the Note are subject to the express condition that
at no time shall Borrower be obligated or required to pay interest on the principal balance of the Loan at a
rate which could subject Lenders to either civil or criminal liability as a result of being in excess of the
Maximum Rate. If, by the terms of this Agreement or the other Loan Documents, Borrower is at any time
required or obligated to pay interest on the principal balance due hereunder at a rate in excess of the
Maximum Rate, the Interest Rate or the Involuntary Rate, as the case may be, shall be deemed to be
immediately reduced to the Maximum Rate and all previous payments in excess of the Maximum Rate
shall be deemed to have been payments in reduction of principal, without premium, and not on account of
the interest due hereunder. All sums paid or agreed to be paid to Lenders for the use, forbearance, or
detention of the sums due under the Loan, shall, to the extent permitted by applicable law, be amortized,
prorated, allocated, and spread throughout the full stated term of the Loan until payment in full so that the
rate or amount of interest on account of the Loan does not exceed the Maximum Rate of interest from
time to time in effect and applicable to the Loan for so long as the Loan is outstanding.

                                           ARTICLE III
                                      CONDITIONS PRECEDENT

The obligation of Lenders to enter into this Agreement and make the Loan hereunder is subject to the
fulfillment by Borrower and Guarantor or waiver by Administrative Agent of the following conditions
precedent no later than the Closing Date.

        Section 3.1. Representations and Warranties; Compliance with Conditions. The representations
and warranties of Borrower and Guarantor contained in this Agreement and the other Loan Documents
shall be true and correct in all material respects on and as of the Closing Date with the same effect as if
made on and as of such date, and Administrative Agent shall have determined that no Default or an Event
of Default shall have occurred and be continuing nor shall any Default or Event of Default occur
immediately following the Closing Date and Borrower and Guarantor shall be in compliance in all
material respects with all terms and conditions set forth in this Agreement and in each other Loan
Document on its part to be observed or performed.

        Section 3.2. Delivery of Loan Documents; Title Policy; Due Diligence Items.

                (a)    Deed of Trust, Loan Agreement, Note and Guaranty. Administrative Agent shall
have received (i) from Borrower fully executed and acknowledged counterparts of the Deed of Trust and
Assignment of Leases and Rents, and evidence that the Uniform Commercial Code financing statement
has been delivered to the Title Company for recording and/or filing, in the judgment of Administrative

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Agent, so as to effectively create upon such recording and/or filing valid and enforceable Liens upon the
Project, of first priority, in favor of Lenders, and (ii) from Borrower and Guarantor, as applicable, fully
executed counterparts of this Agreement, the Note, the Guaranty and all of the other Loan Documents.

                 (b)     Policy; Title Policy. Administrative Agent shall have received a paid title
insurance policy (the “Title Policy”), in the amount of the Deed of Trust, issued by a title company(ies)
(the “Title Company”) acceptable to Administrative Agent and dated as of the Closing Date. Such Title
Policy shall (A) provide coverage for the full amount of the Loan, (B) insure Lenders that the Deed of
Trust insured by such Title Policy creates a valid, perfected lien on the Project of first priority and that
Borrower is the sole owner of a valid fee estate in and to the Project, free and clear of all exceptions from
coverage other than the standard exceptions and exclusions from coverage, (C) provide full coverage
against mechanics’ liens (filed and inchoate), (D) contain such endorsements and affirmative coverages as
Administrative Agent may reasonably request, and (E) name Administrative Agent as the insured. The
Title Policy shall be assignable. Administrative Agent also shall have received evidence that all premiums
in respect of such Title Policy have been paid.

                  (c)     Survey. Administrative Agent shall have received a current title survey for the
Property, certified to the Title Company and Lenders and their successors and assigns, in form and
content satisfactory to Administrative Agent and prepared by a professional and properly licensed land
surveyor satisfactory to Administrative Agent. Such survey shall reflect the same legal description
contained in the Title Policy referred to in Section 3.2(b) hereof and shall include, among other things, a
metes and bounds description of the real property comprising part of the Project satisfactory to
Administrative Agent. The surveyor’s seal shall be affixed to the survey and the surveyor shall provide a
certification for the survey in form and substance acceptable to Administrative Agent.

                 (d)      Insurance. Administrative Agent shall have received copies of the certificates of
insurance for the Policies required hereunder, together with such Acord forms as Administrative Agent
shall require, satisfactory to Administrative Agent in Administrative Agent’s sole and absolute discretion,
and, evidence of the payment of all Insurance Premiums payable for the existing policy period.

               (e)     Encumbrances. Borrower shall have taken or caused to be taken such actions in
such a manner so that Lenders have a valid and perfected first Lien as of the Closing Date on the Project
and Administrative Agent shall have received satisfactory evidence thereof, subject to Permitted
Encumbrances.

               (f)      Lien Searches. Borrower shall have delivered to Administrative Agent certified
search results pertaining to Borrower, Guarantor and such other Persons as reasonably required by
Administrative Agent for state and federal tax liens, bankruptcy, judgment, litigation and state and local
UCC filings.

                 (g)  Environmental Report. Administrative Agent shall have received an
Environmental Report in respect of the Project, which report shall be satisfactory to Administrative Agent
in all respects.

                (h)     Engineering Report. Administrative Agent shall have received an Engineering
Report in respect of the Project, which report shall be satisfactory to Administrative Agent in all respects
(including, without limitation, indicating that there exists no material deferred maintenance at the Project).

               (i)     Appraisal. Administrative Agent shall have received an appraisal for the Project,
which appraisal shall be prepared by an MAI appraiser and satisfactory in form and substance to
Administrative Agent (including, without limitation, providing for a loan-to-value ratio of not greater than


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fifty-three and seven-tenths percent (53.7%), based on (i) the “as-is” value of the Project and (ii) the
original principal balance of the Loan).

                (j)     [Intentionally Omitted]

        Section 3.3. Related Documents. Each additional document not specifically referenced herein, but
relating to the transactions contemplated herein, shall have been duly authorized, executed and delivered
by all parties thereto and at Administrative Agent’s written request, Administrative Agent shall have
received and approved certified copies thereof.

         Section 3.4. Organizational Documents. Administrative Agent shall have received (a) certified
copies of all Organizational Documents related to Borrower and Guarantor, as applicable, which must be
acceptable to Administrative Agent, in Administrative Agent’s sole and absolute discretion, and (b) such
other evidence of the formation, structure, existence and/or good standing of Borrower and Guarantor and
such other Persons as Administrative Agent may request, in Administrative Agent’s sole and absolute
discretion, including, without limitation, good standing or existence certificates, resolutions authorizing
the entering into of the Loan and the granting of the Deed of Trust and incumbency certificates as may be
requested by Administrative Agent.

        Section 3.5. Opinions of Counsel. Administrative Agent shall have received opinions of counsel
with respect to (i) formation, existence and good standing of Borrower and Guarantor, as applicable, (ii)
due execution, authority, enforceability of the Loan Documents, and (iii) such other matters as
Administrative Agent may reasonably require. All such opinions shall be in form, scope and substance
reasonably satisfactory to Administrative Agent and Lenders’ counsel in their sole and absolute discretion.

        Section 3.6. Taxes and Other Charges. Borrower shall have paid all Taxes and Other Charges
(including any in arrears) relating to the Project.

       Section 3.7. Completion of Proceedings. All corporate and other proceedings taken or to be taken
in connection with the transactions contemplated by this Agreement and other Loan Documents and all
documents incidental thereto shall be satisfactory in form and substance to Administrative Agent, and
Administrative Agent shall have received all such counterpart original or certified copies of such
documents as Administrative Agent may reasonably request.

        Section 3.8. Payments. All payments, deposits or escrows required to be made or established by
Borrower under this Agreement, the Note and the other Loan Documents on or before the Closing Date
shall have been paid.

         Section 3.9. Transaction Costs. Except as otherwise expressly provided herein, Borrower shall
have paid or reimbursed Administrative Agent and Lenders for all reasonable third party out of pocket
expenses actually incurred in connection with the underwriting, negotiation, and closing of the Loan,
including, without limitation, title insurance premiums and other title company charges; registration,
filing and similar fees, taxes and charges; transfer, deed, stamp, mortgage recording or documentary taxes
or similar fees or charges; actual costs of third-party reports, including, without limitation, environmental
studies, credit reports, appraisals, surveys, underwriting and origination expenses; and all reasonable legal
fees and expenses charged by counsel to Lenders and Administrative Agent.

        Section 3.10. No Material Adverse Change. There shall have been no material adverse change in
the financial condition or business condition of the Project, Borrower or any other Person contributing to
the operating income and operations of the Project since the date of the most recent financial statements
and/or other information delivered to Administrative Agent. The income and expenses of the Project, the
occupancy and leases thereof, and all other features of the transaction shall be as represented to Lenders


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and Administrative Agent without material adverse change. Neither Borrower nor Guarantor shall be
the subject of any bankruptcy, reorganization, or insolvency proceeding.
        Section 3.11. Leases. Administrative Agent shall have received copies of all Leases affecting the
Project, which shall be satisfactory in form and substance to Administrative Agent.

        Section 3.12. Tenant Estoppel Certificate. Administrative Agent shall have received, or shall
receive within fifteen (15) Business Days of the Closing Date, a tenant estoppel certificate from each
Tenant under a Material Lease, addressed to Administrative Agent, in form and substance satisfactory to
Administrative Agent in all respects. Failure by Borrower to deliver such tenant estoppel certificates
within such time period shall constitute an Event of Default.

        Section 3.13. SNDA. Administrative Agent shall have received, or shall receive within fifteen (15)
days of the Closing Date, an SNDA executed by Key Tenant with respect to the Key Tenant Lease, in
form and substance satisfactory to Administrative Agent in all respects. Failure by Borrower to deliver
such SNDA within such time period shall constitute an Event of Default.

         Section 3.14. Tax Lot. Administrative Agent shall have received evidence that the Property
constitutes one or more separate tax lots, which evidence shall be satisfactory to Administrative Agent in
all respects.

        Section 3.15. Borrower’s and Guarantor’s Financials. Administrative Agent shall have received
copies of Borrower’s and Guarantor’s most recent financial statements.

        Section 3.16. Acquisition of Property. Administrative Agent shall have received evidence of the
purchase price for the Project to be paid by Borrower and evidence that Borrower invested, upon
acquisition of the Project, the required equity.

       Section 3.17. Further Documents. Administrative Agent or Administrative Agent’s counsel shall
have received such other and further approvals, opinions, documents and information as Administrative
Agent or Administrative Agent’s counsel may have requested in form and substance satisfactory to
Administrative Agent and Administrative Agent’s counsel.

        Section 3.18. Interest Reserve Deposit. Borrower shall have established a deposit account in the
name of Borrower with Administrative Agent (the “Interest Reserve Account”), into which Borrower
shall have deposited an amount equal to $2,500,000.

                                        ARTICLE IV
                              REPRESENTATIONS AND WARRANTIES

        Borrower represents and warrants to Lenders and Administrative Agent as of the Closing Date
that:

         Section 4.1. Organization. Borrower (a) has been duly organized and is validly existing and in
good standing with requisite power and authority to own its properties and to transact the businesses in
which it is now engaged, (b) is duly qualified to do business and is in good standing in each jurisdiction
where it is required to be so qualified in connection with its properties, businesses and operations, (c)
possesses all rights, licenses, permits and authorizations, governmental or otherwise, necessary to entitle
it to own its properties and to transact the businesses in which it is now engaged, and the sole business of
Borrower is the ownership and management of the Project, and (d) has full power, authority and legal
right to mortgage the Project pursuant to the terms of the Loan Documents and has full power, authority
and legal right to keep and observe all of the terms of the Loan Documents to which it is a party.
Borrower represents and warrants that the chart attached hereto as Exhibit A sets forth an accurate listing

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of the direct and indirect owners of all of the equity interests in Borrower (the “Borrower Members”). For
the avoidance of doubt, “Borrower Members” shall include Sole Member, NCRE and West Loop.

         Section 4.2. Status of Borrower. Borrower’s exact legal name is correctly set forth on the first
page of this Agreement, on the Deed of Trust, and on any UCC-1 Financing Statements filed in
connection with the Loan. Borrower is an organization of the type specified on the first page of this
Agreement. Borrower is organized under the laws of the State of Delaware and authorized to do business
under the laws of the State of Texas. Borrower’s principal place of business and chief executive office,
and the place where Borrower keeps its books and records, including recorded data of any kind or nature,
regardless of the medium of recording, including software, writings, plans, specifications and schematics,
has been for the preceding four (4) months (or, if less, the entire period of the existence of Borrower) the
address of Borrower set forth on the first page of this Agreement. Borrower may designate a change of
principal place of business and chief executive office by written notice to Administrative Agent by
certified mail, return receipt requested, postage prepaid, at least thirty (30) days before such change of
principal place of business and chief executive office is to become effective.

         Section 4.3. Validity of Documents. Borrower has taken all necessary action to authorize the
execution, delivery and performance of this Agreement and the other Loan Documents. This Agreement
and the other Loan Documents have been duly executed and delivered by or on behalf of Borrower and
Guarantor, as applicable, and constitutes the legal, valid and binding obligations of Borrower and
Guarantor, as applicable, enforceable against Borrower and Guarantor, as applicable, in accordance with
their respective terms, subject only to applicable bankruptcy, insolvency and similar laws affecting rights
of creditors generally, and subject, as to enforceability, to general principles of equity (regardless of
whether enforcement is sought in a proceeding in equity or at law).

         Section 4.4. No Conflicts. The execution, delivery and performance of this Agreement and the
other Loan Documents by Borrower and Guarantor, as applicable, will not conflict with or result in a
breach of any of the terms or provisions of, or constitute a default under, or result in the creation or
imposition of any lien, charge or encumbrance (other than pursuant to the Loan Documents) upon any of
the property or assets of Borrower and Guarantor, as applicable, pursuant to the terms of any agreement
or instrument to which Borrower and Guarantor is a party or by which any of Borrower’s or Guarantor’s
property or assets is subject, nor will such action result in any violation of the provisions of any statute or
any order, rule or regulation of any Governmental Authority having jurisdiction over Borrower or
Guarantor or any of Borrower’s or Guarantor’s properties or assets, and any consent, approval,
authorization, order, registration or qualification of or with any Governmental Authority required for the
execution, delivery and performance by Borrower and Guarantor, as applicable, of this Agreement or any
of the other Loan Documents has been obtained and is in full force and effect.

        Section 4.5. Litigation. To the best of Borrower’s knowledge, there are no actions, suits or
proceedings at law or in equity by or before any Governmental Authority or other agency now pending or,
to Borrower’s knowledge, threatened against or affecting Borrower, Guarantor or the Project, which
actions, suits or proceedings, if determined against Borrower, Guarantor or the Project, could materially
adversely affect the condition (financial or otherwise) or business of Borrower or Guarantor or the
condition or ownership of the Project.

        Section 4.6. Agreements. Neither Borrower nor Guarantor is a party to any agreement or
instrument or subject to any restriction which would materially and adversely affect Borrower, such
Guarantor or the Project, or Borrower’s or such Guarantor’s business, properties or assets, operations or
condition, financial or otherwise. To Borrower’s and Guarantor’s actual knowledge, neither Borrower nor
Guarantor are in default in any material respect in the performance, observance or fulfillment of any of
the obligations, covenants or conditions contained in any agreement or instrument to which Borrower or

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Guarantor is a party or by which Borrower, Guarantor or the Project is bound. Borrower has no material
financial obligations under any agreement or instrument to which Borrower is a party or by which
Borrower or the Project is otherwise bound, other than (a) obligations incurred in the ordinary course of
the ownership, leasing and operation of the Project and (b) obligations under the Loan Documents.

         Section 4.7. Solvency. Neither Borrower nor Guarantor has entered into the transaction or
executed the Note, this Agreement, the Guaranty or any other Loan Documents with the actual intent to
hinder, delay or defraud any creditor, and Borrower and Guarantor have each received reasonably
equivalent value in exchange for their respective obligations under such Loan Documents. No petition in
bankruptcy has been filed against Borrower or Guarantor in the last ten years, and neither Borrower nor
Guarantor in the last ten years has made an assignment for the benefit of creditors or taken advantage of
any Creditors’ Rights Laws. Neither Borrower nor Guarantor is contemplating either the filing of a
petition by it under any Creditors’ Rights Laws or the liquidation of all or a major portion of Borrower’s
or such Guarantor’s assets or property, and Borrower has no knowledge of any Person contemplating the
filing of any such petition against Borrower or Guarantor.

        Section 4.8. Full and Accurate Disclosure. No material statement of fact made by or on behalf of
Borrower or Guarantor in this Agreement or in any of the other Loan Documents or in any other
document or certificate delivered by or on behalf of Borrower or Guarantor contains any untrue statement
of a material fact or omits to state any material fact necessary to make statements contained herein or
therein not misleading. There is no material fact presently known to Borrower or Guarantor which has not
been disclosed to Administrative Agent and Lenders which adversely affects, nor as far as Borrower or
the applicable Guarantor can reasonably foresee, might adversely affect, the Project or the business,
operations or condition (financial or otherwise) of Borrower or Guarantor.

        Section 4.9. ERISA Compliance.
                (a)      Borrower covenants, represents and warrants that (i) Borrower is not and will not
be a Benefit Plan Investor, (ii) neither Borrower nor any of its Subsidiaries or ERISA Affiliates maintains
or contributes to, or has at any time maintained or contributed to, or has any liability, whether actual or
contingent, under, a plan subject to Section 302 or Title IV of ERISA or to Section 412 of the Internal
Revenue Code, (iii) neither Borrower nor any of its Subsidiaries or ERISA Affiliates has ever contributed
to or had an obligation to contribute to any Multiemployer Plan. None of the Benefit Plans are part of, or
have at any time been part of, a multiple employer welfare arrangement, as that term is defined in Section
3(40) of ERISA, (iv) no Benefit Plan is or was at any time a multiple employer plan, as described in
Section 413(c) of the Internal Revenue Code or Sections 4063 or 4064 of ERISA, and (v) neither
Borrower nor any of its Subsidiaries or ERISA Affiliates has ever contributed to or had an obligation to
contribute to any such plan.

                (b)    No ERISA Event has occurred or is reasonably expected to occur. No employee
welfare benefit plan within the meaning of §3(1) or §3(2)(B) of ERISA of Borrower or any Subsidiary,
provides benefit coverage subsequent to termination of employment except as required by Title I, Part 6
of ERISA or applicable state insurance laws. Each Benefit Plan is in material compliance with ERISA,
the Internal Revenue Code and any applicable law. Each Benefit Plan that is intended to qualify under
Section 401(a) of the Internal Revenue Code has received a favorable determination letter from the
Internal Revenue Service for all required amendments regarding its qualification thereunder that considers
the law changes incorporated in the plan sponsor’s most recently expired remedial amendment cycle
determined under the provisions of Rev. Proc. 2007-44, and nothing has occurred subsequent to the
issuance of such termination letter which would prevent, or cause the loss of, such qualification.




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        Section 4.10. Not a Foreign Person. Borrower is not a “foreign person” within the meaning of §
1445(f)(3) of the Internal Revenue Code.

        Section 4.11. Enforceability. The Loan Documents are not subject to any right of rescission, set-
off, counterclaim or defense by Borrower or Guarantor including, without limitation, the defense of usury,
nor would the operation of any of the terms of the Loan Documents, or the exercise of any right
thereunder, render the Loan Documents unenforceable, and neither Borrower nor Guarantor has asserted
any right of rescission, set-off, counterclaim or defense with respect thereto. No Default or Event of
Default exists under or with respect to any Loan Document.

         Section 4.12. Business Purposes. The Loan is solely for the business purpose of Borrower, and is
not for personal, family, household, or agricultural purposes.

        Section 4.13. Compliance. To the best of Borrower’s knowledge, and other than as contained in
any searches requested by or on behalf of Administrative Agent in connection with the Loan, Borrower
and the Project, and the use and operation of the Project, comply in all material respects with all Legal
Requirements, including, without limitation, building ordinances and codes and the Americans with
Disabilities Act. To the best of Borrower’s knowledge, neither Borrower nor Guarantor is in default or
violation of any order, writ, injunction, decree or demand of any Governmental Authority and neither
Borrower nor Guarantor has received any written notice of any such default or violation. There has not
been committed by Borrower or Guarantor or, to Borrower’s knowledge, any other Person in occupancy
of or involved with the operation or use of the Project any act or omission affording any Governmental
Authority the right of forfeiture as against the Project or any part thereof or any monies paid in
performance of Borrower’s or Guarantor’s obligations under any of the Loan Documents.

         Section 4.14. Financial Information. All financial data, including, without limitation, the balance
sheets, statements of cash flow, and statements of income and operating expense, that have been delivered
to Administrative Agent in respect of Borrower, Guarantor and/or to Borrower’s knowledge the Project (a)
are true, complete and correct in all material respects as of the date of such information, (b) accurately
represent the financial condition of Borrower, Guarantor and/or the Project, as applicable, as of the date
of such reports, and (c) to the extent prepared or audited by an independent certified public accounting
firm, have been prepared in accordance with a modified accrual accounting method or such other method
satisfactory to Administrative Agent throughout the periods covered, except as disclosed therein.
Borrower has no contingent liabilities, liabilities for taxes, unusual forward or long-term commitments or
unrealized or anticipated losses from any unfavorable commitments that are known to Borrower and
reasonably likely to have a material adverse effect on the Project or the current and/or intended operation
thereof, except as referred to or reflected in said financial statements. Since the date of such financial
statements, there has been no materially adverse change in the financial condition, operations or business
of the Borrower, Guarantor or, to Borrower’s knowledge, the Project from that set forth in said financial
statements.

       Section 4.15. Illegal Activity. No portion of the Project has been or shall be purchased by
Borrower with proceeds of any illegal activity and no part of the proceeds of the Loan will be used in
connection with any illegal activity.

        Section 4.16. Separate Tax and Zoning Lot. The Property constitutes a distinct parcel or parcels
for purposes of zoning and of taxes, assessments and impositions (public or private) and are not otherwise
considered as part of a larger single lot which includes property other than the Property for purposes of
zoning or of taxes, assessments or impositions (public or private).

       Section 4.17. Federal Reserve Regulation. Borrower shall use the proceeds of the Loan for the
purposes set forth in Section 2.1(c) hereof and not for any illegal activity. No part of the proceeds of the

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Loan will be used for the purpose of purchasing or acquiring any “margin stock” within the meaning of
Regulation U of the Board of Governors of the Federal Reserve System or for any other purpose which
would be inconsistent with such Regulation U or any other Regulations of such Board of Governors, or
for any purposes prohibited by Legal Requirements or prohibited by the terms and conditions of this
Agreement or the other Loan Documents.

        Section 4.18. Investment Company Act. Borrower is not (a) an “investment company” or a
company “controlled” by an “investment company,” within the meaning of the Investment Company Act
of 1940, as amended; (b) [Reserved]; or (c) subject to any other federal or state law or regulation which
purports to restrict or regulate its ability to borrow money.

         Section 4.19. No Change in Facts or Circumstances; Disclosure. All information submitted by
Borrower, Guarantor or Borrower’s or Guarantor’s agents to Administrative Agent and in all financial
statements, reports, certificates and other documents submitted in connection with the Loan or in
satisfaction of the terms thereof and all statements of fact made by Borrower in this Agreement or in any
other Loan Document, are accurate, complete and correct in all material respects as of the date of such
item. There has been no material adverse change in any condition, fact, circumstance or event that would
make any such information inaccurate, incomplete or otherwise misleading in any material respect or that
otherwise materially and adversely affects or might materially and adversely affect the Project or the
business operations or the financial condition of Borrower or Guarantor. Borrower and Guarantor have
disclosed to Administrative Agent all material facts and have not failed to disclose any material fact that
could cause any representation or warranty made herein to be materially misleading. With respect to any
representations, warranties, or statements of fact which are specifically qualified in this Agreement as
being true and correct to the best of Borrower’s knowledge, the representation and warranty set forth in
this Section 4.19 shall be, to the best of Borrower’s knowledge, true and correct as of the Closing Date.
         Section 4.20. Special Purpose Entity. Borrower meets all of the requirements of Article VI hereof
as of the Closing Date.

        Section 4.21. Intellectual Property. All trademarks, trade names and service marks necessary to
the business of Borrower as presently conducted or as Borrower contemplates conducting Borrower’s
business are in good standing and, to the extent of Borrower’s actual knowledge, uncontested. To the best
of Borrower’s knowledge, Borrower has not infringed, is not infringing, and has not received notice of
infringement with respect to asserted trademarks, trade names and service marks of others. To Borrower’s
knowledge, there is no infringement by others of trademarks, trade names and service marks of Borrower.

         Section 4.22. Embargoed Person. To the best of Borrower’s knowledge, as of the Closing Date
and at all times throughout the term of the Loan, including after giving effect to any transfers of interests
permitted pursuant to the Loan Documents or the Mezzanine Loan Documents, (a) none of the funds or
other assets of Borrower or Guarantor constitute property of, or are beneficially owned, directly or
indirectly, by any Person or government subject to trade restrictions under U.S. law, including, but not
limited to, the International Emergency Economic Powers Act, 50 U.S.C. §§ 1701 et seq., The Trading
with the Enemy Act, 50 U.S.C. App. 1 et seq., and any Executive Orders or regulations promulgated
thereunder with the result that the investment in Borrower (whether directly or indirectly), is prohibited
by law or the Loan made by Lenders is in violation of law (“Embargoed Person”); (b) no Embargoed
Person has any interest of any nature whatsoever in Borrower with the result that the investment in
Borrower (whether directly or indirectly), is prohibited by law or the Loan is in violation of law; and (c)
none of the funds of Borrower have been derived from any unlawful activity with the result that the
investment in Borrower (whether directly or indirectly) is prohibited by law or the Loan is in violation of
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         Section 4.23. Patriot Act. All capitalized words and phrases and all defined terms used in the
USA Patriot Act of 2001, 107 Public Law 56 (October 26, 2001) and in other statutes and all orders, rules
and regulations of the United States government and its various executive departments, agencies and
offices related to the subject matter of the Patriot Act, including Executive Order 13224 effective
September 24, 2001 (collectively referred to in this Section only as the “Patriot Act”) are incorporated
into this Section. Each of Borrower and Borrower Members hereby represent and warrant that (a)
Borrower, Guarantor and Borrower Members and each and every Person affiliated with Borrower, or that
to Borrower’s or Borrower Members’ knowledge has an economic interest in Borrower or Borrower
Members, or, to Borrower’s or Borrower Members’ knowledge, that has or shall have an interest in the
transaction contemplated by this Agreement or in the Project or shall participate, in any manner
whatsoever, in the Loan, is, to the extent required so that the Loan in not in violation of applicable Legal
Requirements, and (b) Borrower, Guarantor and each Person actively involved in the management of
Borrower or the Project is: (i) not a “blocked” Person listed in the Annex to Executive Order Nos. 12947,
13099 and 13224 and all modifications thereto or thereof (the “Annex”); (ii) in full compliance with the
requirements of the Patriot Act and all other requirements contained in the rules and regulations of the
OFAC; (iii) to the extent applicable, operated under policies, procedures and practices, if any, that are in
compliance with the Patriot Act and available to Administrative Agent for Administrative Agent’s review
and inspection during normal business hours and upon reasonable prior notice; (iv) not in receipt of any
notice from the Secretary of State or the Attorney General of the United States or any other department,
agency, or office of the United States claiming a violation or possible violation of the Patriot Act; (v) not
listed as a Specially Designated Terrorist or as a “blocked” Person on any lists maintained by the OFAC
pursuant to the Patriot Act or any other list of terrorists or terrorist organizations maintained pursuant to
any of the rules and regulations of the OFAC issued pursuant to the Patriot Act or on any other list of
terrorists or terrorist organizations maintained pursuant to the Patriot Act; (vi) not a Person who has been
determined by competent authority to be in violation of any of the prohibitions contained in the Patriot
Act; and (vii) not controlled by or now acting or will in the future act for or on behalf of any Person
named in the Annex or any other list promulgated under the Patriot Act or any other Person who has been
determined to be in violation of the prohibitions contained in the Patriot Act. Borrower covenants and
agrees that in the event Borrower or Guarantor receives any notice that Borrower (or any of Borrower’s
beneficial owners), Guarantor or any other Person related to or affiliated with Borrower, Guarantor or the
Project become listed on the Annex or any other list promulgated under the Patriot Act or is indicted,
arraigned, or custodially detained on charges involving money laundering or predicate crimes to money
laundering, Borrower shall immediately notify Administrative Agent. It shall be an Event of Default
hereunder if Borrower or any other party to any Loan Document becomes listed on any list promulgated
under the Patriot Act or is indicted, arraigned or custodially detained on charges involving money
laundering or predicate crimes to money laundering.

         Section 4.24. No Contractual Obligations. Other than the Loan Documents, the Mezzanine Loan
Documents, the Borrower Operating Agreement, the Management Agreement, the Existing Leases, the
PSA pursuant to which Borrower is acquiring the Property, and certain Contractual Obligations to operate
and manage the Project that are necessary and customary for properties similar to the Project, as of the
date of this Agreement, Borrower is not subject to any Contractual Obligations and has not entered into
any agreement, instrument or undertaking by which Borrower or Borrower’s assets are bound, or has
incurred any indebtedness (other than the Loan), and prior to the date of this Agreement, Borrower has
not entered into any Contractual Obligation, or any agreement, instrument or undertaking by which it or
its assets are bound or incurred any indebtedness (other than the Loan).

         Section 4.25. Shareholders of Borrower. One hundred percent (100%) of the membership
interests of Borrower are owned by the Sole Member.



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        Section 4.26. Survival. Borrower acknowledges and agrees that, unless expressly provided
otherwise, all of the representations and warranties of Borrower and Guarantor set forth in this Agreement
and in the other Loan Documents shall survive for so long as any portion of the Debt remains owing to
Lenders. All representations, warranties, covenants and agreements made in this Agreement or in the
other Loan Documents by Borrower and Guarantor shall be deemed to have been relied upon by Lenders
notwithstanding any investigation heretofore or hereafter made by Lenders or on its behalf.

        Section 4.27. Leases. As of the Closing Date, there are no Leases pursuant to which any Person
other than Borrower has any right, title or interest in the Project other than under the Existing Leases.

       Section 4.28. Landmark Status. No portion of the Project is designated by or registered with any
governmental authority as historic or landmark buildings or any other similar designation or registration
and Borrower shall not attempt or cooperate to obtain or effect any such designation or registration.

        Section 4.29. Broker. Borrower represents and warrants to Administrative Agent and Lenders that
Borrower has not dealt with any broker with respect to the transaction contemplated hereby and, by
accepting the Loan, Borrower agrees forever to indemnify and hold Administrative Agent and Lenders
harmless from and against any and all claims or suits for compensation, commissions, fees or otherwise
(and all Losses related thereto) that may be asserted or made by any broker or Person claiming to have
dealt with or to have been employed by Borrower or Borrower’s representatives in connection with the
brokering of the Loan.

                                                ARTICLE V
                                               COVENANTS

        From the Closing Date and until repayment of the Debt in full and performance in full of all
obligations of Borrower and Guarantor under the Loan Documents or the earlier release of the Lien of the
Deed of Trust (and all related obligations) in accordance with the terms of this Agreement and the other
Loan Documents, Borrower hereby covenants and agrees with Lenders that:

        Section 5.1. Existence; Compliance With Legal Requirements.

                (a)     Borrower shall do or cause to be done all things necessary to preserve, renew and
keep in full force and effect its existence, rights, licenses, permits and franchises and comply in all
material respects with all Legal Requirements applicable to Borrower and the Project. Borrower hereby
covenants and agrees not to commit, permit or suffer to exist any act or omission affording any
Governmental Authority the right of forfeiture as against the Project or any part thereof or any monies
paid in performance of Borrower’s obligations under any of the Loan Documents.

                 (b)      Borrower agrees that the Project shall at all times comply, to the extent applicable,
with the Access Laws in all material respects. Notwithstanding any provisions set forth herein or in any
other documents regarding Administrative Agent’s approval or alterations of the Project, Borrower shall
not alter the Project in any manner which would increase Borrower’s responsibilities for compliance with
the applicable Access Laws in any material respect without the prior written approval of Administrative
Agent. The foregoing shall apply to tenant improvements constructed by Borrower or by any of
Borrower’s Tenants. Administrative Agent may condition any such approval upon receipt of a certificate
of Access Law compliance from an architect, engineer or other Person acceptable to Administrative
Agent. Borrower agrees to give prompt notice to Administrative Agent of the receipt by Borrower of any
complaints related to violations of any Access Laws and of the commencement of any proceedings or
investigations which relate to compliance with applicable Access Laws.




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                (c)      Notwithstanding any other provision of this Section, Borrower shall not be
deemed to be in default solely by reason of Borrower’s failure to comply with any applicable Legal
Requirement so long as, in Administrative Agent’s judgment, each of the following conditions is satisfied:
(i) Borrower is engaged in and diligently pursuing in good faith administrative or judicial proceedings
appropriate to contest the validity or amount of such law, rule regulation or order; (ii) Borrower’s
compliance with such law, rule, regulation or order would necessarily and materially prejudice
Borrower’s prospects for success in such proceedings; (iii) noncompliance with any such law, rule,
regulation or order will not result in the loss or forfeiture of the Project or any other collateral for the
Loan or any interest of Administrative Agent therein or result in any fines or other punitive actions or any
insurance coverage; and (iv) Borrower deposits with Administrative Agent, as security for any payment
or performance which may ultimately be required, a sum equal to the amount of any fine, assessment or
charge plus the interest, penalties, and other costs which Administrative Agent reasonably estimates are
likely to become payable if Borrower’s contest is unsuccessful. If Administrative Agent determines that
any one or more of such conditions is not satisfied or is no longer satisfied, Borrower shall comply with
the law, rule regulation or order in question, within thirty (30) days after Administrative Agent gives
notice of such determination.

        Section 5.2. Maintenance and Use of Project. Borrower shall maintain the Project in a good and
safe condition and repair. The improvements and the Borrower’s personal property required for the use of
the Project shall not be removed, demolished or materially altered without the written consent of
Administrative Agent; provided, however, that Administrative Agent’s consent shall not be required (a) in
connection with any removal, demolition or alteration permitted to be made by a Tenant under an
Existing Lease without Borrower’s consent under the applicable Existing Lease, or required to be made
by Borrower under an Existing Lease, and (b) as otherwise set forth in Section 5.19. If under applicable
zoning provisions the use of all or any portion of the Project is or shall become a nonconforming use,
Borrower shall not cause or permit the nonconforming use to be discontinued or the nonconforming
improvement to be abandoned without the express written consent of Administrative Agent. Borrower
shall not establish any condominium or cooperative regime with respect to the Project without the prior
written consent of Administrative Agent, nor shall Borrower initiate, join in or consent to any change in
any private restrictive covenant, zoning ordinance or other public or private restrictions, limiting or
defining the uses which may be made of the Project or any portion thereof.

         Section 5.3. Waste. Borrower shall not commit or suffer any intentional material waste of the
Project or make any change in the use of the Project which shall in any way invalidate or give cause for
cancellation of any Policy, or do or permit to be done thereon anything that may in any way materially
impair the value of the Project or the security for the Loan. Borrower shall not, without the prior written
consent of Administrative Agent, which consent shall not be unreasonably withheld, permit any drilling
or exploration for or extraction, removal, or production of any minerals from the surface or the subsurface
of the Project, regardless of the depth thereof or the method of mining or extraction thereof, except as
may be required by law or in accordance with the orders of any Governmental Authorities having
jurisdiction thereof.

        Section 5.4. Taxes and Other Charges.

                (a)     Borrower shall pay, or cause to be paid, all Taxes and Other Charges now or
hereafter levied or assessed or imposed against the Project or any part thereof as the same become due
and payable. Borrower shall furnish to Administrative Agent receipts for the payment of the Taxes and
the Other Charges prior to the date the same shall become delinquent. Borrower shall not suffer and shall
promptly pay and discharge or bond any Lien or charge whatsoever which may be or become a Lien or
charge against the Project, and shall pay for all utility services provided to the Project prior to
delinquency.

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                  (b)    Borrower shall not be obligated to make any deposit for Taxes as hereinafter
provided until (i) Administrative Agent makes demand therefor following a Default and (A) any Tenant
under a Material Leases is not paying such Taxes in accordance with the terms and provisions of its
respective Material Lease, or (B) any Tenant under a Material Lease is in default under such Material
Lease, or (ii) the continuance of an Event of Default hereunder of under any of the other Loan Documents.
Upon the occurrence of the events described in clauses (i) and (ii) of the immediately preceding sentence,
Borrower shall pay to Administrative Agent, upon the request of Administrative Agent, at the time of
each payment of an installment of interest and/or principal under the Note, an additional amount which,
together with all other such monthly payments, is sufficient to discharge the obligations for payment of
Taxes and Other Charges one (1) month prior to the date the same shall become due. The determination
of the amount so payable and of the fractional part thereof to be deposited with Administrative Agent, so
that the aggregate of such deposits shall be sufficient for this purpose, shall be made by Administrative
Agent in Administrative Agent’s sole but reasonable discretion. Such amounts shall be held by
Administrative Agent not as a trust fund and without interest (except as may be required by law) and shall
be applied to the payment of the obligations in respect of which such amounts were deposited, in such
order or priority as Administrative Agent shall determine, on or before the respective dates on which the
same or any of them would become delinquent. During the continuance of an Event of Default, the
balance of any such amounts held by Administrative Agent may be used and applied for any purpose
authorized pursuant to this Agreement or any other Loan Document, including, without limitation,
payment of the Debt in any order Administrative Agent may deem appropriate. If, one (1) month prior to
the date any of the aforementioned Taxes or Other Charges may be paid without interest or penalty, the
amounts then on deposit shall be insufficient for the payment of such obligation in full, Borrower shall,
within ten (10) days after demand, deposit the amount of the deficiency with Administrative Agent.
Nothing herein contained shall be deemed to affect any right or remedy of Administrative Agent or
Lenders under any provisions of this Agreement or the Deed of Trust or of any statute or rule of law to
pay any such amount and to add the amount so paid, together with interest at the Involuntary Rate, to the
Debt. So long as Administrative Agent requires Borrower to pay Administrative Agent the deposits
provided for in this paragraph and for so long as Borrower complies therewith, the obligation for direct
payment of Taxes and Other Charges set forth in Subsection 5.4(a) hereof shall be suspended.
Notwithstanding anything to the contrary contained herein, Administrative Agent shall not require
Borrower to make such deposits for water and sewer charges if such charges are calculated on a metered
basis.

                (c)     Borrower shall pay or bond so as to remove as a lien of record, from time to time
when the same shall become due, all lawful claims and demands of mechanics, materialmen, laborers, and
others which, if unpaid, might result in, or permit the creation of, a lien on the Project or any part thereof,
or on the revenues, rents, issues, income and profits arising therefrom and in general will do or cause to
be done everything necessary so that the Liens of the Deed of Trust shall be fully preserved, at the sole
cost and expense of Borrower and without expense to Administrative Agent or Lenders.

               (d)     Notwithstanding any other provision of this Section, Borrower shall not be
deemed to be in default solely by reason of Borrower’s failure to pay any Taxes so long as, in
Administrative Agent’s sole judgment, reasonably exercised, each of the following conditions is satisfied:

                         (i)     Borrower or a Tenant is engaged in and diligently pursuing in good faith
administrative or judicial proceedings appropriate to contest the validity or amount of such Tax;

                         (ii)    [Intentionally Omitted];




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                       (iii)   Nonpayment of such Tax will not result in the loss or forfeiture of any
property encumbered by the Deed of Trust or any of the other Loan Documents or any interest of
Administrative Agent therein; and

                          (iv)    Borrower deposits with Administrative Agent, as security for such
payment which may ultimately be required, a sum equal to the amount of the disputed Taxes plus the
interest, penalties, and other costs which Administrative Agent reasonably estimates are likely to become
payable if Borrower’s contest is unsuccessful.

If Administrative Agent determines, in Administrative Agent’s sole judgment, reasonably exercised, that
any one or more of such conditions is not satisfied or is no longer satisfied, Borrower shall pay the Tax in
question, together with any interest and penalties thereon, within ten (10) days after Administrative Agent
gives notice of such determination. After Administrative Agent has received evidence of such payment,
Administrative Agent shall release any security held for such payment of Taxes pursuant to Section
5.4(d)(iv).

                (e)     Borrower shall pay any taxes, except income, gross receipts and other taxes
determined by reference to the amount of interest and other sums payable under the Loan Documents,
imposed on Administrative Agent or Lenders by reason of Administrative Agent’s or Lenders’ ownership
of this Agreement, the Note or the Deed of Trust as a result of any change in Legal Requirements (or any
change in the application, interpretation or enforcement of existing Legal Requirements) effected after the
date of this Agreement, provided that the Administrative Agent or applicable Lender shall at the time be
assessing such taxes upon all of its similarly situated borrowers; provided further that Borrower shall not
be required to pay any U.S. federal withholding taxes imposed under FATCA as a result of the failure by
a Lender to comply with the applicable provisions of FATCA.

                 (f)      Any Lender that is entitled to an exemption from or reduction of withholding Tax
with respect to payments made under any Loan Document shall deliver to the Borrower and the
Administrative Agent, at the time or times reasonably requested by the Borrower or the Administrative
Agent, such properly completed and executed documentation reasonably requested by the Borrower or the
Administrative Agent as will permit such payments to be made without withholding or at reduced rate of
withholding. In addition, any Lender, if reasonably requested by the Borrower or the Administrative
Agent, shall deliver such other documentation prescribed by applicable law or reasonably requested by
the Borrower or the Administrative Agent as will enable the Borrower or the Administrative Agent to
determine whether or not such Lender is subject to backup withholding or information reporting
requirements. Accordingly, prior to the date that any Lender becomes a party hereto, such Lender shall
deliver to the Borrower such certificates, documents or other evidence, as required by the IRS Code or
Treasury Regulations issued pursuant thereto (including Internal Revenue Service Forms W-9, W-8ECI,
W-8BEN, W-8BEN-E, W-8EXP and W-8IMY as applicable, or appropriate successor forms), properly
completed, currently effective and duly executed by such Lender establishing that payments to it
hereunder and under the Note are (i) not subject to United States Federal backup withholding tax and (ii)
not subject to United States Federal withholding tax under the Internal Revenue Code. Each such Lender
shall (x) deliver further copies of such forms or other appropriate certifications on or before the date that
any such forms expire or become obsolete and after the occurrence of any event requiring a change in the
most recent form delivered to the Borrower and (y) obtain such extensions of the time for filing, and
renew such forms and certifications thereof, as may be reasonably requested by the Borrower.

         Section 5.5. Litigation. Borrower shall give prompt written notice to Administrative Agent of any
litigation or governmental proceedings pending or threatened in writing against Borrower or Guarantor
which might materially adversely affect Borrower’s condition (financial or otherwise) or business or the
Project of which Borrower has knowledge.

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        Section 5.6. Access to the Project. Borrower shall permit agents, representatives and employees
of Administrative Agent and Lenders to inspect the Project or any part thereof at reasonable hours upon
reasonable advance written notice, except in the event of an emergency, in which case no advance notice
is necessary.

        Section 5.7. Notice of Default. Borrower shall promptly advise Administrative Agent of (a) any
material adverse change in the condition (financial or otherwise) of Borrower or the Project, (b) the
occurrence of an Event of Default under any Loan Document or (c) an “Event of Default” under any
Mezzanine Loan Document (as defined therein).

        Section 5.8. Cooperate in Legal Proceedings. Borrower shall, at Borrower’s sole cost and expense,
cooperate fully with Administrative Agent and Lenders with respect to any proceedings before any court,
board or other Governmental Authority which may in any way affect the rights of Lenders hereunder
or any rights obtained by Lenders under any of the other Loan Documents and, in connection
therewith, permit Administrative Agent and Lenders, at Administrative Agent’s or Lenders’ sole
election, to participate in any such proceedings.
         Section 5.9. Performance of Obligations. Borrower shall in a timely manner observe, perform and
fulfill each and every covenant, term and provision to be observed and performed by Borrower under this
Agreement and the other Loan Documents and any other agreement or instrument affecting or pertaining
to the Project and any amendments, modifications or changes thereto.

        Section 5.10. Awards; Insurance Proceeds. Borrower shall cooperate with Lenders in obtaining
for Lenders the benefits of any Awards or Insurance Proceeds lawfully or equitably payable in connection
with the Project in accordance with the terms and provisions of the Loan Documents, and Administrative
Agent and Lenders shall be reimbursed for any reasonable, third party expenses incurred in connection
therewith (including attorneys’ fees and disbursements) out of such Awards or Insurance Proceeds.

        Section 5.11. Financial Reporting.

                (a)     Borrower shall keep proper books of record and account with respect to the
Project and its leases and subleases, in accordance with a modified accrual accounting method or such
other method satisfactory to Administrative Agent and in a manner acceptable to Administrative Agent, in
Administrative Agent’s sole and reasonable discretion.

                (b)     Borrower shall furnish to Administrative Agent the following:
                         (i)     within ninety (90) days after the close of each fiscal or calendar year of
Borrower, as applicable, annual financial statements audited by a “Big Four” accounting firm, the Pre-
Approved Accounting Firm, or other independent certified public accountant acceptable to Administrative
Agent, which financial statements shall include, without limitation, a balance sheet, a statement of income
and expenses, and a projected profit and loss statement for the next fiscal or calendar year, as applicable,
disclosing all earnings and expenses with respect to Borrower and the Project (collectively, the “Financial
Statements”), together with a certificate from an officer of Borrower certifying that such annual Financial
Statements fairly present the financial condition of Borrower and the Project;

                        (ii)   within forty-five (45) days after the close of each quarter of its fiscal year,
a quarterly statement including a balance sheet and statement of profits and losses with respect to the
Project;

                       (iii)    copies of any operating statements or the like when Borrower is required
to submit such information to any Governmental Authority;


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                         (iv)    promptly following any request therefor, copies of any notices described
in Section 101(j) of ERISA that Borrower or any of its Subsidiaries or ERISA Affiliates may provide with
respect to any Benefit Plan, copies of any documents described in Section 101(k) of ERISA that Borrower
or any of its Subsidiaries or ERISA Affiliates may request with respect to any Multiemployer Plan, copies
of any notices described in Section 101(1) of ERISA that Borrower or any of its Subsidiaries or ERISA
Affiliates may request with respect to any Multiemployer Plan and any information that Borrower or any
of its Subsidiaries or ERISA Affiliates may request with respect to any Multiemployer Plan in connection
with Section 4221(e) of ERISA; provided, that if Borrower or any of its Subsidiaries or ERISA Affiliates
has not requested such documents or notices from the administrator or sponsor of the applicable Benefit
Plan or Multiemployer Plan, Borrower, the Subsidiary or the ERISA Affiliate, as applicable, shall
promptly, upon the request of Administrative Agent, make a request for such documents or notices from
such administrator or sponsor and shall provide copies of such documents and notices promptly after
receipt thereof; and

                         (v)     such other information respecting the business, properties or the condition
or operations, financial or otherwise, of Borrower and/or the Project as Administrative Agent may from
time to time reasonably request.

               (c)      All Financial Statements and other deliverables of Borrower required under this
Section 5.11 shall be (i) prepared in accordance with generally accepted accounting principles or such
other method satisfactory to Administrative Agent, (ii) delivered in duplicate, and (iii) certified by
Borrower as being true, complete and correct.

         Section 5.12. Estoppel Statement. After request by Administrative Agent, Borrower shall within
fifteen (15) Business Days furnish Administrative Agent with a statement, duly acknowledged and
certified, setting forth (i) the amount of the original principal amount of the Note, (ii) the rate of interest
on the Note, (iii) the unpaid principal amount of the Note, (iv) the date installments of interest were last
paid, (v) any offsets or defenses to the payment of the Debt, if any, and (vi) that the Note, this Agreement,
the Deed of Trust and the other Loan Documents are valid, legal and binding obligations and have not
been modified or if modified, giving particulars of such modification. In the event any Governmental
Authority requires the same, Lenders shall deliver a similar statement to Borrower.

       Section 5.13. Management of Project. In the event a Management Agreement shall be in effect at
any time, Borrower hereby covenants and agrees as follows:

                (a)    Borrower shall (i) promptly perform and observe all of the covenants required to
be performed and observed by Borrower under the Management Agreement and do all things necessary to
preserve and to keep unimpaired Borrower’s material rights thereunder; (ii) promptly notify
Administrative Agent of any material default under the Management Agreement of which Borrower is
aware; (iii) promptly deliver to Administrative Agent a copy of any notice of default or other material
notice received by Borrower under the Management Agreement; and (iv) promptly enforce the
performance and observance of all of the covenants required to be performed and observed by Manager
under the Management Agreement.
                 (b)    If at any time, (i) a Manager shall become insolvent or a debtor in a bankruptcy
proceeding, (ii) an Event of Default has occurred and is continuing or (iii) a default has occurred and is
continuing under the Management Agreement and Borrower has the right thereunder to terminate the
Management Agreement on account thereof, Borrower shall, at the request of Administrative Agent,
terminate the applicable Management Agreement upon thirty (30) days prior notice to such Manager and
replace such Manager with a Qualified Manager (without the need for the approval of Administrative



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Agent) or a manager selected by Borrower and approved in writing by Administrative Agent, in
Administrative Agent’s reasonable discretion.

                (c)      Borrower shall not, without the prior written consent of Administrative Agent,
which consent shall not be unreasonably withheld, (i) surrender, terminate or cancel the Management
Agreement or otherwise replace any Manager or enter into any other management agreement with respect
to the Project; (ii) reduce or consent to the reduction of the term of the Management Agreement; (iii)
increase or consent to the increase of the amount of any charges under the Management Agreement; or (iv)
otherwise modify, change, supplement, alter or amend, or waive or release any of its rights and remedies
under, the Management Agreement in any material respect. In the event that Borrower replaces a
Manager at any time during the term of Loan pursuant to this subsection, such Manager shall be approved
by Administrative Agent in writing.

                    (d)     Notwithstanding anything to the contrary contained herein or in any other Loan
Document, the Manager initially named in this Agreement may (i) transfer its interest in any Management
Agreement for the management of the Project to any Affiliate of such Manager, (ii) transfer shares or
equity interests in Manager or Manager’s equity owners (including, without limitation, the issuance of
treasury stock, or the creation or issuance of a new class of stock or membership interests, in either case
in the context of an initial public offering or in the context of a subsequent offering of equity securities),
(iii) sell all or substantially all of such Manager’s assets, and (iv) merge or consolidate with another entity
without, in each case, the approval of Administrative Agent or the same constituting an Event of Default
under this Agreement; provided, however, if any of the actions described in clauses (ii), (iii) or (iv) shall
cause such Manager to be unable to perform the functions required to be performed and observed by
Manager under the Management Agreement, Borrower shall, at the request of Administrative Agent,
terminate the applicable Management Agreement upon thirty (30) days prior notice to such Manager and
replace such Manager with a Qualified Manager (without the need for the approval of Administrative
Agent) or a manager selected by Borrower and approved in writing by Administrative Agent, in
Administrative Agent’s reasonable discretion.

                 (e)    Notwithstanding anything to the contrary contained herein or in any other Loan
Document, the resignation, removal or replacement of Manager shall not be an Event of Default under
this Agreement or require the approval of Administrative Agent so long as Borrower shall appoint or
retain a substitute Manager that is a Qualified Manager.

         Section 5.14. Liens. Borrower shall not, without the prior written consent of Administrative
Agent, create, incur, assume or suffer to exist any Lien on any portion of the Project or permit any such
action to be taken, other than the Permitted Encumbrances, the Deed of Trust, the Assignment of Leases
and Rents and any other liens created by the Loan Documents. Neither Borrower nor any other Person
shall take any action that would impair the Lien created under this Agreement, the Deed of Trust or any
other Loan Document.

        Section 5.15. Debt Cancellation. Borrower shall not cancel or otherwise forgive or release any
claim or debt owed to Borrower by any Person, except for adequate consideration and in the ordinary
course of Borrower’s business, other than rent abatements or concessions in the ordinary course of
business.

         Section 5.16. Zoning. Borrower shall not initiate or affirmatively consent to any zoning
classification or reclassification of any portion of the Project or seek any variance under any existing or
future zoning ordinance or use or permit the use of any portion of the Project in any manner that could
result in such use becoming a non-conforming use under any zoning ordinance or any other applicable
land use law, rule or regulation, without the prior consent of Administrative Agent.


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         Section 5.17. ERISA. Borrower covenants and agrees to deliver to Administrative Agent such
certifications or other evidence from time to time throughout the term of the Loan, as reasonably
requested by Administrative Agent that Borrower is not and will not be a Benefit Plan Investor.

        Section 5.18. No Joint Assessment. Borrower shall not suffer, permit or initiate the joint
assessment of the Property with (a) any other real property constituting a tax lot separate from the
Property, or (b) any portion of the Property which may be deemed to constitute personal property, or any
other procedure whereby the Lien of any taxes which may be levied against such personal property shall
be assessed or levied or charged to the Property.

         Section 5.19. Alterations. Administrative Agent’s prior written approval shall be required in
connection with any material alterations to any improvements at or on the Project, except for (a)
alterations to Tenant spaces required to be undertaken by Borrower under a Lease, or permitted to be
undertaken by such Tenant without Borrower’s consent under its Lease, (b) alterations required by Legal
Requirements, and (c) ordinary non-structural improvements, alterations and maintenance and structural
repairs, the cost of which is $750,000 or less (in the aggregate in any twelve (12) month period). With
respect to an Existing Lease, to the extent that Administrative Agent’s prior approval is required under
this Section 5.19, Administrative Agent shall grant or withhold its consent to any alterations proposed
thereunder subject to the standard of consent applicable to the landlord under the applicable Existing
Lease.

       Section 5.20. Reciprocal Easement Agreement. Borrower shall not enter into any reciprocal
easement agreement without Administrative Agent’s prior written consent.

       Section 5.21. Notices. Borrower shall give notice, or cause notice to be given, to Administrative
Agent promptly upon the occurrence, or the receipt of notice, of:

                (a)      any Event of Default or, to Borrower’s knowledge, any event that would with the
giving of notice or passage of time would constitute an Event of Default;

               (b)      any default or event of default under any Contractual Obligation of Borrower that,
to the knowledge of Borrower, could reasonably be expected to have a material adverse effect on
Borrower, the ability of Borrower to perform Borrower’s obligations under the Loan Documents or the
rights and remedies of Lenders under the Loan Documents;

                (c)     any material litigation or proceeding affecting Borrower, Guarantor or the Project
but only to the extent such litigation could be reasonably expected to have a material adverse effect on
Borrower, Guarantor or the Project, the ability of Borrower or Guarantor to perform their obligations
under the Loan Documents or the rights and remedies of Lenders under the Loan Documents;
                (d)     a change in the business, operations or financial or other condition or prospects of
Borrower or Guarantor which could reasonably be expected to have a material adverse effect on Borrower
the ability of Borrower or such Guarantor to perform Borrower’s or such Guarantor’s obligations under
the Loan Documents or the rights and remedies of Administrative Agent and Lenders under the Loan
Documents; or

                (e)     any ERISA Event.

        Section 5.22. Curing. Administrative Agent and Lenders shall have the right, but shall not have
the obligation, following ten (10) days’ notice to Borrower and an opportunity to cure, to exercise
Borrower’s rights to satisfy or fully bond over any Liens, claims or judgments against the Project.
Borrower shall reimburse Lenders and Administrative Agent on demand for any and all actual costs


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incurred by Lenders or Administrative Agent in connection with satisfying any Liens, claims or
judgments against the Project.

         Section 5.23. Limitation on Securities Issuances. None of Borrower or any of Borrower Members
shall issue any additional membership interests or other securities, other than those that have been issued
as of the Closing Date to the extent that such issuance would violate the provisions of Section 7.2, without
the prior written consent of Administrative Agent, which consent may be withheld by Administrative
Agent in Administrative Agent’s sole and absolute discretion. For the avoidance of doubt, this
Section 5.23 shall not apply to the issuance, reissuance or replacement of certificates evidencing
membership interests existing as of the Closing Date in accordance with the Mezzanine Loan Documents.

         Section 5.24. Limitations on Distributions. Following the occurrence and during the continuance
of (i) an Event of Default or (ii) a default by Borrower or the Key Tenant under the Key Tenant Lease,
Borrower shall not make any distributions to Sole Member or any Borrower Members or any other Person.
Except as aforesaid, there shall be no limitation on the making of any distributions to Borrower Members
so long as no Event of Default or default under the Key Tenant Lease shall have occurred and be
continuing.

        Section 5.25. Contractual Obligations. Other than the Loan Documents, the Mezzanine Loan
Documents, the Borrower Operating Agreement (and the membership interests in Borrower issued
pursuant thereto) and the other documents described in Section 4.24, neither Borrower nor any of
Borrower’s assets shall be subject to any Contractual Obligations, and Borrower shall not enter into any
agreement, instrument or undertaking by which Borrower or Borrower’s assets are bound, other than
those Contractual Obligations to operate, manage and Lease the Project that are necessary and customary
for properties similar to the Project.

          Section 5.26. Additional Indebtedness. Except as provided in Section 6.1(g) hereof, Borrower
shall not suffer or incur any additional debt, obligations as lessee under a capitalized lease or contingent
liabilities without the prior written consent of Administrative Agent, which consent may be withheld by
Administrative Agent in Administrative Agent’s sole and absolute discretion.

         Section 5.27. Restrictions on Leasing. Borrower shall (i) not execute a Material Lease which shall
not have been submitted to and approved by Administrative Agent except for Telecom Leases, (ii) not
alter, modify or change the terms of any Material Lease except in the ordinary course of business and
provided such alteration, modification or change does not have a material adverse financial effect on
Borrower, (iii) not give any consent or exercise any option unless required by the terms of any Lease
approved by Administrative Agent, (iv) not cancel or terminate any Material Lease or accept a surrender
or tenant buyout thereof except in the event of default by the Tenant thereunder, (v) not consent to any
assignment of or subletting under any Material Lease, unless the same shall be in accordance with its
terms and such terms have been approved by Administrative Agent, (vi) not collect any of the rents,
income and profits arising or accruing under any Leases or from the Project for more than one (1) month
in advance of the time when the same shall become due, (vii) not execute any other assignment of
Borrower’s interest in the Leases or any assignment of rents arising or accruing from the Leases or from
the Project; (viii) observe and promptly and faithfully perform or cause to be performed all of the
covenants, conditions and agreements contained in all Leases in all material respects, (ix) at all times do
all things reasonably necessary in the exercise of sound business judgment to compel performance by the
lessee under each Lease of all obligations, covenants and agreements by such lessee to be performed
thereunder, (x) not do or permit to be done anything to materially impair the security of any Lease, (xi) at
Administrative Agent’s request, assign and transfer to Administrative Agent any and all subsequent
Leases upon all or any part of the Project, and (xii) execute and deliver at the reasonable request of
Administrative Agent all such further assurances and assignments in the Project as Administrative Agent

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shall from time to time require. None of the foregoing restrictions set forth in clauses (i) through (vii) of
this Section shall be done or suffered to be done without in each instance obtaining the prior written
consent of Administrative Agent, and any of such acts done without the prior written consent of
Administrative Agent shall be null and void. For purposes of clarity, the Existing Leases and the terms
therein have been approved by Administrative Agent.

               (a)     Tenant Estoppel Certificates. Borrower shall deliver to Administrative Agent
upon the written request of Administrative Agent (made not more often than once in any calendar year),
an updated tenant estoppel certificate from any Tenant at the Project addressed to Administrative Agent,
in form and substance satisfactory to Administrative Agent in all respects.

                (b)      Copies of Leases. Within ten (10) Business Days of any such request, Borrower
shall submit to Administrative Agent or Administrative Agent’s counsel true and complete copies of all
Leases for the Project including all amendments thereto or extensions thereof, and any guarantees thereof.

                (c)      Subordination and Attornment. Each Lease hereafter entered into shall be
subordinate to the lien of the Deed of Trust, to all advances under the Deed of Trust and to any renewals,
extensions, modifications or consolidations thereof, and shall provide that, in the event of the enforcement
by Lenders of the remedies provided for by law, by this Agreement or by the Deed of Trust, the lessee
thereunder shall, upon request of any Person succeeding to the interest of Borrower as a result of such
enforcement, automatically become the lessee of and shall attorn to said successor in interest, without
change in the terms or other provisions of such Lease; provided, however, that said successor in interest
shall not be bound by (i) any payment of rent or additional rent for more than one (1) month in advance,
except prepayments in the nature of security for the performance by said lessee of its obligations under
said Lease, or (ii) any amendment or modification of the Lease made without the consent of
Administrative Agent or such successor in interest, unless such consent is not required pursuant to this
Section 5.27. Each Lease shall also provide that, upon request by said successor in interest, such lessee
shall execute and deliver an instrument or instruments confirming such attornment. Administrative Agent,
on behalf of Lenders, shall enter into a commercially reasonable SNDA with Tenants under future Leases
upon request, from time to time.

        Section 5.28. Debt Service Coverage Ratio.

                (a)     At all times during the term of the Loan, the Project must maintain a minimum
debt service coverage ratio (“DSCR”) of 1.20:1.00 (“DSCR Threshold”). The DSCR shall be tested on an
annual basis commencing on December 31, 2018 and on each December 31 thereafter during the term of
the Loan. The DSCR shall be calculated as the ratio of (i) Net Operating Income for the prior twelve-
month period immediately preceding the measurement date, to (ii) actual scheduled principal and interest
payments under the Loan for the prior trailing twelve-month period immediately preceding the
measurement date. With respect to the calculation of DSCR as aforesaid, until the first (1st) anniversary
of the Closing Date, Debt Service and Net Operating Income shall be calculated on the basis of actual
Debt Service and Net Operating Income for such partial year period and such amounts shall be annualized
by Administrative Agent for purposes of calculating the DSCR.
                 (b)      The certificate of Administrative Agent as to any DSCR calculation shall, absent
manifest error, be final, conclusive and binding on Borrower.

                (c)    If, on any annual measurement date, the DSCR is below the DSCR Threshold,
Borrower may, at Borrower’s option, pay down the Loan (without payment of any Prepayment Premium)
by an amount necessary for Borrower to effectively achieve the DSCR Threshold immediately following
delivery of such pay down (any amount so paid down may not be reborrowed). Borrower shall deliver the
pay down to Administrative Agent within fifteen (15) days following notice from Administrative Agent

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that such DSCR Threshold has not been met. Borrower’s failure to deliver the pay down within such time
period such that DSCR Threshold is achieved shall be an Event of Default.

        Section 5.29. Loan-to-Value Ratio.

                 (a)     The Project must maintain a maximum loan-to-value ratio (“LTVR”) of 60.0%
(“LTVR Threshold”) at all times. The LTVR shall be tested by Administrative Agent on an annual basis,
commencing on December 31, 2018 and on each December 31 thereafter during the term of the Loan, and
shall be calculated as the ratio of (i) the outstanding principal balance under the Loan to (ii) the Appraised
Value of the Project. For the purpose of this covenant, “Appraised Value” shall mean the market value of
the Project according to the latest FIRREA appraisal performed by an appraiser appointed by Borrower
and reasonably acceptable to Administrative Agent, which appraisals shall be performed annually by
December 31st of each calendar year.

                 (b)      The certificate of Administrative Agent as to any LTVR calculation shall, absent
manifest error, be final, conclusive and binding on Borrower.

                (c)     If, on any annual measurement date, the LTVR exceeds the LTVR Threshold,
Borrower may, at Borrower’s option, pay down the Loan (without payment of any Prepayment Premium)
by an amount necessary for Borrower to effectively achieve the LTVR Threshold immediately following
delivery of such pay down (any amount so paid down may not be reborrowed). Borrower shall deliver
the pay down to Administrative Agent within fifteen (15) days following notice from Administrative
Agent that the LTVR Threshold has not been achieved. Borrower’s failure to deliver the pay down within
such time period such that LTVR Threshold is achieved shall be an Event of Default.
        Section 5.30. UCC Searches. Borrower and Guarantor hereby agree that Administrative Agent
shall have the right to order UCC, judgment and lien searches against Borrower and Guarantor at any time
at Borrower’s sole cost and expense. Borrower shall also be responsible for all actual out-of-pocket costs
incurred by Administrative Agent to continue the UCC-1 Financing Statements delivered by Borrower in
favor of Administrative Agent from time to time.

        Section 5.31. Updated/New Appraisal. Borrower hereby acknowledges and agrees that Borrower
shall order (or, at Administrative Agent’s election, Administrative Agent may order) an updated or new
appraisal of the Project (a) annually, in connection with Administrative Agent’s test of the LTVR
Threshold, at Borrower’s sole cost and expense, (b) upon the occurrence of an Event of Default, at
Borrower’s sole cost and expense, and (c) at any other time, at Administrative Agent’s sole cost and
expense. Any such appraisal shall be performed by an appraiser appointed by Borrower and reasonably
acceptable to Administrative Agent, and Administrative Agent may from time to time require that the
appraiser who performs a particular appraisal be different than the appraiser who performed the prior
appraisal.

         Section 5.32. Interest Reserve Account. Borrower shall maintain the Interest Reserve Account
for the term of the Loan, which Interest Reserve Account shall be under the sole dominion and control of
Administrative Agent. The Interest Reserve Account shall have a title evidencing the foregoing in a
manner reasoning acceptable to Administrative Agent. Borrower hereby grants to Administrative Agent,
for the benefit of Lenders, a first-priority security interest in the Interest Reserve Account and all deposits
at any time contained therein and the proceeds thereof and will take all actions necessary to maintain in
favor of Administrative Agent, for the benefit of Lenders, a perfected first priority security interest in the
Interest Reserve Account. All costs and expenses for establishing and maintaining the Interest Reserve
Account (or any successor thereto) shall be paid by Borrower. All monies now or hereafter deposited into
the Interest Reserve Account shall be deemed additional security for the Debt. Borrower shall not alter or
modify the Interest Reserve Account without the prior written consent of Administrative Agent.

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Borrower shall not draw upon the Interest Reserve Account during the term of the Loan (for the purpose
of making interest payments or otherwise). Upon the occurrence of an Event of Default due to
Borrower’s failure to timely make any interest payment, Administrative Agent shall apply funds on
deposit in the interest reserve against amounts owing to Lenders under this Agreement, and shall notify
Borrower whether sufficient funds were available in the Interest Reserve Account to cure such Event of
Default. For the avoidance of doubt, Borrower shall be required to make separate interest payments
pursuant to the terms of the Note, regardless of whether there are funds in the Interest Reserve Account
on deposit with Administrative Agent.

        Section 5.33. Mezzanine Loan. Borrower shall not cause, suffer or permit Mezzanine Borrower
to enter into any cancellation, termination, modification, change, supplement, restatement, alteration or
amendment of any Mezzanine Loan Document. Without limitation of any other covenant set forth in this
Agreement, Borrower shall deliver to Administrative Agent, within two (2) Business Days, any notice of
default or other material notice, statement or report given or received by any party under the Mezzanine
Loan Documents.

                                             ARTICLE VI
                                         ENTITY COVENANTS

        Section 6.1. Single Purpose Entity/Separateness. Until the Debt has been paid in full, Borrower
represents, warrants and covenants that Borrower has not and shall not:

                 (a)      engage in any business or activity other than the ownership of the Project and any
activities incidental thereto;

                (b)    acquire or own any assets other than (i) the Project, and (ii) such incidental
personal property as may be necessary for the ownership of the Project;

               (c)      merge into or consolidate with any Person, or dissolve, terminate, liquidate in
whole or in part, transfer or otherwise dispose of all or substantially all of its assets or change its legal
structure;

                (d)    fail to observe all organizational formalities or fail to preserve its existence as an
entity duly organized, validly existing and in good standing (if applicable) under the applicable Legal
Requirements of the jurisdiction of its organization or formation, or amend, modify, terminate or fail to
comply with the provisions of its Organizational Documents;
                (e)     form or own any Subsidiary or make any investment in any Person;

                (f)     commingle its assets with the assets of any other Person;

                (g)      incur any debt, secured or unsecured, direct or contingent (including guaranteeing
any obligation) other than (i) the Loan and/or (ii) trade and operational indebtedness incurred in the
ordinary course of business with trade creditors, provided such indebtedness is (A) unsecured, (B) not
evidenced by a note, (C) on commercially reasonable terms and conditions, and (D) due not more than
ninety (90) days past the date incurred and paid on or prior to such date;

               (h)     fail to maintain its records, books of account, bank accounts, financial statements,
accounting records and other entity documents separate and apart from those of any other Person;

                (i)      enter into any contract or agreement with any general partner, member,
shareholder, principal, guarantor of the obligations of Borrower or any Affiliate of the foregoing, except



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upon terms and conditions that are intrinsically fair, commercially reasonable and substantially similar to
those that would be available on an arm’s length basis with unaffiliated third parties;

                 (j)       maintain its assets in such a manner that it will be costly or difficult to segregate,
ascertain or identify its individual assets from those of any other Person;

                  (k)    assume or guaranty the debts of any other Person, hold itself out to be responsible
for the debts of any other Person, or otherwise pledge its assets for the benefit of any other Person or hold
out its credit as being available to satisfy the obligations of any other Person, provided however, that this
subsection (k) shall not be deemed to prohibit Borrower from pledging assets to secure its own
obligations as required or permitted by the Loan Documents;

               (l)     make (i) any loans or (ii) any advances (except with respect to distributions to its
shareholders, partners or members, as applicable, which are not otherwise prohibited under this
Agreement) to any Person;

               (m)     fail to file its own tax returns or file a consolidated federal income tax return with
any Person (unless prohibited or required, as the case may be, by applicable Legal Requirements);

               (n)    fail either to hold itself out to the public as a legal entity separate and distinct
from any other Person or to conduct its business solely in its own name or fail to correct any known
misunderstanding regarding its separate identity;

                (o)     fail to maintain adequate capital for the normal obligations reasonably foreseeable
in a business of its size and character and in light of its contemplated business operations; provided,
however, in no event shall this subsection (o) require any equity owner to make additional capital
contributions to Borrower (it being acknowledged, however, that a failure of Borrower to maintain
adequate capital for the normal obligations reasonably foreseeable in a business of its size and character
and in light of its contemplated business operations shall be a Default hereunder irrespective of such
equity owner’s lack of an obligation to make additional capital contributions to Borrower);

                 (p)    (i) file or consent to the filing of any petition, either voluntary or involuntary, to
take advantage of any Creditors’ Rights Laws (unless filed by Administrative Agent), (ii) seek or consent
to the appointment of a receiver, liquidator or any similar official, (iii) take any action that might cause
such entity to become insolvent, or (iv) make an assignment for the benefit of creditors;

                (q)     fail to allocate shared expenses (including, without limitation, shared office space
and services performed by an employee of an Affiliate) among the Persons sharing such expenses and to
use separate invoices and checks;

                (r)      fail to remain solvent or pay its own liabilities (including, without limitation,
salaries of its own employees) only from its own funds; provided, however, in no event shall this
subsection (r) require any equity owner to make additional capital contributions to Borrower (it being
acknowledged, however, that a failure of Borrower to remain solvent or pay its own liabilities (including,
without limitation, salaries of its own employees) only from its own funds shall be a Default hereunder
irrespective of such equity owner’s lack of an obligation to make additional capital contributions to
Borrower); and

                  (s)      acquire obligations or securities of its partners, members, shareholders or other
affiliates, as applicable.

       Section 6.2. Change of Name, Identity or Structure. Borrower shall not change or permit to be
changed (a) Borrower’s name, (b) Borrower’s identity (including Borrower’s trade name or names), (c)

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Borrower’s principal place of business set forth on the first page of this Agreement, the Deed of Trust or
any UCC-1 Financing Statements, (d) the corporate, partnership, limited liability company or other
organizational structure of Borrower, (e) Borrower’s state of organization, or (f) Borrower’s
organizational identification number, without in each case notifying Administrative Agent of such change
in writing at least thirty (30) days prior to the effective date of such change and, in the case of a change in
Borrower’s structure, without first obtaining the prior written consent of Administrative Agent. In
addition, Borrower shall not change or permit to be changed any Organizational Documents of such
person if such change would adversely impact the covenants set forth in Section 6.1 hereof. Borrower
shall execute and deliver to Administrative Agent, prior to or contemporaneously with the effective date
of any such change, any financing statement or financing statement amendment reasonably required by
Administrative Agent to establish or maintain the validity, perfection and priority of the security interest
granted herein. At the request of Administrative Agent, Borrower shall execute a certificate in form
satisfactory to Administrative Agent listing the trade names under which Borrower intends to operate
under, and representing and warranting that Borrower does business under no other trade name. If
Borrower does not now have an organizational identification number and later obtains one, or if the
organizational identification number assigned to Borrower subsequently changes, Borrower shall
promptly notify Administrative Agent of such organizational identification number or change.

        Section 6.3. Business and Operations. Borrower shall remain in good standing under the laws of
each State as, and to the extent, the same are required for the ownership, maintenance, management and
operation of the Project. Borrower shall not enter into any line of business other than the ownership of the
Project and ancillary purposes in connection therewith, or make any material change in the scope or
nature of its business objectives, purposes or operations, or undertake or participate in activities other than
the continuance of its present business.

                                            ARTICLE VII
                                     NO SALE OR ENCUMBRANCE

         Section 7.1. Transfer Definitions. For purposes of this Article VII, an “Affiliated Manager” shall
mean any managing agent in which Borrower, Guarantor or any Affiliate of such Persons has directly or
indirectly, any legal, beneficial or economic interest; “Control” shall mean, for any Person, the power to
direct the management and policies of such Person, directly or indirectly, whether through the ownership
of voting securities or other beneficial interests, by contract or otherwise; “Restricted Party” shall mean
Borrower, any Affiliated Manager, or any shareholder, partner, member or non-member manager, or any
direct or indirect legal or beneficial owner of Borrower, any Affiliated Manager, or any non-member
manager; and a “Sale or Pledge” shall mean a voluntary or involuntary sale, conveyance, mortgage, grant,
bargain, encumbrance, lien, pledge, assignment, grant of any options with respect to, or any other transfer
or disposition of (directly or indirectly, voluntarily or involuntarily, by operation of law or otherwise, and
whether or not for consideration or of record) a legal or beneficial interest.

        Section 7.2. No Sale/Encumbrance.

                (a)    Other than Permitted Transfers, until the Debt is paid in full, Borrower shall not
cause or permit a Sale or Pledge of the Project or any part thereof or any legal or beneficial interest
therein nor permit a Sale or Pledge of an interest in any Restricted Party (in each case, a “Prohibited
Transfer”) without the prior written consent of Administrative Agent, which shall not be unreasonably
withheld, conditioned or delayed.

                 (b)     A Prohibited Transfer shall include, but not be limited to, (i) an installment sales
agreement wherein Borrower agrees to sell the Project or any part thereof for a price to be paid in
installments; (ii) an agreement by Borrower leasing all or a substantial part of the Project for other than


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actual occupancy by a space tenant thereunder or a sale, assignment or other transfer of, or the grant of a
security interest in Borrower’s right, title and interest in and to any leases or any rents; (iii) if a Restricted
Party is a corporation, any merger, consolidation or Sale or Pledge of such corporation’s stock or the
creation or issuance of new stock in one or a series of transactions; (iv) if a Restricted Party is a limited or
general partnership or joint venture, any merger or consolidation or the change, removal, resignation or
addition of a general partner or the Sale or Pledge of the partnership interest of any general or limited
partner or any profits or proceeds relating to such partnership interests or the creation or issuance of new
partnership interests; (v) if a Restricted Party is a limited liability company, any merger or consolidation
or the change, removal, resignation or addition of a managing member or non-member manager (or if no
managing member, any member) or the Sale or Pledge of the membership interest of any member or any
profits or proceeds relating to such membership interest; (vi) if a Restricted Party is a trust, any merger,
consolidation or the Sale or Pledge of the legal or beneficial interest in a Restricted Party or the creation
or issuance of new legal or beneficial interests; (vii) the removal or the resignation of a Manager
(including, without limitation, an Affiliated Manager) other than in accordance with Section 5.13 hereof.
        Section 7.3. Administrative Agent’s Rights. Administrative Agent reserves the right to condition
the consent to a Prohibited Transfer requested hereunder upon (a) a modification of the terms hereof and
an assumption of the Note and the other Loan Documents as so modified by the proposed transferee, (b)
receipt of payment of a transfer fee equal to $5,000 and all of Lenders’ and Administrative Agent’s out-
of-pocket expenses actually incurred in connection with such Prohibited Transfer, (c) to the extent
applicable to such proposed transferee, the proposed transferee’s continued compliance with the
covenants set forth in this Agreement (including, without limitation, the covenants in Article VI and the
other Loan Documents), (d) a new manager for the Project and a new management agreement satisfactory
to Administrative Agent (if applicable), and (e) the satisfaction of such other conditions and/or legal
opinions as Administrative Agent shall determine in Administrative Agent’s reasonable discretion to be in
the interest of Lenders. All reasonable expenses incurred by Lenders and Administrative Agent shall be
payable by Borrower whether or not Administrative Agent consents to the Prohibited Transfer. Lenders
shall not be required to demonstrate any actual impairment of Lenders’ security or any increased risk of
default hereunder in order to declare the Debt immediately due and payable upon a Prohibited Transfer
made without Administrative Agent’s prior written consent. This provision shall apply to each and every
Prohibited Transfer, whether or not Administrative Agent has consented to any previous Prohibited
Transfer.

       Section 7.4. Assumption. Other than as expressly permitted in this Agreement, Borrower hereby
acknowledges and agrees that no transfer of all or any portion of the Project to, and the related
assumption of the Loan by, any Person shall be permitted under this Agreement.

                                       ARTICLE VIII
                     INSURANCE; CASUALTY; CONDEMNATION; RESTORATION

        Section 8.1. Insurance.

                 (a)     Borrower shall obtain and maintain at all times policies of insurance as follows:

                        (i)     comprehensive “all risk” or “special causes of loss” insurance, including,
without limitation, fire, flood, earthquake, terrorism, vandalism, malicious mischief and such other
hazards as may be reasonably specified by Administrative Agent for the mutual benefit of Borrower and
Administrative Agent and which is customarily maintained for like properties, including the
improvements and the fixtures (other than trade fixtures) at the Project, in each case (A) in an amount
equal to one hundred percent (100%) of the “Full Replacement Cost,” which for purposes of this
Agreement shall mean actual replacement value (exclusive of costs of excavations, foundations,


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underground utilities and footings) and provided that earthquake and flood may have a sub limit
reasonably acceptable to Administrative Agent; (B) containing a replacement cost endorsement and an
agreed amount endorsement with respect to such improvements and fixtures (other than trade fixtures)
and/or an endorsement waiving all coinsurance provisions; (C) providing for no deductible in excess of
$100,000 or such other amount reasonably acceptable to Administrative Agent, for all such insurance
coverage; and (D) if any of the improvements or the use of the Project shall at any time constitute legal
nonconforming structures or uses, providing coverage for contingent liability from Operation of Building
Laws, Demolition Costs and Increased Cost of Construction Endorsements and containing an “Ordinance
or Law Coverage” or “Enforcement” endorsement. In addition, Borrower shall obtain, or cause to be
obtained: (x) if any portion of the improvements is currently or at any time in the future located in a
“special flood hazard area” designated by the Federal Emergency Management Agency, flood hazard
insurance in an amount equal to $10,000,000 in excess of the maximum amount of such insurance
available under the National Flood Insurance Act of 1968, the Flood Disaster Protection Act of 1973 or
the National Flood Insurance Reform Act of 1994, as each may be amended; and (y) earthquake insurance
in amounts and in form and substance reasonably satisfactory to Administrative Agent as determined by a
probable maximum loss study or other acceptable assessment of expected maximum loss, not to exceed
the amount of indebtedness, in the event the Project is located in an area with a high degree of seismic
risk provided that the insurance pursuant to clauses (x) and (y) hereof shall be on terms consistent with
the comprehensive all risk insurance policy required under this subsection (i) and further provided that
regardless of the flood or seismic zone, Administrative Agent may require reasonable limits of insurance
covering such risks;

                         (ii)   Commercial General Liability insurance against claims for personal
injury, bodily injury, death or property damage occurring upon, in or about the Project, with such
insurance (A) to be on the so-called “occurrence” form with a general aggregate limit of not less than
$2,000,000 per location and a per occurrence limit of not less than $1,000,000; (B) to continue at not less
than the aforesaid limit until required to be changed by Administrative Agent in writing by reason of
changed economic conditions making such protection inadequate; and (C) to cover at least the following
hazards: (1) premises and operations; (2) products and completed operations; (3) independent contractors;
and (4) contractual liability;

                         (iii)   loss of rents insurance or business income insurance, as applicable, (A)
covering all risks required to be covered by the insurance provided for in subsection (i) above; (B) which
provides that after the physical loss to the improvements and fixtures (other than trade fixtures) occurs,
the loss of rents or income, as applicable, will be insured until such completion of Restoration and
notwithstanding that the policy may expire prior to the end of such period; and (C) which contains an
extended period of indemnity endorsement which provides that after the physical loss to the
improvements and personal property has been repaired, the continued loss of income will be insured until
such income either returns to the same level it was at prior to the loss, or the expiration of at least six (6)
months from the date that the Project is repaired or replaced and operations are resumed, whichever first
occurs, and notwithstanding that the policy may expire prior to the end of such period. The amount of
such loss of rents or business income insurance, as applicable, shall be determined prior to the date hereof
and at least once each year thereafter based on Borrower’s reasonable estimate of the gross income from
the Project for the succeeding period of coverage required above. All proceeds payable to Lenders
pursuant to this subsection shall be held by Lenders and shall be applied to the obligations secured by the
Loan Documents with any remaining balance promptly payable to Borrower; provided, however, that
nothing herein contained shall be deemed to relieve Borrower of Borrower’s obligations to pay the
obligations secured by the Loan Documents on the respective dates of payment provided for in the Note,
this Agreement and the other Loan Documents except to the extent such amounts are actually paid out of
the proceeds of such loss of rents or business income insurance, as applicable;

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                          (iv)    at all times during which structural construction, demolition, structural
repairs or structural alterations are being made with respect to the improvements, and only if the property
coverage form does not otherwise apply,

                             (A)     owner’s contingent or protective liability insurance covering
claims not covered by or under the terms or provisions of the above mentioned commercial general
liability insurance policy;

                               (B)     the insurance provided for in subsection (i) above written in a so-
called Builder’s Risk Completed Value form (1) on a non-reporting basis, (2) against “all risks” insured
against pursuant to subsection (i) above, (3) including permission to occupy the Project, (4) with an
agreed amount endorsement waiving co-insurance provisions, and (5) including coverage for so-called
“soft costs” and delayed completion loss of income; and
                                (C)     Borrower shall ensure, or cause to be insured, that the general
contractor maintains (1) commercial general liability coverage, including products and completed
operations coverage that shall be continuously renewed for the statutory period during which claims can
be made following completion of the project, (2) automobile liability insurance (including owned, hired
and non-owned liability) and (3) umbrella/excess liability insurance with no less than $25,000,000, or
such other amount reasonably acceptable to Administrative Agent, in limits per occurrence and in the
annual aggregate per project, and in addition Borrower shall ensure, or cause to be insured, that all trade
contractors provide similar liability insurance coverage with umbrella liability limits that are
commensurate with the risks presented by their operations at the site as determined by the general
contractor. All parties engaged in work on the improvements or on any restoration shall maintain any
workers’ compensation and employer’s liability insurance required by law in force for all workers on the
job. A certificate of insurance shall be issued to Borrower and Administrative Agent, naming each as
Additional Insured (except with respect to workers’ compensation and employer’s liability), and
evidencing all insurance required in this subsection. Borrower and Administrative Agent shall be named
as Additional Insured with respect to the general contractor’s ongoing operations and completed
operations by endorsements satisfactory to Administrative Agent. Such insurance shall be primary and
any other insurance maintained by the additional insured shall be excess only and not contributing with
this insurance;
                        (v)      workers’ compensation, subject to the statutory limits of the State, and
employer’s liability insurance in respect of any work or operations on or about the Project, or in
connection with the Project or its operation (if applicable);

                        (vi)    comprehensive boiler and machinery insurance, if applicable, in amounts
as shall be reasonably required by Administrative Agent on terms consistent with the commercial
property insurance policy required under subsection (i) above;

                         (vii) excess liability insurance in an amount not less than $25,000,000 per
occurrence and in the aggregate per location, or such other amount reasonably acceptable to
Administrative Agent, per occurrence and per location, on terms consistent with the commercial general
liability insurance required under subsection (ii) above; and

                         (viii) upon sixty (60) days’ written notice, such other reasonable insurance and
in such reasonable amounts as Administrative Agent from time to time may reasonably request against
such other insurable hazards which at the time are commonly insured against for property similar to the
Project located in or around the region in which the Project is located.



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                (b)     All insurance provided for in Section 8.1(a) hereof shall be obtained under valid
and enforceable policies (collectively, the “Policies” or in the singular, the “Policy”), and shall be in such
forms and in such amounts as required above, and shall be subject to the reasonable approval of
Administrative Agent as to insurance companies, amounts, deductibles, loss payees and insureds. The
Policies shall be issued by financially sound and responsible insurance companies authorized to do
business in the State and having a claims paying ability rating of “A” or better by at least two rating
agencies (one of which shall be S&P) and/or a general policy rating of “A” or better and a financial class
of VIII or better by A.M. Best Company, Inc.; provided, however, any insurance company with a rating
below A:X must have a positive or stable outlook according to A.M. Best Company, Inc. The Policies
described in Section 8.1(a) hereof shall designate Administrative Agent and Lenders and their successors
and assigns as mortgagee, additional insured and/or loss payee as deemed appropriate by Administrative
Agent. Borrower shall deliver to Administrative Agent certificates evidencing renewal of the Policies
(such certificates, the “Insurance Certificates”) and renewal policies accompanied by evidence
satisfactory to Administrative Agent of payment of the premiums due with respect to the policies (the
“Insurance Premiums”), within thirty (30) days after the expiration dates of such Policies.

               (c)     Any blanket property insurance Policy shall specifically allocate to the Project the
amount of coverage from time to time required hereunder and shall otherwise provide the same protection
as would a separate Policy insuring only the Project in compliance with the provisions of Section 8.1(a)
hereof.

                (d)     All Policies provided for or contemplated by Section 8.1(a) hereof shall, in the
case of Policies providing for (i) property damage, boiler and machinery, terrorism, flood and earthquake
insurance, provide that the loss thereunder shall be payable to Administrative Agent, as mortgagee and
loss payee, and (ii) commercial general liability insurance, name Administrative Agent as additional
insured.

               (e)      All Policies provided for in Section 8.1(a) hereof shall contain clauses or
endorsements to the effect that:

                         (i)      no act or negligence of Borrower or anyone acting for or on behalf of
Borrower or of any Tenant or other occupant, or failure to comply with the provisions of any Policy,
which might otherwise result in a forfeiture of the insurance or any part thereof, shall in any way affect
the validity or enforceability of the insurance with respect to Administrative Agent and Lenders;

                       (ii)    the property damage insurance Policies, including boiler and machinery,
earthquake, flood and terrorism, if separately provided, shall not be materially changed (other than to
increase the coverage provided thereby) or canceled without at least thirty (30) days’ prior written notice
to Administrative Agent and any party named therein as an additional insured;

                        (iii)  the issuers thereof shall give written notice to Administrative Agent if the
Policies have not been renewed ten (10) Business Days prior to their expiration;

                        (iv)    Administrative Agent and Lenders shall not be liable for any Insurance
Premiums thereon or subject to any assessments thereunder, provided that the insurer need not waive the
requirement that the premium be paid in order for a claim to be paid and further shall provide that
Administrative Agent (for the benefit of Lender) is permitted to make payments to effect the continuation
of such policy upon notice of cancellation due to non-payment of premiums;

                        (v)      the Policies do not contain an exclusion for acts of terrorism; and




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                       (vi)  any claim or defense any property damage insurance company may have
against Borrower to deny payment of any claim by Borrower thereunder shall not be effective against
Administrative Agent and Lenders (and affirmatively providing that the insurance company will pay the
proceeds of such Policy to Administrative Agent notwithstanding any claim or defense of the insurance
company against Borrower) and such Policies shall also contain a standard “Waiver of Subrogation”
endorsement.

                (f)     If at any time Administrative Agent is not in receipt of written evidence that all
insurance required hereunder is in full force and effect, Administrative Agent shall have the right, upon
not less than five (5) Business Days’ notice to Borrower (except in the event of an emergency or an
imminent lapse or loss of insurance coverage), to take such action as Administrative Agent deems
necessary to protect Lenders’ interest in the Project, including, without limitation, obtaining such
insurance coverage as Administrative Agent in Administrative Agent’s reasonable discretion deems
appropriate. All premiums incurred by Administrative Agent or Lenders in connection with such action or
in obtaining such insurance and keeping it in effect shall be paid by Borrower to Administrative Agent
upon demand and shall bear interest at the Involuntary Rate.

                 (g)     Borrower shall not take out separate insurance concurrent in form or contributing
(in the event of a loss) to the insurance required to be maintained under this Section 8.1. Borrower may,
however, carry, or permit Tenants to carry, insurance for the Project in addition to required insurance, but
only if such additional insurance: (i) does not violate or entitle the carrier to assert any defense or disclaim
any primary coverage under any required insurance; (ii) mutually benefits Borrower or Tenants, as the
case may be, and Administrative Agent, as their interests may appear; and (iii) otherwise complies with
this Agreement; provided, however, Administrative Agent reserves the right to approve any insurance
provided by any other Tenant.            Notwithstanding the foregoing, Administrative Agent hereby
acknowledges that the insurance coverages held by the Tenants as of the Closing Date are acceptable to
Administrative Agent.

         Section 8.2. Insurance Escrow; Payment by Administrative Agent. Borrower shall not be
obligated to make any deposit or payment for insurance premium payment obligations, as hereinafter
provided, until Administrative Agent makes demand therefor following an Event of Default and (i) any
Tenant under a Material Lease is not paying such premiums in accordance with the terms and provisions
of its respective Lease, or (ii) any Tenant under a Material Lease is in default under such Lease. Subject
to the foregoing, upon notice from Administrative Agent, Administrative Agent shall have the right to
require that Borrower pay to Administrative Agent at the time of each payment of an installment of
interest and/or principal under the Note, an additional amount sufficient to discharge the premium
payment obligations under this Article VIII when they become due. The determination of the amount so
payable and of the fractional part thereof to be deposited with Administrative Agent, so that the aggregate
of such deposits shall be sufficient for this purpose, shall be made by Administrative Agent in
Administrative Agent’s reasonable discretion. Such amounts shall be held by Administrative Agent not as
a trust fund and without interest (except as required by applicable law) and shall be applied to the
payment of the obligations in respect of which such amounts were deposited, in such order or priority as
Administrative Agent shall reasonably determine, on or before the respective dates on which the same or
any of them would become due. After acceleration of the Debt, the balance of any such amounts held by
Administrative Agent may be used and applied for any purpose authorized pursuant to Article II of the
Deed of Trust and Section 10.2 hereof including, without limitation, payment of the Debt in any order
Administrative Agent may deem appropriate. If, one (1) month prior to the date any of the
aforementioned obligations are due, the amounts then on deposit shall be insufficient for the payment of
such obligation in full, Borrower shall, within ten (10) days after written demand, deposit the amount of
the deficiency with Administrative Agent. Nothing herein contained shall be deemed to affect any right or


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remedy of Administrative Agent or Lenders under any provisions of this Agreement or of any statute or
rule of law to pay any such amount and to add the amount so paid, together with interest at the
Involuntary Rate, to the Debt.

         Section 8.3. Casualty. If the Project shall be damaged or destroyed, in whole or in part, by fire or
other casualty (a “Casualty”), Borrower shall give prompt notice of such damage to Administrative Agent
and Administrative Agent shall have the right to join Borrower in adjusting any loss. In addition, after the
entry of any decree of foreclosure of the Deed of Trust, any purchaser at foreclosure sale or the decree
creditor, as the case may be, shall also have the right to join in the adjustment of any such losses. Any
moneys received as payment for any loss under any such insurance (the “Insurance Proceeds”) shall be
paid, subject to the terms of the Existing Leases, over to Administrative Agent to be applied, at
Administrative Agent’s option, either to (i) prepayment of the Note and other sums due under the Loan
Documents or (ii) to the extent reasonably practicable, the reimbursement of Borrower from time to time
of expenses incurred by Borrower in connection with the restoration of the Project (“Restoration Work”)
upon terms otherwise satisfactory to Administrative Agent. Administrative Agent and Lenders shall have
the right to participate in the adjustment of all claims for Insurance Proceeds. Borrower shall promptly
commence and diligently prosecute the restoration of the Project whether or not the Insurance Proceeds
are made available to Borrower. Borrower shall pay all costs of such restoration whether or not such costs
are covered by insurance. Provided and on condition that no Event of Default has occurred and is
continuing, any prepayment of the Debt by application of Insurance Proceeds shall not be subject to any
Prepayment Premium, however, Borrower shall be obligated to pay any breakage costs or other similar
losses incurred or suffered by Administrative Agent and Lenders as a result of such prepayment.

        Notwithstanding the foregoing, and subject to the terms of subsection (f) hereof, if Administrative
Agent agrees to make the Insurance Proceeds, less the reasonable and actual out-of-pocket cost, if any, to
Administrative Agent of obtaining and disbursing such Insurance Proceeds (including, without limitation,
reasonable attorneys’ fees and disbursements and costs allocable to inspecting the Restoration Work and
the Plans) for the repair and restoration of the Project (“Actual Proceeds”) available to the Borrower (not
by way of application against and readvancement of loan funds under the Deed of Trust but solely as a
security fund from which to reimburse Borrower for or permit Borrower to pay directly the costs of such
repair and restoration), then Administrative Agent shall make the Actual Proceeds available to Borrower
and Borrower shall complete the Restoration work in accordance with the following terms, provisions and
conditions:

                (a)     If the Project should be damaged or destroyed by fire or other casualty, Borrower
shall promptly upon insurance settlement, which settlement shall be diligently pursued by Borrower,
commence the Restoration Work. Administrative Agent shall, subject to the terms of Subsection (b)
below, deposit the proceeds of settlement in an interest-bearing account (the “Restoration Account”) in a
branch of any federally-insured bank as Administrative Agent may determine, in Administrative Agent’s
sole and absolute discretion. Borrower shall, as provided below, pay or cause to be paid all expenses in
connection with such repair and restoration of the Project so that the Project, at all times, shall be and
remain free and clear from any and all Liens.

                (b)     If the Insurance Proceeds are less than or equal to $750,000, Administrative
Agent shall deliver such Insurance Proceeds to Borrower to perform the Restoration Work. If the
Insurance Proceeds are greater than $750,000, Administrative Agent shall make 90% of the Actual
Proceeds available to Borrower as provided in subsection (c) below and the final 10% of the Actual
Proceeds (the “Balance”) available to Borrower as provided in subsection (d) below. Borrower shall
utilize such Actual Proceeds only for the purposes of performing the Restoration Work and for no other
purpose whatsoever, except as hereinafter set forth. If the estimated costs of the Restoration Work shall
exceed the Actual Proceeds, the difference (the “Excess Funds”) shall be deposited in the Restoration

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Account. Such Excess Funds shall be applied toward the Restoration Work prior to the application of the
Actual Proceeds, all in accordance with the disbursement procedures hereinafter provided. Any
unexpended Actual Proceeds remaining after completion of the Restoration Work shall be paid over to
Borrower, provided no Event of Default exists or is continuing.

               (c)      Any Actual Proceeds held by Administrative Agent shall be paid by
Administrative Agent to Borrower from time to time as the Restoration Work progresses, subject to the
following terms, provisions and conditions:

                          (i)   If the Restoration Work is structural or if the cost of the Restoration Work
is reasonably estimated to exceed $750,000, the Restoration Work shall be supervised by a registered
architect or engineer and inspected by a consultant engaged by Administrative Agent at the sole cost and
expense of Borrower (the “Inspector”). Before Borrower commences any Restoration Work, other than
temporary Restoration Work to protect property or prevent interference with business, Administrative
Agent shall have been furnished with and shall have approved (which approval shall not be unreasonably
withheld or delayed) (i) an estimate of the cost of the Restoration Work accompanied by an architect’s
certification as to such costs and (ii) appropriate plans and specifications (“Plans”) for the Restoration
Work, it being nevertheless understood that said Plans shall provide for Restoration Work so that, upon
completion thereof, the Project shall be comparable in character and equal in value and general utility to
the Project prior to the damage or destruction. Borrower shall furnish Administrative Agent with evidence
satisfactory to Administrative Agent that all portions of the Project so restored and/or repaired and their
contemplated use fully comply with all Legal Requirements;

                            (ii)   Each request for payment shall be made upon seven (7) days’ prior notice
to Administrative Agent and shall be accompanied by certificates to be made by the Inspector or, if none
shall be required, by an officer of Borrower, stating (aa) that all of the Restoration Work completed has
been done in compliance with the approved Plans, if any be required under subsection (c)(i) above, and
all Legal Requirements, (bb) that the sum requested is justly required to reimburse Borrower for payments
by Borrower, or is justly due to the contractor, subcontractors, materialmen, laborers, engineers, architects
or other Persons rendering services or materials for the Restoration Work (giving a brief description of
such services and materials), and that (prior to the final completion of the Restoration Work) the
requested payment does not exceed the greater of (x) the amount of the requested payment less the
retainage required pursuant to the applicable general contract or subcontract or (y) 90% of the value of the
Restoration Work performed which is the subject of the requested payment (hereinafter called the
“Applicable Percentage”) and that all sums previously paid out by Administrative Agent do not exceed
the Applicable Percentage of the aggregate value of the Restoration Work done to the date of such
certificate, (cc) that if the sum requested is to cover payment relating to repair and restoration of personal
property required or relating to the Project, that title to the personal property items covered by the request
for payment is vested in Borrower and (dd) that the amount of Actual Proceeds remaining in the hands of
Administrative Agent shall be sufficient upon completion of the Restoration Work to pay for the same in
full free and clear of Liens. Additionally, each request for payment shall contain a statement signed by an
officer or authorized signatory of Borrower approving both the Restoration Work done to date and the
Restoration Work covered by the request for payment in question; and

                          (iii)   Each request shall be accompanied by (aa) invoices or receipts, (bb)
waivers of lien reasonably satisfactory to Administrative Agent covering that part of the Restoration
Work for which payment or reimbursement is being requested and (cc) if required by Administrative
Agent, a search prepared by the Title Company or other evidence satisfactory to Administrative Agent
that there has not been filed with respect to the Project any mechanic’s or other lien or instrument for the
retention of title in respect of any part of the Restoration Work not discharged of record, or that will not
be discharged in connection with the requested payment, by payment, bonding or otherwise. If available,

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Administrative Agent may, at Administrative Agent’s option, require an endorsement to the Title Policy
insuring the continued priority of the lien of the Deed of Trust as to all sums advanced hereunder, such
endorsement to be paid for by Borrower.

                 (d)      The Balance shall be paid to Borrower only after the Restoration Work has been
fully completed and within seven (7) days following the furnishing by Borrower to Administrative Agent
of (i) a copy of any certificate or certificates required by law to render occupancy and full operation of the
Project legal and (ii) a certification by the Inspector, if applicable, as to completion in accordance with the
approved Plans and Legal Requirements and an architect’s certificate of completion in the form of AIA-
G703.

                 (e)     At all times during the conduct of the Restoration Work, Borrower shall, at
Borrower’s sole cost and expense, obtain and cause to be maintained workmen’s compensation and public
liability insurance in amounts necessary to protect Borrower, Administrative Agent and Lenders from all
liabilities, damages, claims or demands arising out of any accident or occurrence causing injury or death
to any Person or property whatsoever. All insurance shall be with responsible insurance companies,
licensed and authorized to transact business in the State of Texas and shall be written in forms, amounts
and by companies reasonably satisfactory to Administrative Agent. The originals or certified copies of all
Policies, together with original certificates or evidence thereof, shall be delivered to Administrative Agent.
Renewals of such Policies shall be delivered to Administrative Agent at least ten (10) days before any
such Policies shall expire. Nothing contained herein shall relieve Borrower from any requirement of this
Agreement regarding the insuring of the Project.

                  (f)    Notwithstanding the terms and provisions of subsections (b), (c) and (d) hereof, in
the event that (i) Borrower fails to commence the Restoration Work or to proceed diligently and
continuously to completion of the Restoration Work, subject to force majeure delays, within twelve (12)
months from the date the Project was damaged or destroyed, (ii) the damage or destruction occurs during
the last six (6) months of the term of the Note, unless, in Administrative Agent’s reasonable judgment, the
required Restoration Work is capable of being completed by not later than ninety (90) days prior to the
Maturity Date, (iii) the required Restoration Work is not capable of being completed within eighteen (18)
months from the date the Project was damaged or destroyed, in Administrative Agent’s reasonable
judgment (provided rent or business interruption insurance is in effect for the entire period of
reconstruction), or (iv) an Event of Default is continuing, the terms, provisions and condition of
subsections (b), (c) and (d) hereof shall not apply and Administrative Agent’s option as to the application
of Insurance Proceeds shall continue to apply. During the continuance of an Event of Default, Insurance
Proceeds may be applied by Administrative Agent in any manner determined by Administrative Agent in
its sole and absolute discretion.

        Section 8.4. Condemnation. Borrower shall promptly give Administrative Agent notice of the
actual or threatened commencement of any proceeding for the Condemnation of the Project of which
Borrower has knowledge and shall deliver to Administrative Agent copies of any and all papers served in
connection with such proceedings. Administrative Agent and Lenders may participate in any such
proceedings, and Borrower shall from time to time deliver to Administrative Agent all instruments
requested by Administrative Agent to permit such participation. Borrower shall, at Borrower’s sole cost
and expense, diligently prosecute any such proceedings, and shall consult with Administrative Agent,
Administrative Agent’s attorneys and experts, and cooperate with them in the carrying on or defense of
any such proceedings. In the event of such condemnation proceedings, the Award payable is hereby
assigned to and shall be paid to Administrative Agent. Administrative Agent shall be under no obligation
to question the amount of any such Award and may accept the same in the amount in which the same
shall be paid. The proceeds of any Award so received shall (except for a temporary taking the Award for
which shall be paid over to Borrower), at the option of Administrative Agent, and in the absence of an

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Event of Default, either be (i) applied to the prepayment of the Note and other sums due under the Loan
Documents, or (ii) to the extent reasonably practicable, paid over to Borrower from time to time for
expenses incurred by Borrower in the restoration of the Project and upon terms otherwise satisfactory to
Administrative Agent, in Administrative Agent’s sole and absolute discretion. Notwithstanding any
taking by any public or quasi-public authority through Condemnation or otherwise (including, but not
limited to, any transfer made in lieu of or in anticipation of the exercise of such taking), Borrower shall
continue to pay the Debt at the time and in the manner provided for its payment in the Note and in this
Agreement and the Debt shall not be reduced until any Award shall have been actually received and
applied by Lenders, after the deduction of expenses of collection, to the reduction or discharge of the
Debt. Lenders shall not be limited to the interest paid on the Award by the condemning authority but shall
be entitled to receive out of the Award interest at the rate or rates provided herein or in the Note. To the
extent the Project can be restored or repaired following any condemnation, and to the extent Borrower
shall be entitled or permitted to do the same, if the Project or any portion thereof is taken by a
condemning authority, Borrower shall promptly commence and diligently prosecute the restoration of the
Project whether or not such Award is made available to Borrower. If the Project is sold, through
foreclosure or otherwise, prior to the receipt by Lenders of the Award, Lenders shall have the right,
whether or not a deficiency judgment on the Note shall have been sought, recovered or denied, to receive
the Award, or a portion thereof sufficient to pay the Debt. Notwithstanding anything to the contrary
contained herein, to the extent that the Project can be restored or repaired following any condemnation, as
determined by Required Lenders in their sole and absolute good faith discretion, the awards or proceeds
from any such condemnation shall be disbursed and paid over to Borrower in the same manner as set forth
in Section 8.3 hereof with respect to Insurance Proceeds.

                                             ARTICLE IX
                                       INTENTIONALLY OMITTED

                                            ARTICLE X
                                   EVENTS OF DEFAULT; REMEDIES
        Section 10.1. Event of Default. The occurrence of any one or more of the following events shall
constitute an “Event of Default”:

                 (a)     if any portion of the Debt is not paid within five (5) days after the date the same is
due, or if the entire Debt is not paid on or before the Maturity Date;

                 (b)     if Borrower shall fail to pay any other sum hereunder or under any of the other
Loan Documents when and as the same shall become due and payable and such failure shall not be cured
within fifteen (15) days after notice from Administrative Agent;

                (c)      if the Policies are not kept in full force and effect, or if the Insurance Certificates
or certified copies of the Policies are not delivered to Administrative Agent as provided in Section 8.1
hereof;

                (d)     if Borrower breaches any covenant with respect to itself contained in Article VI
hereof or if Borrower breaches any covenant contained in Article VII hereof, and same is not cured, if
capable of being cured, within thirty (30) days after notice;

                (e)     if any representation or warranty of any Person comprising Borrower or
Guarantor, or with respect to, Borrower, Guarantor or any member, general partner, principal or
beneficial owner of Borrower, made herein, in any other Loan Document, or in any certificate, report,
financial statement or other instrument or document furnished to Administrative Agent at the time of the


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closing of the Loan or during the term of the Loan shall have been false or misleading in any material
respect when made;

                  (f)     if (i) Borrower or Guarantor shall commence any case, proceeding or other action
(A) under any Creditors’ Rights Laws, seeking to have an order for relief entered with respect to it, or
seeking to adjudicate it a bankrupt or insolvent, or seeking reorganization, or (B) seeking appointment of
a receiver, trustee, custodian, conservator or other similar official for it or for all or any substantial part of
its assets, or Borrower or Guarantor shall make a general assignment for the benefit of its creditors; or (ii)
there shall be commenced against Borrower or Guarantor any case, proceeding or other action of a nature
referred to in clause (i) above which (A) results in the entry of an order for relief or any such adjudication
or appointment or (B) remains undismissed, undischarged or unbonded for a period of sixty (60) days; or
(iii) other than an involuntary proceeding commenced by Administrative Agent or any Lender, there shall
be commenced against Borrower or Guarantor any case, proceeding or other action seeking issuance of a
warrant of attachment, execution, distraint or similar process against all or any substantial part of its
assets which results in the entry of any order for any such relief which shall not have been vacated,
discharged, or stayed or bonded pending appeal within sixty (60) days from the entry thereof; or (iv)
Borrower or Guarantor shall take any action in furtherance of, or indicating its consent to, approval of, or
acquiescence in, any of the acts set forth in clause (i), (ii), or (iii) above; or (v) Borrower or Guarantor
shall generally not, or shall be unable to, or shall admit in writing its inability to, pay its debts as they
become due;

                 (g)     if there should occur a default which is not cured within the applicable grace or
cure period, if any, under any other deed of trust encumbering all or part of the Project regardless of
whether any such other deed of trust is prior or subordinate to the Deed of Trust or upon default in the
performance of any term, provision, covenant or condition, which is not cured within the applicable grace
or cure period, if any, under the notes evidencing such deeds of trust or any other documents executed in
connection therewith; it being further agreed by Borrower that an Event of Default hereunder shall
constitute an event of default under any such other deed of trust in respect of the Project held by
Administrative Agent;

               (h)     if Borrower shall be in default beyond applicable notice and grace periods under
any other loan or financing arrangement between Borrower and any Lender, whether now or hereafter
existing;

                (i)     if any federal tax lien is filed against Borrower, Guarantor, Borrower Members or
the Project and same is not discharged of record or bonded within thirty (30) days after the same is filed;

                 (j)      if a judgment is filed against Borrower, Guarantor, Borrower Members or the
Project which (x) is in excess of $500,000 or (y) in the reasonable judgment of Administrative Agent
would materially interfere with such Person’s ability to perform its obligations under the Loan Documents
to which it is a party, and which is not stayed, vacated, bonded or discharged within thirty (30) days after
the same is filed;

                (k)      if any Lien is filed or recorded against the Project or any interest therein with the
consent of Borrower (but without the consent of Administrative Agent), and such Lien is not released
within a period of five (5) days of the filing or recording thereof;

                (l)      with the exception of Permitted Encumbrances, if any Lien is filed or recorded
against the Project or any interest therein without the consent of Borrower or Administrative Agent and
such Lien is not removed, discharged or bonded to the satisfaction of Administrative Agent within thirty
(30) days of such filing or recording;


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                (m)     if Borrower, Guarantor or any Borrower Member shall breach any of the terms of:

                        (i)      Section 5.14 (Liens);

                        (ii)     Section 5.19 (Alterations);

                        (iii)    Section 5.21 (Notices);

                        (iv)     Section 5.23 (Limitations on Securities Issuances);

                        (v)      Section 5.24 (Limitations on Distributions);

                        (vi)     Section 5.25 (Contractual Obligations);

                        (vii)    Section 5.26 (Additional Indebtedness);
                        (viii)   Section 5.27 (Restrictions on Leasing);

                        (ix)     Section 5.28 (Debt Service Coverage Ratio);

                        (x)      Section 5.29 (Loan-to-Value Ratio);

                        (xi)     Section 7.2 (No Sale/Encumberance)

                (n)     [Reserved.];

                 (o)     if Borrower or Guarantor shall continue to be in default under any other term,
covenant or condition of this Agreement or any of the Loan Documents for more than ten (10) days after
notice from Administrative Agent in the case of any default which can be cured by the payment of a sum
of money, or for thirty (30) days after notice from Administrative Agent in the case of any other default,
provided that if such default cannot reasonably be cured within such thirty (30)-day period and Borrower
or the applicable Guarantor shall have commenced to cure such default within such thirty (30)-day period
and thereafter diligently and expeditiously proceeds to cure the same, such thirty (30)-day period shall be
extended for so long as it shall require Borrower or the applicable Guarantor in the exercise of due
diligence to cure such default, it being agreed that no such extension shall (i) apply in the event of a
default under Section 5.4 or Section 8.1 of this Agreement or (ii) be for a period in excess of one hundred
(100) days in the aggregate;

                (p)     if a default should occur under any Interest Rate Protection Product entered into
by Borrower;

                  (q)  if there shall occur a default or event of default under the Guaranty which is not
cured within any applicable grace or cure period, if any, or the Guaranty shall fail for any reason to be in
full force of effect;

               (r)   if there shall occur a default or event of default under the Environmental
Indemnity Agreement which is not cured within any applicable grace or cure period, if any, or the
Environmental Indemnity Agreement shall fail for any reason to be in full force of effect;

               (s)     if an ERISA Event shall have occurred that, in the opinion of the Administrative
Agent, when taken together with all other ERISA Events that have occurred, results in or could
reasonably be expected to result in liability to Borrower in excess of $500,000;




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                 (t)  if Borrower shall file a notice limiting the maximum principal amount that may
be secured by the Deed of Trust to a sum less than the maximum principal amount set forth in Section
3.12 thereof; or

              (u)     if there shall be an Event of Default under the Mezzanine Loan Agreement or any
other Mezzanine Loan Document by Mezzanine Borrower or any other Person obligated thereunder.

        Section 10.2. Remedies.

                (a)     Upon the occurrence of an Event of Default (other than an Event of Default
described in Section 10.1(f) hereof) and at any time thereafter that such Event of Default is continuing
Administrative Agent and/or Lenders may, in addition to any other rights or remedies available to
Administrative Agent or Lenders pursuant to this Agreement and the other Loan Documents or at law or
in equity, take such action, without notice or demand, that Administrative Agent or Lenders deem
advisable to protect and enforce Lenders’ rights against Borrower, Guarantor and in the Project, including,
without limitation, declaring the Debt to be immediately due and payable, and Administrative Agent
and/or Lenders may enforce or avail themselves of any or all rights or remedies provided in the Loan
Documents and may exercise all the rights and remedies of a secured party under the UCC, as adopted
and enacted by the State where the Project is located, against Borrower, Guarantor and the Project,
including, without limitation, all rights or remedies available at law or in equity; and upon any Event of
Default described in Section 10.1(f) hereof, the Debt and all other obligations of Borrower and Guarantor
hereunder and under the other Loan Documents shall immediately and automatically become due and
payable, without notice or demand, and Borrower hereby expressly waives any such notice or demand,
anything contained herein or in any other Loan Document to the contrary notwithstanding.

                (b)     Upon the occurrence and during the continuance of an Event of Default, all or any
one or more of the rights, powers, privileges and other remedies available to Administrative Agent or
Lenders against Borrower or Guarantor under this Agreement or any of the other Loan Documents
executed and delivered by, or applicable to, Borrower or Guarantor or at law or in equity may be
exercised by Lenders at any time and from time to time, whether or not all or any of the Debt shall be
declared due and payable, and whether or not Administrative Agent or Lenders shall have commenced
any foreclosure proceeding or other action for the enforcement of Lenders’ rights and remedies under any
of the Loan Documents with respect to the Project. Any such actions taken by Administrative Agent or
Lenders shall be cumulative and concurrent and may be pursued independently, singularly, successively,
together or otherwise, at such time and in such order as Administrative Agent or Lenders may determine
in Administrative Agent’s or Lenders’ sole discretion, to the fullest extent permitted by law, without
impairing or otherwise affecting the other rights and remedies of Administrative Agent or Lenders
permitted by law, equity or contract or as set forth herein or in the other Loan Documents.

                                           ARTICLE XI
                                     REPLACEMENT OF LENDERS

         If Borrower is entitled to replace a Lender pursuant to the Note (i.e., pursuant to (i) subsection (e)
of the section titled “Increased Costs”, or (ii) the section titled “Illegality”), Borrower may, upon notice to
such Lender and Administrative Agent, replace such Lender by causing such Lender to assign its rights
and obligations under this Agreement and the Note to one or more Eligible Assignees reasonably
acceptable to Borrower and Administrative Agent. Borrower shall or shall cause the replacement lender
to pay in full all principal, interest, fees and other amounts owing to such Lender through the date of
replacement. The Lender being replaced and the replacement lender shall execute and deliver an
Assignment and Assumption Agreement in the form attached hereto as Exhibit B. A Lender shall not be
required to make any such assignment if, prior thereto, as a result of a waiver by such Lender or otherwise,


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the circumstances entitling the Borrower to require such assignment cease to apply. If a Lender being
replaced refuses to execute and deliver such Assignment and Assumption Agreement or otherwise
comply with this Article XI, such Lender hereby appoints Administrative Agent as its attorney-in-fact to
do so on such Lender’s behalf. Administrative Agent shall distribute an amended Schedule 13.12, which
shall thereafter be incorporated into this Agreement, to reflect adjustments to Lenders and their respective
amount of the Loan.

                                     ARTICLE XII
                      SECONDARY MARKET; ASSIGNMENT; PARTICIPATION

        Section 12.1. Assignment; Participation.

                 (a)     Any non-Defaulting Lender (as defined in Section 13.16 hereof) may at any time
grant to one or more parties (each a “Participant”) participating interests in its Pro Rata Share (as
hereinafter defined) of the Loan (the “Participations”) and Lenders may syndicate the Loan
(“Syndication”). In the event of any such grant by a Lender of a Participation to a Participant, such
Lender shall remain responsible for the performance of such Lender’s obligations hereunder, and
Borrower and Administrative Agent shall continue to deal solely and directly with such Lender in
connection with such Lender’s rights and obligations hereunder. Any agreement pursuant to which any
Lender may grant a Participation shall provide that such Lender shall retain the sole right and
responsibility to enforce the obligations of Borrower, as the case may be, hereunder and under any other
Loan Document, including, without limitation, the right to approve any amendment, modification or
waiver of any provision of this Agreement or any other Loan Document.

                 (b)      A Lender may at any time assign (x) to any Eligible Assignee with the consent of
Administrative Agent, which consent shall not be unreasonably delayed, conditioned or denied, (y) to any
other party with the consent of Administrative Agent, which consent may be withheld by Administrative
Agent in Administrative Agent’s sole and absolute discretion; provided, however, that as long as no Event
of Default has occurred and is continuing, Borrower’s consent shall also be required for an assignment
pursuant to clauses (x) and (y) (each such assignee set forth in (x) and (y) above, a “Consented
Assignee”), or (z) without such consent, to one or more Eligible Assignees which are affiliates,
subsidiaries or a parent of a Lender (each Consented Assignee or subsidiary, affiliate or parent bank or
institution, an “Assignee”) all or a proportionate part of all of such Lender’s rights and obligations under
this Agreement and the Note, and such Assignee shall assume rights and obligations, pursuant to an
Assignment and Assumption Agreement substantially in the form annexed hereto as Exhibit B and made
a part hereof executed by such Assignee and the assigning Lender (duplicate executed originals of which
shall be delivered to Borrower to the extent available). Upon (i) execution and delivery of such instrument,
(ii) payment by such Assignee to the assigning Lender of an amount equal to the purchase price agreed
between such Lender and such Assignee and (iii) with respect to a Consented Assignee, payment by such
Assignee to Administrative Agent of a fee, for Administrative Agent’s own account, in the amount of
$5,000, such Assignee shall be a party to this Agreement and shall have all the rights and obligations of a
Lender as set forth in such Assignment and Assumption Agreement, and the assigning Lender shall be
released from such Lender’s obligations hereunder to a corresponding extent, and no further consent or
action by any party shall be required. If the Assignee is not incorporated under the laws of the United
States or a state thereof, it shall, prior to the first date on which interest or fees are payable hereunder for
its account, deliver to Borrower and Administrative Agent certification reasonably acceptable to
Borrower as to exemption from deduction or withholding of any United States federal income taxes.
Borrower shall not be required to reimburse any Lender for taxes or reimburse any Lender for any
withholding due to such Lender’s failure to deliver such certification, or due to the validity of such
certification. Notwithstanding anything contained herein to the contrary, no Lender shall have the right to
assign less than $5,000,000 of such Lender’s interest under this Agreement and the other Loan

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Documents. For the purposes hereof, an “Eligible Assignee” shall mean any of (a) a commercial bank
organized under the laws of the United States, or any state thereof or the District of Columbia, and having
total assets in excess of $1,000,000,000; (b) a savings and loan association or savings bank organized
under the laws of the United States, or any State thereof or the District of Columbia, and having a net
worth of at least $100,000,000, calculated in accordance with generally accepted accounting principles; (c)
a commercial bank organized under the laws of any other country which is a member of the OECD, or a
political subdivision of any such country and having total assets in excess of $1,000,000,000, provided
that such bank is acting through a branch or agency located in the country in which it is organized or
another country which is also a member of the OECD; (d) the central bank of any country which is a
member of the OECD; (e) any other assignee that, in the reasonable judgment of Administrative Agent, is
a reputable institutional investor with substantial experience in lending and originating loans similar to the
Loan, or in purchasing, investing in or otherwise holding such loans, having a financial net worth of at
least $100,000,000 and (f) any non-Defaulting Lender or any affiliate, subsidiary or parent of any non-
Defaulting Lender. Neither Borrower, Guarantor nor any Affiliate or Subsidiary of Borrower or
Guarantor shall be Eligible Assignee or Participant. Notwithstanding anything to the contrary contained
herein, any Lender may at any time pledge or assign a security interest in all or any portion of its rights
under the Loan, the Note and the other Loan Documents to secure obligations of such Lender, including
any pledge or assignment to secure obligations to a Federal Reserve Bank; provided that no such pledge
or assignment shall release such Lender from any of its obligations under the Loan, the Note or any other
Loan Document or substitute any such pledgee or assignee for such Lender as a party to the Loan, the
Note or any Loan Document.

                 (c)     Borrower, Guarantor, Administrative Agent and Lenders shall execute such
modifications to the Loan Documents as shall, in the reasonable judgment of Administrative Agent, be
necessary or desirable in connection with assignments in accordance with the foregoing provisions of this
Section 12.1 and which do not adversely affect Borrower or Guarantor or Borrower’s or Guarantor’s
obligations or rights under the Loan Documents (other than to a de minimis extent).

               (d)      Any Lender may at any time assign all or any portion of such Lender’s rights
under this Agreement and the Note to a Federal Reserve Bank. No such assignment shall release the
transferor Lender from its obligations hereunder.
                  (e)     Borrower recognizes that in connection with a Lender’s selling of Participations
or making of assignments, any or all documentation, financial statements, appraisals and other data, or
copies thereof, relevant to Borrower, Guarantor or the Loan may be exhibited to and retained by any such
Participant or Assignee or prospective Participant or Assignee. Borrower hereby consents to the release of
any and all Borrower information to such parties, and holds Administrative Agent and Lenders harmless
from any and all liability due to the release of Borrower’s financial information by Administrative Agent
or any Lender to any such party. Administrative Agent and Lenders shall instruct such Participant or
Assignee to keep such information confidential but Administrative Agent and Lenders shall have no
liability if such Participant or Assignee fails to do so.

                 (f)     Borrower and Guarantor agree to cooperate with Lenders in connection with any
sale or transfer of the Loan, Syndication or any Participation created pursuant to this Article XII. At the
request of the holder of the Note and, to the extent not already required to be provided by Borrower or
Guarantor under this Agreement, Borrower and Guarantor shall take such reasonable actions for the
benefit of, and use reasonable efforts to provide information not in the possession of, the holder of the
Note in order to satisfy the market standards (which may include such holder’s delivery of information
with respect to Borrower, Guarantor and the Project to any Participant or Assignee or prospective
Participant or Assignee) to which the holder of the Note customarily adheres or which may be reasonably
required in the marketplace in connection with such sales or transfers, including, without limitation, to:

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                        (i)     provide (x) updated financial, budget and other information with respect
to the Project, Borrower, Guarantor and Manager and (y) modifications and/or updates to the appraisals,
market studies, Environmental Reports (including Phase I reports and, if appropriate, Phase II reports) of
the Project obtained in connection with the making of the Loan (all of the foregoing being referred to as
the “Provided Information”), together, if customary, with appropriate verification and/or consents of the
Provided Information;

                        (ii)    make non-material changes to the Organizational Documents of Borrower,
Guarantor or its principals;

                        (iii)    upon reasonable prior notice, permit site inspections, appraisals, market
studies and other due diligence investigations of the Project, as may be reasonably requested by the holder
of the Note or as may be necessary in connection with the Participations or Syndications;

                     (iv)    make the representations and warranties with respect to the Project,
Borrower, Guarantor, Manager and the Loan Documents as such Persons have made in the Loan
Documents and such other representations and warranties with respect to the Project, Borrower,
Guarantor and Manager, as may be reasonably requested by the holder of the Note;

                          (v)     execute such amendments to the Loan Documents as may be requested by
the holder of the Note including, without limitation, bifurcation of the Loan into two or more components
and/or separate notes and/or creating a senior/subordinate note structure; provided, however, that
Borrower and Guarantor shall not be required to modify or amend any Loan Document if such
modification or amendment would (x) change the interest rate or the stated maturity set forth in the Note,
except in connection with a bifurcation of the Loan which may result in varying fixed interest rates and
amortization schedules, but which shall have the same initial weighted average coupon of the original
Note, (y) in the reasonable judgment of Borrower modify or amend any other economic term of the Loan,
or (z) in the reasonable judgment of Borrower or Guarantor increase Borrower’s or Guarantor’s
obligations and liabilities under the Loan Documents, other than to a de minimis extent; and

                         (vi)    have reasonably appropriate personnel participate in a bank meeting
and/or presentation for the potential Participants or Lenders.

                 (g)    At the option of Lenders, the Loan may be serviced by a servicer/trustee selected
by Lenders (“Servicer”) and Lenders may delegate all or any portion of Lenders’ responsibilities under
this Agreement and the other Loan Documents to such servicer/trustee pursuant to a servicing agreement
between Lenders and such servicer/trustee. Lenders shall provide Borrower with notice of same. At no
time shall there be more than one (1) Servicer.

                 (h)      All third party costs and expenses incurred by Borrower, Guarantor or Lenders in
connection with Borrower’s or Guarantor’s complying with the requests and requirements made under
this Article XII shall be paid by Lenders (and not by Borrower).
        Section 12.2. Intralinks. Borrower hereby acknowledges that Administrative Agent will make
available to Lenders all information provided by or on behalf of Borrower or Guarantor hereunder or
under the other Loan Documents (collectively, “Borrower Materials”) by posting the Borrower Materials
on IntraLinks® or another similar electronic system (the “Platform”).

                                             ARTICLE XIII
                                               AGENT

        Section 13.1. Appointment, Powers and Immunities.


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                 (a)     Each Lender hereby designates, appoints and authorizes Administrative Agent to
act as agent hereunder and under the other Loan Documents to which Administrative Agent is a party in
its capacity as Administrative Agent (this Agreement and such other Loan Documents, the
“Administrative Agent Loan Documents”) with such powers as are specifically delegated to
Administrative Agent by the terms of this Agreement and such Loan Documents, together with such other
powers as are reasonably incidental thereto. Administrative Agent (a) shall have no duties or
responsibilities except those expressly set forth in this Agreement and in the other Administrative Agent
Loan Documents, and shall not by reason of this Agreement or any other Administrative Agent Loan
Document be a trustee or fiduciary for any of Lenders; (b) shall not have any duty to take any
discretionary action or exercise any discretionary powers, except discretionary rights and powers
expressly contemplated hereby or by the other Loan Documents that Administrative Agent is required to
exercise as directed in writing by the Required Lenders (or such other number or percentage of the
Lenders as shall be expressly provided for herein or in the other Loan Documents), provided that
Administrative Agent shall not be required to take any action that, in its opinion or the opinion of its
counsel, may expose Administrative Agent to liability or that is contrary to any Loan Document or
applicable law; (c) shall not, except as expressly set forth herein and in the other Loan Documents, have
any duty to disclose, and shall not be liable for the failure to disclose, any information relating to the
Borrower or any of its Affiliates that is communicated to or obtained by the Person serving as
Administrative Agent or any of its Affiliates in any capacity; (d) shall not be responsible to Lenders for or
have any duty to ascertain or inquire into (i) any recitals, statements, representations or warranties
contained in this Agreement, any other Administrative Agent Loan Document, or in any certificate or
other document referred to or provided for in, or received by any Lenders under, this Agreement or any
other Administrative Agent Loan Document, (ii) the value, validity, effectiveness, genuineness,
enforceability or sufficiency of this Agreement or any other Administrative Agent Loan Document or any
other document referred to or provided for herein or therein, (iii) any failure by Borrower to perform any
of such party’s obligations hereunder or thereunder, or (iv) the satisfaction of any condition set forth
herein, other than to confirm receipt of items expressly required to be delivered to Administrative Agent;
and (e) shall not be responsible to Lenders for any action taken or omitted to be taken by Administrative
Agent hereunder or under any other Administrative Agent Loan Document or under any other document
or instrument referred to or provided for herein or therein or in connection herewith or therewith, except
for Administrative Agent’s own gross negligence or willful misconduct or the failure of Administrative
Agent to follow the directions of the Required Lenders or all of the Lenders, as the case may be, as
provided for herein.

                (b)     To the extent that any action is to be taken, any information is to be delivered to
or by any Lender, any determination is to be made, or any consent is to be given or withheld by any
Lender, any such action, delivery, determination or consent shall be taken, made or given or withheld, as
the case may be, by Administrative Agent or any successor agent thereto at the direction of the Required
Lenders or all of the Lenders, as the case may be, as provided for herein.

                 (c)    Administrative Agent may employ agents and attorneys-in-fact and shall not be
responsible for the negligence or misconduct of any such agents or attorneys-in-fact selected by
Administrative Agent in good faith. Administrative Agent may perform any and all of its duties and
exercise its rights and powers hereunder or under any other Loan Document by or through any one or
more sub-agents appointed by Administrative Agent. Administrative Agent and any such sub-agent may
perform any and all of its duties and exercise its rights and powers by or through their respective
Affiliates. The exculpatory provisions of this Section 13.1 shall apply to any such sub-agent and to the
Affiliates of Administrative Agent and any such sub-agent, and shall apply to their respective activities in
connection with the syndication of the credit facilities provided for herein as well as activities as
Administrative Agent.

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                (d)    Administrative Agent may deem and treat the payee of any note as the holder
thereof for all purposes hereof unless and until Administrative Agent shall have been notified of the
assignment thereof.

         Section 13.2. Reliance by Administrative Agent. Administrative Agent shall be entitled to rely
upon, and shall incur no liability under or in respect of any of the Loan Documents by acting upon, any
certification, consent, warranty, notice or other paper, instrument or communication (including any
thereof by telephone, telecopy, e-mail, telex, telegram or cable) believed by Administrative Agent in good
faith to be genuine and authentic and to have been signed or sent by or on behalf of the proper Persons,
and upon advice and statements of legal counsel, independent accountants or other experts selected by
Administrative Agent in good faith. As to any matters not expressly provided for by this Agreement or
any other Administrative Agent Loan Document, Administrative Agent shall in all cases be fully
protected in acting, or in refraining from acting, hereunder or thereunder in accordance with instructions
given by Lenders holding sixty-six and two-thirds percent (66 2/3%) or more of the outstanding principal
balance of the Loan (the “Required Lenders”), and such instructions of Administrative Agent and any
action taken or not taken pursuant thereto shall be binding on all Lenders. Notwithstanding anything
contained herein to the contrary, the consent of all of the Lenders (other than a Defaulting Lender) shall
be required before Administrative Agent may take or not take any action with respect to the following:

                (a)     any increase or decrease in the total principal amount of the Loan;

               (b)      reductions in any interest rate (other than default rate interest) applicable to the
Loan or any fees (other than late fees) required under this Agreement or any other Loan Document;

                (c)     the extension of the Maturity Date of the Note or the due date of any payment due
under the Note (other than default interest or late fees);

                 (d)   the release of all or substantially all of the Project (except as provided for herein
and in the other Loan Documents);

               (e)      the release of Borrower or Guarantor from Borrower’s or such Guarantor’s
obligations under this Agreement or any other Loan Document; and

                (f)     any amendment or modification of any of the provisions of Article XII or this
Article XIII.

        In the event Administrative Agent sends a notice to any Lender recommending any action (or
inaction) to be taken under this Agreement or any other Loan Document and such Lender does not
respond to Administrative Agent within ten (10) Business Days of the date of Administrative Agent’s
notice to such Lender, such Lender shall be deemed to have consented to the action (or inaction) being
recommended by Administrative Agent.

        Section 13.3. Purchase of Disapproving Lender’s Interest.

                (a)    In the event Administrative Agent makes a recommendation to Lenders to take
any action requiring unanimous consent pursuant to Section 13.2 hereof (which recommendation may be
made at any time and for any number of times), and one or more Lenders approve such recommendation
(the “Approving Lenders”) and one or more Lenders disapprove such recommendation (the
“Disapproving Lenders”), one or more of the Approving Lenders shall have the right (but not the
obligation), in such Approving Lender’s sole and absolute discretion, to purchase the interest of the
Disapproving Lender in full within thirty (30) days of such disapproval, upon the payment to
Administrative Agent of all principal, accrued interest, default interest (but not the payment of any


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applicable prepayment premium) due to such Disapproving Lender hereunder, and all amounts advanced
by such Disapproving Lender as protective advances under the Deed of Trust as of the date of sale
(collectively, the “Purchase Price”), whereupon such Disapproving Lender shall accept payment. In such
event, and concurrently with the payment of the Purchase Price, such Disapproving Lender shall assign
all of such Disapproving Lender’s right, title and interest in and to the Loan and the Loan Documents to
the Approving Lender purchasing such Disapproving Lender’s interest, without recourse, representation,
warranty or covenant, express or implied, of any kind or nature whatsoever, except that such
Disapproving Lender has not assigned or encumbered such Lender’s rights in the Loan and the Loan
Documents.

                (b)     Any sale pursuant to Section 13.3(a) hereof shall be made pursuant to documents
reasonably satisfactory to Administrative Agent and the purchasing Approving Lender which shall
provide, among other things, that the purchasing Approving Lender shall assume all of the obligations of
such Disapproving Lender thereafter accruing under the Loan Documents and indemnify such
Disapproving Lender from any claims or causes of actions that may arise after the closing date of such
sale in connection with the Loan Documents (other than any claims or causes of action that may arise or
be brought by Borrower or any third party as the result of the gross negligence or willful misconduct of
such Disapproving Lender). The purchasing Approving Lender’s right to purchase such Disapproving
Lender’s interest may be exercised by notice to Administrative Agent of the purchasing Approving
Lender’s intention to do so and payment by wire transfer of the Purchase Price.

                (c)    If there is more than one Approving Lender that elects to purchase a
Disapproving Lender’s interest in the Loan, Administrative Agent shall apportion such Disapproving
Lender’s interest among such Approving Lenders in proportion to their Pro Rata Share.

         Section 13.4. Rights of Administrative Agent as Lender. With respect to its interest in the Loan,
Administrative Agent in its capacity as a Lender hereunder shall have the same rights and powers
hereunder as any other Lender and may exercise the same as though it were not acting as Administrative
Agent, and the terms “Lender” and “Lenders” shall include Administrative Agent in its capacity as a
Lender. Administrative Agent and Administrative Agent’s affiliates may (without having to account
therefor to any Lender) accept deposits from, lend money to (on a secured or unsecured basis), and
generally engage in any kind of banking, trust or other business with Borrower (and any of Borrower
Affiliates) as if it were not acting as Administrative Agent. Lenders and Lenders’ Affiliates may (without
having to account therefor to any other Lender or Administrative Agent) accept deposits from, lend
money to (on a secured or unsecured basis), and generally engage in any kind of banking, trust or other
business with Borrower (and any affiliates of them) as if it were not acting as Lender hereunder.

        Section 13.5. Indemnification.

                 (a)      Lenders agree to indemnify Administrative Agent (to the extent not reimbursed
by Borrower and Guarantor hereunder and without limiting any obligations of Borrower hereunder)
ratably, in accordance with their Pro Rata Shares, for any and all reasonable costs, fees, expenses,
advances, interest, payments and claims of any kind and nature whatsoever that may be imposed on or
incurred by Administrative Agent arising out of or by reason of any investigation in or in any way relating
to or arising out of this Agreement or the transactions contemplated hereby (including, without limitation,
the actual out-of-pocket costs and expenses that Administrative Agent is obligated to pay hereunder) or
the servicing, administration and/or enforcement of the Loan, this Agreement and/or the Loan Documents
(collectively, “Costs”) provided that no Lender shall be liable for any of the foregoing Costs to the extent
such Costs arise from the gross negligence or willful misconduct of Administrative Agent (as determined
by a court of competent jurisdiction from which all appeal has been exhausted) or the failure of
Administrative Agent to follow the directions of the Required Lenders or all of the Lenders, as the case

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may be. The foregoing indemnity shall survive the payment of the obligations owing hereunder and the
termination or non-renewal of this Agreement.

                 (b)     Any request by Administrative Agent for reimbursement of Costs shall be in the
form of a certificate from Administrative Agent to each Lender as to the nature and amount for which
Administrative Agent claims reimbursement from Lenders pursuant to this Section 13.5. Any such
request shall include reasonable evidence that such Costs meet the criteria set forth in Subsection 13.5(a)
hereof and have been incurred by Administrative Agent.

                 (c)     Any Costs which are required to be reimbursed by Lenders to Administrative
Agent in accordance with this Section 13.5 and which are not reimbursed to Administrative Agent within
three (3) Business Days after demand therefor in accordance with Subsection 13.5(b) hereof shall accrue
interest at the Federal Funds Rate from and after the fourth (4th) Business Day after the date that such
reimbursement request was made through and including the date of reimbursement by such Lender.

                (d)     Any Costs which are subsequently recovered from Borrower or any other Person
shall be returned to each Lender in proportion to the Pro Rata Share of said Costs previously remitted by
each Lender to Administrative Agent.

        Section 13.6. Non-Reliance on Administrative Agent and Other Lenders. Each Lender agrees that
such Lender has, independently and without reliance on Administrative Agent or any of the other Lenders,
and based on such documents and information as such Lender has deemed appropriate, made such
Lender’s own credit analysis of Borrower and has made such Lender’s own decision to enter into this
Agreement and the other Loan Documents and that such Lender shall, independently and without reliance
upon Administrative Agent or any of the other Lenders, and based on such documents and information as
such Lender shall deem appropriate at the time, continue to make such Lender’s own analysis and
decisions in taking or not taking action under this Agreement and the other Loan Documents. Other than
determining whether payments due to Administrative Agent under the Loan Documents have in fact been
made, Administrative Agent shall not be required to keep itself informed as to the performance or
observance by Borrower of any term or provision of this Agreement or any of the other Loan Documents
or any other document referred to as provided for herein or therein or to inspect the properties or books of
Borrower. Administrative Agent shall provide each Lender with any information received by
Administrative Agent from Borrower which is required to be provided to Lenders hereunder and with a
copy of any notice of default received by Administrative Agent from Borrower or any Lender. Except for
notices, reports and other documents expressly required to be furnished to Lenders by Administrative
Agent hereunder or under any other Administrative Agent Loan Document, Administrative Agent shall
not have any duty or responsibility to provide any Lender with any other credit or other information
concerning the affairs, financial condition or business of Borrower that may come into the possession of
Administrative Agent.

         Section 13.7. Failure to Act. Except for action expressly required of Administrative Agent
hereunder or under any of the other Administrative Agent Loan Documents, Administrative Agent shall
in all cases be fully justified in failing or refusing to act hereunder and thereunder unless Administrative
Agent shall receive further assurances to Administrative Agent’s complete satisfaction from Lenders of
their indemnification obligations under Section 13.5 hereof against any and all liability and expense that
may be incurred by Administrative Agent by reason of Administrative Agent taking or continuing to take
or failing to take any such action.

        Section 13.8. Action by Administrative Agent. Each of the entities comprising Lenders hereby
appoints Administrative Agent and each of the other Lenders as agent and bailee for the purpose of
perfecting the security interests in and liens upon the Project, in accordance with Article 9 of the Uniform


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Commercial Code in effect in the State where the Project is located or the State where Borrower is
organized, can be perfected only by possession (or where the security interest of a secured party with
possession has priority over the security interest of another secured party). Each Lender hereby appoints
Administrative Agent as such Lender’s attorney-in-fact for the purpose of executing the Loan Documents
(other than this Agreement) on such Lender’s behalf.

         Section 13.9. Successor Administrative Agent. Administrative Agent may resign as
Administrative Agent upon thirty (30) days’ written notice to Lenders. If Administrative Agent resigns
under this Agreement, Lenders (other than the Lender which is the Administrative Agent resigning) shall
appoint from among the other Lenders a successor agent for Lenders. If no successor agent is appointed
prior to the effective date of the resignation of Administrative Agent, Administrative Agent may appoint,
after consulting with Lenders (other than the Lender which is the Administrative Agent resigning), a
successor agent from among such other Lenders. Upon the acceptance by the Lender so selected of such
Lender’s appointment as successor agent hereunder, such successor agent shall succeed to all of the rights,
powers and duties of the retiring Administrative Agent and the term “Administrative Agent” as used
herein and in the other Loan Documents shall mean such successor agent and the retiring Administrative
Agent’s appointment, powers and duties as Administrative Agent shall be terminated. After any retiring
Administrative Agent’s resignation hereunder as Administrative Agent, the provisions of this Article XIII
shall inure to such retiring Administrative Agent’s benefit as to any actions taken or omitted by such
retiring Administrative Agent while such retiring Administrative Agent was Administrative Agent under
this Agreement. If no successor agent has accepted appointment as Administrative Agent by the date
which is thirty (30) days after the date of a retiring Administrative Agent’s notice of resignation, the
retiring Administrative Agent’s resignation shall nonetheless thereupon become effective and Lenders
shall perform all of the duties of Administrative Agent hereunder until such time, if any, as the Lenders
(other than the Lender which has resigned as Administrative Agent) appoint a successor agent as provided
for above. The resigning Administrative Agent shall have continuing liability for any act of gross
negligence or willful misconduct committed by Administrative Agent during the period such
Administrative Agent was the Administrative Agent under this Agreement.

         Section 13.10. Sharing. If at any time or times any Lender shall receive (i) by payment,
foreclosure, setoff or otherwise, any proceeds of the Project or other collateral or any payments with
respect to the obligations of Borrower to such Lender arising under, or relating to, this Agreement or any
of the Loan Documents except for any such proceeds or payments received by such Lender from
Administrative Agent or otherwise pursuant to the terms of this Agreement, or (ii) payments from
Administrative Agent hereunder in excess of such Lender’s ratable portion of the relevant distributions by
Administrative Agent hereunder, such Lender shall promptly turn the same over to Administrative Agent,
in kind, and with such endorsements as may be required to negotiate the same to Administrative Agent, or
in same day funds, as applicable, for the account of all of the Lenders and for application to the
obligations hereunder in accordance with the applicable provisions of this Agreement.

        Section 13.11. Pro Rata Treatment and Payments.
               (a)      Funding by Lenders; Presumption by Administrative Agent. With respect to any
advance required or deemed necessary by Administrative Agent under this Agreement or any other Loan
Document (each, a “Coverage Advance”), Administrative Agent shall give each Lender not less than
three (3) Business Days’ notice by telephone and facsimile specifying the amount of the Coverage
Advance, the date of the Coverage Advance and each Lender’s Pro Rata Share of such Coverage Advance.
Each Lender shall wire transfer to Administrative Agent immediately available federal funds equal to
such Lender’s Pro Rata Share of each Coverage Advance by 11:00 a.m. (New York City time) on the day
of the Coverage Advance as set forth in the notice. Unless Administrative Agent shall have received
notice from a Lender prior to the proposed date of any Coverage Advance that such Lender will not make

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available to Administrative Agent such Lender’s Pro Rata Share of such Coverage Advance,
Administrative Agent may assume that such Lender has made such Pro Rata Share available on such date
in accordance with this Section and may, in reliance upon such assumption, make available to Borrower a
corresponding amount. In such event, if a Lender has not in fact made its Pro Rata Share of the applicable
Coverage Advance available to Administrative Agent, then the applicable Lender and Borrower severally
agree to pay to Administrative Agent forthwith on demand such corresponding amount with interest
thereon, for each day from and including the date such amount is made available to Borrower to but
excluding the date of payment to Administrative Agent, at (i) in the case of a payment to be made by such
Lender, a rate (the “Lender Interest Rate”) equal to the greater of (x) the sum of (1) the Federal Funds
Rate in effect from time to time and (2) one percent (1%) per annum and (y) a rate determined by
Administrative Agent in accordance with banking industry rules on interbank compensation, and (ii) in
the case of a payment to be made by Borrower, the Interest Rate. If Borrower and such Lender shall pay
such interest to Administrative Agent for the same or an overlapping period, Administrative Agent shall
promptly remit to Borrower the amount of such interest paid by Borrower for such period. If such Lender
pays its Pro Rata Share of the applicable Coverage Advance to Administrative Agent, then the amount so
paid shall constitute such Lender’s Pro Rata Share of the applicable Coverage Advance. Any payment by
Borrower shall be without prejudice to any claim Borrower may have against a Lender that shall have
failed to make such payment to Administrative Agent.

                (b)     Notices. Notices to each Lender shall be delivered in accordance with the terms
and provisions of Section 15.1 hereof.
        Section 13.12. Lenders Pro Rata Shares. Each Lender shall be entitled to receive, and
Administrative Agent shall transfer to each Lender, each Lender’s Pro Rata Share of all payments
received and collected by Administrative Agent pursuant to the Loan Documents on account of principal
and interest (collectively, “Debt Service Payments”) and other sums, whether received from Borrower or
any third party, excluding, however, any sums payable to Administrative Agent on account of expenses
incurred by Administrative Agent for which Borrower is obligated to reimburse Administrative Agent
pursuant to the Loan Documents to the extent that any Lender has not made a payment on account thereof
pursuant to Section 13.5 hereof. For the purposes hereof, “Pro Rata Share” means, with respect to any
Lender, the percentage obtained by dividing (a) the principal amount of the Loan attributable to such
Lender as set forth on Schedule 13.12 annexed hereto and made a part hereof, as adjusted for any
repayments of principal received by such Lender pursuant to this Agreement, by (b) the then outstanding
aggregate principal amount of the Loan.
        Section 13.13. Disbursement of Proceeds by Administrative Agent.

               (a)      Administrative Agent shall hold each Lender’s Pro Rata Share of any proceeds
payable under the Loan, however received, as agent of and in trust for each of such Lenders subject to
each of such Lenders’ rights with respect thereto as herein set forth.

                 (b)     All sums received and collected by Administrative Agent pursuant to the Loan
Documents on account of Debt Service Payments and other sums which are collected by 11:00 a.m. (New
York City time) shall be paid to each Lender on the date of collection; all such sums collected by
Administrative Agent after 11:00 a.m. (New York City time) shall be paid to each Lender on or before the
next succeeding Business Day. Administrative Agent shall allocate and disburse to each Lender all
payments received in proportion to each Lender’s Pro Rata Share. All payments made by Administrative
Agent to Lenders shall be made by deposit of immediately available funds pursuant to the wiring
instructions set forth on the signature page hereof or as otherwise set forth in a written notice delivered
from any Lender to Administrative Agent.



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                 (c)    Unless Administrative Agent shall have received notice from Borrower prior to
the date on which any payment is due to Administrative Agent for the account of the Lenders hereunder
that Borrower will not make such payment, Administrative Agent may assume that Borrower has made
such payment on such date in accordance herewith and may, in reliance upon such assumption and
pursuant to the foregoing paragraphs, distribute to the Lenders the amount due. In such event, if Borrower
has not in fact made such payment or for any reason such payment is required to be returned to Borrower
or paid to any other Person pursuant to any bankruptcy or insolvency law, any sharing clause in the Loan
Documents or otherwise, then each of the Lenders severally agrees to repay to Administrative Agent
forthwith on demand the amount so distributed to such Lender, without interest thereon, unless
Administrative Agent is required to return such amount with interest thereon, in which case, with interest
thereon at the Lender Interest Rate for each day from and including the date such amount is distributed to
such Lender to but excluding the date of payment to Administrative Agent, unless such payment was
made as a result of the gross negligence or willful misconduct of Administrative Agent, in which case
Lenders shall not pay any interest on such payment.

               (d)     The transfer of funds to any Lender by Administrative Agent is made on a
nonrecourse basis. Administrative Agent shall have no duty or obligation whatsoever to make any
payments to any Lender except from corresponding payments received by Administrative Agent from
Borrower or any other Person pursuant to the Loan Documents.

        Section 13.14. Amendments Concerning Agency Function. Notwithstanding anything to the
contrary contained in this Agreement, Administrative Agent shall not be bound by any waiver,
amendment, supplement or modification of this Agreement or any other Loan Document which affects
Administrative Agent’s duties, rights, and/or functions hereunder or thereunder unless Administrative
Agent shall have given Administrative Agent’s prior written consent thereto.
        Section 13.15. Events of Default.

               (a)    Administrative Agent shall not be deemed to have knowledge or notice of the
occurrence of any Event of Default unless and until Administrative Agent has received written notice
from a Lender or Borrower specifying such Event of Default.

                 (b)     In the event of the occurrence of an Event of Default and if Administrative Agent,
in Administrative Agent’s sole and absolute discretion, determines that any action is to be taken by
Administrative Agent on behalf of Lenders in connection therewith, Administrative Agent shall send a
notice (the “Action Notice”) to each Lender recommending a course of action (which may include a
recommendation to refrain from taking any action) and Lenders shall promptly consult in good faith to
either confirm Administrative Agent’s suggested course of action (or inaction) or to arrive at a course of
action which shall be mutually acceptable to all Lenders in their reasonable discretion. Such course of
action shall address, amongst other issues, (i) the exercise of remedies and the manner in which a
foreclosure or additional remedies shall be conducted, (ii) the interests of all of the Lenders at a
foreclosure sale or auction and whether Lenders or their nominees shall succeed to title to the Project or
any other collateral and (iii) issues pertaining to the operation, management, maintenance, leasing and/or
the sale of the Project or any other collateral. Administrative Agent shall promptly and diligently
implement any such agreed upon course of action (or inaction) on behalf of Lenders. Notwithstanding
anything to the contrary contained herein, if Lenders are unable to agree on a course of action (or inaction)
within ten (10) Business Days of the date of the Action Notice, Administrative Agent shall have the right
(but not the obligation), upon notice to Lenders, to take such course of action (or refrain from taking such
action) as Administrative Agent deems appropriate and Administrative Agent may continue to proceed on
such course of action, or refrain from taking such action, until Administrative Agent receives notice to the
contrary from the Required Lenders (“Agent Discretion Standard”). Provided and on condition that

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Administrative Agent has acted in accordance with this Subsection 13.15(b) and the Agent Discretion
Standard, Lenders hereby acknowledge and agree that Administrative Agent shall have no obligation to
take any action unless failure to do so would be grossly negligent or rise to the level of willful misconduct.

                 (c)     Provided that Lenders have agreed to a foreclosure or auction in accordance with
Subsection 13.15(b) hereof (or Administrative Agent has exercised the Agent Discretion Standard), upon
a foreclosure sale or auction and subject to the terms and provisions of this Agreement, Administrative
Agent shall have the right to bid at the foreclosure sale or auction on behalf of Lenders. Any bid entered
by Administrative Agent in an amount not in excess of the total indebtedness due under the Note plus
expenses and all other amounts which are recoverable from the proceeds of the sale (collectively, the
“Judgment Amount”) shall be deemed to have been entered on behalf and for the benefit of Lenders, and,
if such bid is the successful bid, Administrative Agent shall cause a referee’s deed (as to the Project) or
the applicable title instrument (as to all other collateral) to be issued to Administrative Agent (or
Administrative Agent’s nominee) in trust for Lenders, and Administrative Agent (or Administrative
Agent’s nominee) shall hold title subject to the terms and provisions of Subsection 13.15(d) and
Subsection 13.15(e) hereof on behalf of, and as trustee for, Lenders.

                (d)      Administrative Agent and Lender hereby acknowledge and agree that if title to (i)
the Project or (ii) any other collateral is obtained by Administrative Agent (or Administrative Agent’s
nominee) for the benefit of Administrative Agent and Lenders, such asset(s) shall not be held as a
permanent investment, but shall be marketed and sold as soon as possible, taking into account then
current economic and market conditions. Subject to Subsection 13.15(b) hereof, each Lender shall, upon
demand therefor from time to time, contribute such Lender’s Pro Rata Share of all costs, fees and
expenses (including, without limitation, attorney’s fees and disbursements) suffered or incurred by
Administrative Agent (or Administrative Agent’s nominee) in connection with the operation,
management, maintenance, leasing and/or sale of all or any part of the Project or any other collateral.
Funds received from the ownership, operation or sale of the Project or any other collateral (net of
operating expenses or transaction costs in connection with such ownership, operation or sale) shall
constitute Debt Service Payments and shall be applied first, to reimburse Administrative Agent for any
Costs, and thereafter, in accordance with Section 13.13 hereof. Lenders shall consult with Administrative
Agent and attempt to determine a mutually acceptable course of action relating to, but not limited to, the
management, operation and leasing of the Project and any other collateral as well as the sale of the Project
and any other collateral; provided, however, if Lenders cannot agree on a mutually acceptable course of
action, Administrative Agent shall have the right (but not the obligation) to apply the Agent Discretion
Standard upon notice to Lenders.

                 (e)     Notwithstanding anything to the contrary contained herein, each Lender shall
have the right to enter a bid in an amount in excess of the Judgment Amount and, if such bid is the
successful bid, such Lender shall acquire the Project or other collateral, as the case may be, for such
Lender’s own account and, provided and on the condition that the non-bidding party is, by not later than
the date of delivery to the bidding party (or such bidding party’s nominee) of the referee’s deed or other
title instrument, paid in full all amounts owed to the non-bidding party under the Loan and this
Agreement, the non-bidding party shall have no further interest in the Project or other collateral, as the
case may be, and the terms and provisions of Subsection 13.15(b) hereof shall be null and void and of no
further force or effect.

        Section 13.16. Defaulting Lender.

              (a)      In addition to the rights and remedies that may be available to Administrative
Agent or Borrower under this Agreement or applicable law, if at any time any Lender has not performed
such Lender’s obligations under this Agreement or any of the other Loan Documents (a “Defaulting

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Lender”) and such default continues for twenty (20) days after notice, such Defaulting Lender’s right to
participate in the administration of the Loan, this Agreement and the other Loan Documents, including,
without limitation, any right to vote in respect of, to consent to or to direct any action or inaction of
Administrative Agent or to be taken into account in the calculation of the Required Lenders, shall be
suspended while such Lender remains a Defaulting Lender. If any Lender is a Defaulting Lender because
such Lender has failed to make timely payment to Administrative Agent of any amount required to be
paid to Administrative Agent hereunder, in addition to other rights and remedies which Administrative
Agent or Borrower may have under the immediately preceding provisions or otherwise, Administrative
Agent shall be entitled (i) to collect interest from such Defaulting Lender on such delinquent payment for
the period from the date on which the payment was due until the date on which the payment is made at
the Lender Interest Rate, (ii) to withhold or setoff and to apply in satisfaction of the defaulted payment
and any related interest, any amounts otherwise payable to such Defaulting Lender under this Agreement
or any other Loan Document until such defaulted payment and related interest has been paid in full and
such default no longer exists and (iii) to bring an action or suit against such Defaulting Lender in a court
of competent jurisdiction to recover the defaulted amount and any related interest. Any amounts received
by Administrative Agent in respect of a Defaulting Lender shall not be paid to such Defaulting Lender
and shall be held uninvested by Administrative Agent and either applied against the purchase price of
such Defaulting Lender’s interest in the Loan under Subsection 13.16(b) hereof or paid to such Defaulting
Lender upon the default of such Defaulting Lender being cured.

                 (b)     Any Lender that is not a Defaulting Lender shall have the right, but not the
obligation, in such Lender’s sole and absolute discretion, to acquire all of a Defaulting Lender’s interest
in the Loan (the “Defaulting Lender’s Interest”) during the continuance of the applicable default. Upon
any such purchase, the Defaulting Lender’s Interest and the Defaulting Lender’s rights hereunder (but not
the Defaulting Lender’s liability in respect thereof or under the Loan Documents or this Agreement to the
extent the same relate to the period prior to the effective date of the purchase) shall terminate on the date
of purchase, and the Defaulting Lender shall promptly execute all documents reasonably requested to
surrender and transfer such interest to the purchaser thereof, including an assignment substantially in form
and substance as set forth in Exhibit B annexed hereto and made a part hereof. The purchase price for the
Defaulting Lender’s Interest shall be equal to the amount of the principal balance of the Loan outstanding
and owed by Borrower to the Defaulting Lender. The purchaser shall pay to the Defaulting Lender in
immediately available funds on the date of such purchase the principal of and accrued and unpaid interest
and fees with respect to the Defaulting Lender’s Interest (it being understood that such accrued and
unpaid interest and fees may be paid pro rata to the purchasing Lender and the Defaulting Lender by the
Administrative Agent at a subsequent date upon receipt of payment of such amounts from Borrower).
Prior to payment of such purchase price to a Defaulting Lender, Administrative Agent shall apply against
such purchase price any amounts retained by Administrative Agent pursuant to the last sentence of
Subsection 13.16(a) hereof. The Defaulting Lender shall be entitled to receive amounts owed to such
Defaulting Lender by Borrower under the Loan Documents which accrued prior to the date of the default
by the Defaulting Lender, to the extent the same are received by Administrative Agent from or on behalf
of Borrower. There shall be no recourse against any Lender or Administrative Agent for the payment of
such sums except to the extent of the receipt of payments from any other party or in respect of the Loan.

                (c)    Nothing contained in this Section 13.16 or elsewhere in this Agreement shall
release or in any way limit a Defaulting Lender’s obligations as a Lender hereunder and/or under any
other of the Loan Documents. Further, a Defaulting Lender shall indemnify and hold harmless Borrower,
Administrative Agent and each of the non-Defaulting Lenders from any claim, loss, or costs incurred by
Borrower, Administrative Agent and/or the non-Defaulting Lenders as a result of a Defaulting Lender’s
failure to comply with the requirements of this Agreement, including, without limitation, any and all
additional losses, damages, costs and expenses (including, without limitation, attorneys’ fees and

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disbursements) incurred by Borrower, Administrative Agent and/or any Lender as a result of and/or in
connection with (i) any enforcement action brought by Borrower and/or Administrative Agent against a
Defaulting Lender and (ii) any action brought against Borrower, Administrative Agent and/or Lenders by
a Defaulting Lender. The indemnification provided above shall survive any termination of this Agreement.

        Section 13.17. Servicing Fee. Administrative Agent shall be entitled, on a monthly basis, to a
servicing fee in an amount to be determined by Administrative Agent based on a percentage of the
outstanding principal balance of the Loan (the “Servicing Fee”). Lenders hereby irrevocably authorize
Administrative Agent to deduct the Servicing Fee monthly from the Debt Service Payments to be made to
Administrative Agent.

                                             ARTICLE XIV
                                          INDEMNIFICATIONS

         Section 14.1. General Indemnification. Borrower shall indemnify, defend and hold harmless the
Indemnified Parties, or Borrower shall cause the Indemnified Parties to be indemnified, defended and
held harmless, from and against any and all Losses imposed upon or incurred by or asserted against any
Indemnified Parties and directly or indirectly arising out of or in any way relating to any one or more of
the following: (a) any accident, injury to or death of Persons or loss of or damage to property occurring in,
on or about the Project or any part thereof or on the adjoining sidewalks, curbs, adjacent property or
adjacent parking areas, streets or ways; (b) any use, nonuse or condition in, on or about the Project or any
part thereof or on the adjoining sidewalks, curbs, adjacent property or adjacent parking areas, streets or
ways; (c) performance of any labor or services or the furnishing of any materials or other property in
respect of the Project or any part thereof; (d) any failure of the Project to be in compliance with any
applicable Legal Requirements or (e) the payment of any commission, charge or brokerage fee to anyone
which may be payable in connection with the funding of the Loan (collectively, the “Indemnified
Liabilities”); provided, however, that Borrower shall not have any obligation to Lenders hereunder to the
extent that such Indemnified Liabilities arise from the gross negligence, illegal acts, fraud or willful
misconduct of Administrative Agent or Lenders. To the extent that the undertaking to indemnify,
defend and hold harmless set forth in the preceding sentence may be unenforceable because it violates
any law or public policy, Borrower shall pay the maximum portion that it is permitted to pay and
satisfy under applicable law to the payment and satisfaction of all Indemnified Liabilities incurred by
Lenders. Administrative Agent agrees that, so long as the Existing Leases shall continue to be in full
force and effect, Borrower’s indemnification, defense and holding harmless obligations to the
Indemnified Parties under this Section 14.1 may be satisfied by the applicable Tenants under the
corresponding obligations of the Existing Leases; provided, however, the foregoing shall not act to, or
be deemed to, release, relinquish or relieve Borrower from Borrower’s obligations to indemnify the
Indemnified Parties in accordance with the terms of this Section 14.1 to the extent that the Tenant(s)
fail, refuse, delay or are otherwise unable or unwilling to do so.

         Section 14.2. Intangible Tax Indemnification. Borrower shall, at Borrower’s sole cost and
expense, protect, defend, indemnify, release and hold harmless the Indemnified Parties from and against
any and all Losses imposed upon or incurred by or asserted against any Indemnified Parties and directly
or indirectly arising out of or in any way relating to any stamp or similar intangible tax on the making of
the Deed of Trust, the Note or any of the other Loan Documents, excluding, for purposes of clarity, any
income, franchise or other similar taxes, or U.S. federal withholding taxes imposed under FATCA as a
result of the failure by a Lender to comply with the applicable provisions of FATCA.

         Section 14.3. ERISA Indemnification. Borrower shall, at Borrower’s sole cost and expense,
protect, defend, indemnify, release and hold harmless the Indemnified Parties from and against any and
all Losses (including, without limitation, reasonable attorneys’ fees and costs incurred in the investigation,

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defense, and settlement of Losses incurred in correcting any prohibited transaction or in the sale of a
prohibited loan, and in obtaining any individual prohibited transaction exemption under ERISA that may
be required, in Administrative Agent’s sole and absolute discretion) that Administrative Agent or Lenders
may incur, directly or indirectly, as a result of a default under Section 4.9 or Section 5.17 hereof.

        Section 14.4. Survival. The obligations and liabilities of Borrower under this Article XIV shall
fully survive indefinitely notwithstanding any termination, satisfaction, or assignment of the Deed of
Trust.

                                              ARTICLE XV
                                               NOTICES

         Section 15.1. Notices. All notices, consents, approvals and requests required or permitted
hereunder or under any other Loan Document shall be given in writing and shall be effective for all
purposes if hand delivered or sent by (a) certified or registered United States mail, postage prepaid, return
receipt requested, or (b) expedited prepaid overnight delivery service, either commercial or United States
Postal Service, with proof of attempted delivery, addressed as follows (or at such other address and
Person as shall be designated from time to time by any party hereto, as the case may be, in a written
notice to the other parties hereto in the manner provided for in this Section):

             If to Lenders:               See address and telephone number specified for such Lender on
                                          Schedule 15.1

             If to Administrative Agent: National Bank of Kuwait, S.A.K.P., New York Branch
                                         299 Park Avenue
                                         New York, New York 10171
                                         Attention: Corporate Finance

             With a copy to:              Baker & McKenzie LLP
                                          300 E. Randolph St., Suite 5000
                                          Chicago, Illinois 60601
                                          Attention: Mona Dajani, Esq.
             If to Borrower:              Galleria 2425 Owner, LLC
                                          3139 W Holcombe Blvd #845
                                          Houston, Texas 77025
                                          Attention: Azeemeh Zaheer

             With copies to:              Polsinelli
                                          2950 Harwood Street, Suite 2100
                                          Dallas, Texas 75201
                                          Attention: Brian Bullard, Esq.


A notice shall be deemed to have been given: (i) in the case of hand delivery, at the time of delivery; (ii)
in the case of registered or certified mail, when delivered or the first attempted delivery on a Business
Day; or (iii) in the case of expedited prepaid delivery, upon the first attempted delivery on a Business Day.

                                            ARTICLE XVI
                                        FURTHER ASSURANCES

      Section 16.1. Replacement and Corrective Documents. Upon receipt of an affidavit of an officer
of Administrative Agent as to the loss, theft, destruction or mutilation of the Note or any other Loan

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Document which is not of public record, and, in the case of any such mutilation, upon surrender and
cancellation of such Note or other Loan Document, Borrower and Guarantor shall issue, in lieu thereof, a
replacement Note or other Loan Document, dated the date of such lost, stolen, destroyed or mutilated
Note or other Loan Document in the same principal amount thereof and otherwise of like tenor. Borrower
and Guarantor hereby consent and agree that in the event that any of the Loan Documents misstate or
inaccurately reflect the true and correct terms and provisions of the Loan and said misstatement or
inaccuracy is due to the unilateral mistake on the part of Lenders or Administrative Agent, mutual
mistake on the part of any of Administrative Agent, Lenders, Borrower and Guarantor or clerical error,
then in such event Borrower and Guarantor shall, within thirty (30) days after written request of
Administrative Agent and in order to correct such misstatement or inaccuracy, execute such new
documents as Administrative Agent may deem necessary to remedy said inaccuracy or mistake.

         Section 16.2. Further Acts, Etc. Subject to Article XII hereof, Borrower and Guarantor shall, at
the cost and expense of Borrower and Guarantor, and without expense to Lenders or Administrative
Agent, do, execute, acknowledge and deliver all and every further acts, deeds, conveyances, assignments,
security agreements, control agreements, notices of assignments, transfers and assurances as
Administrative Agent shall, from time to time, reasonably require, for the better assuring, conveying,
assigning, transferring, and confirming unto Lenders the rights hereby granted, bargained, sold, conveyed,
confirmed, pledged, assigned, warranted and transferred or intended now or hereafter so to be, or which
Borrower or Guarantor may be or may hereafter become bound to convey or assign to Lenders, or for
carrying out the intention or facilitating the performance of the terms of this Agreement or for filing or
registering of the Deed of Trust, or for complying with all Legal Requirements. Borrower and Guarantor,
on demand, shall deliver, and in the event Borrower or Guarantor shall fail to so deliver, hereby
authorizes Administrative Agent to file, in the name of Borrower and Guarantor, one or more financing
statements and financing statement amendments to evidence more effectively, perfect and maintain the
priority of the security interest of Lenders in the Project. Borrower and Guarantor grant to Lenders and
Administrative Agent an irrevocable power of attorney coupled with an interest for the purpose of
exercising and perfecting any and all rights and remedies available to Lenders or Administrative
Agent at law and in equity, including, without limitation, such rights and remedies available to
Lenders or Administrative Agent pursuant to this Section 16.2.
        Section 16.3. Changes in Tax, Debt, Credit and Documentary Stamp Law.

                (a)      If any law is enacted or adopted or amended after the date of this Agreement
which deducts the Debt from the value of the Project for the purpose of taxation with the result that taxes
are imposed on the Lenders, Borrower shall pay the tax, with interest and penalties thereon, if any, other
than U.S. federal withholding taxes imposed under FATCA as a result of the failure by a Lender to
comply with the applicable provisions of FATCA. If Lenders are advised by counsel chosen by Lenders
that the payment of such tax by Borrower would be unlawful or taxable to Lenders (unless any such tax is
reimbursed by Borrower) or unenforceable or provides the basis for a defense of usury then Lenders shall
have the option by written notice of not less than one hundred twenty (120) days to declare the Debt
immediately due and payable. Borrower shall not claim or demand or be entitled to any credit or credits
on account of the Debt for any part of the Taxes or Other Charges assessed against the Project, or any part
thereof, and no deduction shall otherwise be made or claimed from the assessed value of the Project, or
any part thereof, for real estate or personal property tax purposes by reason of the Deed of Trust or the
Debt if such claim, credit or deduction has the effect of imposing a tax on Lenders. If such claim, credit or
deduction shall be required by law, Lenders shall have the option, by written notice of not less than one
hundred twenty (120) days, to declare the Debt immediately due and payable.

                (b)      If at any time the United States of America, any State thereof or any subdivision
of any such State shall require revenue or other stamps to be affixed to the Note, the Deed of Trust, or any

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of the other Loan Documents or impose any other tax or charge on the same, Borrower shall pay for the
same, with interest and penalties thereon, if any.

         Section 16.4. Expenses. Borrower covenants and agrees to pay or reimburse, as applicable,
Lenders and Administrative Agent upon receipt of written notice from Administrative Agent for all actual
costs and expenses (including reasonable third party attorneys’ fees and disbursements) incurred by
Administrative Agent and Lenders in accordance with this Agreement in connection with (a) the
preparation, negotiation, execution and delivery of this Agreement, the Deed of Trust and the other Loan
Documents and the consummation of the transactions contemplated hereby and thereby and all the costs
of furnishing all opinions by counsel for Borrower and Guarantor (including, without limitation, any
opinions reasonably requested by Administrative Agent as to any legal matters arising under this
Agreement or the other Loan Documents with respect to the Project); (b) Borrower’s and Guarantor’s
ongoing performance of and compliance with Borrower’s and Guarantor’s agreements and covenants
contained in this Agreement, the Deed of Trust and the other Loan Documents on its part to be performed
or complied with after the Closing Date, including, without limitation, confirming compliance with
environmental and insurance requirements; (c) [Reserved.] (d) subject to Article XII hereof, the
negotiation, preparation, execution, delivery and administration of any consents, amendments, waivers or
other modifications to this Agreement and the other Loan Documents; (e) securing Borrower’s and
Guarantor’s compliance with any requests reasonably made pursuant to the provisions of this Agreement;
(f) the filing and recording fees and expenses, title insurance and reasonable fees and expenses of counsel
for providing to Administrative Agent all required legal opinions, and other similar expenses reasonably
incurred in creating and perfecting the Lien in favor of Lenders pursuant to this Agreement, the Deed of
Trust and the other Loan Documents; (g) enforcing or preserving any rights, in response to third party
claims or the prosecuting or defending of any action or proceeding or other litigation, in each case against,
under or affecting Borrower or Guarantor, this Agreement, the other Loan Documents, the Project, or any
security given for the Loan; and (h) enforcing any obligations of or collecting any payments due from
Borrower under this Agreement, the other Loan Documents or with respect to the Project or in connection
with any refinancing or restructuring of the credit arrangements provided under this Agreement in the
nature of a “work-out” or of any insolvency or bankruptcy proceedings.

                                             ARTICLE XVII
                                              WAIVERS

        Section 17.1. Remedies Cumulative; Waivers. The rights, powers and remedies of Administrative
Agent and Lenders under this Agreement shall be cumulative and not exclusive of any other right, power
or remedy which Administrative Agent or Lenders may have against Borrower or Guarantor pursuant to
this Agreement or the other Loan Documents, or existing at law or in equity or otherwise. Lenders’ rights,
powers and remedies may be pursued singularly, concurrently or otherwise, at such time and in such order
as Lenders may determine in Lenders’ sole discretion. No delay or omission to exercise any remedy, right
or power accruing upon an Event of Default shall impair any such remedy, right or power or shall be
construed as a waiver thereof, but any such remedy, right or power may be exercised from time to time
and as often as may be deemed expedient. A waiver of one Default or Event of Default with respect to
Borrower or Guarantor shall not be construed to be a waiver of any subsequent Default or Event of
Default by Borrower or to impair any remedy, right or power consequent thereon.

        Section 17.2. Modification, Waiver in Writing. No modification, amendment, extension,
discharge, termination or waiver of any provision of this Agreement, or of the Note, or of any other Loan
Document, nor consent to any departure by Borrower or Guarantor therefrom, shall in any event be
effective unless the same shall be in a writing signed by the party against whom enforcement is sought,
and then such waiver or consent shall be effective only in the specific instance, and for the purpose, for
which given. Except as otherwise expressly provided herein, no notice to, or demand on Borrower or

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Guarantor shall entitle Borrower or such Guarantor to any other or future notice or demand in the same,
similar or other circumstances.

        Section 17.3. Delay Not a Waiver. Neither any failure nor any delay on the part of Administrative
Agent or Lenders in insisting upon strict performance of any term, condition, covenant or agreement, or
exercising any right, power, remedy or privilege hereunder, or under the Note or under any other Loan
Document, or any other instrument given as security therefor, shall operate as or constitute a waiver
thereof, nor shall a single or partial exercise thereof preclude any other future exercise, or the exercise of
any other right, power, remedy or privilege. In particular, and not by way of limitation, by accepting
payment after the due date of any amount payable under this Agreement, the Note or any other Loan
Document, Administrative Agent and Lenders shall not be deemed to have waived any right either to
require prompt payment when due of all other amounts due under this Agreement, the Note or the other
Loan Documents, or to declare a default for failure to effect prompt payment of any such other amount.

      Section 17.4. Trial by Jury. BORROWER, ADMINISTRATIVE AGENT AND LENDERS
EACH HEREBY AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF
RIGHT BY JURY, AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE EXTENT
THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH REGARD TO THE LOAN
DOCUMENTS, OR ANY CLAIM, COUNTERCLAIM OR OTHER ACTION ARISING IN
CONNECTION THEREWITH. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
KNOWINGLY AND VOLUNTARILY BY BORROWER, ADMINISTRATIVE AGENT AND
LENDERS, AND IS INTENDED TO ENCOMPASS INDIVIDUALLY EACH INSTANCE AND EACH
ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY JURY WOULD OTHERWISE ACCRUE.
EACH OF LENDERS, ADMINISTRATIVE AGENT AND BORROWER IS HEREBY AUTHORIZED
TO FILE A COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE
OF THIS WAIVER BY BORROWER, ADMINISTRATIVE AGENT AND LENDERS.

        Section 17.5. Waiver of Notice. Borrower and Guarantor shall not be entitled to any notices of
any nature whatsoever from Administrative Agent or Lenders except with respect to matters for which
this Agreement or the other Loan Documents specifically and expressly provide for the giving of notice
by Administrative Agent or Lenders to Borrower and Guarantor and except with respect to matters for
which Borrower or Guarantor is not, pursuant to applicable Legal Requirements, permitted to waive the
giving of notice. Borrower hereby expressly waives the right to receive any notice from Administrative
Agent or Lenders with respect to any matter for which this Agreement or the other Loan Documents do
not specifically and expressly provide for the giving of notice by Administrative Agent or Lenders to
Borrower.

        Section 17.6. Remedies of Borrower. In the event that a claim or adjudication is made that
Administrative Agent or Lenders or Administrative Agent’s or Lenders’ agents have acted unreasonably
or unreasonably delayed acting in any case where by law or under this Agreement or the other Loan
Documents, Administrative Agent, Lenders or such agent, as the case may be, has an obligation to act
reasonably or promptly, Borrower agrees that Administrative Agent, Lenders and Administrative Agent’s
and Lenders’ agents shall not be liable for any monetary damages, and Borrower’s sole remedies shall be
limited to commencing an action seeking injunctive relief or declaratory judgment. The parties hereto
agree that any action or proceeding to determine whether Administrative Agent or Lenders have acted
reasonably shall be determined by an action seeking declaratory judgment. Administrative Agent and
Lenders agrees that, in such event, it shall cooperate in expediting any action seeking injunctive relief or
declaratory judgment.

         Section 17.7. Waiver of Marshalling of Assets. To the fullest extent permitted by law, Borrower
for itself and its successors and assigns, waives all rights to a marshalling of the assets of Borrower and

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other Persons with interests in Borrower, and of the Project, and agrees not to assert any right under any
laws pertaining to the marshalling of assets, the sale in inverse order of alienation, homestead exemption,
the administration of estates of decedents, or any other matters whatsoever to defeat, reduce or affect the
right of Lenders under the Loan Documents to a foreclosure of the Deed of Trust for the collection of the
Debt without any prior or different resort for collection or of the right of Lenders to the payment of the
Debt out of the net proceeds of the Project in preference to every other claimant whatsoever.

         Section 17.8. Waiver of Statute of Limitations. Borrower hereby expressly waives and releases, to
the fullest extent permitted by law, the pleading of any statute of limitations as a defense to payment of
the Debt or performance of its other obligations set forth in the Loan Documents.

        Section 17.9. Waiver of Counterclaim. Borrower hereby waives the right to assert a counterclaim,
other than a compulsory counterclaim, in any action or proceeding brought against it by Lenders or
Administrative Agent or Lenders’ or Administrative Agent’s agents.

                                           ARTICLE XVIII
                                          GOVERNING LAW

        Section 18.1. Choice of Law.

                  (i)  THIS AGREEMENT WAS NEGOTIATED IN THE STATE OF NEW
YORK, THE LOAN WAS MADE BY LENDERS AND ACCEPTED BY BORROWER IN THE
STATE OF NEW YORK, AND THE PROCEEDS OF THE LOAN WERE DISBURSED FROM THE
STATE OF NEW YORK, WHICH STATE THE PARTIES AGREE HAS A SUBSTANTIAL
RELATIONSHIP TO THE PARTIES AND TO THE UNDERLYING TRANSACTION EMBODIED
HEREBY, AND IN ALL RESPECTS, INCLUDING, WITHOUT LIMITING THE GENERALITY OF
THE FOREGOING, MATTERS OF CONSTRUCTION, VALIDITY AND PERFORMANCE, THIS
AGREEMENT, THE NOTE AND THE OTHER LOAN DOCUMENTS AND THE OBLIGATIONS
ARISING HEREUNDER AND THEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
CONTRACTS MADE AND PERFORMED IN SUCH STATE (WITHOUT REGARD TO PRINCIPLES
OF CONFLICTS OF LAW) AND ANY APPLICABLE LAW OF THE UNITED STATES OF
AMERICA, EXCEPT THAT AT ALL TIMES THE PROVISIONS FOR THE CREATION,
PERFECTION, AND ENFORCEMENT OF THE LIEN AND SECURITY INTEREST CREATED
PURSUANT THE DEED OF TRUST, THE ASSIGNMENT OF LEASES AND RENTS AND THE
OTHER LOAN DOCUMENTS (OTHER THAN WITH RESPECT TO LIENS AND SECURITY
INTERESTS IN PROPERTY WHOSE PERFECTION AND PRIORITY IS COVERED BY ARTICLE 9
OF THE UCC (INCLUDING, WITHOUT LIMITATION, THE ACCOUNTS) WHICH SHALL BE
GOVERNED BY THE LAW OF THE JURISDICTION APPLICABLE THERETO IN ACCORDANCE
WITH SECTIONS 9-301 THROUGH 9-307 OF THE UCC AS IN EFFECT IN THE STATE OF NEW
YORK) SHALL BE GOVERNED BY AND CONSTRUED ACCORDING TO THE LAW OF THE
STATE IN WHICH THE PROJECT IS LOCATED, IT BEING UNDERSTOOD THAT, TO THE
FULLEST EXTENT PERMITTED BY THE LAW OF SUCH STATE, THE LAW OF THE STATE OF
NEW YORK SHALL GOVERN THE CONSTRUCTION, VALIDITY AND ENFORCEABILITY OF
ALL LOAN DOCUMENTS AND ALL OF THE OBLIGATIONS ARISING HEREUNDER OR
THEREUNDER. TO THE FULLEST EXTENT PERMITTED BY LAW, BORROWER HEREBY
UNCONDITIONALLY AND IRREVOCABLY WAIVES ANY CLAIM TO ASSERT THAT THE
LAW OF ANY OTHER JURISDICTION GOVERNS THIS AGREEMENT, THE NOTE AND THE
OTHER LOAN DOCUMENTS, AND THIS AGREEMENT, THE NOTE AND THE OTHER LOAN
DOCUMENTS SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE



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LAWS OF THE STATE OF NEW YORK PURSUANT TO SECTION 5-1401 OF THE NEW YORK
GENERAL OBLIGATIONS LAW EXCEPT AS SPECIFICALLY SET FORTH ABOVE.

                 (ii)  ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST
ADMINISTRATIVE AGENT, ANY LENDER OR BORROWER ARISING OUT OF OR RELATING
TO THIS AGREEMENT MAY AT ADMINISTRATIVE AGENT’S OR LENDERS’ OPTION BE
INSTITUTED IN ANY FEDERAL OR STATE COURT IN THE CITY OF NEW YORK, COUNTY OF
NEW YORK, PURSUANT TO SECTION 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS
LAW AND BORROWER WAIVES ANY OBJECTIONS WHICH IT MAY NOW OR HEREAFTER
HAVE BASED ON VENUE AND/OR FORUM NON CONVENIENS OF ANY SUCH SUIT, ACTION
OR PROCEEDING, AND BORROWER HEREBY IRREVOCABLY SUBMITS TO THE
JURISDICTION OF ANY SUCH COURT IN ANY SUIT, ACTION OR PROCEEDING. BORROWER
DOES HEREBY DESIGNATE AND APPOINT:
                                          Capitol Services, Inc.
                                          1218 Central Avenue, Suite 100
                                          Albany, NY 12205

AS ITS AUTHORIZED AGENT TO ACCEPT AND ACKNOWLEDGE ON ITS BEHALF SERVICE
OF ANY AND ALL PROCESS WHICH MAY BE SERVED IN ANY SUCH SUIT, ACTION OR
PROCEEDING IN ANY FEDERAL OR STATE COURT IN NEW YORK, NEW YORK, AND
AGREES THAT SERVICE OF PROCESS UPON SAID AGENT AT SAID ADDRESS TOGETHER
WITH WRITTEN NOTICE OF SAID SERVICE MAILED OR DELIVERED TO BORROWER IN THE
MANNER PROVIDED HEREIN SHALL BE DEEMED IN EVERY RESPECT EFFECTIVE SERVICE
OF PROCESS UPON BORROWER, IN ANY SUCH SUIT, ACTION OR PROCEEDING IN THE
STATE OF NEW YORK. BORROWER (I) SHALL GIVE PROMPT NOTICE TO ADMINISTRATIVE
AGENT OF ANY CHANGED ADDRESS OF ITS AUTHORIZED AGENT HEREUNDER, (II) MAY
AT ANY TIME AND FROM TIME TO TIME DESIGNATE A SUBSTITUTE AUTHORIZED AGENT
WITH AN OFFICE IN NEW YORK, NEW YORK (WHICH SUBSTITUTE AGENT AND OFFICE
SHALL BE DESIGNATED AS THE PERSON AND ADDRESS FOR SERVICE OF PROCESS), AND
(III) SHALL PROMPTLY DESIGNATE SUCH A SUBSTITUTE IF ITS AUTHORIZED AGENT
CEASES TO HAVE AN OFFICE IN NEW YORK, NEW YORK OR IS DISSOLVED WITHOUT
LEAVING A SUCCESSOR.
                         (iii)    Borrower, Administrative Agent and Lenders hereby knowingly,
voluntarily, intentionally, unconditionally and irrevocably submit to the exclusive jurisdiction of any New
York State or Federal court sitting in New York County over any suit, action or proceeding arising out of
or relating to this Agreement, and each such party hereby agrees and consents that, in addition to any
methods of service of process provided for under applicable law, all service of process in any such suit,
action or proceeding in any New York State or Federal court sitting in New York County may be made by
certified or registered mail, return receipt requested, directed to such party at the address indicated on the
first page of this Agreement or in Section 15.1 hereof, as applicable, and service so made shall be
complete three (3) days after the same shall have been so mailed.

        Section 18.2. Severability. Wherever possible, each provision of this Agreement shall be
interpreted in such manner as to be effective and valid under applicable law, but if any provision of this
Agreement shall be prohibited by or invalid under applicable law, such provision shall be ineffective to
the extent of such prohibition or invalidity, without invalidating the remainder of such provision or the
remaining provisions of this Agreement.



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        Section 18.3. Preferences. Lenders shall have the continuing and exclusive right to apply or
reverse and reapply any and all payments by Borrower to any portion of the obligations of Borrower or
Guarantor hereunder in connection with any payment deemed to be fraudulent or an impermissible
preference payment under applicable Legal Requirements. To the extent Borrower or Guarantor makes a
payment or payments to Lenders, which payment or proceeds or any part thereof are subsequently
invalidated, declared to be fraudulent or preferential, set aside or required to be repaid to a trustee,
receiver or any other party under any Creditors’ Rights Laws, state or federal law, common law or
equitable cause, then, to the extent of such payment or proceeds received, the obligations hereunder or
part thereof intended to be satisfied shall be revived and continue in full force and effect, as if such
payment or proceeds had not been received by Lenders.

                                            ARTICLE XIX
                                           MISCELLANEOUS

         Section 19.1. Survival. This Agreement and all covenants, agreements, representations and
warranties made herein and in the certificates delivered pursuant hereto shall survive the entering into by
Lenders of this Agreement and the execution and delivery to Lenders of the Note, and shall continue in
full force and effect so long as all or any of the Debt is outstanding and unpaid unless a longer period is
expressly set forth herein or in the other Loan Documents. Whenever in this Agreement any of the parties
hereto is referred to, such reference shall be deemed to include the successors and assigns of such party.
All covenants, promises and agreements in this Agreement, by or on behalf of Borrower shall inure to the
benefit of the successors and assigns of Lenders.

        Section 19.2. Administrative Agent’s Discretion. Whenever pursuant to this Agreement,
Administrative Agent exercises any right given to Administrative Agent to approve or disapprove, or any
arrangement or term is to be satisfactory to Administrative Agent, the decision of Administrative Agent to
approve or disapprove or to decide whether arrangements or terms are satisfactory or not satisfactory shall
(except as is otherwise specifically herein provided) be in the reasonable discretion of Administrative
Agent.

      Section 19.3. Headings. The Article and/or Section headings and the Table of Contents in this
Agreement are included herein for convenience of reference only and shall not constitute a part of this
Agreement for any other purpose.

        Section 19.4. Cost of Enforcement. In the event (a) that the Deed of Trust is foreclosed in whole
or in part, (b) of the bankruptcy, insolvency, rehabilitation or other similar proceeding in respect of
Borrower or Guarantor or any of Borrower Members, Borrower’s constituent Persons or Subsidiaries or
an assignment by Borrower or Guarantor or any of Borrower Members, Borrower’s constituent Persons or
Subsidiaries for the benefit of its creditors, or (c) Lenders exercise any of its other remedies under this
Agreement or any of the other Loan Documents, Borrower shall be chargeable with and agrees to pay all
costs of collection and defense, including attorneys’ fees and costs, incurred by Lenders, Administrative
Agent or Borrower in connection therewith and in connection with any appellate proceeding or post-
judgment action involved therein, together with all required service or use taxes.
        Section 19.5. Schedule Incorporated. The Schedules annexed hereto are hereby incorporated
herein as a part of this Agreement with the same effect as if set forth in the body hereof.

        Section 19.6. Offsets, Counterclaims and Defenses. Any assignee of Lenders’ interest in and to
this Agreement, the Note and the other Loan Documents shall take the same free and clear of all offsets,
counterclaims or defenses which are unrelated to such documents which Borrower or Guarantor may
otherwise have against any assignor of such documents, and no such unrelated counterclaim or defense
shall be interposed or asserted by Borrower or such Guarantor in any action or proceeding brought by any

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such assignee upon such documents and any such right to interpose or assert any such unrelated offset,
counterclaim or defense in any such action or proceeding is hereby expressly waived by Borrower.

        Section 19.7. No Joint Venture or Partnership; No Third Party Beneficiaries.

                 (a)     Borrower, Administrative Agent and Lenders intend that the relationships created
hereunder and under the other Loan Documents be solely that of borrower and lender. Nothing herein or
therein is intended to create a joint venture, partnership, tenancy-in-common, or joint tenancy relationship
between Borrower, Guarantor, Administrative Agent and Lenders nor to grant Administrative Agent or
Lenders any interest in the Project other than that of secured party, Lenders or lender. Borrower hereby
knowingly, voluntarily, intentionally, unconditionally and irrevocably waives and relinquishes all claims,
demands, counterclaims and/or defenses alleging the existence of any partnership, joint venture or other
fiduciary relationship between Administrative Agent or Lenders and Borrower and Borrower shall hold
Lenders, Administrative Agent, Lenders’ and Administrative Agent’s successors and assigns, harmless
from and against any and all losses, damages, penalties, fines, forfeitures, legal fees and related costs,
judgments and any other fees, costs and expenses that Administrative Agent or Lenders may sustain as a
result of any such allegation by any Person whatsoever.

                (b)     This Agreement and the other Loan Documents are solely for the benefit of
Lenders, Administrative Agent and Borrower and Guarantor and nothing contained in this Agreement or
the other Loan Documents shall be deemed to confer upon anyone other than Lenders, Administrative
Agent and Borrower and Guarantor any right to insist upon or to enforce the performance or observance
of any of the obligations contained herein or therein. All conditions to the obligations of Lenders to enter
into this Agreement and make the financial accommodations provided for hereunder are imposed solely
and exclusively for the benefit of Lenders and no other Person shall have standing to require satisfaction
of such conditions in accordance with their terms or be entitled to assume that Lenders will refuse to enter
into this Agreement or make the financial accommodations provided for hereunder in the absence of strict
compliance with any or all thereof and no other Person shall under any circumstances be deemed to be a
beneficiary of such conditions, any or all of which may be freely waived in whole or in part by
Administrative Agent or Lenders if, in Administrative Agent’s or Lenders’ sole discretion, Administrative
Agent or Lenders deem it advisable or desirable to do so.

                 (c)    The shareholders, general partners, members, principals and (if Borrower is a
trust) beneficial owners of Borrower are experienced in the ownership and operation of properties similar
to the Project, and Lenders are relying solely upon such expertise and business plan in connection with
the ownership and operation of the Project.

                (d)      Notwithstanding anything to the contrary contained herein, Lenders are not
undertaking the performance of any obligations with respect to any agreements, contracts, certificates,
instruments, franchises, permits, trademarks, licenses and other documents of Borrower.

                  (e)     By accepting or approving anything required to be observed, performed or
fulfilled or to be given to Lenders or Administrative Agent pursuant to this Agreement, the Deed of Trust,
the Note or the other Loan Documents, including, without limitation, any officer’s certificate, balance
sheet, statement of profit and loss or other financial statement, survey, appraisal, or insurance policy,
Lenders and Administrative Agent shall not be deemed to have warranted, consented to, or affirmed the
sufficiency, the legality or effectiveness of same, and such acceptance or approval thereof shall not
constitute any warranty or affirmation with respect thereto by Lenders or Administrative Agent.

                (f)     Borrower and Guarantor recognize and acknowledge that in accepting this
Agreement, the Note, the Deed of Trust and the other Loan Documents, Lenders are expressly and
primarily relying on the truth and accuracy of the representations and warranties set forth in Article IV of

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this Agreement without any obligation to investigate the Project and notwithstanding any investigation of
the Project by Administrative Agent; that such reliance existed on the part of Lenders prior to the date
hereof, that the warranties and representations are a material inducement to Lenders in entering into this
Agreement and making the financial accommodations provided for hereunder; and that Lenders would
not be willing to enter into this Agreement and make the financial accommodations provided for
hereunder and accept this Agreement, the Note, the Deed of Trust and the other Loan Documents in the
absence of the warranties and representations as set forth in Article IV of this Agreement.

         Section 19.8. Publicity. All news releases, publicity or advertising by Borrower, Guarantor or
Borrower’s Affiliates through any media intended to reach the general public which refers to the Loan,
Lenders, or any of Lenders’ Affiliates shall be subject to the prior written approval of Administrative
Agent, not to be unreasonably withheld. Administrative Agent and Lenders shall be permitted to make
any news, releases, publicity or advertising by Lenders or Lenders’ Affiliates through any media intended
to reach the general public which refers to the Loan, the Project, Borrower, Guarantor and Borrower’s
Affiliates without the approval of Borrower or any such Persons in a “tombstone”, advertisement or other
written description or loan summary in an industry periodical, journal or newspaper or at industry events
or conferences, provided that such references are limited to the following matters: (i) the principal amount
of the Loan, (ii) the term of the Loan, (iii) the location of the Project, (iv) whether the interest rate of the
Loan is fixed or variable and (v) the identity of Borrower. All other news-releases, publicity or
advertising by Lenders shall be subject to Borrower’s prior written approval, which approval shall not be
unreasonably withheld or delayed. Borrower also agrees that Lenders and Administrative Agent may
share any information pertaining to the Loan with third-parties in connection with the sale or transfer of
the Loan or any Participations thereof.

         Section 19.9. Conflict; Construction of Documents; Reliance. In the event of any conflict between
the provisions of this Agreement and any of the other Loan Documents, the provisions of this Agreement
shall control. The parties hereto acknowledge that they were represented by competent counsel in
connection with the negotiation, drafting and execution of the Loan Documents and that such Loan
Documents shall not be subject to the principle of construing their meaning against the party which
drafted same. Borrower acknowledges that, with respect to the Loan, Borrower shall rely solely on its
own judgment and advisors in entering into the Loan without relying in any manner on any statements,
representations or recommendations of Administrative Agent or Lenders or any parent, subsidiary or
Affiliate of Administrative Agent or Lenders. Lenders shall not be subject to any limitation whatsoever in
the exercise of any rights or remedies available to it under any of the Loan Documents or any other
agreements or instruments which govern the Loan by virtue of the ownership by it or any parent,
subsidiary or Affiliate of Lenders of any equity interest any of them may acquire in Borrower, and
Borrower hereby irrevocably waives the right to raise any defense or take any action on the basis of the
foregoing with respect to Lenders’ or Administrative Agent’s exercise of any such rights or remedies.
Borrower acknowledges that Lenders engage in the business of real estate financings and other real estate
transactions and investments which may be viewed as adverse to or competitive with the business of
Borrower or its Affiliates.

         Section 19.10. Actions, Approvals and Determinations. Wherever in this Agreement it is provided
that (a) as a condition precedent to Borrower’s undertaking certain action, Borrower shall be required to
obtain Administrative Agent’s consent or approval or (b) Administrative Agent shall have the right to
make a determination (including, without limitation, a determination as to whether a matter is satisfactory
to Administrative Agent), or if Borrower shall request that Administrative Agent or Lenders take any
action, then, unless expressly provided to the contrary in the applicable provision of this Agreement, the
decision whether to grant such consent or approval or to take the requested action, or the determination in
question, shall be in the sole and exclusive discretion of Administrative Agent and Lenders and shall be


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final and conclusive. Wherever in this Agreement it is stated that any consent or approval shall not be
unreasonably withheld or that a determination to be made by Administrative Agent or Lenders shall be
subject to a specified standard, then, if a court of competent jurisdiction determines, without right to
further appeal, that the consent or approval shall be deemed granted or the standard shall be deemed met,
as the case may be, then Administrative Agent or Lenders, at the request of Borrower, shall deliver to
Borrower written confirmation thereof. The obtaining of such consent or approval or determination that
such standard has been met shall be Borrower’s sole and exclusive remedy with respect to the subject
matter of this section, and under no circumstance shall Administrative Agent or Lenders, or
Administrative Agent’s or Lenders’ counsel or anyone else acting or purporting to act on Administrative
Agent’s or Lenders’ behalf have any liability (whether in damages or otherwise) with respect thereto. In
any instance in which Borrower requests, or any Loan Document provides, that Administrative Agent or
Lenders shall consider granting Administrative Agent’s or Lenders’ consent or approval or making a
determination or taking some other action, Borrower shall, upon demand, pay all actual out-of-pocket
costs, expenses and reasonable attorneys’ fees and disbursements incurred by Administrative Agent and
Lenders in connection therewith.

        Section 19.11. Entire Agreement. This Agreement and the other Loan Documents contain the
entire agreement of the parties hereto and thereto in respect of the transactions contemplated hereby and
thereby, and all prior agreements among or between such parties, whether oral or written between
Borrower, Administrative Agent and Lenders are superseded by the terms of this Agreement and the other
Loan Documents.

        Section 19.12. Certain Additional Rights of Lenders. Notwithstanding anything which may be
contained in this Agreement to the contrary, Lenders shall have:

               (a)     the right to designate any party to receive payment of all fees, costs and expenses
otherwise payable to Lenders under this Agreement or the other Loan Documents;

                (b)     the right to routinely consult with and advise Borrower’s, management regarding
the significant business activities and business and financial developments of Borrower. Consultation
meetings should occur on a regular basis with Administrative Agent or Lenders having the right to call
special meetings at any reasonable times;

               (c)      the right, without restricting any other right of Administrative Agent or Lenders
under this Agreement (including any similar right), to restrict, upon the occurrence and continuance of an
Event of Default, Borrower’s payments of management consulting director or similar fees to affiliates of
Borrower (or their personnel); and

                 (d)    the right, without restricting any other rights of Administrative Agent or Lenders
under this Agreement (including any similar right), to restrict the transfer to voting interests in Borrower
held by its shareholders, members or partners (as the case may be), and the right to restrict the transfer of
interests in such shareholder, member or partner (as the case may be), except for any transfer that is
expressly permitted hereunder.

         Section 19.13. Counterparts. This Agreement may be executed in any number of counterparts,
and each such counterpart shall for all purposes be deemed to be an original, and all such counterparts
together constitute but one and the same agreement. In addition, the parties may execute separate
signature pages, and such signature pages (and/or signature pages which have been detached from one or
more duplicate original copies of this Agreement) may be combined and attached to one or more copies
of this Agreement so that such copies shall contain the signatures of all of the parties hereto.

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                                      EXHIBIT A

                     BORROWER’S ORGANIZATIONAL STRUCTURE

                                     [see attached]




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                            TheGalleria– Houston,Texas
                                   (MasterChart)

                                                NaissanceCapitalReal
                                                                                            GalleriaWestLoop
NaissanceGalleria,LLC                              Estate,LLC
                                                                                            InvestmentsII,LLC
  [CaymanIslands]                                      [DE]
                                                                                                    [TX]
                                                Ͳ managingmemberͲ
                                                              2%                             98%

                                                                          $14,641,000

                              PortfolioInterest
                                 Exemption                           Galleria2425JV,LLC
   MezzanineDebt                                                            [DE]
                                $16,100,000                           Ͳ membermanagedͲ

                                                                                     100%




     SeniorDebt                                                   Galleria2425Owner,LLC
        (NBK)                   $51,675,000                                   [DE]




                                                                           Property




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                                             EXHIBIT B

                     FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT
      THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”), dated as of
the    day of      , 20 , made by and between [NAME OF ASSIGNING BANK] (“Assignor”)
and [NAME OF ASSIGNEE] (“Assignee”).

                                         Preliminary Statement

        1.     This Agreement relates to that certain Loan Agreement (as the same may be amended
from time to time, the “Loan Agreement”) dated as of May 23, 2018 made by and among (1) Galleria
2425 Owner, LLC, a Delaware limited liability company (“Borrower”), (2) the lender(s) party thereto
(each, a “Lender” and collectively, “Lenders”), and (3) National Bank of Kuwait, S.A.K.P., New York
Branch (“Administrative Agent”). All capitalized terms not otherwise defined herein shall have the
respective meanings set forth in the Loan Agreement.

        2.      Subject to the terms and conditions set forth in the Loan Agreement, Assignor has a pro-
rata share of the Loan equal to               percent (          %) in an aggregate principal amount of
$            (“Assignor’s Loan Commitment”).

      3.    The aggregate outstanding principal amount under Assignor’s Loan Commitment at the
commencement of business on the date hereof is $      ,
       4.      Assignor desires to assign to Assignee all of the rights of Assignor under the Loan
Agreement and the other Loan Documents (as defined in the Loan Agreement) in respect of a portion of
Assignor’s Loan Commitment, such portion being in an amount equal to $           , which relates to a
Pro-Rata Share of the Loan of            percent (      %) (the “Assigned Loan Commitment”); and
Assignee desires to accept assignment of such rights and assume the corresponding obligations from
Assignor on such terms.
        NOW, THEREFORE, in consideration of the foregoing and the mutual agreements contained
herein, the parties hereto agree as follows:

        SECTION 1. Assignment. Assignor hereby assigns and sells to Assignee all of the rights of
Assignor under the Loan Agreement and the other Loan Documents in and to the Assigned Loan
Commitment, and Assignee hereby accepts such assignment from Assignor and assumes all of the
obligations of Assignor under the Loan Agreement and the other Loan Documents with respect to the
Assigned Loan Commitment. Upon the execution and delivery hereof by Assignor, Assignee,
Administrative Agent and the payment of the amount specified in Section 2 hereof required to be paid
on the date hereof, (1) Assignee shall, as of the commencement of business on the date hereof,
succeed to the rights and obligations of a Lender under the Loan Agreement and the other Loan
Documents with a Pro-Rata Share of the Loan equal to the percentage applicable to the Assigned
Loan Commitment and (2) the Pro-Rata Share of Assignor shall, as of the commencement of business
on the date hereof, be reduced correspondingly and Assignor released from its obligations under the
Loan Agreement and the other Loan Documents to the extent such obligations have been assumed by
Assignee. Assignor represents and warrants that it (x) owns the Assigned Loan Commitment free and
clear of all liens and other encumbrances and (y) is legally authorized to enter into and perform this
Agreement. Except as provided in the immediately preceding sentence, the assignment provided for
herein shall be without representation or warranty by, or recourse to, Assignor.




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        SECTION 2. Payments. As consideration for the assignment and sale contemplated in
Section 1 hereof, Assignee shall pay to Assignor on the date hereof, in immediately available funds,
an amount equal to $                           . Each of Assignor and Assignee hereby agrees that if it
receives any amount under the Loan Agreement or any of the other Loan Documents which is for the
account of the other party hereto, it shall receive the same for the account of such other party to the
extent of such other party’s interest therein and shall promptly pay the same to such other party.

       SECTION 3. Consents; Notices. If required pursuant to Article XII or Article XIII of the
Loan Agreement, this Agreement is conditioned upon the consent of Administrative Agent. The
execution of this Agreement by Administrative Agent is evidence of this consent. Assignee has
designated its address for notices below.

         SECTION 4. Non-Reliance on Assignor. Assignor makes no representation or warranty in
connection with, and shall have no responsibility with respect to, the solvency, financial condition, or
statements of Borrower or any other party to any Loan Document, or the validity and enforceability of
the obligations of Borrower or any other party to a Loan Document in respect of the Loan Agreement
or any other Loan Document. Assignee acknowledges that it has, independently and without reliance
on Assignor, and based on such documents and information as it has deemed appropriate, made its
own analysis of the collateral for the Loan, credit analysis of Borrower and decision to enter into this
Agreement and will continue to be responsible for making its own independent appraisal of the
collateral for the Loan and of the business, affairs and financial condition of Borrower and the other
parties to the Loan Documents.

        SECTION 5. Governing Law. This Agreement shall be governed by, and construed and
enforced in accordance with the Laws of the State of New York without reference to principles of
conflicts of law.

       SECTION 6. Counterparts. This Agreement may be signed in any number of counterparts,
each of which shall be an original, with the same effect as if the signatures thereto and hereto were
upon the same instrument.

        SECTION 7. Certain Representations and Agreements by Assignee. Assignee represents that
it is legally authorized to enter into and perform this Agreement. In addition, Assignee hereby
represents that it is entitled to receive any payments to be made to it under the Loan Agreement or
hereunder without the withholding of any tax and agrees to furnish the evidence of such exemption as
specified therein and otherwise to comply with the provisions of the Loan Agreement and the other
Loan Documents.

       SECTION 8. Reliance By Borrower. This Agreement shall be binding upon, enforceable by
and inure to the benefit of Borrower, its successors and assigns.

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        IN WITNESS WHEREOF, the parties have caused this Agreement to be executed and
delivered by their duly authorized officers as of the date first above written.
                                 ASSIGNOR:



                                 By:
                                       Name:
                                       Title:



                                 ASSIGNEE:



                                 By:
                                       Name:
                                       Title:

                                 Assignee’s Address for Notices:



                                 [Assignee]
                                 [Address]
                                 Attention:
                                 Telephone: (___)


                                 ADMINISTRATIVE AGENT:

                                 NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK
                                 BRANCH, a banking corporation organized under the laws
                                 of Kuwait, acting through its New York branch



                                 By:
                                       Name:
                                       Title:




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                                       SCHEDULE 13.12

                              Amount of Loan Attributable to Lender

                     Lender                                Amount of Loan Attributable to Lender
                      NBK                                            $51,675,000.00




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                                              PROMISSORY NOTE

$51,675,000.00                                                                          Date: May 23, 2018

          THIS PROMISSORY NOTE (this “Note”) made as of May 23, 2018, by GALLERIA 2425
OWNER, LLC, a Delaware limited liability company, having an address at 3139 W Holcombe Blvd #845,
Houston, Texas 77025 (“Borrower”), to NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK
BRANCH, a banking corporation organized under the laws of Kuwait, acting through its New York
branch, having an office at 299 Park Avenue, New York, New York 10171, as administrative and
collateral agent (in such capacity, together with its successors and assigns, “Administrative Agent”) for
the Lenders (as defined in the Loan Agreement referred to below). Capitalized terms used but not defined
in this Note shall have the meanings assigned to them in the Loan Agreement.

    1. Covenant to Pay

          FOR VALUE RECEIVED, without grace, except as expressly provided for herein and in the
Loan Agreement, Borrower does hereby covenant and promise to pay to the order of Administrative
Agent, on behalf of Lenders, at Administrative Agent’s office at 299 Park Avenue, New York, New York
10171 or at such other place as Administrative Agent may designate to Borrower in writing from time to
time, in legal tender of the United States, the principal amount of FIFTY ONE MILLION SIX
HUNDRED AND SEVENTY-FIVE THOUSAND AND 00/100 DOLLARS ($51,675,000.00) (the
“Principal Balance”), together with interest on the unpaid portion of said Principal Balance at the
applicable Interest Rate (as hereinafter defined) calculated in accordance with the terms hereof, from the
date the Principal Balance is advanced to Borrower until the Principal Balance and all interest accrued
thereon shall be fully paid. The period from the date hereof through and including the Maturity Date is
hereinafter referred to as the “Term.” “Maturity Date” means May 23, 2023.

    2. Interest Rate

                 (a)     During the Term, the rate at which interest shall be calculated under this Note (the
“Interest Rate”) shall be:

                       i. Commencing on May 24, 2018 and including May 28, 2018, the Interest Rate
shall be a rate equal to the sum of (i) 2.75% (the “Interest Rate Markup”) plus (ii) the Weekly LIBOR
Rate (as hereinafter defined) as of two (2) London Business Days (as hereinafter defined) prior to the date
hereof;




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                      ii. Commencing on May 29, 2018 through and including May 31, 2021, the Interest
Rate shall be a fixed rate equal to five and sixty-four hundredths percent (5.64%) per annum (the “Fixed
Rate”);

                      iii. Commencing on June 1, 2021 and continuing on the first (1st) day of each
LIBOR Period (as hereinafter defined) thereafter, as applicable (each, a “Rate Adjustment Date”), the
Interest Rate shall be recalculated to an adjustable rate equal to the sum of (i) the Interest Rate Markup
plus (ii) the LIBOR Rate (as hereinafter defined) for the applicable LIBOR Period (as hereinafter defined)
as of two (2) London Business Days (as hereinafter defined) prior to each applicable Rate Adjustment
Date.

                (b)      Borrower hereby acknowledges and agrees that Borrower shall not have more
than three (3) LIBOR contracts outstanding at any one time during the Term.

                (c)      During the Term, the LIBOR Period shall be a period of 30 days, except as
adjusted pursuant to the definition of “LIBOR Period.”

                (d)      The certificate of Administrative Agent as to any Interest Rate and the interest
amounts payable by Borrower pursuant thereto shall, absent manifest error, be final, conclusive and
binding on Borrower.

                (e)      As used herein, the following terms shall have the indicated meanings:

                Alternate Rate - a per annum rate equal to (i) the Interest Rate Markup plus (ii) the Prime
Rate (as hereinafter defined) less (iii) one percent (1%).

                Business Day - a day other than (i) a Saturday, Sunday or (ii) other day on which
commercial banks in New York, New York are authorized or required by law to close.

                LIBOR Period - the period commencing on June 1, 2021 or any Rate Adjustment Date (as
the case may be) and ending on, as applicable, the day immediately prior to the next succeeding payment
date or the day immediately prior to the payment date of the calendar month that is one (1) month
thereafter; provided, however, that if a payment date would occur on a day that is not a Business Day, the
LIBOR Period to which such payment date relates shall be extended to the day immediately prior to the
next succeeding Business Day. To the extent that the preceding clause results in the extension of a LIBOR
Period, Administrative Agent shall have the right (but not the obligation) to shorten or extend,
respectively, the succeeding LIBOR Period so that it shall end on a day that numerically corresponds to
the intended payment date indicated in this Note and minimize breakage and/or avoid early termination of


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any LIBOR contract; provided, however, that no LIBOR Period shall extend beyond the earlier to occur
of (i) the Maturity Date or (ii) the date the Loan is otherwise due and payable pursuant to the terms and
provisions hereof. For the avoidance of doubt, the intended payment date is the first calendar day of each
calendar month.

                LIBOR Rate - the rate per annum (rounded upward, if necessary, to the nearest 1/1000 of
1%) at which United States Dollar deposits are offered in the London interbank market as displayed on
the Bloomberg L.P., page “BBAM” or any page that replaces BBAM, two (2) London Business Days
prior to the first day of the applicable LIBOR Period, for deposits in immediately available funds, in
lawful money of the United States, of amounts substantially comparable to the outstanding Principal
Balance for the LIBOR Period, divided by a percentage equal to 100% minus the stated maximum rate of
all reserves required to be maintained against “Eurocurrency Liabilities” as specified in Regulation D (or
against any other category of liabilities which includes deposits by reference to which the interest rate on
LIBOR-based loans is determined) on such date to any member bank of the Federal Reserve System.
Notwithstanding any provision above, the practice of rounding to determine the LIBOR Rate may be
discontinued at any time in Administrative Agent’s sole discretion. Notwithstanding the foregoing, in no
event shall the LIBOR Rate be less than 0%.

                London Business Day - any day on which dealings in United States dollar deposits are
carried on by banking institutions in the London interbank market.

                Prime Rate - a fluctuating interest rate per annum which shall at all times be equal to the
rate of interest announced publicly by NBK in New York from time to time, as NBK’s prime rate. In the
event NBK does not announce its prime rate, the Prime Rate shall be the prime rate as set forth in The
Wall Street Journal from time to time.

                Regulation D - Regulation D of the Board of Governors of the Federal Reserve System as
in effect from time to time, including, without limitation, any successor or other regulation or official
interpretation of said Board of Governors relating to reserve requirements applicable to member banks of
the Federal Reserve System.

                Weekly LIBOR Rate - the rate per annum (rounded upward, if necessary, to the nearest
1/1000 of 1%) at which United States Dollar deposits are offered in the London interbank market as
displayed on the Bloomberg L.P., page “BBAM” or any page that replaces BBAM, two (2) London
Business Days prior to the date hereof, for deposits in immediately available funds, in lawful money of
the United States, of amounts substantially comparable to the outstanding Principal Balance for a one
week period, divided by a percentage equal to 100% minus the stated maximum rate of all reserves

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required to be maintained against “Eurocurrency Liabilities” as specified in Regulation D (or against any
other category of liabilities which includes deposits by reference to which the interest rate on LIBOR-
based loans is determined) on such date to any member bank of the Federal Reserve System.
Notwithstanding any provision above, the practice of rounding to determine the LIBOR Rate may be
discontinued at any time in Administrative Agent’s sole discretion. Notwithstanding the foregoing, in no
event shall the LIBOR Rate be less than 0%.

    3. Increased Costs

                (a)      If, after the date of this Note, any change in applicable law or regulation or in the
interpretation or administration thereof by any Governmental Authority charged with the interpretation or
administration thereof (whether or not having the force of law), and which change is applicable generally
to other financial institutions (each, a “Change in Law”), shall (i) change the basis of taxation of
payments to any Lender of the Principal Balance or interest due and owing under this Note or any fees or
other amounts payable hereunder (other than changes in respect of taxes imposed on the overall net
income of such Lender), (ii) subject any Lender to any tax of any kind whatsoever with respect to this
Note or the Loan, or (iii) impose, modify or deem applicable any reserve, special deposit or similar
requirement against assets of, deposits with or for the account of or credit extended by any Lender or shall
impose on any Lender any other condition affecting this Note, and the result of any of the foregoing shall
or would be to increase the cost to any Lender of making or maintaining the Loan or to reduce the amount
of any sum received or receivable by any Lender hereunder (whether of principal, interest or otherwise),
Administrative Agent may, at any time, notify Borrower of the additional amount required to compensate
such Lender for such increased cost or reduced amount and Borrower shall pay to Administrative Agent
on behalf of such Lender such additional amount or amounts as shall compensate such Lender for such
additional costs incurred or reduction suffered.

                (b)      If any Lender determines that any Change in Law affecting such Lender or any
lending office of such Lender or such Lender’s holding company, if any, regarding capital requirements
has or would have the effect of reducing the rate of return on such capital or on the capital of such
Lender’s holding company, if any, as a consequence of such Lender’s participation in the Loan to a level
below that which such Lender or such Lender’s holding company could have achieved but for such
Change in Law (taking into consideration such Lender’s policies and the policies of such Lender’s
holding company with respect to capital adequacy), then from time to time Borrower will pay to such
Lender such additional amount or amounts as will compensate such Lender or such Lender’s holding
company for any such reduction suffered.



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                 (c)     A certificate of a Lender setting forth the amount or amounts necessary to
compensate such Lender or its holding company, as the case may be, as specified in paragraph (a) or (b)
of this Section and delivered to Borrower shall be conclusive absent manifest error. Borrower shall pay
such Lender the amount shown as due on any such certificate within ten (10) days after receipt thereof.

                 (d)     Failure or delay on the part of any Lender to demand compensation pursuant to
this Section shall not constitute a waiver of such Lender’s right to demand such compensation, provided
that Borrower shall not be required to compensate a Lender pursuant to this Section for any increased
costs incurred or reductions suffered more than six (6) months prior to the date that such Lender notifies
Borrower of the Change in Law giving rise to such increased costs or reductions and of such Lender’s
intention to claim compensation therefor (except that, if the Change in Law giving rise to such increased
costs or reductions is retroactive, then the six-month period referred to above shall be extended to include
the period of retroactive effect thereof).

                 (e)     Any Lender affected by increased costs as set forth above shall use reasonable
efforts (subject to overall policy considerations of such Lender) to designate another lending office for
any portion of the Loan affected by such event, provided that such designation is made on such terms that
such Lender and its lending office suffer no economic, legal or regulatory disadvantage, with the object of
avoiding such increased costs. If the affected Lender is not able to avoid such increased costs by
designating another lending office, then Borrower shall have the right to replace the affected Lender with
a new Lender in accordance with the terms and provisions of the Loan Documents.

                (f)      The Increased Cost provisions of this Note shall be without duplication of the
provisions of Section 5.4 or Section 16.3 of the Loan Agreement.

4.      Illegality

        If Administrative Agent shall notify Borrower that the introduction of, or any change in, or in the
interpretation of, any law or regulation makes it unlawful, or any central bank or other Governmental
Authority asserts that it is unlawful, for any Lender to perform such Lender’s obligations hereunder, then
Borrower shall either (i) prepay in full the entire unpaid Debt within ninety days (such date to be adjusted
to minimize or avoid breakage) after notice from Administrative Agent, without Prepayment Premium or
yield maintenance of any kind or (ii) replace the affected Lender with a new Lender in accordance with
the terms and provisions of the Loan Documents. In addition, if Administrative Agent notifies Borrower
that by reason of circumstances affecting the London interbank market for United States dollar deposits
there does not exist adequate and reasonable means for ascertaining the LIBOR Rate for any LIBOR
Period, then, commencing on the last day of the then existing LIBOR Period therefor, the Interest Rate

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shall automatically be and remain at the per annum rate at all times equal to the Alternate Rate, which
Interest Rate shall be adjusted concurrently with each adjustment in the Alternate Rate until
Administrative Agent shall notify Borrower that the circumstances causing the suspension of the use of
the LIBOR Rate no longer exist.

5.      Calculation of Interest

        Interest shall be computed on the basis of actual days over a three hundred sixty (360) day
calendar year (except that interest computed by reference to the Alternate Rate shall be computed on the
basis of a three hundred sixty five (365) day calendar year, or a three hundred sixty six (366) day calendar
year in a leap year) and shall continue to accrue and be payable on the outstanding Principal Balance to
but excluding the date of repayment thereof in full.

6.      Payment of Indebtedness

        Borrower shall make payments of interest under this Note as follows and said payments shall be
applied upon receipt thereof:

        (a)     Interest shall be paid monthly, in arrears, on the first Business Day (i) of each calendar
month, if the applicable Interest Rate for such payment is the Fixed Rate in accordance with Section 2(a)(i)
above; or (ii) following the applicable one (1)-month LIBOR Period (which payment date, for the
avoidance of doubt, is intended to be the first calendar day of each calendar month, subject to adjustment
in accordance with the definition of LIBOR Period), for the period of such LIBOR Period, if the
applicable Interest Rate for such payment is being calculated with reference to the LIBOR Rate in
accordance with Section 2(a)(ii) above; notwithstanding the foregoing, interest for the period
commencing on the date hereof and ending on May 31, 2018 shall be paid in advance on the date hereof;
and

        (b)     On the Maturity Date the entire unpaid Principal Balance, together with all interest
accrued thereon and all other Debt, shall be due and payable and repaid in full.

7.      Security

        This Note is governed and/or secured by, inter alia, the following documents, each dated as of the
date hereof: (i) that certain Loan Agreement made by and among Borrower, Administrative Agent and
Lenders (as the same may be amended, restated, replaced, supplemented or otherwise modified from time
to time, the “Loan Agreement”), (ii) that certain Deed of Trust, Assignment of Leases and Rents and
Profits, Security Agreement and Fixture Filing made by Borrower to Salima Umatiya, as trustee, for the


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benefit of Administrative Agent (as the same may be amended, restated, replaced, supplemented or
otherwise modified from time to time, the “Deed of Trust”), encumbering the premises known as and
located at 2425 West Loop South, City of Houston, State of Texas (the “Property”), (iii) that certain
Absolute Assignment of Leases and Rents made by Borrower for the benefit of Administrative Agent
encumbering the Property (as the same may be amended, restated, replaced, supplemented or otherwise
modified from time to time, the “Assignment of Leases”), and (iv) those certain other documents defined
as “Loan Documents” in the Loan Agreement, which documents specify various defaults upon the
happening of which all sums due and owing under this Note may be declared immediately due and
payable.

8.      Prepayment

        (a)     Provided no Event of Default exists, Borrower shall have the right to prepay the Principal
Balance, in whole, or in part (but if in part, then in minimum increments of $100,000 (or $1,000,000 if an
Interest Rate Protection Product in the form of an interest rate swap is then in effect)), upon not less than
thirty (30) days’ prior written notice (the “Prepayment Notice”) to Administrative Agent specifying the
date on which prepayment is to be made (the “Prepayment Date”) and the amount of any such
prepayment (the “Prepayment Amount”). On the Prepayment Date, Borrower shall pay (i) the Prepayment
Amount, (ii) interest accrued and unpaid on the Prepayment Amount to and including the last day of the
month in which the Prepayment Date occurs, (iii) in the event the Prepayment Amount equals the entire
outstanding Principal Balance, all other unpaid Debt, (iv) the cost of unwinding, modifying or terminating
any Interest Rate Protection Product then in effect (“Unwinding Costs”), and (v) the then applicable
Prepayment Premium (as hereinafter defined). As used herein, “Prepayment Premium” shall mean: (A) if
all or any portion of the Debt is prepaid within the first twelve (12) months following the date hereof, an
amount equal to 1.50% of the amount so prepaid, and (B) if all or any portion of the Debt is prepaid
within the period from and after the date which is twelve (12) months following the date hereof but before
the date which is twenty-four (24) months following the date hereof, an amount equal to 1.00% of the
amount so prepaid. If all or any portion of the Debt is prepaid after the date which is twenty-four (24)
months following the date hereof, no Prepayment Premium shall be due.

        (b)     If any Prepayment Notice is given, the entire Prepayment Amount specified therein
(together with the applicable Prepayment Premium, Unwinding Costs and all other sums referred to above)
shall be due and payable on the Prepayment Date set forth therein.

        (c)     Any partial prepayment made hereunder shall be applied against the Principal Balance in
inverse order of maturity (i.e., so as to reduce the final payments of principal due and owing hereunder


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and not result in any reduction in or deferment of the monthly payments of principal due and owing
hereunder).

         (d)    Payment of the entire outstanding Principal Balance following an acceleration of the same
shall be deemed to be a voluntary prepayment to which the Prepayment Premium and Unwinding Costs
shall be applicable.

         (e)    Notwithstanding any other provision of this Section, no Prepayment Premium shall be
payable with respect to any prepayment occurring as a result of the application of any Insurance Proceeds
or Awards under the Loan Agreement.

9.       Waivers

         Borrower hereby knowingly, voluntarily, intentionally, unconditionally and irrevocably (i) waives
presentment and demand for payment, notice of dishonor, protest and notice of protest of this Note, (ii)
agrees to pay all costs of collection when incurred by Administrative Agent and Lenders, including, but
not limited to, reasonable attorneys’ fees and disbursements (which costs may be added to the amount due
under this Note and be receivable therewith) and (iii) agrees to perform and comply with each of the
terms, provisions, covenants and conditions contained in this Note, the Loan Agreement, the Deed of
Trust and any of the other Loan Documents on the part of Borrower to be observed or performed.

10.      No Release

         No (a) release by Administrative Agent of any portion of the Mortgaged Property (as defined in
the Deed of Trust) or any other collateral being held as security for the payment by Borrower of the Debt,
(b) granting by Administrative Agent of an extension of time for payment of this Note, or any installment
thereof, or (c) alteration, amendment or waiver of any term, provision, covenant or condition of this Note
or any Loan Document shall release, discharge, modify, change or affect the liability of Borrower under
this Note or any of the other Loan Documents. The right to plead any and all statutes of limitations as a
defense to any demand on this Note, or any guaranty hereof, or any agreement to pay the same, or any
demand secured by the Deed of Trust, or any and all obligations and liabilities arising out of or in
connection with this Note, the Loan Agreement or any of the other Loan Documents, is expressly waived
by Borrower, and any endorsers and/or guarantors of this Note, to the fullest extent permitted by law.

11.      Writings




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        This Note may not be waived, changed, modified or discharged orally, but only by an agreement
in writing, signed by the party against whom enforcement of any waiver, change, modification or
discharge is sought.

12.     Event of Default

        It is hereby expressly agreed that the entire Debt shall, then or at any time thereafter, without
notice (except as may be provided herein, in the Loan Agreement or in the Deed of Trust), become
immediately due and payable at the option of Administrative Agent on the happening of any Event of
Default and, in such event, the Deed of Trust may be foreclosed. All of the terms, provisions, covenants
and conditions contained in the Loan Agreement, the Deed of Trust, the Assignment of Leases and the
other Loan Documents which are to be kept and performed by Borrower are hereby made part of this
Note to the same extent and with the same force and effect as if they were fully set forth in this Note.
Failure to exercise such option or any other rights Administrative Agent may, in the event of any such
Event of Default, be entitled to, shall not constitute a waiver of the right to exercise such option or any
other rights in the event of any subsequent Event of Default, whether of the same or different nature.

13.     Late Charge

        If any sum payable under this Note (but excluding, however, the final installment of the Principal
Balance) is not paid within five (5) days of its due date, Borrower shall pay upon demand a late payment
charge (“Late Charge”) of two cents ($.02) for each dollar ($1) of such unpaid sum to defray the expenses
incurred by Administrative Agent or Lenders in handling and processing such delinquent payment, and
such amount shall be secured by the Deed of Trust and the Loan Documents. Nothing contained herein
shall be deemed to constitute a waiver or modification of the due date on which such sums are due and
payable.

14.     Involuntary Rate

        In addition to any Late Charge which may be due under this Note, if the Debt is declared
immediately due and payable by Administrative Agent pursuant to the provisions of this Note or any of
the Loan Documents, or if any installment of principal or interest is not paid when due, or if the Debt is
not paid in full on the Maturity Date, or if any other Event of Default shall have occurred, Borrower shall
thereafter pay interest on the Principal Balance from the date of any of such events, as the case may be,
until the date the installment of interest or principal is paid, the Debt is paid in full, or until such Event of
Default is cured, at a rate (the “Involuntary Rate”) equal to the lesser of (i) the Prime Rate plus two
percent (2%) per annum or (ii) the Maximum Rate (as hereinafter defined), provided that there shall be no


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automatic reduction to the Maximum Rate if Borrower is barred by law from availing itself in any action
or proceeding of the defense of usury or if Borrower is barred or exempted from the operation of any law
limiting the amount of interest that may be paid for the Loan or use of money or in the event this
transaction, because of its amount or purpose or for any other reason, is exempt from the operation of any
statute limiting the amount of interest that may be paid for the Loan or use of money.

15.     Maximum Rate

        In the event the interest provisions or any exactions provided for herein or in the Loan Agreement,
the Deed of Trust or in any of the other Loan Documents shall result, because of the monthly reduction of
principal or for any other reason, at any time during the Term in an effective rate of interest which, for
any month, transcends the limit of the usury or any other law applicable to the Loan (the “Maximum
Rate”), all sums in excess of those lawfully collectible as interest for the period in question shall, without
further agreement or notice between or by any party hereto, be applied in reduction of the Principal
Balance immediately upon receipt of such moneys by Administrative Agent with the same force and
effect as though Borrower had specifically designated such extra sums to be so applied to reduction of the
Principal Balance and Administrative Agent had agreed to accept such extra payment(s) as a premium-
free prepayment, provided that no Prepayment Premium shall be payable in connection with any such
reduction of the Principal Balance. In no event shall any agreed to or actual exaction as consideration for
the Loan transcend the limits imposed or provided by the law applicable to this transaction or Borrower in
the jurisdiction in which the land is located for the use or detention of money or for forbearance in
seeking its collection.

16.     Application of Payments

        If at any time Administrative Agent receives from Borrower a payment or prepayment in an
amount that is less than all amounts then due, Administrative Agent may apply that payment or
prepayment to amounts then due in any manner and in any order determined by Administrative Agent, in
Administrative Agent’s sole and absolute discretion. Borrower agrees that neither Administrative Agent’s
acceptance of a payment or prepayment from Borrower in an amount that is less than all amounts then
due, nor Administrative Agent’s application of such payment or prepayment in the manner authorized in
the immediately preceding sentence, shall be deemed to constitute either a waiver of the unpaid amounts
or an accord and satisfaction.

17.     Notices




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        All notices, demands, requests, consents and other communications which are required or
permitted to be given under this Note shall be sufficiently given when given as set forth in the Loan
Agreement.

18.     Applicable Law

        This Note shall be construed in accordance with and be governed by the laws of the State of New
York without reference to principles of conflicts of law. Borrower hereby agrees to submit to personal
jurisdiction in all state and federal courts located in the State and County of New York in any action or
proceeding relating to this Note, the Loan Agreement, the Deed of Trust or any of the other Loan
Documents. In furtherance of such agreement, Borrower hereby knowingly, voluntarily, intentionally,
unconditionally and irrevocably appoints Capitol Services, Inc., having an address at 1218 Central
Avenue, Suite 100, Albany, NY 12205, as general agent (“Agent”) for Borrower for receipt of service of
process in any such action or proceeding (and Administrative Agent may make service upon Borrower
and/or such Agent). Service of any summons and complaint or other process in any such action or
proceeding and any notice of sale or other notices may be made upon Borrower and/or Agent by
registered or certified mail, return receipt requested, Borrower and Agent hereby waiving personal service
thereof, or as may otherwise be permitted by law.

19.     Waiver of Trial By Jury

        Borrower hereby knowingly, voluntarily, intentionally, unconditionally and irrevocably waives all
right to trial by jury in any action, proceeding or counterclaim arising out of or relating to this Note, the
Loan Agreement, the Deed of Trust or any of the other Loan Documents.

20.     Right to Transfer Note

        Administrative Agent and Lenders may transfer this Note and their rights hereunder in
accordance with Article XII of the Loan Agreement.

21.     Purchase of Note.

        In lieu of prepaying the Note in whole, Borrower shall have the right to purchase this Note, and
the liens securing same (“Lender’s Liens”) upon not less than thirty (30) days’ prior written notice to
Lender, specifying the date on which such purchase is to occur (the “Note Purchase Date”). The purchase
price for the Note shall be an amount equal to the Prepayment Amount that Borrower would be required
to pay pursuant to Section [__] if prepaying the Note in whole on the Note Purchase Date. For the
avoidance of doubt, the purchase price shall include then-current Principal Balance, accrued but unpaid


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interest, any applicable Prepayment Premium, Unwinding Costs, Late Charges or other charges owing on
the Note, plus any other Debt or amounts owed to Administrative Agent or Lenders pursuant to the terms
of the Loan Documents as of such Note Purchase Date, as reasonably determined by Administrative
Agent. Upon receipt of such amounts, Administrative Agent and Lender shall execute and deliver to
Borrower a recordable assignment of note and lien instrument (“Note Assignment”) with respect to the
Note and Lender’s Liens being acquired. The purchase of the Note by Borrower shall be on an as-is basis,
other than as expressly set forth in the Note Assignment, which representations and warranties shall be
limited to the principal balance of the Note, and that Lender is the owner and holder of the Note and
Lender’s Liens, subject to no liens or security interests in favor of any third party, and has the full legal
right and authority to sell the Note and Lender’s Liens. It is expressly acknowledged and agreed by
Borrower that the right granted in this Note is a right to purchase the Note and Loan in full and not in part,
and, if the Loan is evidenced by more than one promissory note, Borrower shall not acquire one note
without acquiring all notes evidencing the Loan, and Lender shall not sell or assign its interest in one note
without selling or assigning its interest in all notes evidencing the Loan. Prior to assigning, granting a
participation in or syndication all or any part of the Note, Lender agrees to provide Borrower thirty (30)
Business Days’ prior notice thereof.

22.     Joint and Several

        If Borrower consists of more than one person or party, the obligations and liabilities of each such
person or party hereunder shall be joint and several.

23.     Power

        Borrower (and the undersigned representatives of Borrower, if any) represents that Borrower has
full power, authority and legal right to execute and deliver this Note and that the payment of the Debt
constitutes a valid and binding obligation of Borrower.

24.     Form

        Whenever used in this Note, the singular number shall include the plural, the plural the singular,
and the words “Lender(s)”, “Borrower” and “Administrative Agent” shall include their respective
successors and assigns.

25.     Right of Set Off

        If an Event of Default shall have occurred and be continuing, each Lender and each of their
respective Affiliates is hereby authorized at any time and from time to time, to the fullest extent permitted


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by applicable law, to set off and apply any and all deposits (general or special, time or demand,
provisional or final, in whatever currency) at any time held and other obligations (in whatever currency)
at any time owing by such Lender or any such Affiliate to or for the credit or the account of Borrower
against any and all of the obligations of Borrower now or hereafter existing under this Note, the Loan
Agreement or any other Loan Document to such Lender, irrespective of whether or not such Lender shall
have made any demand under this Note, the Loan Agreement or any other Loan Document and although
such obligations of Borrower are owed to a branch or office of such Lender different from the branch or
office holding such deposit or obligated on such indebtedness. The rights of each Lender and its
respective Affiliates under this paragraph are in addition to other rights and remedies (including other
rights of setoff) that such Lender or its respective Affiliates may have. Each Lender agrees to notify
Borrower and Administrative Agent promptly after any such setoff and application, provided that the
failure to give such notice shall not affect the validity of such setoff and application.

26.     Construction

        This Note shall be construed without regard to any presumption or other rule requiring
construction against the party causing this Note to be drafted. To the extent any term herein conflicts with
any term of the Loan Agreement, the Loan Agreement shall control.

27.     Administrative Agent

        To the extent that any action is to be taken, any information is to be delivered to or by Lenders,
any determination is to be made, or any consent is to be given or withheld by Lenders, any such action,
delivery, determination or consent shall be taken, made or given or withheld, as the case may be, by
Administrative Agent or any successor agent thereto.

28.     Heirs, Successors and Assigns

        All of the terms, provisions, covenants and conditions of this Note shall apply to, bind and inure
to the benefit of, the heirs, executors, administrators, successors and assigns of Borrower, Lenders and
Administrative Agent, respectively.

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               I, Teneshia Hudspeth, County Clerk of Harris County, Texas certify that these pages
                  are a true and correct copy of the original record filed and recorded in my office,
                               electronically or hard copy, as it appears on this date.

                                        Witness my official hand and seal of office
                                                 This March 20, 2024




                                             Teneshia Hudspeth, County Clerk
                                                  Harris County, Texas




  Any provision herein which restrict the sale, rental or use of the described Real Property because of color or race is invalid and
unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                       Public Information Act.




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               I, Teneshia Hudspeth, County Clerk of Harris County, Texas certify that these pages
                  are a true and correct copy of the original record filed and recorded in my office,
                               electronically or hard copy, as it appears on this date.

                                        Witness my official hand and seal of office
                                                 This March 20, 2024




                                             Teneshia Hudspeth, County Clerk
                                                  Harris County, Texas




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unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                       Public Information Act.




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Page 3 of 3   Tuesday, April 30, 2024   County Clerk Harris County, Texas




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               I, Teneshia Hudspeth, County Clerk of Harris County, Texas certify that these pages
                  are a true and correct copy of the original record filed and recorded in my office,
                               electronically or hard copy, as it appears on this date.

                                        Witness my official hand and seal of office
                                                  This April 30, 2024




                                             Teneshia Hudspeth, County Clerk
                                                  Harris County, Texas




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unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                       Public Information Act.




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               I, Teneshia Hudspeth, County Clerk of Harris County, Texas certify that these pages
                  are a true and correct copy of the original record filed and recorded in my office,
                               electronically or hard copy, as it appears on this date.

                                        Witness my official hand and seal of office
                                                  This April 30, 2024




                                             Teneshia Hudspeth, County Clerk
                                                  Harris County, Texas




  Any provision herein which restrict the sale, rental or use of the described Real Property because of color or race is invalid and
unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                       Public Information Act.




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                    AMENDED AND RESTATED
             LIMITED LIABILITY COMPANY AGREEMENT
                                    OF

                     GALLERIA 2425 JV, LLC
                   (a Delaware limited liability company)




                              May 23, 2018




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        AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT

       This Amended and Restated Limited Liability Company Agreement of Galleria 2425 JV, LLC, a
Delaware limited liability company (the “Company”), is entered into as of May 23, 2018 (the “Effective
Date”) by and between Galleria West Loop Investments II LLC, a Texas limited liability company (the
“GWLI II Member”), and Naissance Capital Real Estate, LLC a Delaware limited liability company (the
“Naissance Member”).

                                       PRELIMINARY STATEMENTS

A.      The Company was formed under the laws of the State of Delaware by the filing of a Certificate of
        Formation (the “Certificate”) with the Secretary of State of the State of Delaware on April 4,
        2018.

B.      This Agreement amends and restates, in its entirety, that certain Limited Liability Company
        Agreement of the Company dated as of April 4, 2018.

C.      The Members desire to enter into this Agreement to reflect, among other things, the terms, and
        conditions governing the operation and management of the Company.

                                                AGREEMENT

        In consideration of the mutual covenants and agreements hereinafter set forth and for other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereto agree as follows:

                                               ARTICLE I
                                              DEFINITIONS

Section 1.1.    Definitions. Capitalized terms used herein and not otherwise defined will have the
meanings set forth in this Section 1.1:

        “Additional Capital Contribution” has the meaning set forth in Section 4.2(a).

         “Adjusted Capital Account Deficit” means, with respect to any Member, the deficit balance, if
any, in such Member’s Capital Account as of the end of the relevant Fiscal Year, after giving effect to the
following adjustments:

        (a)     crediting to such Capital Account any amount that such Member is obligated to restore or
                is deemed to be obligated to restore pursuant to Treasury Regulations Sections 1.704-
                1(b)(2)(ii)(c), 1.704-2(g)(1), and 1.704-2(i); and

        (b)     debiting to such Capital Account the items described in Treasury Regulations Section
                1.704-1(b)(2)(ii)(d)(4), (5), and (6).

         “Affiliate” means, with respect to any Person, any other Person who, directly or indirectly
(including through one or more intermediaries), controls, is controlled by, or is under common control
with, such Person. For purposes of this definition, “control,” when used with respect to any specified
Person, will mean the power, direct or indirect, to direct or cause the direction of the management and
policies of such Person, whether through ownership of voting securities or partnership or other ownership



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                          Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
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interests, by contract or otherwise; and the terms “controlling” and “controlled” will have correlative
meanings.

        “Agreement” means this Amended and Restated Limited Liability Company Agreement, as
executed and as it may be amended, modified, supplemented, or restated from time to time, as provided
herein.

         “Applicable Law” means all applicable provisions of: (a) constitutions, treaties, statutes, laws
(including the common law), rules, regulations, decrees, ordinances, codes, proclamations, declarations,
or orders of any Governmental Authority; (b) any consents or approvals of any Governmental Authority;
and (c) any orders, decisions, advisory or interpretative opinions, injunctions, judgments, awards, decrees
of, or agreements with, any Governmental Authority.

        “Article 8 Matter” means any action, decision, determination or election by Mortgage Borrower
or its member(s) that its membership interests or other equity interests, or any of them, be, or cease to be,
a “security” as defined in and governed by Article 8 of the Uniform Commercial Code, and all other
matters related to any such action, decision, determination or election.

         “Available Cash” means, for any period of computation, the excess, if any, of (a) the sum of (i)
all cash receipts of the Company during that period from whatever source and (ii) any cash reserves of the
Company existing at the start of that period less (b) the sum of (i) all cash amounts paid or payable
(without duplication) in that period on account of any expenses of any type whatsoever incurred in
connection with the Company’s business (including capital expenditures, operating expenses, all fees and
other amounts payable under the Agreement, taxes, amortization and interest on any indebtedness of the
Company or any Subsidiary of the Company, expenses incurred in connection with the satisfaction of any
such indebtedness or the incurrence of additional indebtedness or any refinancing of indebtedness, and (ii)
any cash reserves as contemplated in the Budget, including revisions to the Budget pursuant to Section
8.7(b), as determined by the Managing Member in its sole discretion.

         “Bankruptcy” means, with respect to a Member, the occurrence of any of the following: (a) the
filing of an application by such Member for, or a consent to, the appointment of a trustee of such
Member’s assets; (b) the filing by such Member of a voluntary petition in bankruptcy or the filing of a
pleading in any court of record admitting in writing such Member’s inability to pay its debts as they come
due; (c) the making by such Member of a general assignment for the benefit of such Member’s creditors;
(d) the filing by such Member of an answer admitting the material allegations of, or such Member’s
consenting to, or defaulting in answering a bankruptcy petition filed against such Member in any
bankruptcy proceeding; or (e) the expiration of sixty (60) days following the entry of an order, judgment
or decree by any court of competent jurisdiction adjudicating such Member a bankrupt or appointing a
trustee of such Member’s assets.

        “BBA” has the meaning set forth in Section 12.4(a).

        “BBA Procedures” has the meaning set forth in Section 12.4(c).

        “Book Depreciation” means, with respect to any Company asset for each Fiscal Year, the
Company’s depreciation, amortization, or other cost recovery deductions determined for federal income
tax purposes, except that if the Book Value of an asset differs from its adjusted tax basis at the beginning
of such Fiscal Year, Book Depreciation will be an amount which bears the same ratio to such beginning
Book Value as the federal income tax depreciation, amortization, or other cost recovery deduction for
such Fiscal Year bears to such beginning adjusted tax basis; provided that, if the adjusted basis for federal
income tax purposes of an asset at the beginning of such Fiscal Year is zero and the Book Value of the

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                           Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
                                                                                                      000784
asset is positive, Book Depreciation will be determined with reference to such beginning Book Value
using any permitted method selected by the Managing Member in accordance with Treasury Regulations
Section 1.704-1(b)(2)(iv)(g)(3).

         “Book Value” means, with respect to any Company asset, the adjusted basis of such asset for
federal income tax purposes, except as follows:

       (a)     the initial Book Value of any Company asset contributed by a Member to the Company
               will be the gross Fair Market Value of such Company asset as of the date of such
               contribution;

       (b)     immediately prior to the distribution by the Company of any Company asset to a
               Member, the Book Value of such asset will be adjusted to its gross Fair Market Value as
               of the date of such distribution;

       (c)     the Book Value of all Company assets will be adjusted to equal their respective gross Fair
               Market Values, as reasonably determined by the Members, as of the following times:

               (i)     the acquisition of an additional Membership Interest by a new or existing
                       Member in consideration for more than a de minimis Capital Contribution;

               (ii)    the distribution by the Company to a Member of more than a de minimis amount
                       of property (other than cash) as consideration for all or a part of such Member’s
                       Membership Interest; and

               (iii)   the liquidation of the Company within the meaning of Treasury Regulations
                       Section 1.704-1(b)(2)(ii)(g);

               provided that, adjustments pursuant to clauses (i) and (ii) above need not be made if the
               Managing Member reasonably determines that such adjustment is not necessary or
               appropriate to reflect the relative economic interests of the Members and that the absence
               of such adjustment does not adversely and disproportionately affect any Member;

       (d)     the Book Value of each Company asset will be increased or decreased, as the case may
               be, to reflect any adjustments to the adjusted tax basis of such Company asset pursuant to
               Code Section 734(b) or Code Section 743(b), but only to the extent that such adjustments
               are taken into account in determining Capital Account balances pursuant to Treasury
               Regulations Section 1.704-1(b)(2)(iv)(m); provided that, Book Values will not be
               adjusted pursuant to this paragraph (d) to the extent that an adjustment pursuant to
               paragraph (c) above is made in conjunction with a transaction that would otherwise result
               in an adjustment pursuant to this paragraph (d); and

       (e)     if the Book Value of a Company asset has been determined pursuant to paragraph (a) or
               adjusted pursuant to paragraphs (c) or (d) above, such Book Value will thereafter be
               adjusted to reflect the Book Depreciation taken into account with respect to such
               Company asset for purposes of computing Net Income and Net Losses.

       “Budget” has the meaning set forth in Section 8.7(a).

        “Business Day” means a day other than a Saturday, Sunday or other day on which commercial
banks in the City of New York are authorized or required to close.


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                         Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
                                                                                                  000785
        “Buy-out Price” has the meaning set forth in Section 8.8(b).

        “Buy-Sell Election Date” has the meaning set forth in Section 8.8(b).

        “Buy-Sell Offer Notice” has the meaning set forth in Section 8.8(b).

        “Capital Account” has the meaning set forth in Section 4.3.

        “Capital Contribution” means, for any Member, the total amount of cash and cash equivalents
and the Book Value of any property actually contributed to the Company by such Member, including, for
purposes of clarity, any Additional Capital Contributions.

         “Capital Transaction” means (i) the sale, exchange, condemnation, casualty loss, or other
disposition (whether voluntary or involuntary) of the Underlying Investment or the SPV, but specifically
excluding any dispositions of personal property and equipment in the ordinary course of business, (ii)
recovery of damage awards and insurance proceeds (other than business or rental interruption insurance
proceeds), and/or (iii) net proceeds (if any) from the placement of mortgage debt or other financing upon
the Company’s property (including the Underlying Investment), or other indebtedness secured by the
Underlying Investment or any ownership interest therein, or any refinancing thereof, in each case as
expressly permitted pursuant to the terms and provisions of this Agreement.

        “Certificate” has the meaning set forth in the Preliminary Statements.

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Company” has the meaning set forth in the preamble of this Agreement.

        “Company Interest Rate” has the meaning set forth in Section 7.2(c).

        “Company Lender” means any Person providing credit or cash to the Company where the
indebtedness obligation(s) of the Company is secured by assets of, or equity interests in, the Company.

        “Company Minimum Gain” means “partnership minimum gain” as defined in Treasury
Regulations Section 1.704-2(b)(2), substituting the term “Company” for the term “partnership” as the
context requires.

        “Confidential Information” has the meaning set forth in Section 14.3(a).

        “Contributing Member” has the meaning set forth in Section 4.2(b).

        “Covered Person” has the meaning set forth in Section 10.1(a).

        “Cram-Down Contribution” has the meaning set forth in Section 4.2(c).

        “Default Amount” has the meaning set forth in Section 4.2(b).

        “Default Loan” has the meaning set forth in Section 4.2(b).

        “Default Rate” has the meaning set forth in Section 4.2(b).

         “Delaware Act” means the Delaware Limited Liability Company Act, Title 6, Chapter 18, §§18-
101, et seq, and any successor statute, as it may be amended from time to time.

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                          Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
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        “Effective Date” has the meaning set forth in the preamble of this Agreement.

        “Election Notice” has the meaning set forth in Section 9.4(c).

        “Electronic Transmission” means any form of communication not directly involving the
physical transmission of paper that creates a record that may be retained, retrieved and reviewed by a
recipient thereof and that may be directly reproduced in paper form by such a recipient through an
automated process.

        “Equity Interest” has the meaning set forth in Section 8.3.

        “Evoking Member” has the meaning set forth in Section 9.4(b).

        “Fair Market Value” of any asset as of any date means the purchase price that a willing buyer
having all relevant knowledge would pay a willing seller for such asset in an arm’s length transaction, as
determined jointly by the Members.

        “Fiscal Year” means the calendar year, unless the Company is required to have a taxable year
other than the calendar year, in which case Fiscal Year will be the period that conforms to its taxable year.

        “GAAP” means United States generally accepted accounting principles in effect from time to
time.

         “Governmental Authority” means any federal, state, local, or foreign government or political
subdivision thereof, or any agency or instrumentality of such government or political subdivision, or any
self-regulated organization or other non-governmental regulatory authority or quasi-governmental
authority (to the extent that the rules, regulations, or orders of such organization or authority have the
force of law), or any arbitrator, court, or tribunal of competent jurisdiction.

        “GWLI II Member” has the meaning set forth in the preamble of this Agreement.

        “Initiating Member” has the meaning set forth in Section 8.8(b).

        “Lender” has the meaning set forth in Section 2.7(a).

        “Liquidator” has the meaning set forth in Section 13.3(a).

        “Loan” has the meaning set forth in Section 2.7(a).

        “Loan Agreement” has the meaning set forth in Section 2.7(a).

        “Losses” has the meaning set forth in Section 10.3(a).

        “Managing Member” means, initially, the Naissance Member, or such other Member as may be
designated or become the Managing Member pursuant to the terms of this Agreement.

         “Member” means (a) the GWLI II Member and the Naissance Member, and (b) each Person who
is hereafter admitted as a member of the Company in accordance with the terms of this Agreement and
the Delaware Act. The Members will constitute the “members” (as that term is defined in the Delaware
Act) of the Company.



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                           Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
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        “Member Nonrecourse Debt” means “partner nonrecourse debt” as defined in Treasury
Regulations Section 1.704-2(b)(4), substituting the term “Company” for the term “partnership” and the
term “Member” for the term “partner” as the context requires.

        “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to each Member
Nonrecourse Debt, equal to the Company Minimum Gain that would result if the Member Nonrecourse
Debt were treated as a Nonrecourse Liability, determined in accordance with Treasury Regulations
Section 1.704-2(i)(3).

        “Member Nonrecourse Deduction” means “partner nonrecourse deduction” as defined in
Treasury Regulations Section 1.704-2(i), substituting the term “Member” for the term “partner” as the
context requires.

        “Membership Interest” means an equity interest in the Company owned by a Member, which
ownership is evidence of a Member’s right to: (a) a distributive share of Net Income, Net Loss, and other
items of income, gain, loss, and deduction of the Company; (b) a distributive share of the assets of the
Company; (c) vote on, consent to, or otherwise participate in any decision of the Members; and (d) any
and all other benefits that a Member may be entitled; each as further provided in this Agreement and the
Delaware Act; provided that, the Membership Interest Percentage of a Member (relative to other
Members) may not be determinative with respect to the amount of such Member’s distributive share of
any assets of the Company.

        “Membership Interest Percentage” means, with respect to any Member, the fractional portion
(expressed as a percentage) of the Membership Interest held by such Member relative to all other
Members and, unless otherwise set forth in this Agreement, determined by dividing (i) the Capital
Contributions of such Member by (ii) the Capital Contributions of all Members.

        “Members Schedule” has the meaning set forth in Section 5.1.

        “Naissance Member” has the meaning set forth in the preamble of this Agreement.

         “Net Income” and “Net Loss” mean, for each Fiscal Year or other period specified in this
Agreement, an amount equal to the Company’s taxable income or taxable loss, or particular items thereof,
determined in accordance with Code Section 703(a) (where, for this purpose, all items of income, gain,
loss or deduction required to be stated separately pursuant to Code Section 703(a)(1) will be included in
taxable income or taxable loss), but with the following adjustments:

        (a)     any income realized by the Company that is exempt from federal income taxation, as
                described in Code Section 705(a)(1)(B), will be added to such taxable income or taxable
                loss, notwithstanding that such income is not includable in gross income;

        (b)     any expenditures of the Company described in Code Section 705(a)(2)(B), including any
                items treated under Treasury Regulations Section 1.704-1(b)(2)(iv)(I) as items described
                in Code Section 705(a)(2)(B), will be subtracted from such taxable income or taxable
                loss, notwithstanding that such expenditures are not deductible for federal income tax
                purposes;

        (c)     any gain or loss resulting from any disposition of Company property with respect to
                which gain or loss is recognized for federal income tax purposes will be computed by
                reference to the Book Value of the property so disposed, notwithstanding that the
                adjusted tax basis of such property differs from its Book Value;


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           (d)     any items of depreciation, amortization and other cost recovery deductions with respect
                   to Company property having a Book Value that differs from its adjusted tax basis will be
                   computed by reference to the property’s Book Value (as adjusted for Book Depreciation)
                   in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g);

           (e)     if the Book Value of any Company property is adjusted as provided in the definition of
                   Book Value, then the amount of such adjustment will be treated as an item of gain or loss
                   and included in the computation of such taxable income or taxable loss; and

           (f)     to the extent an adjustment to the adjusted tax basis of any Company property pursuant to
                   Code Sections 732(d), 734(b), or 743(b) is required, pursuant to Treasury Regulations
                   Section 1.704 1(b)(2)(iv)(m), to be taken into account in determining Capital Accounts,
                   the amount of such adjustment to the Capital Accounts will be treated as an item of gain
                   (if the adjustment increases the basis of the asset) or loss (if the adjustment decreases
                   such basis).

           “Non-Contributing Member” has the meaning set forth in Section 4.2(b).

           “Non-Managing Members” means at any time a Member that is not the Managing Member.

           “Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Section 1.704-
2(b).

           “Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section 1.704-
2(b)(3).

           “Officers” has the meaning set forth in Section 8.4.

           “Owner SPV” has the meaning set forth in Section 2.5(a)(i).

           “Partnership Representative” has the meaning set forth in Section 12.4(a).

        “Permitted Transfer” means a Transfer of Membership Interests carried out pursuant to Section
11.2. “Permitted Transferee” means a recipient of a Permitted Transfer.

      “Person” means an individual, corporation, partnership, joint venture, limited liability company,
Governmental Authority, unincorporated organization, trust, association, or other entity.

           “Pledge Agreement” has the meaning set forth in Section 2.7(a).

           “Property Offer Notice” has the meaning set forth in Section 9.4(a).

           “Property Sale Election” has the meaning set forth in Section 9.4(b).

           “Property Sale Notice” has the meaning set forth in Section 9.4(c).

           “Property Sale Offer” has the meaning set forth in Section 9.4(b).

           “Purchasing Member” has the meaning set forth in Section 8.8(d).

           “Regulatory Allocations” has the meaning set forth in Section 6.2(e).


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        “Related Party Agreement” means any agreement, arrangement, or understanding between the
Company and any Member or any Affiliate of a Member or any officer or employee of the Company, as
such agreement may be amended, modified, supplemented, or restated in accordance with the terms of
this Agreement.

        “Representative” means, with respect to any Person, any and all directors, officers, employees,
consultants, financial advisors, counsel, accountants, and other agents of such Person.

        “Responding Member” has the meaning set forth in Section 8.8(b).

        “Response Notice” has the meaning set forth in Section 8.8(c).

        “Securities Act” means the Securities Act of 1933, as amended, or any successor federal statute,
and the rules and regulations thereunder, which will be in effect at the time.

        “Sell-out Price” has the meaning set forth in Section 8.8(b).

        “Selling Member” has the meaning set forth in Section 8.8(d).

        “Subsidiary” means, with respect to any Person, any other Person of which a majority of the
outstanding shares or other equity interests having the power to vote for directors or comparable
managers are owned, directly or indirectly, by the first Person.

        “Taxing Authority” has the meaning set forth in Section 7.2(b).

        “Transfer” means to, directly or indirectly, sell, transfer, assign, pledge, encumber, hypothecate,
or similarly dispose of, either voluntarily or involuntarily, by operation of law or otherwise, or to enter
into any contract, option, or other arrangement or understanding with respect to the sale, transfer,
assignment, pledge, encumbrance, hypothecation, or similar disposition. “Transfer” when used as a
noun will have a correlative meaning. “Transferor” and “Transferee” mean a Person who makes or
receives a Transfer, respectively.

       “Treasury Regulations” means the final or temporary regulations issued by the United States
Department of Treasury pursuant to its authority under the Code, and any successor regulations.

        “Underlying Investment” has the meaning set forth in Section 2.5(a)(ii).

        “Withholding Advances” has the meaning set forth in Section 7.2(b).

Section 1.2.    Interpretation.

(a)     For purposes of this Agreement:

        (i)     the words “include,” “includes,” and “including” will be deemed to be followed by the
                words “without limitation”;

        (ii)    the word “or” is not exclusive; and

        (iii)   the words “herein,” “hereof,” “hereby,” “hereto,” and “hereunder” refer to this
                Agreement as a whole.



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(b)     The definitions given for any defined terms in this Agreement will apply equally to both the
        singular and plural forms of the terms defined.

(c)     Whenever the context may require, any pronoun will include the corresponding masculine,
        feminine, and neuter forms.

(d)     Unless the context otherwise requires, references in this Agreement:

        (i)     to articles, sections, and exhibits mean the articles and sections of, and exhibits attached
                to, this Agreement;

        (ii)    to an agreement, instrument, or other document means such agreement, instrument, or
                other document as amended, supplemented, and modified from time to time to the extent
                permitted by the provisions thereof; and

        (iii)   to a statute means such statute as amended from time to time and includes any successor
                legislation thereto and any regulations promulgated thereunder.

(e)     This Agreement will be construed without regard to any presumption or rule requiring
        construction or interpretation against the party drafting an instrument or causing any instrument
        to be drafted.

(f)     The exhibits referred to herein will be construed with, and as an integral part of, this Agreement
        to the same extent as if they were set forth verbatim herein.

                                              ARTICLE II
                                            ORGANIZATION

Section 2.1.    Formation.

(a)     The Company was formed pursuant to the provisions of the Delaware Act upon the filing of the
        Certificate with the Secretary of State of the State of Delaware, and the Members desire to
        continue such limited liability company pursuant to the Delaware Act and this Agreement.

(b)     This Agreement will constitute the “limited liability company agreement” (as that term is used in
        the Delaware Act) of the Company. The rights, powers, duties, obligations, and liabilities of the
        Members will be determined pursuant to the Delaware Act and this Agreement. To the extent
        that the rights, powers, duties, obligations, and liabilities of any Member are different by reason
        of any provision of this Agreement than they would be under the Delaware Act in the absence of
        such provision, this Agreement will, to the extent permitted by the Delaware Act, control.

Section 2.2.  Name. The name of the Company is “Galleria 2425 JV, LLC” or such other name or
names as may be designated by the Managing Member; provided that, the name will always contain the
words “Limited Liability Company” or the abbreviation “L.L.C.” or the designation “LLC.” The
Managing Member will give prompt notice to the Members of any change to the name of the Company.

Section 2.3.  Principal Office. The principal office of the Company is located at 6501 Westchester
Ave., Houston Texas 77005, or such other place as may from time to time be determined by the
Managing Member. The Managing Member will give prompt notice of any such change to each of the
Members.



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Section 2.4.    Registered Office; Registered Agent.

(a)     Registered Office. The registered office of the Company will be the office of the initial registered
        agent named in the Certificate or such other office (which need not be a place of business of the
        Company) as the Managing Member may designate from time to time in the manner provided by
        the Delaware Act and Applicable Law.

(b)     Registered Agent. The registered agent for service of process on the Company in the State of
        Delaware will be the initial registered agent named in the Certificate or such other Person or
        Persons as the Managing Member may designate from time to time in the manner provided by the
        Delaware Act and Applicable Law.

Section 2.5.    Purpose; Powers.

(a)     The purposes of the Company are to:

        (i)     own (as the sole member) one hundred percent (100%) of the equity ownership interest in
                Galleria 2425 Owner, LLC, a Delaware limited liability company (including any
                successors and assigns, the “Owner SPV”);

        (ii)    cause the Owner SPV to acquire real property and improvements located at 2425 West
                Loop South, Houston, Texas, 77027 (such real property and, the “Underlying
                Investment”);

        (iii)   directly or indirectly facilitating (A) the renovation, rehabilitation, and installation of
                improvements to the Underlying Investment, and (B) the operation of the Underlying
                Investment for the production of a profit;

        (iv)    refinancing, selling, or otherwise disposing of, in whole or in part, the Underlying
                Investment or the SPV;

        (v)     causing the Company and the SPV to incur indebtedness to enable the activities set forth
                in Section 2.5(a)(ii)-(iv); and

        (vi)    engage in any and all activities necessary or incidental to the foregoing clauses, as
                determined by the Managing Member in its sole discretion.

(b)     The Company will have all the powers necessary or convenient to carry out the purposes for
        which it is formed, including the powers granted by the Delaware Act.

(c)     The Company may execute, deliver, and perform all contracts, agreements and other undertakings
        and engage in all activities and transactions as may in the opinion of the Managing Member be
        necessary or advisable to achieve the purposes of the Company.

Section 2.6.   Term. The term of the Company commenced on the date the Certificate was filed with
the Secretary of State of the State of Delaware and will continue in existence perpetually until the
Company is dissolved in accordance with the provisions of this Agreement.

Section 2.7.  Entity Covenants. Capitalized terms used but not defined in this Section shall have the
meanings defined in that certain Mezzanine Loan Agreement (the “Loan Agreement”) between the
Company and Naissance Galleria, LLC, a Cayman Islands limited liability company (the “Lender”),


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pursuant to which the Company will become indebted to the Lender in the amount of approximately
$16,100,000 (the “Loan”). Borrower hereby represents and warrants to, and covenants with, Lender that
since the date of its formation and at all times on and after the date hereof and until such time as the
Obligations shall be paid and performed in full:

(a)     Single Purpose of Borrower. The sole purpose of Borrower is to (1) acquire, own, hold, and
        maintain equity interests in Mortgage Borrower (the “Equity Interests”); (2) serve as the
        borrower and perform its obligations under the Loan Documents in connection with the Loan; (3)
        serve as the sole member of Mortgage Borrower and deal with Mortgage Borrower to the extent
        permitted under the Loan Documents and the documents evidencing or securing the Mortgage
        Loan to Mortgage Borrower, and (4) subject to Section 2.7(b), to engage in any other business or
        activity that may be incidental, proper, advisable or convenient to accomplish the foregoing
        purposes (including, without limitation, obtaining financing therefor) and that is not forbidden by
        the law of any jurisdiction in which Borrower engages in that business.

(b)     Single Purpose Entity/Separateness. Until the Loan is paid in full, Borrower shall remain a Single
        Purpose Entity. A “Single Purpose Entity” means a limited liability company which contains
        provisions in its organizational documents similar to the provisions set forth in this Section
        2.7(b). At all times since its formation and thereafter, Borrower:

        (i)      was, and will be, organized solely for the purpose of owning 100% of the direct or
                 indirect Equity Interests;

        (ii)     has not, and will not, engage in any business unrelated to the ownership of 100% of the
                 direct or indirect Equity Interests;

        (iii)    has not and will not own any asset or property other than 100% of the direct or indirect
                 Equity Interests;

        (iv)     to the fullest extent permitted by law, has not and will not engage in, seek or consent to
                 any dissolution, winding up, liquidation, consolidation or merger, in whole or in part,
                 and, except as otherwise expressly permitted by the Loan Agreement or consented to by
                 Lender in writing, has not and will not engage in, seek or consent to any asset sale,
                 transfer of limited liability company interests, or amendment of its certificate of
                 formation or the Loan Agreement;

        (v)      has not failed, and will not fail, to correct any known misunderstanding regarding its
                 separate identity;

        (vi)     has maintained, and will maintain, its books, records, financial statements, accounting
                 records, bank accounts and other entity documents in its own name and separate from any
                 other Person;

        (vii)    has maintained, and will maintain, its books, records, resolutions and agreements as
                 official records;

        (viii)   has not commingled, and will not commingle, its funds or other assets with those of any
                 other Person;




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(ix)     has held, and will hold, its assets in its own name, and has maintained, and will maintain,
         its assets in such a manner that it will not be costly or difficult to segregate, ascertain or
         identify its assets from those of any other Person;

(x)      has conducted, and will conduct, its business in its name;

(xi)     has filed, and will file, its own tax returns (to the extent required to file any tax returns)
         and has not and will not file a consolidated federal income tax return with any other
         Person;

(xii)    is and intends to remain solvent, and has paid and will pay its own debts and liabilities
         out of its own funds and assets (to the extent of such funds and assets) as the same shall
         become due, and will give prompt written notice to Lender of the insolvency or
         bankruptcy filing of Borrower or the death, insolvency, or bankruptcy filing of
         Guarantor;

(xiii)   has done or caused to be done, and will do or cause to be done, all things necessary to
         observe all limited liability company formalities and preserve its existence and good
         standing, and, has not, and without the prior written consent of Lender, will not, amend,
         modify or otherwise change any of the single purpose, separateness or bankruptcy remote
         provisions or requirements of the Loan Agreement or other organizational documents
         (except as required by law);

(xiv)    has maintained and will maintain an arms-length relationship with its Affiliates,

(xv)     has and will have no indebtedness other than the Loan and unsecured trade payables in
         the ordinary course of business relating to the ownership of 100% of the direct or indirect
         interests in Mortgage Borrower which (i) do not exceed, at any time, $25,000.00 and (ii)
         are paid within sixty (60) days of the date incurred;

(xvi)    has not and will not assume, guarantee, become obligated for or hold out its credit as
         being available to satisfy the debts or obligations of any other Person, or the decisions or
         actions respecting the daily business or affairs of any other Person, except Mortgage
         Borrower;

(xvii)   has not acquired and will not acquire obligations or securities of any other Person, except
         Mortgage Borrower;

(xviii) has allocated and will allocate fairly and reasonably shared expenses, including, without
        limitation, shared office space, and has maintained and utilized and will maintain and
        utilize separate stationery, invoices and checks bearing its own name;

(xix)    has not and will not pledge its assets for the benefit of any other Person;

(xx)     has held and identified itself and will hold itself out to the public as a legal entity separate
         and distinct from any other Person and under its own name;

(xxi)    has not made and will not make loans or advances to any Person;

(xxii)   has not and will not identify itself or any of its Affiliates as a division or part of the other;



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        (xxiii) has not entered and will not enter into any transaction, contract or agreement with its
                members or its Affiliates except in the ordinary course of its business and on terms which
                are intrinsically fair and are no less favorable to it than would be obtained in a
                comparable arms-length transaction with an unrelated third party and which are fully
                disclosed to Lender in writing in advance;

        (xxiv) has paid and will pay the salaries of its own employees from its own funds (to the extent
               of such funds) and has maintained and intends to maintain a sufficient number of
               employees in light of its contemplated business operations; provided, however, the
               foregoing shall not require Member to make additional capital contributions to Borrower;

        (xxv)   has maintained and intends to maintain adequate capital for the normal obligations
                reasonably foreseeable in a business of its size and character and in light of its
                contemplated business operations; provided, however, the foregoing shall not require
                Member to make additional capital contributions to Borrower;

        (xxvi) other than in connection with the day to day operations of the Property, has not permitted
               and will not permit any Affiliate independent access to its bank accounts;

        (xxvii) to the fullest extent permitted by law has considered and will consider the interests of
                Borrower, including its creditors, in connection with all of its limited liability company
                actions; and

        (xxviii) has caused and will cause its agents and other representatives to act at all times with
                 respect to such entity consistently and in furtherance of the foregoing and in the best
                 interests of such entity.


                                         ARTICLE III
                                     MEMBERSHIP INTERESTS

Section 3.1.    Membership Schedule. The aggregate equity ownership interests in the Company will
be represented by issued and outstanding Membership Interests, which will initially be in a single type
and class.

Section 3.2.    Certification of Membership Interests

(a)     The Managing Member may, but will not be required to, issue certificates to the Members
        representing the Membership Interest and Membership Interest Percentage held by such Member.

(b)     In the event the Managing Member issues certificates representing Membership Interests in
        accordance with Section 3.2(a), then in addition to any other legend required by Applicable Law,
        all certificates representing issued and outstanding Membership Interests will bear a legend
        substantially in the following form:

                THE MEMBERSHIP INTEREST REPRESENTED BY THIS CERTIFICATE
                IS SUBJECT TO A LIMITED LIABILITY COMPANY AGREEMENT
                AMONG THE COMPANY AND ITS MEMBERS, A COPY OF WHICH IS ON
                FILE AT THE PRINCIPAL EXECUTIVE OFFICE OF THE COMPANY. NO
                TRANSFER, SALE, ASSIGNMENT, PLEDGE, HYPOTHECATION, OR
                OTHER DISPOSITION OF THE MEMBERSHIP INTEREST REPRESENTED


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                BY THIS CERTIFICATE MAY BE MADE EXCEPT IN ACCORDANCE
                WITH THE PROVISIONS OF SUCH LIMITED LIABILITY COMPANY
                AGREEMENT.

                THE MEMBERSHIP INTEREST REPRESENTED BY THIS CERTIFICATE
                HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933,
                AS AMENDED, OR UNDER ANY OTHER APPLICABLE SECURITIES
                LAWS AND MAY NOT BE TRANSFERRED, SOLD, ASSIGNED,
                PLEDGED, HYPOTHECATED OR OTHERWISE DISPOSED EXCEPT
                PURSUANT TO (A) A REGISTRATION STATEMENT EFFECTIVE UNDER
                SUCH ACT AND LAWS, OR (B) AN EXEMPTION FROM REGISTRATION
                THEREUNDER.

                                     ARTICLE IV
                      CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

Section 4.1.    Initial Capital Contributions. Contemporaneously with the execution of this
Agreement, each Member has made an initial contribution of capital to the Company and is deemed to
own the Membership Interest Percentage set forth opposite such Member’s name on the Members
Schedule. The Managing Member will update the Members Schedule upon the issuance or Transfer of
any Membership Interest to any new or existing Member in accordance with this Agreement. Capital
Contributions will be used by the Company (i) to pay expenses of the Company (in accordance with the
Budget), (ii) to establish Reserves (as provided herein), and (iii) as otherwise determined by the
Managing Member to be related to the object and purpose of the Company (as set forth in Section 2.5(a))

Section 4.2.    Additional Capital Contributions

(a)     The Members will make additional in-cash contributions of capital to the Company in proportion
        to their respective Membership Interest Percentages, as determined by the Managing Member
        from time to time to be reasonably necessary to pay any operating, capital, or other expenses
        relating to the business of the Company (such additional contributions of capital, the “Additional
        Capital Contributions”), provided that, such Additional Capital Contributions will not exceed
        corresponding amounts expressly provided for in the Budget, as it may be amended from time to
        time. Upon the Managing Member making such determination for Additional Capital
        Contributions, the Managing Member will deliver to the Non-Managing Member(s) a written
        notice of the Company’s need for Additional Capital Contributions, which notice will specify in
        reasonable detail (i) the purpose for such Additional Capital Contributions, (ii) the aggregate
        amount of such Additional Capital Contributions, (iii) each Member’s share of such aggregate
        amount of Additional Capital Contributions based upon each such Member’s Membership
        Interest Percentage, and (iv) the date (which date will not be less than three (3) Business Days
        from the date that such notice is given) on which such Additional Capital Contributions will be
        required to be made by the Members.

(b)     If any Member will fail to timely make, or notifies the other Member(s) that it will not make, all
        or any portion of any Additional Capital Contribution that such Member is obligated to make
        under Section 4.2(a), then such Member will be deemed to be a “Non-Contributing Member.”
        Any Member who timely makes 100% of the Additional Capital Contribution that such Member
        is obligated to make under Section 4.2(a) (each, a “Contributing Member”) will be entitled, but
        not obligated, to loan to a Non-Contributing Member, by contributing to the Company on its
        behalf, all or any part of the amount (the “Default Amount”) that such Non-Contributing
        Member failed to contribute to the Company (each such loan, a “Default Loan”). Such Default

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      Loan will be treated as an Additional Capital Contribution by the Non-Contributing Member.
      Each Default Loan will bear interest (compounded monthly on the first day of each calendar
      month) on the unpaid principal amount thereof from time to time remaining from the date
      advanced until repaid, at the lesser of (i) 15% per annum, or (ii) the maximum rate permitted at
      law (the “Default Rate”). Each Default Loan will be recourse solely to the Non-Contributing
      Member’s Membership Interest. Default Loans will be repaid out of the distributions that would
      otherwise be made to the Non-Contributing Member under ARTICLE VII or ARTICLE XIV, as
      more fully provided for in Section 4.2(d). So long as a Default Loan is outstanding, the Non-
      Contributing Member will have the right to repay the Default Loan (and interest then due and
      owing) in whole or in part. Upon the repayment in full of all Default Loans (but not upon their
      conversion as provided in Section 4.2(c)) made in respect of a Non-Contributing Member (and so
      long as the Non-Contributing Member is not otherwise a Non-Contributing Member), such Non-
      Contributing Member will cease to be a Non-Contributing Member.

(c)   At any time after the date six (6) months after a Default Loan is made, at the option of the
      Contributing Member, (i) such Default Loan will be converted into an Additional Capital
      Contribution of the Contributing Member in an amount equal to the principal and unpaid interest
      on such Default Loan pursuant to this Section 4.2(c), (ii) the Non-Contributing Member will be
      deemed to have received a distribution, pursuant to ARTICLE VII, of an amount equal to the
      principal and unpaid interest on such Default Loan, (iii) such distribution will be deemed paid to
      the Contributing Member in repayment of the Default Loan, (iv) such amount will be deemed
      contributed by the Contributing Member as an Additional Capital Contribution (a “Cram-Down
      Contribution”), and (v) the Contributing Member’s Capital Account will be increased by, and
      the Non-Contributing Member’s Capital Account will be decreased by, an amount equal to the
      principal and unpaid interest on such Default Loan. A Cram-Down Contribution will be deemed
      an Additional Capital Contribution by the Contributing Member making (or deemed making)
      such Cram-Down Contribution as of the date such Cram-Down Contribution is made or the date
      on which such Default Loan is converted to a Cram-Down Contribution. At the time of a Cram-
      Down Contribution, the Membership Interest Percentage of the Contributing Member will be
      increased proportionally by the amount of such contribution, thereby diluting the Membership
      Interest Percentage of the Non-Contributing Member. Once a Cram-Down Contribution has been
      made (or deemed made), no subsequent payment or tender in respect of the Cram-Down
      Contribution will affect the Membership Interest Percentages of the Members, as adjusted in
      accordance with this Section 4.2(c).

(d)   Notwithstanding any other provisions of this Agreement, any amount that otherwise would be
      paid or distributed to a Non-Contributing Member pursuant to ARTICLE VII will not be paid to
      the Non-Contributing Member but will be deemed paid and applied on behalf of such Non-
      Contributing Member (i) first, to accrued and unpaid interest on all Default Loans (in the order of
      their original maturity date), (ii) second to the principal amount of such Default Loans (in the
      order of their original maturity date), and (iii) third, to any Additional Capital Contribution of
      such Non-Contributing Member that has not been paid and is not deemed to have been paid.

(e)   Notwithstanding the foregoing, if a Non-Contributing Member fails to make its Additional
      Capital Contribution in accordance with Section 4.2(a), the Contributing Member may:

      (i)     institute proceedings against the Non-Contributing Member to obtain payment of its
              portion of the Additional Capital Contributions, together with interest thereon at the
              Default Rate from the date that such Additional Capital Contribution was due until the
              date that such Additional Capital Contribution is made, at the cost and expense of the
              Non-Contributing Member;

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        (ii)    purchase the Membership Interest of the Non-Contributing Member at a price equal to
                85% of the lesser of (i) the price paid by the Non-Contributing Member for its
                Membership Interest, and (ii) the Fair Market Value of its Membership Interest; or

        (iii)   force a sale of the Company to a third party other than an Affiliate of any of the Members
                on commercially reasonable market terms as reasonably determined by the Contributing
                Member; provided that, if the Non-Contributing Member pays the unfunded portion of its
                required Additional Capital Contribution prior to the Contributing Member’s election of a
                forced sale, the Contributing Member will no longer have the right to force a sale of the
                Company under this Section 4.2(e)(iii).

(f)     If a Member is characterized as a Non-Contributing Member, then, so long as the Member
        remains a Non-Contributing Member, it will forfeit and no longer be entitled to any consent or
        voting rights granted in this Agreement.

(g)     Except as set forth in this Section 4.2, neither Member will be required to make additional Capital
        Contributions or make loans to the Company.

Section 4.3.    Maintenance of Capital Accounts. The Company will establish and maintain for each
Member a separate capital account (a “Capital Account”) on its books and records in accordance with
this Section 4.3. Each Capital Account will be established and maintained in accordance with the
following provisions:

(a)     Each Member’s Capital Account will be increased by the amount of:

        (i)     such Member’s Capital Contributions;

        (ii)    any Net Income or other item of income or gain allocated to such Member pursuant to
                ARTICLE VI; and

        (iii)   any liabilities of the Company that are assumed by such Member or secured by any
                property distributed to such Member.

(b)     Each Member’s Capital Account will be decreased by:

        (i)     the cash amount or Book Value of any property distributed to such Member pursuant to
                ARTICLE VII and Section 13.3(c);

        (ii)    the amount of any Net Loss or other item of loss or deduction allocated to such Member
                pursuant to ARTICLE VI; and

        (iii)   the amount of any liabilities of such Member assumed by the Company or that are
                secured by any property contributed by such Member to the Company.

Section 4.4.     Succession Upon Transfer. In the event that a Membership Interest is Transferred in
accordance with the terms of this Agreement, the Transferee will succeed to the Capital Account of the
Transferor to the extent it relates to the Transferred Membership Interest and, subject to Section 6.4, will
receive allocations and distributions pursuant to ARTICLE VI, ARTICLE VII, and ARTICLE XIII in
respect of such Membership Interest.




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Section 4.5.     Negative Capital Accounts. In the event that any Member will have a deficit balance in
its Capital Account, such Member will have no obligation, during the term of the Company or upon
dissolution or liquidation thereof, to restore such negative balance or make any contributions of capital to
the Company by reason thereof, except as may be required by Applicable Law or in respect of any
negative balance resulting from a withdrawal of capital or dissolution in contravention of this Agreement.

Section 4.6.      No Withdrawals From Capital Accounts. No Member will be entitled to withdraw any
part of its Capital Account or to receive any distribution from the Company, except as otherwise provided
in this Agreement. No Member, including the Managing Member, will receive any interest, salary, or
drawing with respect to its Capital Contributions or its Capital Account, except as otherwise provided in
this Agreement. The Capital Accounts are maintained for the sole purpose of allocating items of income,
gain, loss, and deduction among the Members and will have no effect on the amount of any distributions
to any Members, in liquidation or otherwise.

Section 4.7.    Treatment of Loans From Members. Loans by any Member to the Company will not
be considered Capital Contributions and will not affect the maintenance of such Member’s Capital
Account, other than to the extent provided in Section 4.2(c) and Section 4.3(a)(iii), if applicable.

Section 4.8.    Modifications. The foregoing provisions and the other provisions of this Agreement
relating to the maintenance of Capital Accounts are intended to comply with Treasury Regulations
Section 1.704-1(b) and will be interpreted and applied in a manner consistent with such Treasury
Regulations. If the Managing Member determines that it is prudent to modify the manner in which the
Capital Accounts, or any increases or decreases to the Capital Accounts, are computed in order to comply
with such Treasury Regulations, the Managing Member may authorize such modifications.

Section 4.9.    Company Expenses.

(a)     Expenses Not Borne by the Company. The Managing Member will pay, without reimbursement
        by the Company, all of its own ordinary administrative and overhead expenses in connection with
        the activities of the Company, including all costs and expenses on account of salaries, wages,
        bonuses, and other employee benefits.

(b)     Ongoing Company Expenses. On an ongoing basis, except for the expenses provided for in
        Section 4.9(a), the Company will pay, or reimburse the Managing Member or its Affiliates, as
        applicable, for the following out-of-pocket expenses:

                (i)      any expenses relating to the SPV or the Underlying Investment, including,
        without limitation, travel expenses, valuation expenses (e.g., costs of independent appraisers),
        carrying costs and custodial, trustee, record-keeping, and other administrative fees;

                 (ii)   any and all expenses incurred in connection with the preparation, review, and
        audit of the Company’s reports, tax returns, and related disclosure schedules;

                (iii)   any and all fees for attorneys and accountants (including in-house and outside
        legal and accounting fees and expenses) relating to Company matters;

                (iv)  any and all taxes and other governmental charges that may be incurred or payable
        by the Company;

                 (v)     any and all reasonable costs and expenses incurred in connection with
        distributions to Members;


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                (vi)     any and all reasonable expenses (including in-house and outside legal fees and
        expenses) of the Company or the Managing Member incurred (A) to comply with any law or
        regulation related to the activities of the Company, or (B) in connection with any litigation or
        governmental inquiry, investigation, or proceeding involving the Company, including the amount
        of any judgments, settlements, or fines paid in connection therewith;

                (vii)   any and all costs and expenses incurred in connection with the accounting and
        reporting requirements of the Company, including back-office overhead (e.g., rent, computer
        software, and equipment); and

               (viii) any and all reasonable expenses incurred in connection with any amendments,
        modifications, revisions, or restatements to the constituent documents of the Company.

(c)     Loan Origination Fees. The Company will be permitted to pay an origination fee of up to
        $160,000 to a Company Lender.

                                               ARTICLE V
                                               MEMBERS

Section 5.1.     Members Schedule. The name, address, and Membership Interest Percentage of each
member of the Company are set forth on Schedule A, attached hereto (as amended, the “Members
Schedule”). The Members Schedule will be revised from time to time by the Managing Member to
reflect any of the following accomplished in compliance with the terms of this Agreement: (i) the
withdrawal or admission of a member of the Company; (ii) any change in the name or address of a
Member; and (iii) any change in Membership Interest Percentage of a Member. A Member can modify
their address at any time by providing the Managing Member at least five (5) days advance written notice
of the same.

Section 5.2.   Admission of New Members

(a)     Additional Members. No Persons will be admitted to the Company as additional members of the
        Company except as approved by the Managing Member, and the Managing Member may cause
        the Company to admit any Person as an additional member of the Company upon (i) the issuance
        of an additional Membership Interest to such Person, or (ii) any Transfer of a Membership
        Interest made in accordance with ARTICLE XI.

(b)     Joinder. In order for any Person (not already a Member) to be admitted as a member of the
        Company, whether pursuant to an issuance or Transfer of a Membership Interest, such Person
        will be required to execute and deliver to the Company a written joinder agreement, the form and
        substance of which will be determined by the Managing Member in its sole discretion. Upon the
        amendment of the Members Schedule by the Managing Member and the satisfaction of any other
        applicable conditions, including, if a condition, the receipt by the Company of payment for the
        issuance of the applicable Membership Interest, such Person will simultaneously be (i) admitted
        as a member of the Company, (ii) deemed listed as such on the books and records of the
        Company, and (iii) issued his, her, or its Membership Interest. The Managing Member will
        adjust the Capital Accounts of the Members, as necessary, upon the admission of any additional
        Person as a member of the Company.

Section 5.3.   Representations and Warranties of Members. All Members, whether admitted as of
the Effective Date or pursuant to Section 5.2, represents and warrants to the Company and the other
Members, and acknowledges that:


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(a)    the Membership Interests have not been registered under the Securities Act or the securities laws
       of any other jurisdiction, are issued in reliance upon federal and state exemptions for transactions
       not involving a public offering, and cannot be disposed of unless (i) they are subsequently
       registered or exempted from registration under the Securities Act, and (ii) the provisions of this
       Agreement have been complied with;

(b)    such Member is an “accredited investor” within the meaning of Rule 501 promulgated under the
       Securities Act, as amended by Section 413(a) of the Dodd-Frank Wall Street Reform and
       Consumer Protection Act, and agrees that it will not take any action that could have an adverse
       effect on the availability of the exemption from registration provided by Rule 501 promulgated
       under the Securities Act with respect to the offer and sale of the Membership Interests;

(c)    such Member’s Membership Interest is being acquired for its own account solely for investment
       purposes and not with a view to resale or distribution thereof;

(d)    such Member has such knowledge and experience in financial and business matters and is capable
       of evaluating the merits and risks of an investment in the Company and making an informed
       decision with respect thereto;

(e)    with respect to the tax and other legal aspects of investment in the Company and the acquisition
       and ownership of a Membership Interest, such Member is relying solely upon the advice of such
       Member’s own tax and legal advisors and not upon any representation by any other Member or
       representative thereof;

(f)    such Member is able to bear the economic and financial risk of an investment in the Company for
       an indefinite period of time;

(g)    the execution, delivery, and performance of this Agreement by such Member (i) have been duly
       authorized and do not require such Member to obtain any consent that has not been obtained, and
       (ii) will not contravene or result in a default under (A) any provision of any law or regulation
       applicable to such Member, (B) the Organizational Documents of such Member, or (C) any other
       agreements or instruments to which such Member is a party or by which such Member is bound;

(h)    this Agreement is valid, binding, and enforceable against such Member in accordance with its
       terms, except as may be limited by bankruptcy, insolvency, reorganization, moratorium, and other
       similar laws of general applicability relating to or affecting creditors’ rights or general equity
       principles (regardless of whether considered at law or in equity);

(i)    such Member has been duly organized and is validly existing and in good standing under the laws
       of the state of its organization; and

(j)    there is no suit, action, or proceeding, pending or threatened, against or affecting such Member
       before or by any court, administrative agency, or other Governmental Authority that (i) brings
       into question the validity of the transactions contemplated by this Agreement, (ii) would interfere
       with or impede in any way the ability of such Member to comply with the terms of this
       Agreement, (iii) could materially and adversely affect such Member or any of its respective
       properties, assets or Affiliates, or (iv) could materially and adversely affect the legality, validity,
       or enforceability of this Agreement.

Section 5.4.  No Personal Liability. Except as otherwise provided in the Delaware Act, by
Applicable Law, or expressly in this Agreement, no Member will be obligated personally for any debt,


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obligation or liability of the Company or other Members, whether arising in contract, tort or otherwise,
solely by reason of being a Member.

Section 5.5.    No Withdrawal. So long as a Member continues to hold a Membership Interest, such
Member will not have the ability to withdraw or resign as a Member prior to the dissolution and winding
up of the Company and any such withdrawal or resignation or attempted withdrawal or resignation by a
Member prior to the dissolution or winding up of the Company will be null and void. As soon as any
Person who is a Member ceases to hold a Membership Interest, such Person will no longer be a Member.
A Member will not cease to be a Member as a result of the Bankruptcy of such Member or as a result of
any other events specified in §18-304 of the Delaware Act.

Section 5.6.     No Interest in Company Property. No real or personal property of the Company will
be deemed to be owned by any Member individually, but will be owned by, and title will be vested solely
in, the Company. Without limiting the foregoing, each Member hereby irrevocably waives during the
term of the Company any right that such Member may have to maintain any action for partition with
respect to the property of the Company.

                                              ARTICLE VI
                                             ALLOCATIONS

Section 6.1.     Allocation of Net Income and Net Loss. For each Fiscal Year (or portion thereof),
except as otherwise provided in this Agreement, Net Income and Net Loss (and, to the extent necessary,
individual items of income, gain, loss, or deduction) of the Company will be allocated among the
Members in a manner such that, after giving effect to the special allocations set forth in Section 6.2, the
Capital Account balance of each Member, immediately after making such allocations, is, as nearly as
possible, equal to (a) the distributions that would be made to such Member pursuant to Section 13.3(c) if
the Company were dissolved, its affairs wound up and its assets sold for cash equal to their Book Value,
all Company liabilities were satisfied (limited with respect to each Nonrecourse Liability to the Book
Value of the assets securing such liability), and the net assets of the Company were distributed, in
accordance with Section 13.3(c), to the Members immediately after making such allocations, minus (b)
such Member’s share of Company Minimum Gain and Member Nonrecourse Debt Minimum Gain,
computed immediately prior to the hypothetical sale of assets.

Section 6.2.    Regulatory and Special Allocations. Notwithstanding the provisions of Section 6.1:

(a)     If there is a net decrease in Company Minimum Gain (determined according to Treasury
        Regulations Section 1.704-2(d)(1)) during any Fiscal Year, each Member will be specially
        allocated Net Income for such Fiscal Year (and, if necessary, subsequent Fiscal Years) in an
        amount equal to such Member’s share of the net decrease in Company Minimum Gain,
        determined in accordance with Treasury Regulations Section 1.704-2(g). The items to be so
        allocated will be determined in accordance with Treasury Regulations Sections 1.704-2(f)(6) and
        1.704-2(j)(2). This Section 6.2 is intended to comply with the “minimum gain chargeback”
        requirement in Treasury Regulations Section 1.704-2(f) and will be interpreted consistently
        therewith.

(b)     Member Nonrecourse Deductions will be allocated in the manner required by Treasury
        Regulations Section 1.704-2(i). Except as otherwise provided in Treasury Regulations Section
        1.704-2(i)(4), if there is a net decrease in Member Nonrecourse Debt Minimum Gain during any
        Fiscal Year, each Member that has a share of such Member Nonrecourse Debt Minimum Gain
        will be specially allocated Net Income for such Fiscal Year (and, if necessary, subsequent Fiscal
        Years) in an amount equal to that Member’s share of the net decrease in Member Nonrecourse

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        Debt Minimum Gain. Items to be allocated pursuant to this paragraph will be determined in
        accordance with Treasury Regulations Sections 1.704-2(i)(4) and 1.704-2(j)(2). This Section
        6.2(b) is intended to comply with the “minimum gain chargeback” requirements in Treasury
        Regulations Section 1.704-2(i)(4) and will be interpreted consistently therewith.

(c)     Nonrecourse Deductions will be allocated to the Members in accordance with their Membership
        Interest Percentages.

(d)     In the event any Member unexpectedly receives any adjustments, allocations or distributions
        described in Treasury Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) or (6), Net Income will be
        specially allocated to such Member in an amount and manner sufficient to eliminate the Adjusted
        Capital Account Deficit created by such adjustments, allocations or distributions as quickly as
        possible. This Section 6.2(d) is intended to comply with the qualified income offset requirement
        in Treasury Regulations Section 1.704-1(b)(2)(ii)(d) and will be interpreted consistently
        therewith.

(e)     The allocations set forth in paragraphs (a), (b), (c) and (d) above (the “Regulatory Allocations”)
        are intended to comply with certain requirements of the Treasury Regulations under Code Section
        704. Notwithstanding any other provisions of this ARTICLE VI (other than the Regulatory
        Allocations), the Regulatory Allocations will be taken into account in allocating Net Income and
        Net Losses among Members so that, to the extent possible, the net amount of such allocations of
        Net Income and Net Losses and other items and the Regulatory Allocations to each Member will
        be equal to the net amount that would have been allocated to such Member if the Regulatory
        Allocations had not occurred.

Section 6.3.    Tax Allocations.

(a)     Subject to Section 6.3(b), Section 6.3(c), and Section 6.3(d), all income, gains, losses and
        deductions of the Company will be allocated, for federal, state and local income tax purposes,
        among the Members in accordance with the allocation of such income, gains, losses and
        deductions pursuant to Section 6.1 and Section 6.2, except that if any such allocation for tax
        purposes is not permitted by the Code or other Applicable Law, the Company’s subsequent
        income, gains, losses and deductions will be allocated among the Members for tax purposes, to
        the extent permitted by the Code and other Applicable Law, so as to reflect as nearly as possible
        the allocation set forth in Section 6.1 and Section 6.2.

(b)     Items of Company taxable income, gain, loss and deduction with respect to any property
        contributed to the capital of the Company will be allocated among the Members in accordance
        with Code Section 704(c) and the traditional method with curative allocations of Treasury
        Regulations Section 1.704-3(c), so as to take account of any variation between the adjusted basis
        of such property to the Company for federal income tax purposes and its Book Value.

(c)     If the Book Value of any Company asset is adjusted pursuant to Treasury Regulations Section
        1.704-1(b)(2)(iv)(f) as provided in clause (c) of the definition of Book Value, subsequent
        allocations of items of taxable income, gain, loss and deduction with respect to such asset will
        take account of any variation between the adjusted basis of such asset for federal income tax
        purposes and its Book Value in the same manner as under Code Section 704(c).

(d)     Allocations of tax credit, tax credit recapture and any items related thereto will be allocated to the
        Members according to their interests in such items as determined by the Managing Member
        taking into account the principles of Treasury Regulations Section 1.704-1(b)(4)(ii).

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(e)     Allocations pursuant to this Section 6.3 are solely for purposes of federal, state and local taxes
        and will not affect, or in any way be taken into account in computing, any Member’s Capital
        Account or share of Net Income, Net Losses, distributions, or other items pursuant to any
        provisions of this Agreement.

Section 6.4.     Allocations in Respect of Transferred Membership Interests. In the event of a
Transfer of Membership Interests during any Fiscal Year made in compliance with the provisions of
ARTICLE XI, Net Income, Net Losses, and other items of income, gain, loss, and deduction of the
Company attributable to such Membership Interests for such Fiscal Year will be determined using the
interim closing of the books method.

                                             ARTICLE VII
                                            DISTRIBUTIONS

Section 7.1.    Distributions of Cash Flow and Capital Proceeds.

(a)     Subject to Section 7.1(b), any Available Cash of the Company, after allowance for all reasonable
        costs and expenses incurred by the Company and for such reasonable reserves as contemplated in
        the Budget, will be distributed to the Members, on at least a quarterly basis, in accordance with
        their respective Membership Interest Percentages.

(b)     Proceeds from a Capital Transaction will be distributed to the Members in the following order
        and priority:

        (i)     first, to the Members on a pari passu basis in proportion to their Membership Interest
                Percentages until the GWLI II Member receives cumulative distributions in an amount
                necessary to produce an IRR of seven percent (7%) on its Capital Contributions;

        (ii)    thereafter, (i) twenty percent (20%) to the Managing Member, and (ii) eighty percent
                (80%) to the Members on a pari passu basis in proportion to their respective Membership
                Interest Percentages.

(c)     If a Member has (i) an unpaid Additional Capital Contribution that is overdue, or (ii) an
        outstanding Default Loan due to another Member, any amount that otherwise would be
        distributed to such Member pursuant to Section 7.1(a) or ARTICLE XIV (up to the amount of
        such Additional Capital Contribution or outstanding Default Loan, together with interest accrued
        thereon) will not be paid to such Member but will be deemed distributed to such Member and
        applied on behalf of such Member pursuant to Section 4.2(d).

(d)     Notwithstanding any provision to the contrary contained in this Agreement, the Company will not
        make any distribution to Members if such distribution would violate §18-607 of the Delaware Act
        or other Applicable Law.

Section 7.2.    Tax Withholding; Withholding Advances.

(a)     Tax Withholding. If requested by the Managing Member, each Member will, if able to do so,
        deliver to the Managing Member:

        (i)     an affidavit in form satisfactory to the Managing Member that the applicable Member (or
                its members, as the case may be) is not subject to withholding under the provisions of any
                federal, state, local, foreign, or other Applicable Law;


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      (ii)    any certificate that the Managing Member may reasonably request with respect to any
              such laws; and

      (iii)   any other form or instrument reasonably requested by the Managing Member relating to
              any Member’s status under such law.

      If a Member fails or is unable to deliver to the Managing Member the affidavit described in
      Section 7.2(a)(i), the Managing Member may withhold amounts from such Member in
      accordance with Section 7.2(b).

(b)   Withholding Advances. The Company is hereby authorized at all times to make payments
      (“Withholding Advances”) with respect to each Member in amounts required to discharge any
      obligation of the Company (as determined by the Partnership Representative based on the advice
      of legal or tax counsel to the Company) to withhold or make payments to any federal, state, local,
      or foreign taxing authority (a “Taxing Authority”) with respect to any distribution or allocation
      by the Company of income or gain to such Member and to withhold the same from distributions
      to such Member. Any funds withheld from a distribution by reason of this Section 7.2(b) will
      nonetheless be deemed distributed to the Member in question for all purposes under this
      Agreement.

(c)   Repayment of Withholding Advances. Any Withholding Advance made by the Company to a
      Taxing Authority on behalf of a Member and not simultaneously withheld from a distribution to
      that Member will, with interest thereon accruing from the date of payment at a rate equal to the
      prime rate published in the Wall Street Journal on the date of payment plus two percent (2.0%)
      per annum (the “Company Interest Rate”):

      (i)     be promptly repaid to the Company by the Member on whose behalf the Withholding
              Advance was made (which repayment by the Member will not constitute a Capital
              Contribution, but will credit the Member’s Capital Account if the Managing Member will
              have initially charged the amount of the Withholding Advance to the Capital Account);
              or

      (ii)    with the consent of the Managing Member, be repaid by reducing the amount of the next
              succeeding distribution or distributions to be made to such Member (which reduction
              amount will be deemed to have been distributed to the Member, but which will not
              further reduce the Member’s Capital Account if the Managing Member will have initially
              charged the amount of the Withholding Advance to the Capital Account).

      Interest will cease to accrue from the time the Member on whose behalf the Withholding
      Advance was made repays such Withholding Advance (and all accrued interest) by either method
      of repayment described above.

(d)   Indemnification. Each Member hereby agrees to indemnify and hold harmless the Company and
      the other Members from and against any liability with respect to taxes, interest, or penalties that
      may be asserted by reason of the Company’s failure to deduct and withhold tax on amounts
      distributable or allocable to such Member. The provisions of this Section 7.2(d) and the
      obligations of a Member pursuant to Section 7.2(c) will survive the termination, dissolution,
      liquidation, and winding up of the Company and the withdrawal of such Member from the
      Company or Transfer of its Membership Interest. The Company may pursue and enforce all
      rights and remedies it may have against each Member under this Section 7.2, including bringing a
      lawsuit to collect repayment with interest of any Withholding Advances.

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(e)     Overwithholding. Neither the Company nor the Managing Member will be liable for any excess
        taxes withheld in respect of any distribution or allocation of income or gain to a Member. In the
        event of an overwithholding, a Member’s sole recourse will be to apply for a refund from the
        appropriate Taxing Authority.

Section 7.3.    Distributions in Kind.

(a)     The Managing Member is hereby authorized, as it may reasonably determine, to make
        distributions to the Members in the form of securities or other property held by the Company. In
        any non-cash distribution, the securities or property so distributed will be distributed among the
        Members in the same proportion and priority as cash equal to the Fair Market Value of such
        securities or property would be distributed among the Members pursuant to Section 7.1.

(b)     Any distribution of securities will be subject to such conditions and restrictions as the Managing
        Member determines are required or advisable to ensure compliance with Applicable Law. In
        furtherance of the foregoing, the Managing Member may require that the Members execute and
        deliver such documents as the Managing Member may deem necessary or appropriate to ensure
        compliance with all federal and state securities laws that apply to such distribution and any
        further Transfer of the distributed securities, and may appropriately legend the certificates that
        represent such securities to reflect any restriction on Transfer with respect to such laws.

                                             ARTICLE VIII
                                             MANAGEMENT

Section 8.1.     Management of the Company. The business and affairs of the Company will be
managed by the Managing Member. Subject to the provisions of Section 8.2, the Managing Member will
have full and complete discretion to manage and control the business and affairs of the Company, to make
all decisions affecting the business and affairs of the Company, and to take all such actions as it deems
necessary or appropriate to accomplish the purposes of the Company set forth in Section 2.5; provided
that, the Managing Member will manage the Company in accordance with the Budget. The actions of the
Managing Member taken in accordance with the provisions of this Agreement will bind the Company.
No other Member will have any authority or right to act on behalf of or bind the Company, unless
otherwise provided herein or unless specifically authorized by the Managing Member pursuant to a
resolution expressly authorizing such action which resolution is duly adopted by the Managing Member.

Section 8.2.     Actions Requiring Approval of Members. Notwithstanding anything herein to the
contrary, without the unanimous written approval of all Members, the Company will not, and will not
enter into any commitment to:

(a)     admit any Person as an additional member, partner, or other economic owner of the Company, the
        Owner SPV, or any other Subsidiary of the forgoing;

(b)     make any material change to the nature of the business conducted by, or the purpose of, the
        Company, the Owner SPV, or any other subsidiary of the forgoing;

(c)     form any Subsidiary (other than the Owner SPV);

(d)     wind up, dissolve, or liquidate of the Company, the Owner SPV, or any other Subsidiary of the
        forgoing, except as otherwise permitted by the organizational documents of any such Person;




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(e)   sell, lease, or convey of all or substantially all of the assets of the Company, the Owner SPV, or
      any other Subsidiary of the forgoing, including, without limitation, the Underlying Investment,
      except as otherwise permitted by the organizational documents of any such Person;

(f)   create or entire into any Related Party Agreement, except as otherwise permitted /contemplated
      by the organizational documents of the creating Person;

(g)   consummate a transaction that is not in the ordinary course of the business of the Company, the
      Owner SPV, or any other Subsidiary of the forgoing, or that is not directly related to the indirect
      acquisition and ownership of the Underlying Investment;

(h)   make any payment (or incurrence of liability) that deviates by more than three percent (3%) from
      the amount of such payment(s) provided for or contemplated in an applicable annual operating
      budget of the Company;

(i)   extend, modify, renew, amend, or terminate any material contract or agreement pertaining to the
      day-to-day management of the Underlying Investment;

(j)   extend, modify, renew, or amend any loan agreement, or any documents executed in connection
      with any refinancing transaction involving the Company or the Underlying Investment;

(k)   pay, settle, or compromise any legal action (whether actual or threatened in connection with the
      Underlying Investment, the Company, the Owner SPV, or any other Subsidiary of the Company
      or the Owner SPV;

(l)   commence any federal, state, or foreign bankruptcy, insolvency, reorganization, arrangement, or
      liquidation proceeding for, or consent to the appointment of a receiver, liquidator, assignee,
      trustee, conservator, or sequester (or other similar official) of, the Company, the Owner SPV, or
      any other Subsidiary of the forgoing, or of all or a substantial part of the assets of the Company,
      the Owner SPV, or any other Subsidiary of the forgoing;

(m)   permit the incurrence of indebtedness by the Company, the Owner SPV, or any other Subsidiary
      of the Company, except as set forth in any applicable and approved budget;

(n)   waive or compromise any claim or right the Company, the Owner SPV, or any other Subsidiary
      of the forgoing may have against an affiliate of a Member;

(o)   commence any action or proceeding to appeal ad valorem taxes or special assessments relating to
      the Underlying Investment, the Company, the Owner SPV, or any other Subsidiary of the
      Company, the Owner SPV;

(p)   condemn the Underlying Investment (or any portion thereof or any interest therein), or the
      conveyance or an agreement to convey the Property (or any portion thereof or any interest
      therein) in lieu of condemnation;

(q)   make a loan or other extension of credit to any Person;

(r)   spend proceeds or other funds received the Company, the Owner SPV, or any other Subsidiary of
      the forgoing as a result of insurance or condemnation awards except to the extent required by any
      loan agreement executed by the Company, the Owner SPV, or any other Subsidiary of the
      forgoing; or


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(s)     issue additional Membership Interests.

Section 8.3.     Irrevocable Proxy. Solely with respect to Article 8 Matters (as hereinafter defined), the
Company hereby irrevocably grants and appoints the Lender, as the Company’s true and lawful proxy, for
and in Company’s name, place and stead to vote the Equity Interests, whether directly or indirectly,
beneficially or of record, now owned or hereafter acquired, with respect to all Article 8 Matters. The
proxy granted and appointed in this Section 8.3 shall include the right to sign Company’s name (as a
member of Mortgage Borrower) to any consent, certificate or other document relating to an Article 8
Matter and the Pledged Securities that applicable law may permit or require, to cause the Pledged
Securities to be voted in accordance with the preceding sentence. Company hereby represents and
warrants that there are no other proxies and powers of attorney with respect to an Article 8 Matter that
Company may have granted or appointed. Company will not give a subsequent proxy or power of
attorney or enter into any other voting agreement with respect to the Pledged Securities with respect to
any Article 8 Matter and any attempt to do so with respect to an Article 8 Matter shall be void and of no
effect. The proxies and powers granted by Company pursuant to this Agreement are coupled with an
interest and are given to secure the performance of Company’s obligations.

Section 8.4.     Officers. The Managing Member may appoint individuals as officers of the Company
(the “Officers”) as it deems necessary or desirable to carry on the business of the Company and the
Managing Member may delegate to such Officers such power and authority as the Managing Member
deems advisable. No Officer is required to also be a Member. Any individual may hold two or more
offices of the Company. Each Officer will hold office until his successor is designated by the Managing
Member or until his earlier death, resignation, or removal. Any Officer may resign at any time upon
written notice to the Managing Member. Any Officer may be removed by the Managing Member with or
without cause at any time. A vacancy in any office occurring because of death, resignation, removal or
otherwise, may, but need not, be filled by the Managing Member.

Section 8.5.   Action Without Meeting. Any matter that is to be voted on, consented to, or approved
by Members may be taken without a meeting, without prior notice and without a vote if consented to, in
writing or by Electronic Transmission, by a Member or Members having not less than the minimum
number of votes that would be necessary to authorize or take such action at a meeting at which all
members entitled to vote thereon were present and voted. A record will be maintained by the Managing
Member of each such action taken by written consent of a Member or Members.

Section 8.6.     Informational Rights. In addition to the information required to be provided pursuant to
ARTICLE XII, the Managing Member will keep the other Members reasonably informed on a timely
basis of any material fact, information, litigation, employee relations, or other matter that could
reasonably be expected to have a material impact on the operations or financial position of the Company,
including, but not limited to, any modification of any loan or other financing to the Company. The
Managing Member will provide all material information relating to the Company or the management or
operation of the Company as any Member may reasonable request from time to time.

Section 8.7.    Budget.

(a)     The initial business plan and annual budgets for the Company through the Fiscal Year ending
        December 31, 2018 (the “Budget”), which have previously been approved by the Members, are
        attached hereto as Schedule B. The Budget will include detailed capital and operating expense
        budgets, cash flow projections (which will include amounts and due dates of all projected calls
        for Additional Capital Contributions), and profit and loss projections. The Managing Member
        will operate the Company in accordance with the Budget.


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(b)     At least thirty (30) days before the beginning of each Fiscal Year, the Managing Member will
        prepare and submit to the Non-Managing Member proposed revisions (including any extensions
        thereof) to the Budget for such upcoming Fiscal Year. Not later than seven (7) days following its
        receipt of the proposed revisions, the Non-Managing Member must, by written notice to the
        Managing Member, either approve or disapprove the revised Budget. If the Non-Managing
        Member will not have responded in writing to the proposed revisions prior to the end of such
        seven (7)-day period, the Non-Managing Member will be deemed to have approved the revised
        Budget. If the Non-Managing Member disapproves of the proposed revisions, then the Members
        will use good faith efforts to agree on a revised Budget. The Managing Member will continue to
        operate the Company in accordance with the existing Budget until a revised Budget is approved
        by both Members.

Section 8.8.    Deadlock.

(a)     If the Members are unable to agree on any of the matters described in Section 8.2 and such
        disagreement continues for sixty (60) days despite good faith deliberations by the Members, then
        either Member will be entitled to exercise the buy-sell rights set forth in this Section 8.8 by
        delivering a Buy-Sell Offer Notice (as defined herein).

(b)     If a Member wishes to exercise the buy-sell right provided in this Section 8.8, such Member (the
        “Initiating Member”) will deliver to the other Member (the “Responding Member”) written
        notice (the “Buy-Sell Offer Notice”) of such election, which notice will include (i) a description
        of the circumstances that triggered the buy-sell right, and (ii) the purchase price (which will be
        payable exclusively in cash (unless otherwise agreed)) at which the Initiating Member will (A)
        purchase all of the Membership Interest owned by the Responding Member (the “Buy-out
        Price”) or (B) sell all of its Membership Interest to the Responding Member (the “Sell-out
        Price”), with any difference between the Buy-out Price and the Sell-out Price based solely on
        each Member’s Membership Interest Percentage, without regard to any market discount or
        premium from differences in such proportionate interests.

(c)     Within thirty (30) days after the Buy-Sell Offer Notice is received (the “Buy-Sell Election
        Date”), the Responding Member will deliver to the Initiating Member a written notice (the
        “Response Notice”) stating whether it elects to (i) sell all of its Membership Interest to the
        Initiating Member for the Buy-out Price, or (ii) buy all of the Membership Interest owned by the
        Initiating Member for the Sell-out Price. The failure of the Responding Member to deliver the
        Response Notice by the Buy-Sell Election Date will be deemed to be an election to sell all of its
        Membership Interest to the Initiating Member at the Buy-out Price.

(d)     The closing of any purchase and sale of a Membership Interest pursuant to this Section 8.8 will
        take place within thirty (30) days after the Response Notice is delivered or deemed to have been
        delivered or some other date mutually agreed upon by the parties. The Buy-out Price or the Sell-
        out Price, as the case may be, will be paid at closing by wire transfer of immediately available
        funds to an account designated in writing by the selling Member (the “Selling Member”). At the
        closing, the Selling Member will deliver to the purchasing Member (the “Purchasing Member”)
        good and marketable title to its Membership Interest, free and clear of all liens and
        encumbrances. Each Member agrees to cooperate and take all actions and execute all documents
        reasonably necessary or appropriate to reflect the purchase of the Selling Member’s Membership
        Interest by the Purchasing Member.




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(e)     If the Purchasing Member defaults in any of its material closing obligations, then the Selling
        Member will have the option to purchase the Purchasing Member’s entire Membership Interest at
        a price that is equal to 85% of the purchase price payable at the initial closing.

Section 8.9.     Other Activities; Business Opportunities. Nothing contained in this Agreement will
prevent any Member, including the Managing Member, or any of its Affiliates from engaging in any other
activities or businesses, regardless of whether those activities or businesses are similar to or competitive
with the business of the Company. None of the Members nor any of their Affiliates will be obligated to
account to the Company or to the other Member for any profits or income earned or derived from other
such activities or businesses. None of the Members nor any of their Affiliates will be obligated to inform
the Company or the other Member of any business opportunity of any type or description.

                                            ARTICLE IX
                                        COMPANY OPERATIONS

Section 9.1.   Acquisition of Underlying Investment. On the Effective Date, the Company will cause
the SPV to acquire the Underlying Investment free and clear of all liens and encumbrances (excluding any
encumbrances previously agreed to in writing by the Members.

Section 9.2.    Asset Management Fee. From and after the Effective Date, the Company will pay the
Managing Member an annual asset management fee equal to $175,000, provided the annual asset
management fee will be payable to the Managing Member during each Fiscal Year on the first day of
each calendar quarter (i.e., January 1st, April 1st, July 1st, and October 1st) and prorated for partial quarters.

Section 9.3.    Debt and Equity Placement Fee. On the Effective Date, the Managing Member will
receive a debt and equity placement fee from the Company in an amount equal to $600,000; provided
$200,000 will be immediately recontributed to the Company is equity shares.

Section 9.4.     Sale of the Underlying Investment.

(a)     Property Offer Notice. If, during the term of this Agreement, the Company, the SPV, or a
        Member receives a written offer for the purchase of all or any portion of the Underlying
        Investment from a non-Affiliate of any Member, it will promptly give the other Members written
        notice of such offer (the “Property Offer Notice”). The Property Offer Notice will identify the
        prospective purchaser, the proposed purchase price, the proposed closing date, the proposed
        brokerage commission, and any of the other relevant terms of the transaction. No Member will
        be authorized to cause the Company or the SPV to accept any such offer to purchase all or any
        portion of the Underlying Investment unless such offer has been approved by the other Members.

(b)     Property Sale Election. At any time after thirty-six (36) months after the Effective Date, the
        Managing Member (the “Evoking Member”) will have the right to unilaterally elect to cause the
        Company (on behalf of the SPV) to solicit offers (each, a “Property Sale Offer”) from
        prospective third party purchasers to buy the Underlying Investment. Upon determining to solicit
        Property Sale Offers, the Evoking Member (A) will notify the Members, in writing, of any such
        election (a “Property Sale Election”), and (B) prepare an information package on the Underlying
        Investment that includes (y) a form sale contract reasonably approved by the Members (to be
        executed by any such prospective third party purchaser), and (z) the other material terms and
        conditions on which the Evoking Member is prepared to have the Company (on behalf of the
        SPV) sell and otherwise dispose of the Underlying Investment.




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(c)     Property Sale Notice. If the Company obtains a Property Sale Offer within six (6) months after
        delivery of a Property Sale Election, and an Evoking Member determines, in its sole discretion,
        that the Company (on behalf of the SPV) should accept such Property Sale Offer, such Evoking
        Member will provide written notice (“Property Sale Notice”) to the Members of its desire to
        accept such Property Sale Offer. The non-Evoking Member(s) will have fifteen (15) Business
        Days from the delivery of any Property Sale Notice to notify the Evoking Member, in writing, of
        the election (the “Election Notice”) of the non-Evoking Member(s) to either:

        (i)     approve the Property Sale Offer, in which case the Evoking Member will be authorized to
                effect a Sale of the Underlying Investment, in the name and on behalf of the SPV, on the
                terms and subject to the conditions set forth in the applicable Property Sale Offer; or

        (ii)    purchase the Underlying Investment on substantially the same terms and conditions as set
                forth in the applicable Property Sale Offer (net of any commission that would
                customarily be payable by the Company or the SPV in the event of a sale of the
                Underlying Investment to a third party), provided (A) the non-Evoking Member(s) must
                close such purchase within one hundred twenty (120) days following the Evoking
                Member’s delivery of any Property Sale Notice, and (B) with respect to any obligations
                under agreement with Company Lenders for which the Evoking Member or any of its
                Affiliates are liable, the non-Evoking Members must secure the complete and
                unequivocal release of the Evoking Member and its Affiliates from and against any post-
                transfer claim(s) by each Company Lender;

                 provided that (x) failure to deliver an Election Notice on or before fifteen (15) Business
        Days from the delivery of any Property Sale Notice will be deemed to be an election of Section
        9.4(c)(i), (y) the release set forth in the previous sentence will be a closing condition of any
        election permitted by this Section 9.4(c)(i), and (z) in order for a Property Sale Offer to be valid,
        it must be a bona fide, arm’s-length, all-cash offer from a third party for the Underlying
        Investment, and must be accompanied by a signed contract of sale and a good-faith deposit.

(d)     Default Sale. Any failure by non-Evoking Member(s) to effectuate the purchase of the
        Underlying Investment in accordance with Section 9.4(c)(i) (after such option is elected) will (i)
        be a material breach of this Agreement, and (ii) result in such Member forever forfeiting its right
        to act as a managing member of the Company, consent to material actions in accordance with
        Section 8.2, or initiate any action pursuant to Section 8.8.

Section 9.5.    Management of Underlying Investment.

(a)     Subject to the terms and conditions of this Agreement, the property manager will be engaged to
        oversee the management of the Underlying Investment.

(a)     The Managing Member may terminate, extend, or modify the property management agreement
        with the property manager of the Underlying Investment without the prior written consent of any
        other Member.

(b)     The Company or the SPV will pay a fixed fee to the manager of the Underlying Investment in
        accordance with a property management agreement.




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                                      ARTICLE X
                           EXCULPATION AND INDEMNIFICATION

Section 10.1.   Exculpation of Covered Persons.

(a)    Covered Persons. As used herein, the term “Covered Person” will mean (i) each Member,
       including the Managing Member; (ii) each officer, director, stockholder, partner, member,
       Affiliate, employee, agent or representative of each Member, and each of their Affiliates; and (iii)
       each employee, agent, or representative of the Company (including all Officers).

(b)    Standard of Care. No Covered Person will be liable to the Company or any other Covered
       Person for any loss, damage or claim incurred by reason of any action taken or omitted to be
       taken by such Covered Person in good faith reliance on the provisions of this Agreement, so long
       as such action or omission does not constitute fraud, gross negligence, willful misconduct or a
       material breach of this Agreement by such Covered Person or is not made in knowing violation of
       the provisions of this Agreement.

(c)    Good Faith Reliance. A Covered Person will be fully protected in relying in good faith upon the
       records of the Company and upon such information, opinions, reports or statements (including
       financial statements and information, opinions, reports or statements as to the value or amount of
       the assets, liabilities, Net Income or Net Losses of the Company or any facts pertinent to the
       existence and amount of assets from which distributions might properly be paid) of the following
       Persons or groups: (i) another Member; (ii) one or more Officers or employees of the Company;
       (iii) any attorney, independent accountant, appraiser or other expert or professional employed or
       engaged by or on behalf of the Company; or (iv) any other Person selected in good faith by or on
       behalf of the Company, in each case as to matters that such relying Person reasonably believes to
       be within such other Person’s professional or expert competence. The preceding sentence will in
       no way limit any Person’s right to rely on information to the extent provided in §18-406 of the
       Delaware Act.

Section 10.2.   Liabilities and Duties of Covered Persons.

(a)    Limitation of Liability. This Agreement is not intended to, and does not, create, or impose any
       fiduciary duty on any Covered Person. Furthermore, each of the Members and the Company
       hereby waives any and all fiduciary duties that, absent such waiver, may be implied by
       Applicable Law, and in doing so, acknowledges and agrees that the duties and obligation of each
       Covered Person to each other and to the Company are only as expressly set forth in this
       Agreement. The provisions of this Agreement, to the extent that they restrict the duties and
       liabilities of a Covered Person otherwise existing at law or in equity, are agreed by the Members
       to replace such other duties and liabilities of such Covered Person.

(b)    Duties. Whenever in this Agreement a Covered Person is permitted or required to make a
       decision (including a decision that is in such Covered Person’s “discretion” or under a grant of
       similar authority or latitude), the Covered Person will be entitled to consider only such interests
       and factors as such Covered Person desires, including its own interests, and will have no duty or
       obligation to give any consideration to any interest of or factors affecting the Company or any
       other Person. Whenever in this Agreement a Covered Person is permitted or required to make a
       decision in such Covered Person’s “good faith,” the Covered Person will act under such express
       standard and will not be subject to any other or different standard imposed by this Agreement or
       any other Applicable Law.



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Section 10.3.   Indemnification.

(a)    Indemnification. To the fullest extent permitted by the Delaware Act, as the same now exists or
       may hereafter be amended, substituted or replaced (but, in the case of any such amendment,
       substitution or replacement, only to the extent that such amendment, substitution or replacement
       permits the Company to provide broader indemnification rights than the Delaware Act permitted
       the Company to provide prior to such amendment, substitution or replacement), the Company
       will indemnify, hold harmless, defend, pay and reimburse any Covered Person against any and all
       losses, claims, damages, judgments, fines or liabilities, including reasonable legal fees or other
       expenses incurred in investigating or defending against such losses, claims, damages, judgments,
       fines, or liabilities, and any amounts expended in settlement of any claims (collectively,
       “Losses”) to which such Covered Person may become subject by reason of:

       (i)      any act or omission or alleged act or omission performed or omitted to be performed on
                behalf of the Company, any Member or any direct or indirect Subsidiary of the foregoing
                in connection with the business of the Company; or

       (ii)     such Covered Person being or acting in connection with the business of the Company as a
                member, stockholder, Affiliate, manager, director, officer, employee or agent of the
                Company, any Member, or any of their respective Affiliates, or that such Covered Person
                is or was serving at the request of the Company as a member, manager, director, officer,
                employee, or agent of any Person including the Company;

       provided that, (x) such Covered Person acted in good faith and in a manner believed by such
       Covered Person to be in, or not opposed to, the best interests of the Company and, with respect to
       any criminal proceeding, had no reasonable cause to believe his conduct was unlawful, and (y)
       such Covered Person’s conduct did not constitute fraud, gross negligence, willful misconduct or a
       material breach of this Agreement by such Covered Person or a knowing violation of the
       provisions of this Agreement, in either case as determined by a final, nonappealable order of a
       court of competent jurisdiction. In connection with the foregoing, the termination of any action,
       suit or proceeding by judgment, order, settlement, conviction, or upon a plea of nolo contendere
       or its equivalent, will not, of itself, create a presumption that the Covered Person did not act in
       good faith or, with respect to any criminal proceeding, had reasonable cause to believe that such
       Covered Person’s conduct was unlawful, or that the Covered Person’s conduct constituted fraud,
       gross negligence, willful misconduct or a knowing violation or material breach of this
       Agreement.

(b)    Control of Defense. Upon a Covered Person’s discovery of any claim, lawsuit or other
       proceeding relating to any Losses for which such Covered Person may be indemnified pursuant to
       this Section 10.3, the Covered Person will give prompt written notice to the Company of such
       claim, lawsuit or proceeding, provided that, the failure of the Covered Person to provide such
       notice will not relieve the Company of any indemnification obligation under this Section 10.3,
       unless the Company will have been materially prejudiced thereby. Subject to the approval of the
       disinterested Members, the Company will be entitled to participate in or assume the defense of
       any such claim, lawsuit, or proceeding at its own expense. After notice from the Company to the
       Covered Person of its election to assume the defense of any such claim, lawsuit or proceeding, the
       Company will not be liable to the Covered Person under this Agreement or otherwise for any
       legal or other expenses subsequently incurred by the Covered Person in connection with
       investigating, preparing to defend or defending any such claim, lawsuit or other proceeding. If
       the Company does not elect (or fails to elect) to assume the defense of any such claim, lawsuit or
       proceeding, the Covered Person will have the right to assume the defense of such claim, lawsuit

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      or proceeding as it deems appropriate, but it will not settle any such claim, lawsuit or proceeding
      without the consent of the Company (which consent will not be unreasonably withheld,
      conditioned or delayed).

(c)   Reimbursement. The Company will promptly reimburse (and/or advance to the extent reasonably
      required) each Covered Person for reasonable legal or other expenses (as incurred) of such
      Covered Person in connection with investigating, preparing to defend or defending any claim,
      lawsuit or other proceeding relating to any Losses for which such Covered Person may be
      indemnified pursuant to this Section 10.3; provided that, if it is finally judicially determined that
      such Covered Person is not entitled to the indemnification provided by this Section 10.3, then
      such Covered Person will promptly reimburse the Company for any reimbursed or advanced
      expenses.

(d)   Entitlement to Indemnity. The indemnification provided by this Section 10.3 will not be deemed
      exclusive of any other rights to indemnification to which those seeking indemnification may be
      entitled under any agreement or otherwise. The provisions of this Section 10.3 will continue to
      afford protection to each Covered Person regardless of whether such Covered Person remains in
      the position or capacity pursuant to which such Covered Person became entitled to
      indemnification under this Section 10.3 and will inure to the benefit of the executors,
      administrators, legatees, and distributees of such Covered Person.

(e)   Insurance. To the extent available on commercially reasonable terms, the Company may
      purchase, at its expense, insurance to cover Losses covered by the foregoing indemnification
      provisions and to otherwise cover Losses for any breach or alleged breach by any Covered Person
      of such Covered Person’s duties in such amount and with such deductibles as the Managing
      Member may reasonably determine; provided that, the failure to obtain such insurance will not
      affect the right to indemnification of any Covered Person under the indemnification provisions
      contained herein, including the right to be reimbursed or advanced expenses or otherwise
      indemnified for Losses hereunder. If any Covered Person recovers any amounts in respect of any
      Losses from any insurance coverage, then such Covered Person will, to the extent that such
      recovery is duplicative, reimburse the Company for any amounts previously paid to such Covered
      Person by the Company in respect of such Losses.

(f)   Funding of Indemnification Obligation. Notwithstanding anything contained herein to the
      contrary, any indemnity by the Company relating to the matters covered in this Section 10.3 will
      be provided out of and to the extent of Company assets only, and no Member (unless such
      Member otherwise agrees in writing) will have personal liability on account thereof or will be
      required to make additional contributions of capital to the Company to help satisfy such
      indemnity by the Company.

(g)   Savings Clause. If this Section 10.3 or any portion hereof will be invalidated on any ground by
      any court of competent jurisdiction, then the Company will nevertheless indemnify and hold
      harmless each Covered Person pursuant to this Section 10.3 to the fullest extent permitted by any
      applicable portion of this Section 10.3 that will not have been invalidated and to the fullest extent
      permitted by Applicable Law.

(h)   Amendment. The provisions of this Section 10.3 will be a contract between the Company, on the
      one hand, and each Covered Person who served in such capacity at any time while this Section
      10.3 is in effect, on the other hand, pursuant to which the Company and each such Covered
      Person intend to be legally bound. No amendment, modification, or repeal of this Section 10.3
      that adversely affects the rights of a Covered Person to indemnification for Losses incurred or

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       relating to a state of facts existing prior to such amendment, modification, or repeal will apply in
       such a way as to eliminate or reduce such Covered Person’s entitlement to indemnification for
       such Losses without the Covered Person’s prior written consent.

Section 10.4. Survival. The provisions of this ARTICLE X will survive the dissolution, liquidation,
winding up, and termination of the Company.

                                               ARTICLE XI
                                               TRANSFER

Section 11.1.   Restrictions on Transfer.

(a)    Except as otherwise provided in this ARTICLE XI or in Section 8.8, no Member will Transfer all
       or any portion of its Membership Interest without the written consent of the other Member (which
       consent may be granted or withheld in the sole discretion of the other Member). No Transfer of a
       Membership Interest to a Person not already a Member will be deemed completed until the
       prospective Transferee is admitted as a member of the Company in accordance with Section
       5.2(b).

(b)    Notwithstanding any other provision of this Agreement (including Section 11.2), each Member
       agrees that it will not Transfer all or any portion of its Membership Interest, and the Company
       agrees that it will not issue any Membership Interest:

       (i)      except as permitted under the Securities Act and other applicable federal or state
                securities or blue sky laws, and then, with respect to a Transfer of a Membership Interest,
                only upon delivery to the Company of an opinion of counsel in form and substance
                satisfactory to the Company to the effect that such Transfer may be effected without
                registration under the Securities Act;

       (ii)     if such Transfer or issuance would cause the Company to be considered a “publicly
                traded partnership” under Section 7704(b) of the Code within the meaning of Treasury
                Regulations Section 1.7704-1(h)(1)(ii), including the look-through rule in Treasury
                Regulations Section 1.7704-1(h)(3);

       (iii)    if such Transfer or issuance would affect the Company’s existence or qualification as a
                limited liability company under the Delaware Act;

       (iv)     if such Transfer or issuance would cause the Company to lose its status as a partnership
                for federal income tax purposes;

       (v)      if such Transfer or issuance would cause a termination of the Company for federal
                income tax purposes;

       (vi)     if such Transfer or issuance would cause the Company to be required to register as an
                investment company under the Investment Company Act of 1940, as amended; or

       (vii)    if such Transfer or issuance would cause the assets of the Company to be deemed “Plan
                Assets” as defined under the Employee Retirement Income Security Act of 1974 or its
                accompanying regulations or result in any “prohibited transaction” thereunder involving
                the Company.



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(c)     Any Transfer or attempted Transfer of a Membership Interest in violation of this Agreement will
        be null and void, no such Transfer will be recorded on the Company’s books and the purported
        Transferee in any such Transfer will not be treated (and the purported Transferor will continue be
        treated) as the owner of such Membership Interest for all purposes of this Agreement.

(d)     For the avoidance of doubt, any Transfer of a Membership Interest permitted by this Agreement
        will be deemed a sale, transfer, assignment, or other disposal of such Membership Interest in its
        entirety as intended by the parties to such Transfer, and will not be deemed a sale, transfer,
        assignment, or other disposal of any less than all of the rights and benefits described in the
        definition of the term “Membership Interest,” unless otherwise explicitly agreed to by the parties
        to such Transfer.

Section 11.2. Permitted Transfers. The provisions of Section 11.1(a) will not apply to any Transfer
by any Member of all or any portion of its Membership Interest to its Affiliate.

                                         ARTICLE XII
                                   ACCOUNTING; TAX MATTERS

Section 12.1. Financial Statements. The Managing Member will cause the Company will furnish to
each Member the following reports:

(a)     Annual Financial Statements. As soon as available, and in any event within one hundred twenty
        (120) days after the end of each Fiscal Year, consolidated balance sheets of the Company as at the
        end of each such Fiscal Year and consolidated statements of income, cash flows and Members’
        equity for such Fiscal Year, in each case setting forth in comparative form the figures for the
        previous Fiscal Year.

(b)     Quarterly Financial Statements. As soon as available, and in any event within sixty (60) days
        after the end of each quarterly accounting period in each Fiscal Year (other than the last fiscal
        quarter of the Fiscal Year), consolidated balance sheets of the Company as at the end of each such
        fiscal quarter and for the current Fiscal Year to date and unaudited consolidated statements of
        income, cash flows and Members’ equity for such fiscal quarter and for the current Fiscal Year to
        date, in each case setting forth in comparative form the figures for the corresponding periods of
        the previous fiscal quarter.

Section 12.2. Inspection Rights. Upon reasonable notice from a Member, the Company will afford
each Member and its Representatives access during normal business hours to: (a) the Company’s
properties, offices, plants, and other facilities; (b) the corporate, financial, and similar records, reports,
and documents of the Company, including, without limitation, all books and records, minutes of
proceedings, internal management documents, reports of operations, reports of adverse developments,
copies of any management letters, and communications with Members (including the Managing
Member), and to permit each Member and its Representatives to examine such documents and make
copies thereof; and (c) any officers, senior employees and public accountants of the Company, and to
afford each Member and its Representatives the opportunity to discuss and advise on the affairs, finances
and accounts of the Company with such officers, senior employees, and public accountants (and the
Company hereby authorizes said accountants to discuss with such Member and its Representatives such
affairs, finances, and accounts).

Section 12.3. Income Tax Status. It is the intent of this Company and the Members that this Company
will be treated as a partnership for U.S., federal, state, and local income tax purposes. Neither the



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Company nor any Member will make an election for the Company to be classified as other than a
partnership pursuant to Treasury Regulations Section 301.7701-3.

Section 12.4.   Partnership Representative.

(a)     Appointment. The Members hereby appoint the Managing Member as the “partnership
        representative” (the “Partnership Representative”) as provided in Code Section 6223(a) (as
        amended by the Bipartisan Budget Act of 2015 (“BBA”)). The Partnership Representative may
        resign at any time if there is another Managing Member to act as the Partnership Representative.

(b)     Tax Examinations and Audits. The Partnership Representative is authorized and required to
        represent the Company (at the Company's expense) in connection with all examinations of the
        Company's affairs by Taxing Authorities, including resulting administrative and judicial
        proceedings, and to expend Company funds for professional services and costs associated
        therewith. Each Member agrees that such Member will not independently act with respect to tax
        audits or tax litigation of the Company, unless previously authorized to do so in writing by the
        Partnership Representative, which authorization may be withheld by the Partnership
        Representative in its sole and absolute discretion. The Partnership Representative shall have sole
        discretion to determine whether the Company (either on its own behalf or on behalf of the
        Members) will contest or continue to contest any tax deficiencies assessed or proposed to be
        assessed by any Taxing Authority.

(c)     BBA Elections. To the extent permitted by applicable law and regulations, the Company will
        annually elect out of the partnership audit procedures enacted under Section 1101 of the BBA
        (the “BBA Procedures”) for tax years beginning on or after January 1, 2018 pursuant to Code
        Section 6221(b) (as amended by the BBA). For any year in which applicable law and regulations
        do not permit the Company to elect out of the BBA Procedures, then within forty-five (45) days
        of any notice of final partnership adjustment, the Company will elect the alternative procedure
        under Code Section 6226, as amended by Section 1101 of the BBA, and furnish to the Internal
        Revenue Service and each Member during the year or years to which the notice of final
        partnership adjustment relates a statement of the Member's share of any adjustment set forth in
        the notice of final partnership adjustment.

(d)     Tax Returns and Tax Deficiencies. Each Member agrees that such Member shall not treat any
        Company item inconsistently on such Member's federal, state, foreign or other income tax return
        with the treatment of the item on the Company's return. Any deficiency for taxes imposed on any
        Member or former Member (including penalties, additions to tax or interest imposed with respect
        to such taxes and any taxes imposed pursuant to Code Section 6226 as amended by the BBA) will
        be paid by such Member or former Member, and if required to be paid (and actually paid) by the
        Company, will be recoverable from such Member as provided in Section 7.2(d).

(e)     Income Tax Elections. Except as otherwise provided herein, the Partnership Representative shall
        have sole discretion to make any determination regarding income tax elections it deems advisable
        on behalf of the Company; provided, that the Partnership Representative will make an election
        under Code Section 754, if requested in writing by another Member.

Section 12.5. Tax Returns. At the expense of the Company, the Managing Member (or any Officer
that it may designate pursuant to Section 8.4) will endeavor to cause the preparation and timely filing
(including extensions) of all tax returns required to be filed by the Company pursuant to the Code as well
as all other required tax returns in each jurisdiction in which the Company own property or do business.
The Managing Member will provide the Non-Managing Member, for its review and comment, copies of

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all tax returns prior to the filing thereof. As soon as reasonably possible after the end of each Fiscal Year,
the Managing Member or designated Officer will cause to be delivered to each Person who was a
Member at any time during such Fiscal Year, IRS Schedule K-1 to Form 1065 and such other information
with respect to the Company as may be necessary for the preparation of such Person’s federal, state and
local income tax returns for such Fiscal Year.

Section 12.6. Company Funds. All funds of the Company will be deposited in its name, or in such
name as may be designated by the Managing Member, in such checking, savings or other accounts, or
held in its name in the form of such other investments as will be designated by the Managing Member.
The funds of the Company will not be commingled with the funds of any other Person. All withdrawals
of such deposits or liquidations of such investments by the Company will be made exclusively upon the
signature or signatures of such Officer or Officers as the Managing Member may designate.

                                         ARTICLE XIII
                                 DISSOLUTION AND LIQUIDATION

Section 13.1. Events of Dissolution. The Company will be dissolved and its affairs wound up only
upon the occurrence of any of the following events:

(a)     The determination of the Members to dissolve the Company;

(b)     The Bankruptcy of a Member, unless within ninety (90) days after the occurrence of such
        Bankruptcy, the other Member agrees in writing to continue the business of the Company;

(c)     At the election of a non-defaulting Member, in its sole discretion, if the other Member breaches
        any material covenant, duty or obligation under this Agreement (including a Member’s obligation
        to make Additional Capital Contributions pursuant to Section 4.2), which breach remains uncured
        for ten (10) days after written notice of such breach was received by the defaulting Member;

(d)     The sale, exchange, involuntary conversion, or other disposition or Transfer of all or substantially
        all the assets of the Company; or

(e)     The entry of a decree of judicial dissolution under §18-802 of the Delaware Act.

Section 13.2. Effectiveness of Dissolution. Dissolution of the Company will be effective on the day
on which the event described in Section 13.1 occurs, but the Company will not terminate until the
winding up of the Company has been completed, the assets of the Company have been distributed as
provided in Section 13.3 and the Certificate will have been cancelled as provided in Section 13.4.

Section 13.3. Liquidation. If the Company is dissolved pursuant to Section 13.1, the Company will be
liquidated and its business and affairs wound up in accordance with the Delaware Act and the following
provisions:

(a)     Liquidator. The Managing Member will act as liquidator to wind up the Company (the
        “Liquidator”), unless the Company is being dissolved pursuant to Section 13.1(b) or Section
        13.1(c) based on the Bankruptcy or a breach by the Managing Member, in which case the
        Liquidator will be the Non-Managing Member. The Liquidator will have full power and
        authority to sell, assign, and encumber any or all of the Company’s assets and to wind up and
        liquidate the affairs of the Company in an orderly and business-like manner.




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(b)     Accounting. As promptly as possible after dissolution and again after final liquidation, the
        Liquidator will cause a proper accounting to be made by a recognized firm of certified public
        accountants of the Company’s assets, liabilities and operations through the last day of the
        calendar month in which the dissolution occurs or the final liquidation is completed, as
        applicable.

(c)     Distribution of Proceeds. The Liquidator will liquidate the assets of the Company and distribute
        the proceeds of such liquidation in the following order of priority, unless otherwise required by
        mandatory provisions of Applicable Law:

        (i)     First, to the payment of all of the Company’s debts and liabilities to its creditors
                (including Members, if applicable) and the expenses of liquidation (including sales
                commissions incident to any sales of assets of the Company);

        (ii)    Second, to the establishment of and additions to reserves that are determined by the
                Managing Member to be reasonably necessary for any contingent unforeseen liabilities or
                obligations of the Company; and

        (iii)   Third, to the Members in accordance with Section 7.1.

(d)     Discretion of Liquidator. Notwithstanding the provisions of Section 13.3(c) that require the
        liquidation of the assets of the Company, but subject to the order of priorities set forth in Section
        13.3(c), if upon dissolution of the Company the Liquidator reasonably determines that an
        immediate sale of part or all of the Company’s assets would be impractical or could cause undue
        loss to the Members, the Liquidator may defer the liquidation of any assets except those
        necessary to satisfy Company liabilities and reserves, and may distribute to the Members, in lieu
        of cash, as tenants in common and in accordance with the provisions of Section 13.3(c),
        undivided interests in such Company assets as the Liquidator deems not suitable for liquidation.
        Any such distribution in kind will be subject to such conditions relating to the disposition and
        management of such properties as the Liquidator deems reasonable and equitable and to any
        agreements governing the operating of such properties at such time. For purposes of any such
        distribution, any property to be distributed will be valued at its Fair Market Value.

Section 13.4. Cancellation of Certificate. Upon completion of the distribution of the assets of the
Company as provided in Section 13.3(c) hereof, the Company will be terminated and the Liquidator will
cause the cancellation of the Certificate in the State of Delaware and of all qualifications and registrations
of the Company as a foreign limited liability company in jurisdictions other than the State of Delaware
and will take such other actions as may be necessary to terminate the Company.

Section 13.5. Survival of Rights, Duties, and Obligations. Dissolution, liquidation, winding up, or
termination of the Company for any reason will not release any party from any Loss that at the time of
such dissolution, liquidation, winding up or termination already had accrued to any other party or
thereafter may accrue in respect of any act or omission prior to such dissolution, liquidation, winding up
or termination. For the avoidance of doubt, none of the foregoing will replace, diminish, or otherwise
adversely affect any Member’s right to indemnification pursuant to Section 10.3.

Section 13.6. Recourse for Claims. Each Member will look solely to the assets of the Company for
all distributions with respect to the Company, such Member’s Capital Account, and such Member’s share
of Net Income, Net Loss and other items of income, gain, loss and deduction, and will have no recourse
therefor (upon dissolution or otherwise) against the Liquidator or any other Member.



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                                            ARTICLE XIV
                                           MISCELLANEOUS

Section 14.1. Expenses. Except as otherwise expressly provided herein, all costs and expenses,
including fees and disbursements of counsel, financial advisors and accountants, incurred in connection
with the preparation and execution of this Agreement, or any amendment or waiver hereof, and the
transactions contemplated hereby will be paid by the Company.

Section 14.2. Further Assurances. In connection with this Agreement and the transactions
contemplated hereby, the Company and each Member hereby agrees, at the request of the Company or
any other Member, to execute and deliver such additional documents, instruments, conveyances and
assurances and to take such further actions as may be required to carry out the provisions hereof and give
effect to the transactions contemplated hereby.

Section 14.3.   Confidentiality.

(a)     Each Member acknowledges that during the term of this Agreement, it will have access to and
        become acquainted with trade secrets, proprietary information and confidential information
        belonging to the Company and its Affiliates that are not generally known to the public, including,
        but not limited to, information concerning business plans, financial statements and other
        information provided pursuant to this Agreement, operating practices and methods, expansion
        plans, strategic plans, marketing plans, contracts, customer lists or other business documents that
        the Company treats as confidential, in any format whatsoever (including oral, written, electronic
        or any other form or medium) (collectively, “Confidential Information”). In addition, each
        Member acknowledges that: (i) the Company has invested, and continues to invest, substantial
        time, expense and specialized knowledge in developing its Confidential Information; (ii) the
        Confidential Information provides the Company with a competitive advantage over others in the
        marketplace; and (iii) the Company would be irreparably harmed if the Confidential Information
        were disclosed to competitors or made available to the public. Without limiting the applicability
        of any other agreement to which any Member is subject, no Member will, directly or indirectly,
        disclose or use (other than solely for the purposes of such Member monitoring and analyzing its
        investment in the Company) at any time, including, without limitation, use for personal,
        commercial or proprietary advantage or profit, either during its association with the Company or
        thereafter, any Confidential Information of which such Member is or becomes aware. Each
        Member in possession of Confidential Information will take all appropriate steps to safeguard
        such information and to protect it against disclosure, misuse, espionage, loss, and theft.

(b)     Nothing contained in Section 14.3(a) will prevent any Member from disclosing Confidential
        Information: (i) upon the order of any court or administrative agency; (ii) upon the request or
        demand of any regulatory agency or authority having jurisdiction over such Member; (iii) to the
        extent compelled by legal process or required or requested pursuant to subpoena, interrogatories
        or other discovery requests; (iv) to the extent necessary in connection with the exercise of any
        remedy hereunder; (v) to the other Member; (vi) to such Member’s Representatives who, in the
        reasonable judgment of such Member, need to know such Confidential Information and agree to
        be bound by the provisions of this Section 14.3 as if a Member; or (vii) to any potential Permitted
        Transferee in connection with a proposed Transfer of Membership Interests from such Member,
        as long as such Transferee agrees to be bound by the provisions of this Section 14.3 as if a
        Member; provided that, in the case of clause (i), (ii), or (iii), such Member will notify the
        Company and other Member of the proposed disclosure as far in advance of such disclosure as
        practicable (but in no event make any such disclosure before notifying the Company and other


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        Member) and use reasonable efforts to ensure that any Confidential Information so disclosed is
        accorded confidential treatment satisfactory to the Company, when and if available.

(c)     The restrictions of Section 14.3(a) will not apply to Confidential Information that: (i) is or
        becomes generally available to the public other than as a result of a disclosure by a Member in
        violation of this Agreement; (ii) is or has been independently developed or conceived by such
        Member without use of Confidential Information; or (iii) becomes available to such Member or
        any of its Representatives on a non-confidential basis from a source other than the Company, the
        other Member or any of their respective Representatives, provided that, such source is not known
        by the receiving Member to be bound by a confidentiality agreement regarding the Company.

(d)     The obligations of each Member under this Section 14.3 will survive (i) the termination,
        dissolution, liquidation and winding up of the Company, (ii) the withdrawal of such Member
        from the Company, and (iii) such Member’s Transfer of its Membership Interests.

Section 14.4. Notices.         All notices, requests, consents, claims, demands, waivers and other
communications hereunder will be in writing and will be deemed to have been given: (a) when delivered
by hand (with written confirmation of receipt); (b) when received by the addressee if sent by a nationally
recognized overnight courier (receipt requested); (c) on the date sent by facsimile or e-mail of a PDF
document (with confirmation of transmission) if sent during normal business hours of the recipient, and
on the next Business Day if sent after normal business hours of the recipient; or (d) on the third day after
the date mailed, by certified or registered mail, return receipt requested, postage prepaid. Such
communications must be sent to the respective parties at the following addresses (or at such other address
for a party as will be specified in a notice given in accordance with this Section 14.4):

      If to the GWLI II Member :                      To the applicable address set forth on the
                                                      Members Schedule

      If to the Naissance Member:                     To the applicable address set forth on the
                                                      Members Schedule

             with a copy to:                          Polsinelli PC
                                                      2950 N. Harwood Street, Ste. 2100
                                                      Dallas, TX 75201
                                                      Attention: Brian A. Bullard
                                                      E-mail: bbullard@polsinelli.com

Section 14.5. Headings. The headings in this Agreement are inserted for convenience or reference
only and are in no way intended to describe, interpret, define, or limit the scope, extent, or intent of this
Agreement or any provision of this Agreement.

Section 14.6. Severability. If any term or provision of this Agreement is held to be invalid, illegal or
unenforceable under Applicable Law in any jurisdiction, such invalidity, illegality or unenforceability will
not affect any other term or provision of this Agreement or invalidate or render unenforceable such term
or provision in any other jurisdiction. Except as provided in Section 10.3(g), upon such determination
that any term or other provision is invalid, illegal or unenforceable, the parties hereto will negotiate in
good faith to modify this Agreement so as to effect the original intent of the parties as closely as possible
in a mutually acceptable manner in order that the transactions contemplated hereby be consummated as
originally contemplated to the greatest extent possible.




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Section 14.7. Entire Agreement. This Agreement, together with the Certificate and all related
Exhibits and Schedules, constitutes the sole and entire agreement of the parties to this Agreement with
respect to the subject matter contained herein and therein, and supersedes all prior and contemporaneous
understandings, agreements, representations, and warranties, both written and oral, with respect to such
subject matter.

Section 14.8. Successors and Assigns. Subject to the restrictions on Transfers set forth herein, this
Agreement will be binding upon and will inure to the benefit of the parties hereto and their respective
heirs, executors, administrators, successors and assigns.

Section 14.9. No Third-party Beneficiaries. Except as provided in ARTICLE X, which will be for
the benefit of and enforceable by Covered Persons as described therein, this Agreement is for the sole
benefit of the parties hereto (and their respective heirs, executors, administrators, successors, and assigns)
and nothing herein, express or implied, is intended to or will confer upon any other Person, including any
creditor of the Company, any legal or equitable right, benefit, or remedy of any nature whatsoever under
or by reason of this Agreement.

Section 14.10. Amendment. No provision of this Agreement may be amended or modified except by
an instrument in writing executed by both of the Members. Any such written amendment or modification
will be binding upon the Company and each Member. Notwithstanding the foregoing, amendments to the
Members Schedule following any new issuance, redemption, repurchase, or Transfer of Membership
Interests in accordance with this Agreement may be made by the Managing Member without the consent
of or execution by the Members.

Section 14.11. Waiver. No waiver by any party of any of the provisions hereof will be effective unless
explicitly set forth in writing and signed by the party so waiving. No waiver by any party will operate or
be construed as a waiver in respect of any failure, breach, or default not expressly identified by such
written waiver, whether of a similar or different character, and whether occurring before or after that
waiver. No failure to exercise, or delay in exercising, any right, remedy, power, or privilege arising from
this Agreement will operate or be construed as a waiver thereof, nor will any single or partial exercise of
any right, remedy, power, or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, remedy, power, or privilege. For the avoidance of doubt, nothing contained in
this Section 14.1 will diminish any of the explicit and implicit waivers described in this Agreement,
including in Section 14.14.

Section 14.12. Governing Law. All issues and questions concerning the application, construction,
validity, interpretation, and enforcement of this Agreement will be governed by and construed in
accordance with the internal laws of the State of Delaware, without giving effect to any choice or conflict
of law provision or rule (whether of the State of Delaware or any other jurisdiction) that would cause the
application of laws of any jurisdiction other than those of the State of Delaware.

Section 14.13. Submission to Jurisdiction. The parties hereby agree that any suit, action or proceeding
seeking to enforce any provision of, or based on any matter arising out of or in connection with, this
Agreement or the transactions contemplated hereby, whether in contract, tort, or otherwise, will be
brought in the United States District Court for the District of Delaware or in the Court of Chancery of the
State of Delaware (or, if such court lacks subject matter jurisdiction, in the Superior Court of the State of
Delaware), so long as one of such courts will have subject-matter jurisdiction over such suit, action, or
proceeding, and that any case of action arising out of this Agreement will be deemed to have arisen from
a transaction of business in the State of Delaware. Each of the parties hereby irrevocably consents to the
jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any such suit, action, or
proceeding and irrevocably waives, to the fullest extent permitted by law, any objection that it may now

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or hereafter have to the laying of the venue of any such suit, action, or proceeding in any such court or
that any such suit, action, or proceeding that is brought in any such court has been brought in an
inconvenient form. Service of process, summons, notice, or other document by registered mail to the
address set forth in Section 14.4 will be effective service of process for any suit, action, or other
proceeding brought in any such court.

Section 14.14. WAIVER OF JURY TRIAL.        EACH PARTY HERETO HEREBY
ACKNOWLEDGES AND AGREES THAT ANY CONTROVERSY THAT MAY ARISE UNDER
THIS AGREEMENT IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND,
THEREFORE, EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY
RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION ARISING
OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY.

Section 14.15. Equitable Remedies. Each party hereto acknowledges that a breach or threatened
breach by such party of any of its obligations under this Agreement would give rise to irreparable harm to
the other parties, for which monetary damages would not be an adequate remedy, and hereby agrees that
in the event of a breach or a threatened breach by such party of any such obligations, each of the other
parties hereto will, in addition to any and all other rights and remedies that may be available to them in
respect of such breach, be entitled to equitable relief, including a temporary restraining order, an
injunction, specific performance and any other relief that may be available from a court of competent
jurisdiction (without any requirement to post bond).

Section 14.16. Attorneys’ Fees. In the event that any party hereto institutes any legal suit, action or
proceeding, including arbitration, against another party in respect of a matter arising out of or relating to
this Agreement, the prevailing party in the suit, action, or proceeding will be entitled to receive, in
addition to all other damages to which it may be entitled, the costs incurred by such party in conducting
the suit, action, or proceeding, including reasonable attorneys’ fees and expenses and court costs.

Section 14.17. Remedies Cumulative. The rights and remedies under this Agreement are cumulative
and are in addition to and not in substitution for any other rights and remedies available at law or in equity
or otherwise, except to the extent expressly provided in Section 10.2 to the contrary.

Section 14.18. Counterparts. This Agreement may be executed in counterparts, each of which will be
deemed an original, but all of which together will be deemed to be one and the same agreement. A signed
copy of this Agreement delivered by facsimile, e-mail or other means of Electronic Transmission will be
deemed to have the same legal effect as delivery of an original signed copy of this Agreement.

                   [Remainder of page intentionally left blank – signature page follows]




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                                   SCHEDULE A

                                MEMBERS SCHEDULE


                                                                             Membership
          Member                             Initial Capital
                                                                              Interest
      (Name and Address)                     Contributions
                                                                             Percentage

GWLI II Member :

    1614 Sidney Baker Street                   $16,000,000                     98.77%
     Kerville, Texas 78028

Naissance Member:

     6501 Westchester Ave.                      $200,000                       1.23%
      Houston Texas 77005


            Totals:                            $16,200,000                     100%




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               Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
                                                                                          000825
                    SCHEDULE B

                        BUDGET

                       [attached]




                           - B-1 -
Limited Liability Company Agreement ~ Galleria 2425 JV, LLC
                                                              000826
                       Boxer Property Management
                                 Property
                           Pro Forma Summary

                                                      Year 1
                                             May-18                Apr-19

                                          Annual Total              PSF



Rate                                                 $21.73           $22.18
Occupied Square Feet                               259,016          259,016
Occupied Percentage                                 91.41%           91.41%

Gross Potential Revenue                        6,241,332       $      22.03

 Vacancy Loss                                   (584,177) $           (2.06)
 Net Rental Revenue                            5,657,155 $            19.96

 Expense Reimbursements                        1,992,273       $       7.03
 Building Services / Other Income                 23,634       $       0.08
Total Revenue                                  7,673,063       $      27.08


Operating Expenses

 Salaries and Benefits                           264,844       $       0.93
 General and Administrative                      215,552       $       0.76
 Repair and Maintenance                          243,569       $       0.86
 Utilities (Electric)                            368,364       $       1.30
 Utilities (Non-electric)                         82,174       $       0.29
 Contract Services                               258,224       $       0.91
 Controllable Expenses                         1,432,727       $       5.06

 Mgmt Fee                                        141,679       $       0.50
 Property Taxes                                  753,500       $       2.66
 Insurance                                        35,420       $       0.13
Total Operating Expenses                       2,363,325       $       8.34


Net Operating Income                           5,309,738       $      18.74

Other Expenses/(Income)

 In-house Leasing Salaries                          36,993     $       0.13
 In-house Marketing/Advertising                     87,677     $       0.31
 In-house Leasing/Design & Construction             69,009     $       0.24
 In-house Legal                                     24,302     $       0.09
 3rd Party Professional Fees                        18,809     $       0.07
 Texas Margin Tax                                   74,812     $       0.26
Total Other Expenses/(Income)                      311,603     $       1.10

Net Income Before Interest                     4,998,135       $      17.64    000827
                                                                                  Boxer Property Management
                                                                                            Property
                                                                                        Year 1 Pro Forma

                                                                                                                                                                                           Annual
                                           May-18      Jun-18      Jul-18      Aug-18      Sep-18      Oct-18      Nov-18      Dec-18      Jan-19      Feb-19      Mar-19      Apr-19      Total            PSF
                                             1           2           3           4           5           6           7           8           9           10          11          12

Rate                                          $21.73      $21.73      $21.74      $21.74      $21.74      $21.74      $21.74      $21.74      $21.76      $22.12      $22.13      $22.18
Occupied Square Feet                        259,016     259,016     259,016     259,016     259,016     259,016     259,016     259,016     259,016     259,016     259,016     259,016
Occupied Percentage                          91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%      91.41%

  Total Current Rents                       469,129     469,129     469,248     469,248     469,248     469,248     469,248     469,248     469,641     477,524     477,575     478,669    5,657,155    $    19.96
  Total New Rents                               -           -           -           -           -           -           -           -           -           -           -           -            -      $      -
  Vac Loss                                   48,681      48,681      48,681      48,681      48,681      48,681      48,681      48,681      48,681      48,681      48,681      48,681      584,177    $     2.06
Gross Potential Revenue                     517,810     517,810     517,929     517,929     517,929     517,929     517,929     517,929     518,322     526,205     526,256     527,351    6,241,332    $    22.03

  Rental Allowances                             -           -           -           -           -           -           -           -           -           -           -           -            -      $      -
  Vacancy Loss                              (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (48,681)    (584,177)   $    (2.06)
  Bad Debt Expense                              -           -           -           -           -           -           -           -           -           -           -           -            -      $      -
  Net Rental Revenue                        469,129     469,129     469,248     469,248     469,248     469,248     469,248     469,248     469,641     477,524     477,575     478,669    5,657,155    $    19.96

  Expense Reimbursements                    166,023     166,023     166,023     166,023     166,023     166,023     166,023     166,023     166,023     166,023     166,023     166,023    1,992,273    $     7.03
  Building Services / Other Income            1,970       1,970       1,970       1,970       1,970       1,970       1,970       1,970       1,970       1,970       1,970       1,970       23,634    $     0.08
Total Revenue                               637,121     637,121     637,240     637,240     637,240     637,240     637,240     637,240     637,633     645,516     645,567     646,661    7,673,063    $    27.08

Operating Expenses

  Salaries and Benefits                      20,427      20,427      20,427      30,286      20,427      20,427      20,427      20,427      20,427      20,427      30,286      20,427      264,844    $     0.93
  General and Administrative                 17,859      17,859      17,859      18,482      17,859      17,859      17,859      17,859      17,859      17,859      18,482      17,859      215,552    $     0.76
  Repair and Maintenance                     20,297      20,297      20,297      20,297      20,297      20,297      20,297      20,297      20,297      20,297      20,297      20,297      243,569    $     0.86
  Utilities (Electric)                       30,697      30,697      30,697      30,697      30,697      30,697      30,697      30,697      30,697      30,697      30,697      30,697      368,364    $     1.30
  Utilities (Non-electric)                    6,848       6,848       6,848       6,848       6,848       6,848       6,848       6,848       6,848       6,848       6,848       6,848       82,174    $     0.29
  Contract Services                          21,519      21,519      21,519      21,519      21,519      21,519      21,519      21,519      21,519      21,519      21,519      21,519      258,224    $     0.91
  Mgmt Fee                                   11,807      11,807      11,807      11,807      11,807      11,807      11,807      11,807      11,807      11,807      11,807      11,807      141,679    $     0.50
  Controllable Expenses                     129,453     129,453     129,453     139,936     129,453     129,453     129,453     129,453     129,453     129,453     139,936     129,453    1,574,405    $     5.56

  Property Taxes                             62,792      62,792      62,792      62,792      62,792      62,792      62,792      62,792      62,792      62,792      62,792      62,792      753,500    $     2.66
  Insurance                                   2,952       2,952       2,952       2,952       2,952       2,952       2,952       2,952       2,952       2,952       2,952       2,952       35,420    $     0.13
Total Operating Expenses                    195,197     195,197     195,197     205,679     195,197     195,197     195,197     195,197     195,197     195,197     205,679     195,197    2,363,325    $     8.34

Net Operating Income                        441,925     441,925     442,044     431,561     442,044     442,044     442,044     442,044     442,437     450,320     439,888     451,465    5,309,738    $    18.74

Other Expenses/(Income)

  In-house Leasing Salaries                   2,846       2,846       2,846       4,268       2,846       2,846       2,846       2,846       2,846       2,846       4,268       2,846      36,993     $     0.13
  In-house Marketing/Advertising              6,871       6,871       6,871       9,481       6,871       6,871       6,871       6,871       6,871       6,871       9,481       6,871      87,677     $     0.31
  In-house Leasing/Design & Construction      5,308       5,308       5,308       7,963       5,308       5,308       5,308       5,308       5,308       5,308       7,963       5,308      69,009     $     0.24
  In-house Legal                              1,869       1,869       1,869       2,804       1,869       1,869       1,869       1,869       1,869       1,869       2,804       1,869      24,302     $     0.09
  3rd Party Professional Fees                 1,567       1,567       1,567       1,567       1,567       1,567       1,567       1,567       1,567       1,567       1,567       1,567      18,809     $     0.07
  Texas Margin Tax                            6,234       6,234       6,234       6,234       6,234       6,234       6,234       6,234       6,234       6,234       6,234       6,234      74,812     $     0.26
Total Other Expenses/(Income)                24,697      24,697      24,697      32,318      24,697      24,697      24,697      24,697      24,697      24,697      32,318      24,697     311,603     $     1.10

Net Income Before Interest                  417,228     417,228     417,347     399,244     417,347     417,347     417,347     417,347     417,740     425,623     407,570     426,768    4,998,135    $    17.64




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                           EXHIBIT )




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                                 ) Chapter 11
                                                        )
 GALLERIA 2425 OWNER, LLC,                              ) Case No. 23-34815
                        Debtor.                         )
                                                        )
 NOTICE OF DEPOSITION OF AND SUBPOENA DUCES TECUM TO 2425 WL LLC

          PLEASE TAKE NOTICE that Christopher R. Murray, the chapter 11 trustee in the above-
captioned case (the “Trustee”) intends to take the deposition (the “Deposition”) upon oral
examination of 2425 WL LLC (the “Deponent”) pursuant to Fed. R. Civ. P. 30(b)(6) in connection
with the confirmation of the Chapter 11 Plan of Liquidation of the Debtor by National Bank of
Kuwait S.A.K.P., New York Branch [Dkt No. 194] and any other contested matter pending in the
above-captioned case on June 11, 2024, at 10:00 a.m., or other such time and location agreed
upon by the parties, and shall continue day to day, excluding weekends and holidays unless
otherwise agreed to by the parties, until completed. The Deposition will be conducted at the offices
of Jones & Murray LLP, 602 Sawyer Street, Suite 400, Houston, Texas 77007. The Deponent is
requested to designate the person or persons most knowledgeable and prepared to testify on behalf
of the Deponent concerning the subject matter described in Attachment A hereto.

          PLEASE TAKE FURTHER NOTICE that the Deposition will be recorded by stenographic
means. The stenographic recording will be taken before Veritext, 4295 San Felipe Street, Suite
125, Houston, TX 77027, or another court reporting service through a person authorized to
administer oaths pursuant to Rule 28(a) of the Federal Rules of Civil Procedure.

          PLEASE TAKE FURTHER NOTICE that, in connection with the Deposition, the Trustee
will serve a subpoena duces tecum designating the documents indicated in Attachment B hereto
for production prior to the Deposition.

          PLEASE TAKE FURTHER NOTICE that the witness should have a government-issued
identification to provide to the court reporter/notary to confirm his identity at the commencement
of the deposition and before being sworn.




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 Dated: May 21, 2024                            Respectfully submitted,

                                                SHANNON & LEE LLP

                                                /s/R. J. Shannon                           .
                                                Kyung S. Lee (TBA No. 12128400)
                                                R. J. Shannon (TBA No. 24108062)
                                                2100 Travis Street, STE 1525
                                                Houston, TX 77002
                                                Telephone: (713) 714-5770
                                                Email: klee@shannonleellp.com
                                                         rshannon@shannonleellp.com

                                                Counsel to the Chapter 11 Trustee


                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on May 21, 2024, a true and correct copy of the foregoing
document was served via (a) U.S.P.S. first class mail on the parties indicated in the attached service
list and (b) U.S.P.S. first class mail and email on the following parties:

Stephen W Sather
BARRON & NEWBURGER, P.C.
7320 N. MoPac Expwy., Suite 400
Austin, TX 78731
ssather@bn-lawyers.com

Andrew M. Troop
PILLSBURY WINTHROP SHALL PITTMAN LLP
31 West 52nd Street
New York, NY 10019-6131
andrew.troop@pillsburylaw.com

Reese W. Baker
BAKER & ASSOCIATES
950 Echo Lane, Suite 300
Houston, Texas 77024
reese.baker@bakerassociates.net

Ali Choudhri
2425 West Loop South 11th Floor
Houston, TX 77027
ali@jetallcapital.com

                                               R. J. Shannon
                                               R. J. Shannon




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Label Matrix for local noticing               2425 WL, LLC                            CC2 TX, LLC
0541-4                                        2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                 Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                            12770 Coit Road Suite 850
Houston                                                                               Dallas, TX 75251-1364
Tue May 21 12:20:59 CDT 2024
City of Houston                               Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                       Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Hayward PLLC                                  Houston Community College System        Houston ISD
c/o Melissa Hayward                           Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
10501 N. Central Expy., Ste. 106              c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
Dallas, TX 75231-2203                         PO Box 3064                             PO Box 3064
                                              Houston, TX 77253-3064                  Houston, TX 77253-3064

National Bank of Kuwait, S.A.K.P., New York   4                                       2425 WL, LLC
                                              United States Bankruptcy Court          13498 Pond Springs Rd.
                                              PO Box 61010                            Austin, TX 78729-4422
                                              Houston, TX 77208-1010


2425 West Loop, LLC                           ADT                                     Ali Choudhry
2000 Hughes Landing Blvd., Suite 815          PO Box 382109                           1001 West Loop South 700
The Woodlands, Texas 77380-4142               Pittsburgh, PA 15251-8109               Houston, TX 77027-9084



Arin-Air, Inc.                                Ash Automated Control Systems, LLC      CC2 TX, LLC
5710 Brittmoore Rd. #13                       PO Box 1113                             14800 Landmark Blvd., Suite 400
Houston, TX 77041-5627                        Fulshear, TX 77441-2013                 Dallas, TX 75254-7598



CFI Mechanical, Inc                           CNA Insurance Co                        Caz Creek Lending
6109 Brittmoore Rd                            PO Box 74007619                         118 Vintage Park Blvd No. W
Houston, TX 77041-5610                        Chicago, IL 60674-7619                  Houston, TX 77070-4095



Cirro Electric                                City of Houston                         City of Houston
PO Box 60004                                  PO Box 1560                             c/o Tara L. Grundemeier
Dallas, TX 75266                              Houston, TX 77251-1560                  Linebarger Goggan Blair & Sampson LLP
                                                                                      PO Box 3064
                                                                                      Houston, TX 77253-3064

Comcast                                       Datawatch Systems                       Environmental Coalition Inc
PO Box 60533                                  4520 East West Highway 200              PO Box 1568
City of Industry, CA 91716-0533               Bethesda, MD 20814-3382                 Stafford, TX 77497-1568



Ferguson Facilities Supplies                  Firetron                                (p)FIRST INSURANCE FUNDING
PO Box 200184                                 PO Box 1604                             450 SKOKIE BLVD SUITE 1000
San Antonio, TX 78220-0184                    Stafford, TX 77497-1604                 NORTHBROOK IL 60062-7917



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Gulfstream Legal Group                      H.N.B. Construction, LLC                HNB Construction, LLC
1300 Texas St                               c/o Malcolm D. Dishongh                 521 Woodhaven
Houston, TX 77002-3509                      PO Box 2347                             Ingleside, TX 78362-4678
                                            Humble, TX 77347-2347


Hayward PLLC                                Houston Community College System        Houston ISD
c/o Melissa S. Hayward                      c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
10501 N. Central Expy., Ste. 106            Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
Dallas, TX 75231-2203                       PO Box 3064                             PO Box 3064
                                            Houston, TX 77253-3064                  Houston, TX 77253-3064

Jetall Companies, Inc                       Kings 111 Emergency Communications      Lexitas
1001 West Loop South Ste 700                751 Canyon Drive, Suite 100             PO Box Box 734298 Dept 2012
Houston, TX 77027-9033                      Coppell, TX 75019-3857                  Dallas, TX 75373-4298



Lloyd E. Kelley                             Logix Fiber Networks                    MacGeorge Law Firm
2726 Bissonent Suite 240                    PO Box 734120                           2921 E 17th St Blgd D Suite 6
Houston, TX 77005-1352                      Dallas, TX 75373-4120                   Austin, TX 78702-1572



Mueller Water Treatment                     Naissance Galleria, LLC                 National Bank of Kuwait
1500 Sherwood Forest Dr.                    c/o Law Office of Nima Taherian         299 Park Ave. 17th Floor
Houston, TX 77043-3899                      701 N. Post Oak Rd. Ste 216             New York, NY 10171-0023
                                            Houston, TX 77024-3868


Nationwide Security                         Nichamoff Law Firm                      Rodney L. Drinnon
2425 W Loop S 300                           2444 Times Blvd 270                     2000 West Loop S, Ste. 1850,
Houston, TX 77027-4205                      Houston, TX 77005-3253                  Houston, Texas 77027-3744



TKE                                         U.S. Trustee’s Office                   US Retailers LLC d/b/a Cirro Energy
3100 Interstate North Cir SE 500            515 Rusk, Suite 3516                    Attention: Bankruptcy Department
Atlanta, GA 30339-2296                      Houston, Texas 77002-2604               PO Box 3606
                                                                                    Houston, TX 77253-3606


US Trustee                                  Waste Management                        Zindler Cleaning Service Co
Office of the US Trustee                    PO Box 660345                           2450 Fondren 113
515 Rusk Ave                                Dallas, TX 75266-0345                   Houston, TX 77063-2314
Ste 3516
Houston, TX 77002-2604

Ali Choudhri                                Christopher R Murray                    James Q. Pope
24256 West Loop South                       Jones Murray LLP                        The Pope Law Firm
11th Floor                                  602 Sawyer St                           6161 Savoy Drive
Houston, TX 77027                           Ste 400                                 Ste 1125
                                            Houston, TX 77007-7510                  Houston, TX 77036-3343

Reese W Baker                               Rodney Drinnon
Baker & Associates                          McCathern Houston
950 Echo Lane                               2000 W Loop S
Suite 300                                   Ste. 1850
Houston, TX 77024-2824                      Houston, TX 77027-3744
                                                                                                               000841
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division          First Insurance Funding                              (d)Harris County Tax Assessor
Harris County Attorney’s Office                     450 Skokie Blvd                                      PO Box 4622
P.O. Box 2928                                       Northbrook, IL 60062                                 Houston, TX 77210
Houston, TX 77252-2928 United States


(d)Harris County, et al
PO Box 2928
Houston, TX 77252




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                              (u)Sonder USA Inc.                                   (d)Arin-Air, LLC
                                                                                                         5710 Brittmoore Rd. #13
                                                                                                         Houston, TX 77041-5627



(du)Sonder USA Inc.                                 (u)Jack Rose                                         End of Label Matrix
                                                                                                         Mailable recipients     58
                                                                                                         Bypassed recipients      5
                                                                                                         Total                   63




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                                         ATTACHMENT A

                                      DEPOSITION TOPICS

       Pursuant to Fed. R. Civ. P. 30(b)(6), Christopher R. Murray (the “Trustee”), the chapter 11

Trustee in the above-captioned case, will conduct a deposition of 2425 WL LLC on the following

topics (the “Topics”) indicated below.

                                            Definitions

       The following definitions of terms apply to the Topics. Unless otherwise defined herein,

all words and phrases used herein shall be accorded their usual meanings and shall be interpreted

in their common, ordinary sense.

       1.      “2425 WL”, “You,” “Your”, or “Yours” means 2425 WL, LLC, along with its

agents, employees, attorneys, representatives, affiliates, consultations, and all other persons acting

or purporting to act on its behalf.

       2.      “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

       3.      “2425 WL Note” means the notice indicated in the 2425 WL DOT.

       4.      “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

       5.      The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

       6.      “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current




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Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.

        7.       “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

        8.       “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

        9.       “Debtor” means Galleria 2425 Owner, LLC, along with its agents, employees,

attorneys, representatives, affiliates, consultants, and all other persons acting or purporting to act

on its behalf.

        10.      “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a documents by whatever means made, except where a




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document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.

          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease Agreement’

dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          15.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf.

          16.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,

among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

          17.   “Person” has the meaning set forth in 11 U.S.C. § 101(41).




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        18.     “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.

        19.     “Settlement Statement” means the document titled Settlement Statement reflecting

the transaction in which the Debtor acquired the Real Property.

        20.     “Trustee” means Christopher R. Murray

        21.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                              Topics

        1.      Your current and historic ownership, organizational, and management structure.

        2.      The facts and circumstances surrounding Your acquisition of the Real Property.

        3.      The facts and circumstances surrounding Your sale of the Real Property to the

Debtor, including any financing related thereto.

        4.      Any distribution of funds in connection with Your sale of the Real Property to the

Debtor.

        5.      The Settlement Statement in connection with Your sale of the Real Property to the

Debtor.

        6.      The facts and circumstances surrounding the 2425 WL DOT, including its (a)

creation, (b) execution, and (c) filing.

        7.      The facts and circumstances surrounding the 2425 WL Note, including its (a)

creation, (b) execution, and (c) any consideration provided.

        8.      Any payments You received under the 2425 WL Note.




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       9.     The facts and circumstances surrounding the execution of the Jetall Lease 2016

Amendment, including any disclosure thereof.

       10.    Any Document produced by or requested from You in advance of the Deposition.




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                                            EXHIBIT B

                                  DOCUMENT PRODUCTION

       Christopher R. Murray (the “Trustee”) requests the production of documents (the

“Document Requests”) as set forth herein.

                                            Definitions

       The following definitions of terms apply to these Document Requests. Unless otherwise

defined herein, all words and phrases used herein shall be accorded their usual meanings and shall

be interpreted in their common, ordinary sense.

       1.      “2425 WL”, “You,” “Your”, or “Yours” means 2425 WL LLC, along with its

agents, employees, attorneys, representatives, affiliates, consultations, and all other persons acting

or purporting to act on its behalf.

       2.      “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

       3.      “2425 WL Note” means the notice indicated in the 2425 WL DOT.

       4.      “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

       5.      The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

       6.      “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current

Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.


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        7.       “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

        8.       “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

        9.       “Debtor” means Galleria 2425 Owner, LLC, along with its agents, employees,

attorneys, representatives, affiliates, consultants, and all other persons acting or purporting to act

on its behalf.

        10.      “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a document by whatever means made, except where a

document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.




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          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease Agreement’

dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          15.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf

          16.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,

among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

          17.   “Person” has the meaning set forth in 11 U.S.C. § 101(41).

          18.   “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.




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       19.     “Settlement Statement” means the document titled Settlement Statement reflecting

the transaction in which the Debtor acquired the Real Property.

       20.     “Trustee” means Christopher R. Murray

       21.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                           Instructions

       1.      The preceding Definitions apply to these Instructions and each of the succeeding

Document Requests.

       2.      Documents covered by the Document Requests include all responsive Documents

in Your possession, custody, or control.

       3.      Each Document Request shall be deemed to be continuing in nature. If at any time

additional Documents responsive to the Document Requests come into Your possession, custody,

or control or are brought to Your attention, prompt supplementation of Your response to these

Document Requests is required.

       4.      If, in responding to the Document Requests, You believe there are ambiguities in a

request or definition, the response shall set forth the matter deemed ambiguous and the

construction used in responding.

       5.      You shall produce all Documents in the manner in which they are maintained in the

ordinary course of you business, and/or You shall organize and label the Documents to correspond

with the categories in this request. A request for a Document shall be deemed to include a request

for any and all file folders within which the Document was contained, transmittal sheets, cover

letters, exhibits, enclosures, or attachments to the Document in addition to the Document itself.



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       6.      Documents attached to each other should not be separated.

       7.      Except as provided in the following paragraph, the responsive material and

documents should be produced in Native Format and converted into searchable Tagged Image File

Format (FIFF), unless otherwise specified. All metadata associated with the responsive material

and documents shall be maintained. For material documents that cannot be converted into TIFF,

notify the requesting party of the intended form of production that is either reasonably usable or

as it is ordinarily kept. All data responsive to the requests shall be provided in user-readable format

(.txt or similar file types), or as otherwise agreed in supplemental writing by the parties. For any

electronically stored information produced:

            a. Searchable Database Files: Provide document images and database load files that

               are in a standard format with the following minimum characteristics:

                    i. Images: Images will be delivered in multi-page TIFF images, scanned at

                       300 dpi or more. Each imaged page will be branded with a unique sequential

                       number consisting of an alpha prefix and numeric digits (“Bates Number”);

                   ii. Document Breaks: Physical document boundaries will be capted during

                       scanning and the load file will reflect those document boundaries. A

                       document break will indicate where folders, redwells, binders, clips, ruber

                       bands, staples, etc. originally appeared; and

            b. OCR Data: Document OCR will be performed. OCR will be provided on a

               document level.

            c. Document Index: For each document production, you shall provide an index

               containing the following values for each document:

                    i. Beginning Bates Number;



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                   ii. Ending Bates Number; and

                  iii. The Document’s custodian.

       8.      To the extent that You believe production according to the preceding paragraph is

unduly burdensome, You shall (a) produce responsive material in a manner that provides

substantially the same information as above and (b) advise the Trustee and his counsel of the

manner of production and the particular requirements of the preceding paragraph You believe were

unduly burdensome and with which You are not complying.

       9.      If any document within the scope of this request has been destroyed, that Document

shall be identified including identification of (i) its author(s); (ii) intended or unintended

recipient(s); (iii) addressee(s); (iv) intended or unintended recipients of bling copies; (v) date; and

(vi) subject matter. The circumstances of such destruction shall be set forth, and any Documents

relating to such destruction shall be produced.

       10.     In producing Documents and other materials, You are requested to furnish all

Documents or things in Your possession, custody, or control, regardless of whether such

Documents or materials are possessed by You directly.

       11.     If You object to any part of any request, You shall state fully the nature of the

objection. Notwithstanding any objections, You shall nonetheless comply fully with the other parts

of the request not objected to.

       12.     The Trustee reserves the right to request additional documents as needed and to

submit additional or supplemental document requests, provided, further, that the Trustee expressly

reserves his rights to supplement or amend the Document Requests.




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                                      Document Requests

       1.      All documents reflecting, describing, or evidencing Your corporate structure and

management, including but not limited to any (a) company agreement, (b) the membership

interests in 2425 WL (c) management of 2425 WL, and (d) basis for Choudhri to act on behalf of

2425 WL.

       2.      The 2425 WL Note.

       3.      Communications or Documents referencing, describing, or evidencing the

preparation and drafting of the 2425 WL Note.

       4.      Communications and other Documents referencing, describing, or evidencing any

consideration 2425 WL provided to the Debtor in exchange for the Note.

       5.      Communications and other Documents referencing, describing, or evidencing any

indebtedness of the Debtor to You prior to May 11, 2021.

       6.      Communications or Documents referencing, describing, or evidencing any

indebtedness of the Debtor to You on or after May 11, 2021.

       7.      Communications or Documents referencing, describing, or related to the 2425 WL

DOT, including its execution.

       8.      Communications or Documents exchanged with Azeemah Zaheer, Naissance

Capital Real Estate, LLC, or Galleria 2425 JV, LLC regarding the 2425 WL Note.

       9.      Communications or Documents referencing, describing, or evidencing the

distribution of funds from Your sale of the Real Property to the Debtor.

       10.     The final version and any drafts of the Settlement Statement.

       11.     Communications or Documents referencing, describing, or evidencing the

preparation of the Settlement Statement.



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       12.     Communications or Documents referencing, describing, or evidencing the “Seller

Credit” indicated on the Settlement Statement.

       13.     All Communications or Documents exchanged with NBK in connection with the

sale of the Real Property on or before May 23, 2018.

       14.     All Communications or Documents exchanged with the Debtor in connection with

the Sale of the Real Property on or before May 23, 2018.

       15.     All communications or Documents exchanged with Jetall, the Debtor, or NBK

regarding the Jetall Lease 2016 Amendment.

       16.     All Communications or Documents exchanged with TransAct Title – Galleria or

any other title company in connection with the Sale of the Real Property at any time.




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                            EXHIBIT ,




                                                                       000856
                      Case 23-34815 Document 467-11 Filed in TXSB on 06/11/24 Page 2 of 12
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                   6RXWKHUQ District of _________________________________________
  _________________________________________              7H[DV
        *DOOHULD2ZQHU//&
In re __________________________________________
                                    Debtor
                                                                                               
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
       :///&
                                   (Name of person to whom the subpoena is directed)

  ; Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: 6HH$WWDFKPHQW

  PLACE 6KDQQRQ     /HH//37UDYLV6WUHHW+RXVWRQ7;                                        DATE AND TIME      2QRUEHIRUH
            UVKDQQRQ#VKDQQRQOHHOOSFRPNOHH#VKDQQRQOHHOOSFRP                                               -XQHDWSP &7

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                ________________________
                                                                                            __
                                                                                             ___
                                                                                               ___
                                                                                                _ ______________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s
                                                                                                 A ttorney’s signatur
                                                                                                             signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
   &KULVWRSKHU50XUUD\
  ____________________________       , who issues or requests this subpoena, are: 5-6KDQQRQ6KDQQRQ /HH//3
    7UDYLV6WUHHW67(+RXVWRQ7;UVKDQQRQ#VKDQQRQOHHOOSFRP
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                                                                                   000857
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B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 2))



                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                    ________________________________________________
                                                                                                                  Server’s signature

                                                                                    ________________________________________________
                                                                                                               Printed name and title


                                                                                    ________________________________________________
                                                                                                                   Server’s address


Additional information concerning attempted service, etc.:




                                                                                                                                                    000858
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B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 3))


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)




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                                              EXHIBIT

                                  DOCUMENT PRODUCTION

       Christopher R. Murray (the “Trustee”) requests the production of documents (the

“Document Requests”) as set forth herein.

                                            Definitions

       The following definitions of terms apply to these Document Requests. Unless otherwise

defined herein, all words and phrases used herein shall be accorded their usual meanings and shall

be interpreted in their common, ordinary sense.

       1.     “2425 WL”, “You,” “Your”, or “Yours” means 2425 WL LLC, along with its

agents, employees, attorneys, representatives, affiliates, consultations, and all other persons acting

or purporting to act on its behalf.

       2.     “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

       3.      “2425 WL Note” means the notice indicated in the 2425 WL DOT.

       4.      “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

       5.      The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

       6.      “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current

Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.


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        7.       “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

        8.       “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

        9.       “Debtor” means Galleria 2425 Owner, LLC, along with its agents, employees,

attorneys, representatives, affiliates, consultants, and all other persons acting or purporting to act

on its behalf.

        10.      “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a document by whatever means made, except where a

document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.




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          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease Agreement’

dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          15.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf

          16.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,

among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

          17.   “Person” has the meaning set forth in 11 U.S.C. § 101(41).

          18.   “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.




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     Case 23-34815 Document 467-11 Filed in TXSB on 06/11/24 Page 8 of 12




       19.     “Settlement Statement” means the document titled Settlement Statement reflecting

the transaction in which the Debtor acquired the Real Property.

       20.     “Trustee” means Christopher R. Murray

       21.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                           Instructions

       1.      The preceding Definitions apply to these Instructions and each of the succeeding

Document Requests.

       2.      Documents covered by the Document Requests include all responsive Documents

in Your possession, custody, or control.

       3.      Each Document Request shall be deemed to be continuing in nature. If at any time

additional Documents responsive to the Document Requests come into Your possession, custody,

or control or are brought to Your attention, prompt supplementation of Your response to these

Document Requests is required.

       4.      If, in responding to the Document Requests, You believe there are ambiguities in a

request or definition, the response shall set forth the matter deemed ambiguous and the

construction used in responding.

       5.      You shall produce all Documents in the manner in which they are maintained in the

ordinary course of you business, and/or You shall organize and label the Documents to correspond

with the categories in this request. A request for a Document shall be deemed to include a request

for any and all file folders within which the Document was contained, transmittal sheets, cover

letters, exhibits, enclosures, or attachments to the Document in addition to the Document itself.



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       6.      Documents attached to each other should not be separated.

       7.      Except as provided in the following paragraph, the responsive material and

documents should be produced in Native Format and converted into searchable Tagged Image File

Format (FIFF), unless otherwise specified. All metadata associated with the responsive material

and documents shall be maintained. For material documents that cannot be converted into TIFF,

notify the requesting party of the intended form of production that is either reasonably usable or

as it is ordinarily kept. All data responsive to the requests shall be provided in user-readable format

(.txt or similar file types), or as otherwise agreed in supplemental writing by the parties. For any

electronically stored information produced:

            a. Searchable Database Files: Provide document images and database load files that

               are in a standard format with the following minimum characteristics:

                    i. Images: Images will be delivered in multi-page TIFF images, scanned at

                       300 dpi or more. Each imaged page will be branded with a unique sequential

                       number consisting of an alpha prefix and numeric digits (“Bates Number”);

                   ii. Document Breaks: Physical document boundaries will be capted during

                       scanning and the load file will reflect those document boundaries. A

                       document break will indicate where folders, redwells, binders, clips, ruber

                       bands, staples, etc. originally appeared; and

            b. OCR Data: Document OCR will be performed. OCR will be provided on a

               document level.

            c. Document Index: For each document production, you shall provide an index

               containing the following values for each document:

                    i. Beginning Bates Number;



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     Case 23-34815 Document 467-11 Filed in TXSB on 06/11/24 Page 10 of 12




                   ii. Ending Bates Number; and

                  iii. The Document’s custodian.

       8.      To the extent that You believe production according to the preceding paragraph is

unduly burdensome, You shall (a) produce responsive material in a manner that provides

substantially the same information as above and (b) advise the Trustee and his counsel of the

manner of production and the particular requirements of the preceding paragraph You believe were

unduly burdensome and with which You are not complying.

       9.      If any document within the scope of this request has been destroyed, that Document

shall be identified including identification of (i) its author(s); (ii) intended or unintended

recipient(s); (iii) addressee(s); (iv) intended or unintended recipients of bling copies; (v) date; and

(vi) subject matter. The circumstances of such destruction shall be set forth, and any Documents

relating to such destruction shall be produced.

       10.     In producing Documents and other materials, You are requested to furnish all

Documents or things in Your possession, custody, or control, regardless of whether such

Documents or materials are possessed by You directly.

       11.     If You object to any part of any request, You shall state fully the nature of the

objection. Notwithstanding any objections, You shall nonetheless comply fully with the other parts

of the request not objected to.

       12.     The Trustee reserves the right to request additional documents as needed and to

submit additional or supplemental document requests, provided, further, that the Trustee expressly

reserves his rights to supplement or amend the Document Requests.




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                                      Document Requests

       1.      All documents reflecting, describing, or evidencing Your corporate structure and

management, including but not limited to any (a) company agreement, (b) the membership

interests in 2425 WL (c) management of 2425 WL, and (d) basis for Choudhri to act on behalf of

2425 WL.

       2.      The 2425 WL Note.

       3.      Communications or Documents referencing, describing, or evidencing the

preparation and drafting of the 2425 WL Note.

       4.      Communications and other Documents referencing, describing, or evidencing any

consideration 2425 WL provided to the Debtor in exchange for the Note.

       5.      Communications and other Documents referencing, describing, or evidencing any

indebtedness of the Debtor to You prior to May 11, 2021.

       6.      Communications or Documents referencing, describing, or evidencing any

indebtedness of the Debtor to You on or after May 11, 2021.

       7.      Communications or Documents referencing, describing, or related to the 2425 WL

DOT, including its execution.

       8.      Communications or Documents exchanged with Azeemah Zaheer, Naissance

Capital Real Estate, LLC, or Galleria 2425 JV, LLC regarding the 2425 WL Note.

       9.      Communications or Documents referencing, describing, or evidencing the

distribution of funds from Your sale of the Real Property to the Debtor.

       10.     The final version and any drafts of the Settlement Statement.

       11.     Communications or Documents referencing, describing, or evidencing the

preparation of the Settlement Statement.



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       12.     Communications or Documents referencing, describing, or evidencing the “Seller

Credit” indicated on the Settlement Statement.

       13.     All Communications or Documents exchanged with NBK in connection with the

sale of the Real Property on or before May 23, 2018.

       14.     All Communications or Documents exchanged with the Debtor in connection with

the Sale of the Real Property on or before May 23, 2018.

       15.     All communications or Documents exchanged with Jetall, the Debtor, or NBK

regarding the Jetall Lease 2016 Amendment.

       16.     All Communications or Documents exchanged with TransAct Title – Galleria or

any other title company in connection with the Sale of the Real Property at any time.




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                           EXHIBIT +




                                                                      000868
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
  _________________________________________
                                6RXWKHUQ    District of _________________________________________
                                                         7H[DV
In re __________________________________________
       *DOOHULD2ZQHU//&
                                     Debtor
                                                                                     Case No. _____________________
                                                                                               
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter ___________
                                                                                              
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                   Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

       :///&
  To: ________________________________________________________________________________________
                                   (Name of person to whom the subpoena is directed)

  ; Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment: 6HH$WWDFKPHQW

  PLACE                                                                                                        DATE AND TIME
 -RQHV 0XUUD\//36DZ\HU6WUHHW6XLWH+RXVWRQ7;                                          -XQHDWDP &7
  The deposition will be recorded by this method:
    6WHQRJUDSKLFUHFRUGLQJEHIRUHUHFRUGLQJVHUYLFHWKURXJKSHUVRQDXWKRUL]HGWRDGPLQLVWHURDWKV
      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: _____________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                 _________________________
                                                                                              __
                                                                                               ___
                                                                                                 __________________
                                                                                                      __
                                                                                                      _ _
                                    Signature of Clerk or Deputy Clerk                             Attorney’s
                                                                                                   A ttorney’s signatur
                                                                                                               signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
   &KULVWRSKHU50XUUD\             , who issues or requests this subpoena, are: 5-6KDQQRQ6KDQQRQ /HH//3
   6KDQQRQ /HH//37UDYLV6W67(+RXVWRQ7;UVKDQQRQ#VKDQQRQOHHOOSFRP
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                                                                         000869
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B2560 (Form
      (     2560 – Subpoena
                      p     to Testifyy at a Deposition
                                               p        in a Bankruptcy
                                                                   p y Case or Adversary
                                                                                       y Proceeding)
                                                                                                  g) (Page
                                                                                                     ( g 2))



                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                 Server’s signature

                                                                                  ________________________________________________
                                                                                                               Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:




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B2560 (Form
      (     2560 – Subpoena
                      p     to Testifyy at a Deposition
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                                                                                       y Proceeding)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)




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                                         ATTACHMENT

                                      DEPOSITION TOPICS

       Pursuant to Fed. R. Civ. P. 30(b)(6), Christopher R. Murray (the “Trustee”), the chapter 11

Trustee in the above-captioned case, will conduct a deposition of 2425 WL LLC on the following

topics (the “Topics”) indicated below.

                                            Definitions

       The following definitions of terms apply to the Topics. Unless otherwise defined herein,

all words and phrases used herein shall be accorded their usual meanings and shall be interpreted

in their common, ordinary sense.

       1.     “2425 WL”, “You,” “Your”, or “Yours” means 2425 WL, LLC, along with its

agents, employees, attorneys, representatives, affiliates, consultations, and all other persons acting

or purporting to act on its behalf.

       2.     “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

       3.      “2425 WL Note” means the notice indicated in the 2425 WL DOT.

       4.      “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

       5.      The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

       6.      “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current




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Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.

        7.       “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

        8.       “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

        9.       “Debtor” means Galleria 2425 Owner, LLC, along with its agents, employees,

attorneys, representatives, affiliates, consultants, and all other persons acting or purporting to act

on its behalf.

        10.      “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a documents by whatever means made, except where a




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document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.

          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease Agreement’

dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          15.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf.

          16.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,

among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

          17.   “Person” has the meaning set forth in 11 U.S.C. § 101(41).




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        18.     “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.

        19.     “Settlement Statement” means the document titled Settlement Statement reflecting

the transaction in which the Debtor acquired the Real Property.

        20.     “Trustee” means Christopher R. Murray

        21.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                              Topics

        1.      Your current and historic ownership, organizational, and management structure.

        2.      The facts and circumstances surrounding Your acquisition of the Real Property.

        3.      The facts and circumstances surrounding Your sale of the Real Property to the

Debtor, including any financing related thereto.

        4.      Any distribution of funds in connection with Your sale of the Real Property to the

Debtor.

        5.      The Settlement Statement in connection with Your sale of the Real Property to the

Debtor.

        6.      The facts and circumstances surrounding the 2425 WL DOT, including its (a)

creation, (b) execution, and (c) filing.

        7.      The facts and circumstances surrounding the 2425 WL Note, including its (a)

creation, (b) execution, and (c) any consideration provided.

        8.      Any payments You received under the 2425 WL Note.




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       9.     The facts and circumstances surrounding the execution of the Jetall Lease 2016

Amendment, including any disclosure thereof.

       10.    Any Document produced by or requested from You in advance of the Deposition.




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RE: Subpoeans

From: Mark Smith <msmith@bn-lawyers.com>                                   Fri, Jun 7, 2024 at 2:14 PM CDT (GMT-05:00)
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Reese Baker <reese.baker@bakerassociates.net>

Thank you, R.J. Your cooperation is much appreciated.

Mark

From: R. J. Shannon <rshannon@shannonleellp.com>
Sent: Friday, June 7, 2024 2:10 PM
To: Mark Smith <msmith@bn-lawyers.com>
Cc: Reese Baker <reese.baker@bakerassociates.net>
Subject: RE: Subpoeans

Thank you, Mark.

Confirmed with the caveat that the Trustee reserves his rights as to further postponement. Understood that 2425 WL
and the Debtor also reserve their rights with respect to further postponement if advised by Mr. Choudhri’s doctors. Just
FYI, I think we would need some letter/other document from a doctor before agreeing to further postponement.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Mark Smith <msmith@bn-lawyers.com>
Sent: Friday, June 7, 2024 2:01 PM
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Reese Baker <reese.baker@bakerassociates.net>
Subject: RE: Subpoeans

R.J.,

I completely understand the position the trustee is in, but this matter is complicated by Mr. Choudhri’s health
concerns. Mr. Choudhri had a follow-up visit today with his cardiologist and has been advised that he needs
to be off from work for one month – until July 7th (see attached). Everyone is aware that Mr. Choudhri
ignored his doctor’s advice and participated in the deposition on Wednesday, but that does not mean he
intends to do so on a going forward basis. He hopefully learned his lesson from Wednesday, as it had a
significant negative impact on him. As to your bullet points:

     1. In the time since Mr. Choudhri’s medical issue, it has not been practicable to educate another potential
        witness to the point where they are the person with the most knowledge of the topics. To do so would
        require the active participation of Mr. Choudhri. Based on his most recent doctor’s orders – to avoid
        work until July 7th - neither Reese nor I will take any action that ignores that order or further risks Mr.
        Choudhri’s health. That includes asking him to participate in a crash course on this case to try and
        prepare another corporate representative. This is especially true given Mr. Choudhri’s emotional
        involvement with these issues. To put it mildly, discussing this case or reviewing documents  000877
                                                                                                           associated
        with NBK’s misdeeds raises Mr. Choudhri’s blood pressure and that is something that his doctor has
        advised him to avoid. Moreover, even if he were to assist in preparing another witness, there is no way
        another witness would have the same level of knowledge on the noticed topics.

   2. I am working on gathering documents, but that is complicated by Mr. Choudhri’s absence. To the
      extent we have documents reviewed and ready for production today, I will send them. At this moment, I
      am unable to tell you whether that will happen or not.

   3. If the confirmation hearing goes forward on June 17, neither 2425 WL or the debtor will object to
      amendments to the witness or exhibit list based on documents produced by 2425 WL or debtor after
      today’s date. I cannot make that commitment for Mr. Choudhri, as I do not represent him individually
      and have not asked him his position since he just had a medical procedure with his cardiologist and
      considering the doctor’s orders.

Please confirm that the trustee is extending the compliance date for the document subpoenas to June 13 as
stated below and that the depositions are being rescheduled for the week before any rescheduled
confirmation hearing, assuming that conforms with Mr. Choudhri’s doctor’s order. Thank you.

Regards,

Mark


From: R. J. Shannon <rshannon@shannonleellp.com>
Sent: Friday, June 7, 2024 8:53 AM
To: Mark Smith <msmith@bn-lawyers.com>
Cc: Reese Baker <reese.baker@bakerassociates.net>
Subject: RE: Subpoeans

Mark,

If Mr. Choudhri is going to ignore your advice and the advice of his doctors, then he needs to spend his energy
providing discovery. I don’t see how reviewing the Trustee’s production would be significantly more taxing than going
through his own documents so you could make production. But that is largely not the point.

Please confirm the following:

   1. In the 8 days (for 2425 WL LLC) and 9 days (for the Debtor) between when everyone became aware of Mr.
        Choudhri’s medical issue, it was not practicable to get someone up to speed with enough knowledge to have a
        meaningful deposition as scheduled.

   2. You have no ability to provide any responsive documents today.

   3. If the confirmation hearings go forward on June 17, you and your clients will not object to a supplemental
        witness and exhibit list adding any produced documents filed by the Trustee.

If you can confirm number 1, the Trustee will agree to reschedule the depositions to the week before any reset
confirmation hearing based on that representation. If you confirm number 2 and 3, the Trustee will agree to not seek
an order to compel/sanctions/take other action with respect to the documents until the morning of June 13 (so they
would need to be produced on June 12) but is not agreeing that you are not required to produce the documents that
are able to today.

Please let me know if that works to resolve the issue.
                                                                                                       000878
Thanks,
R. J.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Mark Smith <msmith@bn-lawyers.com>
Sent: Friday, June 7, 2024 8:27 AM
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Reese Baker <reese.baker@bakerassociates.net>
Subject: Re: Subpoeans

R.J.,
We fully understand that Mr. Choudhri appeared yesterday. But he did so against our advice and the advice of his
doctors. He also paid the price for doing so. It impacted him very negatively. Mr. Choudhri’s staff downloaded the
production, as should be expected. I am not sure how difficult downloaded shared files would be even for an ill Mr.
Choudhri. Mr. Choudhri was not at the building today. I understand he is getting a heart device installed tomorrow and
his condition is serious.
Regardless, as Reese and I have both expressed, we have serious concerns about the impact of continued stress and
activity on Mr. Choudhri’s health. Importantly, that concern is shared by Mr. Choudhri’s doctor.
As for the identity of the 30(b)(6) witness for either 2425 WL or the debtor, it is Reese and my job to designate the
person with the most knowledge of the noticed topics. That person is Mr. Choudhri. He knows far more than any other
potential representative and getting anyone else up to his level of knowledge before the deposition dates would be
extremely difficult, if not impossible. We are not asking for an open-ended agreement, just dates beyond the current
dates that allow Mr. Choudhri additional time to convalesce.
If you would like to propose new dates, we are happy to try and reach an agreement. As for the documents, Mr.
Choudhri is also the person who is best able to identify responsive documents. Because he was not working today
and will be in the cardiologist office for a significant portion of the day, that process has been delayed. Would you be
open to a brief extension of the compliance date to next week, preferably later in the week.
As I stated last evening, I am generally very easy to work with and am new to this case. I understand there are very
strong feelings on all sides, but my goal is to try and work through these issues as efficiently as possible.
Regards,
Mark

Sent from my iPhone


     On Jun 6, 2024, at 5:40 PM, R. J. Shannon <rshannon@shannonleellp.com> wrote:

     Reese and Mark,

     We’re not agreeing to anything that open-ended.

     First, Mr. Choudhri (a) attended and presented arguments at the June 4, 2024, hearing in Case No. 24-
     32143 (see Attachment 1); (b) asked questions for several hours at the NBK deposition yesterday; (c)
     downloaded the Trustee’s production (see Attachment 2) after spending hours asking questions at the
     NBK deposition; and (d) was apparently at the building today. So, I’m skeptical of the burden.

     Second, neither of your clients needs to produce Mr. Choudhri to testify:

                                                                                                       000879
 * Debtor—
   * Mr. Choudhri did not sign the Debtor’s schedules or statements. Obviously, other people are
knowledgeable about the Debtor and have access to the documents.
   * Darjean testified for the Debtor and could testify at the deposition on 6/12/24. That is enough time
for him to get prepared.



* 2425 WL—
  * Adam Broder is apparently the sole member of 2425 WL LLC.
  * Broder is also the person who signed the Settlement Statement and deed of the property from 2425
WL LLC. He did so in his capacity as sole member. Why can’t he testify? Have you even reached out to
him?

Third, if there are some topics that you think Mr. Choudhri is the only person who can competently testify,
tell me and we can bifurcate things. If no one else knows anything, then I’m going to need you to put that
in writing in the likely event that Mr. Choudhri claims not to know about those topics when we do depose
him. I would also be interested in what you did to determine whether anyone else has knowledge or could
have become familiar with the topics in the time before the scheduled depositions .

Fourth, Choudhri’s condition doesn’t really matter with respect to producing the documents. Was your
production going to be entirely based on what Mr. Choudhri provided you at the last minute? Even if it
was, I simply don’t believe that you have nothing responsive. I’m going to need an objection or motion to
quash on those as to your clients, even if we can agree to reschedule the depositions.

Fifth, when do you want to reschedule the depositions? What about the document production? Give me
dates that I can agree to. Just saying “one day” isn’t going to cut it.

Thanks,
R. J.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com<mailto:rshannon@shannonleellp.com>

From: Mark Smith <msmith@bn-lawyers.com>
Sent: Thursday, June 6, 2024 4:39 PM
To: Reese Baker <Reese.Baker@bakerassociates.net>
Cc: R. J. Shannon <rshannon@shannonleellp.com>
Subject: RE: Subpoeans

I agree with Reese. As discussed last night, I cannot sanction anything that goes against the doctor’s
orders and risks further damage to Mr. Choudhri.

Mark

From: Reese Baker <Reese.Baker@bakerassociates.net<mailto:Reese.Baker@bakerassociates.net>>
Sent: Thursday, June 6, 2024 4:35 PM
To: R. J. Shannon <rshannon@shannonleellp.com<mailto:rshannon@shannonleellp.com>>
Subject: Subpoeans

I am hopeful we can agree to continue the deposition dates past the 2 week period that Ali 000880
                                                                                             Choudhri is
not to work per doctors orders. He will agree to later dates but I am not going to do anything that is
contrary to doctors orders for his health.

Reese W. Baker
Baker & Associates
950 Echo Lane, Suite 300
Houston, Texas 77024
713-979-2251
Cell 713-385-3196
www.bakerassociates.net<http://www.bakerassociates.net>

For service of any documents or discovery, the email address of
courtdocs@bakerassociates.net<mailto:courtdocs@bakerassociates.net> must be used.
<1 - Hearing Audio from Case No. 24-32143.pdf>
<2 - Galleria 2425 - Choudhri Download Dropbox Transfer.pdf>




                                                                                    000881
         Case 23-34815 Document 439 Filed in TXSB on 06/07/24 Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:
                                                  Case No. 23-34815
GALLERIA 2425 OWNER LLC,
                                                  Chapter 11
          Debtor.

                                NOTICE OF APPEARANCE
         PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for Creditor
2425 WL, LLC, and requests that all notices given or required to be given in this case, and all
papers served or required to be served in this case, be given to and served upon:
                                      MARK E. SMITH
                               BARRON & NEWBURGER, P.C.
                               7320 N. MoPac Expwy., Suite 400
                                     Austin, Texas 78731
                                 Tel: (512) 476-9103 ext. 455
                                     Fax: (512) 476-9253
                                   msmith@bn-lawyers.com

         Dated: June 7, 2024
                                            Respectfully submitted,
                                            BARRON & NEWBURGER, P.C.
                                            7320 N. MoPac Expy., Suite 400
                                            Austin, Texas 78731
                                            Tel: (512) 476-9103
                                            Fax: (512) 476-9253

                                            By:     /s/ Mark E. Smith
                                                    Mark E. Smith
                                                    State Bar No. 24070639
                                                    msmith@bn-lawyers.com
                                                    David N. Stern
                                                    State Bar No. 24103634
                                                    dstern@bn-lawyers.com
                                                    Stephen Sather
                                                    State Bar No 17657520
                                                    ssather@bn-lawyers.com

                                                    Counsel for Creditor 2425 WL, LLC




                                                                                            000882
        Case 23-34815 Document 439 Filed in TXSB on 06/07/24 Page 2 of 2




                                CERTIFICATE OF SERVICE


       I hereby certify that, on June 7, 2024, the foregoing Notice of Appearance was served

via the Court’s CM/ECF Noticing System to all parties registered for service in this matter.



                                                    /s/ Mark E. Smith
                                                    Mark E. Smith




                                                                                               000883
RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

From: R. J. Shannon <rshannon@shannonleellp.com>                      Wed, Jun 26, 2024 at 6:38 PM CDT (GMT-05:00)
To: Steve Sather <ssather@bn-lawyers.com>
Cc: Kyung S. Lee <klee@shannonleellp.com>; Christopher Murray <christopher.murray@jonesmurray.com>

Right, but if you are going forward with the other matters for which we wanted discovery, then we should get that
discovery. You can’t have it both ways.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Steve Sather <ssather@bn-lawyers.com>
Sent: Wednesday, June 26, 2024 5:23 PM
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Kyung S. Lee <klee@shannonleellp.com>; Christopher Murray <christopher.murray@jonesmurray.com>
Subject: RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

I didn’t say they were still pending. I said that the plan’s effective date hasn’t occurred yet.

From: R. J. Shannon <rshannon@shannonleellp.com>
Sent: Wednesday, June 26, 2024 5:21 PM
To: Steve Sather <ssather@bn-lawyers.com>
Cc: Kyung S. Lee <klee@shannonleellp.com>; Christopher Murray <christopher.murray@jonesmurray.com>
Subject: RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

Steve,

That is an interesting point.

Since your view is that these matters are still pending, when am I going to get the documents that your client agreed to
produce? We’re coming on 14 days from the extended deadline. See attached.

When is there going to be a corporate representative deposition of 2425 WL LLC? It doesn’t need to be Choudhri, just
someone with knowledge. It has been *more* than 21 days since you knew of Choudhri’s health issues.

My suggestion would be to focus on complying with your obligations to produce discovery instead of things that are
defeated by the law of the case.

Thanks,
R. J.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294                                                                                   000884
rshannon@shannonleellp.com

From: Steve Sather <ssather@bn-lawyers.com>
Sent: Wednesday, June 26, 2024 5:01 PM
To: Troop, Andrew M. <andrew.troop@pillsburylaw.com>
Cc: R. J. Shannon <rshannon@shannonleellp.com>; Kyung S. Lee <klee@shannonleellp.com>; Conrad, Charles
C. <charles.conrad@pillsburylaw.com>; Fitzmaurice, Patrick E. <patrick.fitzmaurice@pillsburylaw.com>
Subject: RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

I have not received authority to withdraw any pleadings. However, I think your demand is premature since the plan is not even
effective yet.

From: Troop, Andrew M. <andrew.troop@pillsburylaw.com>
Sent: Tuesday, June 25, 2024 2:46 PM
To: Steve Sather <ssather@bn-lawyers.com>
Cc: R. J. Shannon <rshannon@shannonleellp.com>; Kyung S. Lee <klee@shannonleellp.com>; Conrad, Charles
C. <charles.conrad@pillsburylaw.com>; Fitzmaurice, Patrick E. <patrick.fitzmaurice@pillsburylaw.com>
Subject: NBK/Galleria: Demand for Withdrawal of Various Pleadings

Steve,

Attached is a self-explanatory letter regarding several open matters in the Galleria Owner chapter 11 case.

Regards,

Andrew

Andrew M. Troop | Partner
Pillsbury Winthrop Shaw Pittman LLP
31 West 52nd Street | New York, NY 10019-6131
t +1.212.858.1660 | f +1.212.973.7435 | m +1.617.710.0902
andrew.troop@pillsburylaw.com | website bio




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signature of any employee of Pillsbury Winthrop Shaw Pittman. Thank you.
                                                                                                              000885
000886
Galleria 2425 - Document Production & Deposition of 2425 WL LLC

From: R. J. Shannon <rshannon@shannonleellp.com>                       Tue, Jul 16, 2024 at 5:17 PM CDT (GMT-05:00)
To: Steve Sather <ssather@bn-lawyers.com>; <gray.burks@bakerassociates.net>
Cc: Kyung S. Lee <klee@shannonleellp.com>; Christopher Murray <christopher.murray@jonesmurray.com>

Steve and Gray,

We are now more than a month from the date that 2425 WL LLC agreed that it would provide documents responsive
to the attached requests. You have also had a month and a half to get someone else prepared as a corporate
representative. When will the documents be produced? When will a corporate representative be produced? And while
we are at it, when will 2425 WL LLC be paying the amount ordered by the Court for its past discovery violations?

If we have to take action, we are going to have to request for sanction again. You guys need to sit your client down
and make him understand that these things are not optional.

Thanks,
R. J.

--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: R. J. Shannon
Sent: Wednesday, June 26, 2024 5:21 PM
To: 'Steve Sather' <ssather@bn-lawyers.com>
Cc: Kyung S. Lee <klee@shannonleellp.com>; Christopher Murray <christopher.murray@jonesmurray.com>
Subject: RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

Steve,

That is an interesting point.

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produce? We’re coming on 14 days from the extended deadline. See attached.

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someone with knowledge. It has been *more* than 21 days since you knew of Choudhri’s health issues.

My suggestion would be to focus on complying with your obligations to produce discovery instead of things that are
defeated by the law of the case.

Thanks,
R. J.

--
R. J. Shannon
Partner                                                                                                000887
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Steve Sather <ssather@bn-lawyers.com>
Sent: Wednesday, June 26, 2024 5:01 PM
To: Troop, Andrew M. <andrew.troop@pillsburylaw.com>
Cc: R. J. Shannon <rshannon@shannonleellp.com>; Kyung S. Lee <klee@shannonleellp.com>; Conrad, Charles
C. <charles.conrad@pillsburylaw.com>; Fitzmaurice, Patrick E. <patrick.fitzmaurice@pillsburylaw.com>
Subject: RE: NBK/Galleria: Demand for Withdrawal of Various Pleadings

I have not received authority to withdraw any pleadings. However, I think your demand is premature since the plan is not even
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Cc: R. J. Shannon <rshannon@shannonleellp.com>; Kyung S. Lee <klee@shannonleellp.com>; Conrad, Charles
C. <charles.conrad@pillsburylaw.com>; Fitzmaurice, Patrick E. <patrick.fitzmaurice@pillsburylaw.com>
Subject: NBK/Galleria: Demand for Withdrawal of Various Pleadings

Steve,

Attached is a self-explanatory letter regarding several open matters in the Galleria Owner chapter 11 case.

Regards,

Andrew

Andrew M. Troop | Partner
Pillsbury Winthrop Shaw Pittman LLP
31 West 52nd Street | New York, NY 10019-6131
t +1.212.858.1660 | f +1.212.973.7435 | m +1.617.710.0902
andrew.troop@pillsburylaw.com | website bio




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attachments, from your computer. Nothing in this message may be construed as a digital or electronic
signature of any employee of Pillsbury Winthrop Shaw Pittman. Thank you.




Attachments

  1 - Galleria 2425 - 2425 WL Notice of Deposition.pdf
  1.a - 2425 WL Deposition Subpoena.pdf
  1.b - 2425 WL Subpoena DT.pdf
  RE: Subpoeans.msg
  txsb-4_2023-bk-34815-00554.pdf




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                                                                          000913
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Page 3 of 8   Wednesday, April 3, 2024   County Clerk Harris County, Texas




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Page 7 of 8   Wednesday, April 3, 2024   County Clerk Harris County, Texas




                                                                             000920
Page 8 of 8   Wednesday, April 3, 2024   County Clerk Harris County, Texas




                                                                             000921
               I, Teneshia Hudspeth, County Clerk of Harris County, Texas certify that these pages
                  are a true and correct copy of the original record filed and recorded in my office,
                               electronically or hard copy, as it appears on this date.

                                        Witness my official hand and seal of office
                                                   This April 3, 2024




                                             Teneshia Hudspeth, County Clerk
                                                  Harris County, Texas




  Any provision herein which restrict the sale, rental or use of the described Real Property because of color or race is invalid and
unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                       Public Information Act.




                                                                                                                  000922
             Case 24-03120 Document 8 Filed in TXSB on 07/03/24 Page 1 of 13




                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    IN RE:                                                          §
    GALLERIA 2425 OWNER, LLC                                        §        Case No. 23-34815 (JPN)
                                                                    §
    Debtor                                                          §
                                                                    §
    ALI CHOUDHRI                                                    §
         Plaintiff,                                                 §
                                                                    §
    vs.                                                             §          ADV. PROC. 24-03120
                                                                    §
    NATIONAL BANK OF KUWAIT,                                        §       JURY TRIAL DEMANDED
    S.A.K.P., NEW YORK BRANCH,                                      §
          Defendants.                                               §

                           PLAINTIFF’S THIRD1 AMENDED COMPLAINT

          Plaintiff, ALI CHOUDHRI, INDIVDIUALLY, makes and files this his Third Amended

Complaint against NATIONAL BANK OF KUWAIT S. A. K.P., New York Branch (hereinafter

“NBK”), and respectfully shows:

                                                          PARTIES

      1. Plaintiff is an individual residing in Harris County, Texas.

      2. Defendant National Bank of Kuwait, S.A.K.P., New York Branch (hereinafter “NBK”), is

a banking corporation organized under the laws of Kuwait, acting through its New York Branch

and has made an appearance herein.

                                            JURISDICTION and VENUE

      3. This Court does not have bankruptcy jurisdiction over this cause of action as the removal

was improper2 and the parties agreed by contract that any dispute between them would be resolved

1
  This is the third iteration of the Plaintiff’s pleading, although it is the first filed originally in this Court. This action
was removed from the 129th Judicial District Court of Harris County, Texas and is subject to a Motion to Remand. It
is being filed under Rule 15 without a request for leave, since no responsive pleading has been filed by the Defendant.
2
  Please see Motion to Remand, Doc.3, and any supplements.




                                                                                                                          000923
          Case 24-03120 Document 8 Filed in TXSB on 07/03/24 Page 2 of 13




in the state district courts of Harris County3 and these types of contractual agreements are honored

by the courts. 4 Neither the viability of the tax liens or the amount of them is in dispute. The only

issue is the identity of the rightful owner of the proceeds of the tax liens, and the determination of

that issue is of no moment to the bankruptcy estate. Venue is proper in Harris County, Texas for

a number of reasons, most importantly the contractual agreement of the parties.

                                        FACTUAL BACKGROUND

    4. NBK, Galleria Owner, LLC (“Galleria”), Naissance Galleria, LLC (“Naissance”, and Ali

Choudhri, individually (“Choudhri”) entered into an agreement titled “Confidential Settlement

Agreement” (hereinafter “CSA”) with a defined Effective Date of August 22, 2022.

    5. The CSA was recently presented in proceedings before this Court as an exhibit by NBK,

the Trustee, and perhaps other parties. Plaintiff requests that the Court take judicial notice of this

contract that is in the Court’s file.

    6.    Portions of the CSA appear in this Court’s memorandum opinion regarding confirmation.

    7. Under the terms of the CSA Galleria agreed “to pay or cause to be paid to NBK the total

sum of $27,000,000.”

    8.    Under the CSA no party other than Galleria agreed “to pay or cause to be paid to NBK the

total sum of $27,000,000.”

    9. Under the terms of the CSA a Down Payment was to be made directly to NBK, described

as “EIGHT HUNDRED AND ONE THOUSAND FIVE HUNDRED AND NINE AND 42/100

US DOLLARS ($801,509.42).”5




3
  The CSA expressly states that the parties “agree that exclusive jurisdiction for any dispute based on or arising from
this agreement will be in the Harris County District Court, Houston, Texas.”
4
  E.g., Grand View PV Solar Two, LLC v. Helix Elec., Inc., 847 F.3d 255 (5th Cir. 2017); City of New Orleans v.
Mun. Admin. Servs., Inc. , 376 F.3d 501, 504 (5th Cir. 2004).
5
  The Down Payment included “such amount [the $801,509.42] including any increases thereto or income thereon”.

                                                           2



                                                                                                                   000924
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   10. NBK received the Down Payment.

   11. The time frame for payment of the Settlement Amount by Galleria under the CSA was

identified in the CSA as the “Payment Date” and that date was 210 days from the Effective Date.

   12. The CSA also provided for a “Purchase Option” that included a “Purchase Option

Payment” that could be made by the “Purchase Option Parties.” Under the Purchase Option, the

Purchase Option Parties had the right, but not the obligation to “purchase the Loan Documents”

(as defined in the CSA).

   13. The “Purchase Option Payment” includes the Down Payment referenced in paragraph

3.1(d) of the CSA, and referenced in this pleading in paragraph 9. The remainder of the “Purchase

Option Payment” is the balance of funds, which added to the Down Payment equals the total

purchase price of $27,000,000.

   14. The Purchase Option was never exercised by any party prior to the Payment Date.

   15. The CSA expired by its terms on the Payment Date.

   16. The CSA also provided that “[t]o the extent that a Settlement Default (as defined below)

occurs, then NBK shall be entitled to retain the Down Payment as liquidated damages…”.

   17. The CSA provided that Texas law would apply.

   18. Under Texas law the term “liquidated damages” as used in the CSA refers to an acceptable

measure of damages that parties stipulate in advance will be assessed in the event of a contract

breach.

   19. The CSA provided that in the event of a Settlement Default “then NBK shall be entitled

to retain the Down Payment as liquidated damages...”

   20. The CSA also provides that “Choudhri shall cause the transfer and assignment of the tax

liens with respect to the Property for years 2019 and 2020 (the ‘Tax Liens’) to NBK.



                                               3



                                                                                             000925
        Case 24-03120 Document 8 Filed in TXSB on 07/03/24 Page 4 of 13




   21. Choudhri did in fact cause the transfer and assignment of the Tax Liens to NBK.

   22. The CSA further provides that “Upon NBK’s receipt of either the Settlement Payment or

the Purchase Option Payment, NBK shall contemporaneously transfer and assign the Tax Liens to

Choudhri.”

   23. The Tax Liens are nowhere defined in the CSA as part of the consideration of the

Settlement Payment or the Purchase Option Payment.

   24. The Tax Liens are not part of the Settlement Payment or the Purchase Option Payment.

   25. The Tax Liens are nowhere defined in the CSA as part of the “Down Payment”.

   26. The Tax Liens were not part of the “Down Payment”.

   27. The Tax liens are nowhere defined in the CSA as “liquidated damages.”

   28. The Tax Liens are not liquidated damages.

   29. The Tax Liens are not defined anywhere in the CSA as damages for breach of the CSA

by any party.

   30. Texas law provides that claimed liquidated damage provisions that violate the rule of just

compensation, either in design or in operation are not enforceable.

   31. The value of the Tax Liens at the time they were temporarily transferred to NBK exceeded

$3,000,000.

   32. The Purchase Option is not susceptible to being “breached” since it offers an option but

does not create an obligation.

   33. Any exercise of the Purchase Option was required by the CSA to be “in the form and

manner provided in Section 12 of the Intercreditor Agreement.”

   34. Plaintiff did not exercise the Purchase Option “in the form and manner provided in

Section 12 of the Intercreditor Agreement” prior to the Payment Date.



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    35. On or about April 11, 2023 a civil action was commenced by Galleria Owner 2425, LLC

in the 281st District Court of Harris County, Texas, being Cause No. 2021-63370 regarding

disputes concerning the CSA.

    36.    In the matter pending in the 281st Judicial District Court, Galleria asserted that NBK

breached the CSA.6

    37. The trial court in the case in the 281st entered an Order finding that it was likely that

Galleria would prevail on its claim of breach of contract.

    38. The finding by the 281st District Court in paragraph 37 was never appealed or set aside.

    39. On June 28, 2023 a letter in email form was forwarded by the lawyers for NBK to counsel

for Galleria and Choudhri.

    40. The June 28, 2023 letter listed as “Amounts Paid to Date” the Down Payment, an April

$80,000 payment per order of the Court, and a May $80,000 payment, also per order of the Court.

    41. The June 28, 2023 letter was sent after the Payment Date.

    42. The June 28, 2023 letter reflected an “Outstanding Settlement Balance” of

$26,038,490.58.

    43. At no time prior to April 28, 2024 did NBK or its representatives send a writing to Plaintiff

or his representatives that payment of $26,038,490.58 would be unacceptable.

    44. At no time ever did NBK assert that the consideration for the purchase of assets included

in the CSA would be greater than $27,000,000.

    45. By correspondence dated April 28, 2024, from Ali Choudhri to Charles Conrad, counsel

for NBK, Mr. Choudhri wrote that he accepted and tendered the Settlement/Purchase Option in

the amount of $26,038,490.58.


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  The pleadings in this state court case are now in 2023-22748 before this Court, and Plaintiff requests that the Court
take judicial notice, not of the factual accuracy of the pleadings, but of the allegations contained therein.

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   46. NBK did not respond to Mr. Choudhri’s April 28, 2024 communication favorably.

   47. In oral testimony on June 5, 2024 NBK’s designated representative indicated that NBK

considered the tender of the Settlement/Purchase Option untimely.

   48. The offer to pay the $26,038,490.58 contained in Mr. Choudhri’s April 28, 2024 letter was

rejected by NBK.

   49. NBK considered the CSA in breach when the Settlement Amount was not received by

NBK on or before the Payment Date.

   50. Plaintiff had requested return of the Tax Liens or compensation in the amount of the Tax

Liens but NBK has declined to either return the Tax Liens or remit their value to Plaintiff.

                                     CLAIMS FOR RELIEF

   51. Conversion – Pleading in the alternative, NBK’s retention of the Tax Liens to which

Plaintiff had entitlement to possession constitutes the unlawful and unauthorized assumption and

exercise of control over the property to the exclusion of and inconsistent with, the plaintiff's rights

as an owner. Nothing in the CSA or in the common law of the State of Texas allows NBK to keep

the Tax Liens under the circumstances present in this case. To the extent that NBK breached the

CSA with respect to the only obligor in the contract, NBK had no right to maintain possession of

the Plaintiff’s Tax Liens. To the extent that performance by Galleria was prevented or did not

occur, NBK had no legal right to maintain possession of the Tax Liens. The remedy for breach of

contract is a suit for damages against the party who breached, which in this case could not be

Plaintiff, since Galleria was the only party with the obligation to “pay or cause to be paid to NBK

the total sum of $27,000,000” and no option was ever exercised by Plaintiff or consented to by

NBK. The Tax Liens are not “liquidated damages” because they are not identified as such, and

because the CSA does identify liquidated damages in a specific amount in the event of a breach



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that does not include the Tax Liens, and because the Tax Liens are the property of Plaintiff, who

as a matter of law could not have breached the CSA. NBK agreed to an amount as “liquidated

damages” and was paid the amount agreed as “liquidated damages.” To the extent that NBK now

claims that the Tax Liens are liquidated damages, this is contrary to the terms of the CSA, and in

any case the terms regarding the Tax Liens would be unenforceable under Texas law as liquidated

damages because they are clearly a penalty against a party who could not have breached the

contract. 7

    52. Money Had and Received – Unjust Enrichment. Pleading further in the alternative,

Plaintiff would show that the Tax Liens have been wrongfully held by NBK and the funds derived

from them should be restored to Plaintiff to prevent the unjust enrichment of NBK. Equity and

good conscience require restitution of the value of the Tax Liens to Plaintiff.                         Under the

circumstances presented here, NBK holds money which in equity and good conscience belongs to

the Plaintiff. The CSA unequivocally identifies the purchase price in the transaction, and it does

not include the Tax Liens. At no time from August 22, 2022 through the date of the letter from

NBK’s counsel in June 2023 did NBK take the position that the Tax Liens were somehow part of

the purchase price. As of this time, NBK has never taken such a position. Similarly, the CSA

identifies a specific cash penalty, identified directly as liquidated damages, that NBK is to receive

in the event of breach of the CSA. The only breach identified is the failure to remit the Settlement

Payment, which is an obligation of Galleria, not the Plaintiff. No breach of any kind has been

asserted against the Plaintiff. Liquidated damages are defined under Texas law as “a contractual

device that parties use to determine their rights and liabilities in the event of a dispute.”8 NBK



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  Phillips v. Phillips, 820 S.W.2d 785, 788 (Tex. 1991) (Whether a contractual provision is an enforceable liquidated
damages provision or an unenforceable penalty is a question of law for the court to decide.').
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  See Atrium Med. Ctr., LP v. Hous. Red C LLC , 595 S.W.3d 188, 192 (Tex. 2020)

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received those liquidated damages. NBK received the liquidated damages that it contracted to

receive. The CSA, absent a finding of breach that caused other damages, is concluded. No

justification exists for the continuing exercise of dominion and control over the any funds derived

from the Tax Liens by NBK. Assuming the CSA was breached by Galleria and there is no legal

excuse for the failure of Galleria to “pay or cause to be paid” funds, NBK has received its full

measure of its agreed damages by its retention of the Down Payment as liquidated damages.

Alternatively, any further grievance it might have would only be against Galleria, the only party

obligated under the CSA to make payment.

   53. Breach of Contract by NBK – Pleading further in the alternative, Plaintiff would show

that the failure to return the Tax Liens to Plaintiff is a breach of contract. The operative provision

requires the Tax Liens to be conveyed to Plaintiff once the contract between Galleria and NBK is

concluded by payment. NBK asserts that the CSA was breached by Galleria, and the damages for

that alleged breach have been received by NBK. The acceptance of the liquidated damages

concludes Galleria’s obligations under the CSA and is the agreed upon substitute for performance

– i.e. the payment of the Settlement Payment. To the extent that the condition for the return of the

Tax Liens is in any way enforceable, it has effectively been met. Whether Galleria or NBK

breached the CSA, or neither of them did, the rules of contract law required the return of the Tax

Liens to Plaintiff, and gives to Plaintiff the right to monetary damages equal to the value of the

Tax Liens.

   54. Pleading further in the alternative, Plaintiff pleads for rescission of the contract terms

related to the Tax Liens in the event the Court does not find as a matter of law that the funds

obtained by NBK should be paid on the face of the CSA and the undisputed conduct of NBK.

Rescission of a contract term is a remedy that operates to extinguish a contract term whether it is



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valid or not when it must be set aside because of fraud, mistake, or some other reason to avoid

unjust enrichment. The contract provisions concerning the Tax Liens should be rescinded because

it was never within the contemplation of both parties that the Tax Liens would be held by NBK on

anything other than a temporary basis, and the contract nowhere allows the retention of the Tax

Liens due to a breach by NBK or Galleria, or the failure of the payments to be made irrespective

of legal fault. NBK has no breach of contract case against the Plaintiff, and in these circumstances

could not. NBK has no viable legal action against the Plaintiff that would allow it to keep the Tax

Liens, and the funds derived from them, under any damage theory at all. The obligor on the CSA

was Galleria. This provision should be avoided due to unilateral or mutual mistake or the doctrine

of “mistake-plus-knowledge.”

   55.    Pleading further in the alternative, if in this case if NBK was always had the intention

that once it had secured Plaintiff’s Tax liens it would retain them even if the contract was breached

by NBK or Galleria, or for some unknown and justified reason the contract was not performed it

was aware that this was not the intent of the Plaintiff and was aware of the mistake, and

intentionally made no mention of this windfall to itself, leaving Plaintiff in the mistaken view that

the Tax Lien transfer was temporary only. No other construction of these facts makes any sense.

The “mistake” was “remediable” since this provision could have indicated what result followed if

Galleria failed to perform, or for any reason the contract was not performed. If this result is not

clear from the wording of the CSA itself, then a jury must determine the fact question concerning

whether the mistake is such that this provision should be rescinded.

   56.   Pleading further and in the alternative Plaintiff would show that Plaintiff received no

consideration for a provision that allegedly allows NBK’s permanent taking of the Tax Liens. First

of all, the provision adds nothing of any substance to the obligation of Galleria to pay or cause to



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be paiD the $27,000,000. The Down Payment is the same. The balance is the same. The timing

of the Settlement Payment is the same. The agreement on the amount of liquidated damages in the

event of a default remains the same. The provisions regarding the Tax Liens, if interpreted as being

permanently the property of NBK are without consideration of any kind. They are not part of the

Down Payment. They are not part of the Settlement Payment. They are not liquidated damages.

These provisions should be rescinded and the Tax Liens, or the funds derived therefrom, returned

to Plaintiff. 9

    57. Pleading further and in the alternative, Plaintiff would show that the factual circumstances

surrounding the performance of the parties to the CSA are complicated and unresolved. These

claims have not been fully and fairly litigated as is applicable here, with the possible exception of

the proceedings in state court reference above. In the event that NBK breached the CSA10, then

the retention of the Tax Liens obviously has no support in law, since NBK would be profiting from

its own breach, but this result would follow from NBK’s construction of the CSA. This result is

even worse than NBK punishing Plaintiff for the alleged breach of the other party to the CSA

which is the only party to the CSA with an obligation to “pay or cause to be paid” the Settlement

Amount. This construction is untenable and e above paragraphs concerning causes of action that

support the return of the Tax Liens or the funds derived from them, compel the return of the Tax

Liens or the payment of the value of the Tax Liens to the Plaintiff.

    58.    Pleading further an in the alternative, should the Court find that the language concerning

the Tax liens did not compel the return of the Tax Liens to Plaintiff and as a matter of law compel


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  Plaintiff anticipates that the recent auction and sale will be approved by the court and the buyer will have the
responsibility for paying the Tax Liens. Any references to the “return” of the Tax Liens is not operative absent
unforeseen circumstances, but would otherwise be an alternative legal remedy.
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   These allegations have been incorporated by reference and are not the basis for a cause of action in this pleading for
contract damages for breach per se. Their inclusion in this pleading is addressed to the effect of a party other than
Plaintiff causing a breach, and the effect that should have in law regarding the return of the Tax Liens or payment of
their value to the Plaintiff.

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damages to be awarded to Plaintiff of their value, then Plaintiff would show that the language is

ambiguous since there is no language in the CSA that expressly deals with the handling of the Tax

Liens in the event of a breach of the agreement by NBK or by Galleria. There is no language

concerning the treatment of the Tax Liens in the event of justifiable impossibility or other no-fault

events that might prevent performance in a timely fashion. It seems abundantly clear that the

parties intended the transfer to be only temporary but should there be any doubt about this then the

operative clause must be considered ambiguous. Under Texas law when a contract does not

specifically address the treatment of the retention of assets the provision is deemed to be

ambiguous, and then the fact question of intent must be resolved by a jury.

   59. State Court Matters -- Docket Control Order –If the matter is remanded, Plaintiff requests

a docket control order specific to this particular case. Pursuant Texas Rule of Civil Procedure

47(c)(4) Plaintiff seeks damages for over a million dollars. All conditions precedent to Plaintiff’s

claims for relief have occurred or been performed. RULE 193.7 NOTICE Plaintiff hereby gives

actual notice to Defendant that any and all documents produced may be used against Defendant at

any pre-trial proceeding and/or at trial of this matter without the necessity of authenticating the

documents.

                                             DAMAGES

   60.    Plaintiff requests monetary damages in the amount of the value of the Tax Liens, as well

as reasonable attorneys’ fees, prejudgment and postjudgment interest and costs, to the extent

allowed by law.

                                            JURY DEMAND

   61.    Plaintiff demands a jury trial.




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                                           PRAYER

   62.    Plaintiff prays that upon hearing this matter be remanded back to the state court from

which it was removed, the controversy here being between two non-debtor parties over the

ownership of the proceeds from payment of the Tax Liens, and that after a jury trial the Plaintiff

have judgment against NBK for actual damages in the amount of the value of the Tax Liens, for

reasonable attorneys’ fees, for costs, for prejudgment and post-judgment interest as set forth in

law, and for such other and further relief concerning which the Court deems fair and just.

                                                     Respectfully Submitted,

                                                     THE STEIDLEY LAW FIRM


                                                     By: /s/ Jeffrey W. Steidley
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                                                     ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served all counsel of record electronically or by other manner
authorized by Fed. R. Civ. P. 5(b)(2) on this the 3rd day of July, 2024, as indicated below:

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S.A.K.P., New York Branch


                                                     By: /s/ Jeffrey W. Steidley
                                                        Jeffrey W. Steidley




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                      CONFIDENTIAL SETTLEMENT AGREEMENT

        This Confidential Settlement Agreement is made and entered into by and between the
undersigned as of August 22, 2022 (the “Effective Date”), and is a binding contract pursuant to
which the below named parties have fully and finally settled all claims and controversies existing
between and among them, according to the terms of this Confidential Settlement Agreement. The
parties to this agreement are National Bank of Kuwait, S.A.K.P., New York Branch, Galleria 2425
Owner, LLC, Naissance Galleria, LLC, and Ali Choudhri.

                                  I.      DEFINITIONS

       In addition to other definitions provided in this document as needed, the Parties hereto have
agreed to the following definitions:

       1.1     “Agreement” means this Confidential Settlement Agreement.

        1.2    “Claims” means the Lawsuit (as defined below) and all other claims, counter-
claims, causes of action, controversies, losses, demands, costs, damages, liabilities (joint or
several), expenses of any nature (including attorneys’ fees, costs and/or expenses), judgments,
fines, and other amounts, both known and unknown, asserted or not asserted, accrued or not
accrued, from the beginning of time up until the date of this Agreement, under any theory or any
cause of action whatsoever recognized by law or equity between NBK, Galleria, and Ali Choudhri
(and Naissance to the extent Naissance exercises the Purchase Option pursuant to Section 3.1(h)),
as such terms are defined below.

      1.3     “NBK” means National Bank of Kuwait, S.A.K.P., New York Branch, the
Defendant and Counter-Plaintiff in the Lawsuit.

         1.4    “NBK Released Parties” means NBK and all of its present or past parents, present
or past subsidiaries, divisions, partners, successors-in-interest, predecessors, present and future
affiliates, shareholders, unit holders, employees, officers, directors, representatives, agents,
investigators, attorneys, assigns, executors, administrators, lenders, lien holders, creditors,
financing institutions, banks, and insurers, and those in privity therewith.

        1.5     “Galleria” means Galleria 2425 Owner, LLC, the Plaintiff and Counter-Defendant
in the Lawsuit.

         1.6    “Galleria Released Parties” means Galleria and all of its present or past parents,
present or past subsidiaries, divisions, partners, successors-in-interest, members, managers,
guarantors (including the Guarantor under the Loan Agreement), predecessors, present and future
affiliates, shareholders, unit holders, employees, officers, directors, representatives, agents,
investigators, attorneys, assigns, executors, administrators, lenders, lien holders, creditors,
financing institutions, banks, and insurers, and those in privity therewith.




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       1.7      “Choudhri” means Ali Choudhri in his sole and individual capacity and as
Intervenor in the Lawsuit.

        1.8     “Choudhri Released Parties” means Choudhri, both in his individual capacity and
including his heirs, assigns, agents, executors, attorneys, lenders, administrators, lien holders,
creditors, and those in privity therewith, along with any entity in which Choudhri may have an
ownership interest in and/or right to control now or in the future.

       1.9     “Naissance” means Naissance Galleria, LLC.

        1.10 “Parties” means NBK, Galleria, Naissance, and Choudhri, as defined herein, who
are the parties to this Agreement.

       1.11 “Lawsuit” means: Cause No. 2021-63370; Galleria 2425 Owner, LLC v. National
Bank of Kuwait, S.A.K.P., A New York Branch, et al.; in the 281st District Court of Harris County,
Texas.

       1.12 “Loan Agreement” means that certain Loan Agreement between NBK and Galleria,
dated May 23, 2018. Capitalized terms not defined herein shall have the meaning ascribed in the
Loan Agreement.

        1.13 “Loan Documents” collectively means the following documents as defined in the
Loan Agreement: the Loan Agreement, the Promissory Note, the Deed of Trust, the Assignment
of Leases and Rents, the Guaranty, the Environmental Indemnity Agreement, the Assignment of
Agreements, Licenses, Permits and Contracts, the Subordination of Management Agreement, the
Fee Letter, the Intercreditor Agreement, the Control Account Agreement, any Assignment of
Interest Rate Agreement entered into after the Closing Date and any and all other documents,
agreements and certificates executed and/or delivered in connection with the Loan, as the same
may be amended, restated, replaced, supplemented or otherwise modified from time to time. Loan
Documents shall also include any Interest Rate Protection Product or ISDA Master Agreement.

      1.14 “Property” means that certain real property and improvements located at 2425 West
Loop South, Houston, TX 77027.

       1.15 “Purchase Option Parties” means Naissance, Galleria, Choudhri and an entity
wholly owned and controlled by Choudhri.

                                    II.     RECITALS

       2.1   WHEREAS, the Parties understand and agree that the claims and defenses asserted
between them are in dispute, the Parties desire to confidentially compromise and settle the Claims
and the Lawsuit, and including all claims, counter-claims, claims in intervention, third-party

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claims and causes of action that were asserted or which could have been asserted, currently known
or unknown, from the beginning of time up until the date of this Agreement, whether or not alleged
or set forth in prior correspondence, claims, pleadings, or orally, which arise out of the Claims or
the Lawsuit, the related occurrences, or legal proceedings, and which pertain thereto, to prevent
any current or future litigation by or between the Parties arising out of or related to the Claims or
the Lawsuit.

        2.2      WHEREAS, the Parties deny all allegations, claims, counterclaims, claims in
intervention and third-party claims arising out of the Claims or the Lawsuit, and by executing this
Agreement, the Parties make no admissions, but rather have settled those claims and defenses
which were raised or could have been raised by compromise as set forth below in order to avoid
further litigation and to buy peace of mind.

                                     III.    AGREEMENT

        NOW, THEREFORE, for and in consideration of the mutual promises, covenants and
agreements contained herein, for the resolution and settlement of the Claims and the Lawsuit as
set forth below, and for other good and valuable consideration, the receipt and sufficiency of which
is hereby acknowledged, the Parties agree and covenant as follows:

    A.      SETTLEMENT TERMS

       3.1    (a) Acknowledgement of the Indebtedness.          As of the Effective Date,
Choudhri, Galleria and Naissance acknowledge and agree that NBK is owed $60,212,816.90
under the Loan Documents, without defenses, setoffs, claims, counterclaims or deductions of
any nature whatsoever, all of which are hereby expressly waived;

                (b) Acknowledgment of Existing Defaults. Galleria, Choudhri and Naissance
further acknowledges and agrees that: (i) an Event of Default exists under the Loan Documents,
(ii) any cure period with respect thereto has expired, (iii) all principal, interest, fees, costs and other
charges due under the Loan Documents are fully accelerated and immediately due and owing to
NBK without defenses, setoffs, claims or counterclaims or deductions of any nature
whatsoever all of which are hereby expressly waived, and (iv) that each of Galleria, Choudhri
and Naissance waives the right to all notices (including but not limited to notice of default, notice
of intent to accelerate, notice of acceleration, and notice of foreclosure) each may otherwise be
entitled to under the Loan Documents or otherwise. Galleria, Choudhri and Naissance further
acknowledge and agree that all conditions precedent for NBK to post the Property for foreclosure
have been fully satisfied;

                (c) Acknowledgment of Right to Foreclose. Except as otherwise provided in this
Agreement, Galleria, Choudhri and Naissance expressly recognize and acknowledge that NBK can
exercise all of its rights and remedies under the Loan Documents, which are fully matured and

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available for exercise by NBK, including, without limitation, the right to foreclose and the right to
recover on any part or all of the indebtedness without defenses, setoffs, claims or counterclaims
or deductions of any nature whatsoever all of which are hereby expressly waived;

                (d) Settlement Payment. On or before the Payment Date (as defined below),
Galleria will pay or cause to be paid to NBK the total sum of $27,000,000 as a settlement for all
amounts owed under the Loan Documents, as follows: (i) within five (5) days of the Effective
Date, Galleria agrees to request the Court to transfer the amount deposited into the registry of the
Court by Choudhri, currently EIGHT HUNDRED AND ONE THOUSAND FIVE HUNDRED
AND NINE AND 42/100 US DOLLARS ($801,509.42) (such amount, including any increases
thereto or income thereon, the “Down Payment”) directly to NBK. To the extent that a Settlement
Default (as defined below) occurs, then NBK shall be entitled to retain the Down Payment as
liquidated damages and, in addition, shall be entitled to pursue all of its rights and remedies under
this Agreement, the Loan Documents or otherwise at law or in equity. If necessary, NBK agrees
to join in Galleria’s request to the Court where the Lawsuit is pending seeking disbursement of the
funds constituting the Down Payment that is currently on file with the registry of the court in the
Lawsuit; (ii) within two hundred ten (210) days of the Effective Date (such date, the “Payment
Date”) Galleria agrees to pay, or cause to be paid to NBK the balance by wire transfer in
immediately available funds (the “Settlement Payment”), except to the extent that the Purchase
Option is exercised pursuant to Section 3.1(h); and (iii) contemporaneously with NBK’s receipt of
the Settlement Payment set forth in Section 3.1(d)(ii), NBK will file a release of its lien and deliver
proof of such release to Galleria’s attorneys establishing that no NBK liens exist or have not been
otherwise released by NBK;

               (e) The Settlement Payment shall be made in good and immediately available funds
by wire transfer to an account designated by NBK in writing; provided, however, that to the extent
the Settlement Payment is made in connection with a sale or refinancing of the Property, the
Settlement Payment may be first transferred to a title company handling the closing of such sale
or refinancing for onward remittance to NBK;

               (f) Galleria acknowledges and agrees that to the extent the Settlement Payment is
remitted to NBK, or to an agreed upon title company as escrow agent or other acceptable escrow
agent for further delivery to NBK, by anyone other than Galleria (including, without limitation,
any lender to Galleria), then Galleria has no right, title or interest of any kind whatsoever in such
Settlement Payment or the proceeds thereof;

                  (g) Dismissal of the Lawsuit. Within five (5) days of the Effective Date, Galleria
will execute, enter, and file in conjunction with NBK a joint motion for dismissal with prejudice
of all of its claims against NBK in the Lawsuit and a motion to permanently dissolve with prejudice
the Court’s Temporary Injunction Order issued in the Lawsuit;




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                (h) Purchase Option. NBK grants the Purchase Option Parties, as directed by
Choudhri, the sole and exclusive right to purchase the Loan Documents as follows: (i) the Purchase
Option Parties each acknowledge that a Purchase Option Event (as defined in the Intercreditor
Agreement) has occurred, that Naissance has received a Purchase Option Notice (as defined in the
Intercreditor Agreement), and that the Monetary Cure Period (as defined in the Intercreditor
Agreement) has expired; (ii) the Parties agree that the Loan Purchase Price (within the meaning of
Section 12(a) of the Intercreditor Agreement) is $27,000,000 payable as follows: (x) $801,509.42
in the form of the Down Payment payable pursuant to section 3.1(d) hereof; and (y) the balance
payable by wire transfer in good and immediately available funds on or before the Payment Date
(such payment, the “Purchase Option Payment”); (iii) other than the amount of the Loan Purchase
Price set forth in this section 3.1(h), a Purchase Option Party’s exercise of the Purchase Option
shall be in the form and manner provided in Section 12 of the Intercreditor Agreement; (iv) all
Parties consent to the transfer of the Loan Documents to a Purchase Option Party in connection
with the exercise of the purchase option; (v) to the extent that a party other than a Purchase Option
Party seeks to exercise this purchase option, NBK has the right to consent to such exercise, such
consent not to be unreasonably withheld; and (vi) NBK shall transfer and assign the Loan
Documents to the party exercising this purchase option upon NBK’s receipt of the Purchase Option
Payment. Upon written request of a Purchase Option Party, NBK shall provide such Purchase
Option Party with a payoff statement for the satisfaction or purchase of its loan and the Loan
Documents;

                (i) within five (5) days of the Payment Date, NBK will prepare, execute and file a
request to the Court in which the Lawsuit is pending for an abatement of NBK’s claims in the
Lawsuit. To the extent the Court declines to grant such abatement request, then NBK shall file a
nonsuit, without prejudice, of its claims and Galleria specifically agrees (i) that such claims may
be refiled following a the occurrence of a Settlement Default; (ii) that they will accept service of
any such refiled claims by email on their counsel; and (iii) they agree not to assert any statute of
limitations, laches or similar defense in response to such refiled claims;

                (j) Except upon the occurrence of a Settlement Default, NBK will not take measures
to foreclose on the Property or sell or assign the loan, other than as provided for in this Agreement,
for two hundred ten (210) days after the Effective Date (such period, the “Foreclosure Forbearance
Period”), and during such Foreclosure Forbearance Period, Galleria will maintain the Property
itself and maintain all insurance policies covering the Property. If during the Foreclosure
Forbearance Period, Galleria presents a request on behalf of any potential tenant that presents a
Material Lease: 1) that does not include subordination and non-disturbance agreement from NBK,
Galleria shall be permitted to enter into such lease without obtaining NBK’s prior consent; or 2)
that does include subordination and non-disturbance agreement from NBK, then NBK shall have
the right to accept or reject pursuant to the Loan Documents;

   B.      RELEASES


                                                                                                    5




                                                                                                000944
       4.1     Release of NBK Released Parties.

                (a) by Galleria. As of the Effective Date, Galleria RELEASES, ACQUITS AND
FOREVER DISCHARGES the NBK Released Parties from all claims, both known and
unknown, accrued or not accrued, from the beginning of time until the date of this Agreement,
including, but not limited to, any and all claims relating to the Claims or the Lawsuit. Upon NBK’s
receipt of either the Settlement Payment or the Purchase Option Payment, Galleria further
RELEASES, ACQUITS AND FOREVER DISCHARGES the NBK Released Parties from all
known and unknown claims, accrued or not accrued, from the beginning of time until the date of
such payment, including, but not limited to, any and all claims relating to the Claims or the
Lawsuit;

                (b) By Choudhri. As of the Effective Date, Choudhri RELEASES, ACQUITS
AND FOREVER DISCHARGES the NBK Released Parties from all known and unknown
claims, accrued or not accrued, from the beginning of time until the date of this Agreement,
including, but not limited to, any and all claims relating to the Claims or the Lawsuit. Upon NBK’s
receipt of either the Settlement Payment or the Purchase Option Payment, Choudhri further
RELEASES, ACQUITS AND FOREVER DISCHARGES the NBK Released Parties from all
known and unknown claims, accrued or not accrued, from the beginning of time until the date of
such payment, including, but not limited to, any and all claims relating to the Claims or the
Lawsuit.

                (c) by Naissance. As of the Effective Date, Naissance RELEASES, ACQUITS
AND FOREVER DISCHARGES the NBK Released Parties from all known and unknown
claims, accrued or not accrued, from the beginning of time until the date of this Agreement,
including, but not limited to, any and all claims relating to the Claims, the Lawsuit or the
Intercreditor Agreement. Upon NBK’s receipt of either the Settlement Payment or the Purchase
Option Payment, Choudhri further RELEASES, ACQUITS AND FOREVER DISCHARGES
the NBK Released Parties from all known and unknown claims, accrued or not accrued, from the
beginning of time until the date of such payment, including, but not limited to, any and all claims
relating to the Claims, the Lawsuit or the Intercreditor Agreement.

       4.2     Release of Choudhri Released Parties.

                (a) By NBK. As of the Effective Date, NBK RELEASES, ACQUITS AND
FOREVER DISCHARGES the Choudhri Released Parties from all known and unknown claims,
accrued or not accrued, from the beginning of time until the date of this Agreement, including, but
not limited to, any and all claims relating to the Claims or the Lawsuit. Effective upon NBK’s
receipt of the Settlement Payment or the Purchase Option Payment, NBK RELEASES,
ACQUITS AND FOREVER DISCHARGES the Choudhri Released Parties from all known and
unknown claims, accrued or not accrued, from the beginning of time until the date of such
payment, including, but not limited to, any and all claims relating to the Claims or the Lawsuit.


                                                                                                 6




                                                                                             000945
        4.3     Release of Galleria Released Parties.

                 (a) By NBK. Effective upon NBK’s receipt of the Settlement Payment or the
Purchase Option Payment, NBK RELEASES, ACQUITS AND FOREVER DISCHARGES the
Galleria Released Parties from all known and unknown claims, accrued or not accrued, from the
beginning of time until the date of this Agreement, including, but not limited to, any and all claims
relating to the Claims or the Lawsuit. Galleria acknowledges and agrees that such release, NBK’s
dismissal of its claims in the Lawsuit and the other obligations NBK has or will occur in connection
with this Agreement constitute new value given to Galleria by NBK and that such new value is
given by NBK and received by Galleria contemporaneously with the releases and any other value
given or obligation incurred by Galleria under this Agreement.

   C.         REPRESENTATIONS AND WARRANTIES

        5.1 Capacity to Execute Agreement. The Parties represent and warrant that they have the
sole right and exclusive authority to enter into and execute this Agreement and that they have not
sold, assigned, transferred or otherwise disposed of any of the Claims.

        5.2 Due Authority. Each Party hereto that is not a natural person has duly authorized the
person signing this Agreement on such Party’s behalf to do so and each such signatory has the
requisite power and authority to bind such Party to the terms of this Agreement.

        5.3 Concerning any Foreclosure. Following any Settlement Default, each of Galleria,
Choudhri and Naissance covenant and agree that they shall not seek to restrain or otherwise hinder,
delay, frustrate or impair NBK’s efforts to (i) foreclose upon any collateral granted under the Loan
Documents, or (ii) enforce its rights and remedies pursuant to the Loan Documents. The provisions
of this Paragraph shall be specifically enforceable by NBK and Galleria, Choudhri and Naissance
acknowledge and agree that any breach thereof will expose NBK to irreparable harm and therefore
injunctive relief is necessary without having to prove damages or post a bond or other collateral.
Galleria, Choudhri and Naissance will cooperate, assist and execute all necessary documents, upon
NBK’s request, in furtherance of NBK’s rights, powers and remedies under the Loan Documents.

        5.4 Assignment of Tax Liens. Within five (5) days of the Effective Date, Choudhri shall
cause the transfer and assignment of the tax liens with respect to the Property for years 2019 and
2020 (the “Tax Liens”) to NBK. NBK represents and warrants that it will not take any measures
to foreclose on the Property pursuant to the Tax Liens during the Foreclosure Forbearance Period.
Upon NBK’s receipt of either the Settlement Payment or Purchase Option Payment, NBK shall
contemporaneously transfer and assign the Tax Liens to Choudhri.

   D.         DEFAULT

        6.1 Settlement Default. Each of the following shall constitute a Settlement Default: (i)
failure of any of Galleria, Choudhri or Naissance to comply with its representations, warranties,

                                                                                                   7




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covenants or other undertakings under this Agreement; (ii) breach of any representation made by
Galleria, Choudhri or Naissance in this Agreement; (iii) if NBK does not receive the Settlement
Payment or the Purchase Option Payment on or before the Payment Date; (iv) if Galleria (a) admits
in writing of its inability to pay its debts generally as they become due, (b) file a petition in
bankruptcy or a petition to take advantage of any insolvency act; (c) make an assignment for the
benefit of creditors; (d) consent to, or acquiesce in, the appointment of a receiver, liquidator or
trustee of itself or of the whole or any substantial part of its properties or assets; (e) file a petition
or answer seeking reorganization, arrangement, composition, readjustment, liquidation,
dissolution or similar relief under the Federal Bankruptcy laws or any other applicable law; (f)
have a court of competent jurisdiction enter an order, judgment or decree appointing a receiver,
liquidator or trustee of Borrower, or of the whole or any substantial part of the property or assets
of Borrower, and such order, judgment or decree shall remain unabated or not set aside or unstated
for sixty (60) days; (g) have a petition filed against it seeking reorganization, arrangement,
composition, readjustment, liquidation, dissolution or similar relief under the Federal Bankruptcy
laws or any other applicable law and such petition shall remain undismissed for sixty (60) days;
(h) have, under the provisions of any other law for the relief or aid of debtors, any court of
competent jurisdiction assume custody or control of Borrower or of the whole or any substantial
part of its property or assets and such custody or control shall remain unterminated or unstayed for
sixty (60) days; or (i) have an attachment or execution levied against the Property which is not
discharged or dissolved by a bond within sixty (60) days;

        6.2 Remedies. Upon the occurrence of a Settlement Default, NBK shall have the right to
pursue any and all rights and remedies it has under the Loan Documents, applicable law and in
equity, including, without limitation, the right to pursue foreclosure of the Property.

    E.      GUARANTY

        7.1 Choudhri agrees that to the extent that any portion of the Settlement Payment or the
Purchase Option Payment is avoided and recovered as a result of the operation of any bankruptcy
or other proceeding, then Choudhri shall be liable for, and absolutely and unconditionally
guarantees to NBK, the prompt payment to NBK of such avoided and recovered sums. This
guaranty is a guaranty of payment and not of collection and Choudhri waives any right to require
NBK to sue Galleria or any other party or to foreclose on the Property or any other collateral.

    F.      DEFENSE, INDEMNITY AND HOLD HARMLESS.

        8.1     In consideration of the mutual promises, covenants, and agreements contained
herein, for the resolution and settlement of the Claims and the Lawsuit, Galleria agrees to fully
defend, indemnify, and hold NBK Released Parties harmless from any and all claims asserted
against the NBK Released Parties by any party that are related to the Property, the Loan, the Loan
Documents, this Agreement and any payments made under it.


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           G.    MISCELLANEOUS

        9.1     The Parties further agree that this Agreement shall not be interpreted as an
admission of liability on the part of any of the Parties hereto. The consideration described above
has been given by way of compromise to avoid expenses and terminate all controversies between
the Parties, regardless to the extent of the Claims and the Lawsuit.

        9.2   It is further agreed that the considerations stated above are the sole considerations
for this Agreement, and that the considerations are contractual and not mere recitals, and that all
agreements and understandings of the Parties are expressed herein.

        9.3    CONFIDENTIALITY AGREEMENT. The Parties hereby further expressly
represent, warrant, and agree that in making this Agreement, NBK, Galleria, Naissance, and
Choudhri will keep the negotiations, contents and terms of this Agreement completely
confidential and will not make known such information to anyone at any time under any
circumstances (meaning that such information may not be published, displayed, discussed,
disclosed, revealed or characterized, directly or indirectly, in any way to any one) save and
except the Parties themselves, and as to their tax advisor or attorney, in which case NBK,
Galleria, Naissance, and Choudhri warrant that such individuals shall also comply with this
confidentiality provision, except as compelled to do so by law. The Parties further agree,
however, that any action brought on any kind herein released, this Agreement may be pled
by the party against whom the claim is filed as a defense and this Agreement may be used by
any party in any suit for breach of this Agreement. Notwithstanding the foregoing and
anything herein to the contrary, the Parties further agree that (i) following the Effective Date
of this Agreement, Galleria or Choudhri may inform governmental agencies or departments
that the Parties have reached a settlement agreement, and NBK will confirm same if
contacted by any governmental agencies or departments, and (ii) upon NBK’s receipt of
either the Settlement Payment or Purchase Option Payment, Galleria or Choudhri may
inform governmental agencies or departments that the Parties have reached a settlement
agreement to the satisfaction of all Parties, and NBK will confirm same if contacted by any
governmental agencies or departments.

       9.4     No person or entity not a party to this Agreement shall be deemed to be a third-
party beneficiary of this Agreement.

           9.5   This Agreement may be amended only by an instrument in writing executed by the
Parties.

       9.6     If any term or other provision of this Agreement is found to be invalid, illegal, or
incapable of being enforced by any rule of law or public policy, such provision shall be severed or
reformed to the maximum extent allowed by law. In any event, all other terms and provisions of
this Agreement shall nevertheless remain in full force and effect.

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        9.7     The Parties hereto agree that this Agreement may be executed in counterpart
originals, each of which shall constitute an original, and all of which together shall constitute one
and the same agreement.

        9.8     The Parties acknowledge that they have had the opportunity to read this Agreement
and to consult with legal counsel of their choosing as to the meaning and effect of the Agreement
and the rights and liabilities of the Parties. The Parties acknowledge that they understand and
appreciate the foregoing words and terms and their effect.

        9.9    The Parties acknowledge that they understand the meaning and effect of this
Agreement and that they execute it of their own free will and accord for the purposes and
considerations set forth. Further, the Parties solemnly state that this Agreement is not being made
because of any persuasive statement or representation or promise by anyone whomsoever or for
anything other than what is recited herein. In entering into this Agreement, each Party
acknowledges that it is not relying upon any statement, representation, or promise that is not
specified expressly herein.

        9.10 The Parties represent one to the other that their respective signatory to this
Agreement is empowered and legally competent to execute this Agreement on behalf of the Party
for which it signed. The Parties further represent that they, their respective signatories, and their
respective representatives are of sound mind at the time they executed this Agreement.

        9.11 The Parties represent and warrant to each other that they are the sole owner of all
claims and causes of action they have released in this Agreement, that such claims are free and
clear of all claims or liens of any other person or entity, that they have not assigned, pledged,
subrogated or in any other manner transferred any of the claims or causes of action released herein,
the Loan or any debt related to the Loan, and that there are no other persons or legal entities who
could or should have asserted such claims or joined in any settlement or compromise of such
claims.

       9.12 Notwithstanding any provision contained herein to the contrary, each Party agrees
to pay all of his or its own legal fees, costs and expenses that have been incurred in connection
with the Claims and the Lawsuit, and the release of claims and related activities, including those
associated with the negotiating, drafting and signing of this Agreement.

         9.13 Within thirty (30) days after NBK’s receipt of the Settlement Payment or the
Purchase Option Payment, each party shall return all documents and discovery in their possession
or control, including all copies, to the party who furnished it in the Lawsuit, or certify in writing
that all such documents have been destroyed.



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        9.14 The undersigned acknowledges that this Agreement is to be performed in Texas,
and that the provisions hereof, and the respective rights and duties of the Parties hereto shall be
construed in accordance with and governed by the laws of the State of Texas. The undersigned
agree that exclusive jurisdiction for any dispute based on or arising from this Agreement will be
in the Harris County District Court, Houston, Texas; and that the prevailing party in any suit based
on or arising from this Agreement will be further entitled to recover from the non-prevailing party
the prevailing party’s reasonable and necessary attorneys’ fees, costs, and expenses.

     9.15 THIS AGREEMENT CONSTITUTES THE ENTIRE AGREEMENT BETWEEN
THE PARTIES HERETO WITH RESPECT TO THE SUBJECT MATTER HEREOF AND
THERE ARE NO OTHER AGREEMENTS, WRITTEN OR ORAL, EXPRESS OR IMPLIED,
RELATED TO THE MATTERS SET FORTH HEREIN. THIS AGREEMENT MAY NOT BE
CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT
ORAL AGREEMENTS OF THE PARTIES.

                        <remainder of this page left intentionally blank>




                                                                                                 11




                                                                                              000950
          NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH


Agreed: National Bank of Kuwait, S.A.K.P., New York Branch


                                                             8/22/2020
By:    Marwan Isbaih
       ______________________________                        Date
Its:   ______________________________
        General Manager




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000960
     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2024


     Certified Document Number:        112092997 Total Pages: 6




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 51.301 and 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

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                                                              LEASE AGREEMENT


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    Exhibits

    Exhibit A:   Legal Description of the Tola! Tract
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    Exhibit D:   Leasehold Improvements Agreement
    Exhibit E:   Building Rules and Regulations
    ExhibltF:    Janitorial Speclficafions




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                                                   LEASE AGREEMENT



              THIS LEASE AGREEMENT (this "Lease") Is entered Into by the Landlord and Tenant hereinafter named.

              1.      Definitions and Basic Provisions. The terms deffned below shall have the respective meanings
                      stated when used elsewhere In this Lease, and such terms and the following basic provisions
                      constitute an Integral part of this Lease:

          (a)        "Landlord": 2425 West Loop, LP

          (b)        "Tenant":     Jelall Companies, Inc,

          (c)        "Premises": certain space In a building owned by Landlord (the "Building") localed at 2425 W
                     Loop , Houston, Texas, on a tract of land (the "Land") situated In the Clly of Houston, Harris
                     County, Texas, described on Exhibit A attached hereto and made a part hereof for all purposes.
                     The Premises are to be loceted on the 8• floo~s) of the Building, Suite 805, as shown on the floor
                     plan(s) attached hereto as Exhibit B and made a part hereof for all purposes. Subject to
                     Paragraph 9 below, the parties hereby agree that for purposes of this Lease the Premises
                     contains approximately 10,153 square feet of Rentable Space (as defined below), and th~t there
                     are approximately 283,680 square feet of Renteble Space In the Building.

         (d)         "Lease Term": a period one hundred and twenty (120) months, commencing on August 1, 2015
                   . (the "Commencement Date"), subject to the possibility of extension as explained In Paragraph 8
                     below.

         (e)         "Base Rental": Base Rentals will be payable as follows:

                                           Annual                              Monthly Rental         Total Periodic
    From                   To                               # Months                                      Revue
                                         Rate oerSF                               Income
  08/01/15              11/30/15            $0.00               4                  $0.00                  $0.00
  12/01/15              07/31/16           $24.00               8               $20,306.00             $162,448.00
  08/01/16              07/31/17           $24.50              12               $20-729.04             $248-748.50
  08/01/17              07/31/18           $25,00              12               $21-152.08             $253,825.00
  08/01/1B              07/31/19           $25.50              12               $21575.13              $258,901.50
  OB/01/19              07/31/20           $26.00              12               $2199B.17              $263,978.00
  08/01/20              07/31/21           $26.50              12               $22,421.21             $269,054.50
  08/01/21              07/31/22           $27.00              12               $22,844.25             $274,131.00
  08/01/22              07/31/23           $27.50              12               $23 267.29             $279207.50
  08/01/23              07/31/24           $2B.OO              12               $23 690.33             $284,284.00
  08/01/24              07/31/25           $2B.50              12               $24,113.38             $289.360.50

Tenant agrees to pay all Rent to Landlord at the following address: 2500 WLoop South SuHe 255 Houston, TX
77027 (or at such other place as Landlord may designate from time to time In wrltlng) in monthly installments, In
advance and without demand on the first day of each calendar month during and throughout the Lease Term.

        (~          "Prepaid Rental": $0.00 representing payment of Base Rental for the firat month to be paid on
                    the date of execution of-this Lease.

        (g).        "Security Deposit": $0.00, to be paid on the date of the execution of this Lease, and held by
                    Landlord pursuant to the provisions of Paragraph 27 of this Lease,

        (h)         'Sole Permitted Use": General office use, consistent with a reputable office building and subject
                    to Paragraph 14 and other relevant provisions of this Lease.

        (i)         "AddHlonal Rents": Defined In Section 4, shall be due with bese rent on the 1• of every month.
                    Additional rant is estimated at $9.25 annually persquara foot.



                                                       1

                                                                                                Tenant's    Lundlw:d's
                                                                                                 Initials     Initials




                                                                                                                          000967
  0)    'Leasing Agent(s)": Jetall Companies (representing Landlord and Tenant)

 (k)    'Property Manager": Jetall Companies, Inc., Houston, Texas, subject to change by Landlord
        upon wmten notice to Tenanl

 (I)     'Rentable Space": The total area attributable to a leased premises within the Building, I.e., being
        deemed by the parties to be approprlate for purposes of detennlnlng the Base Rental, the
        Allowance, rental adjusbnents, etc. under this Lease, with such total attributed area being
        detennined by (a) using the Amerlcen National Standard method for measuring Rentable Area in
        office buildings, as described In the pamphlet entitled OSlandard Method for Measuring Floor Area
        in Office Bulldingso, published by the Building Owners and Managers Association International
        (ANSI/BOMA 265.1-1996), and then (b) adjusting the floor-by-floor results thus achieved by the
        factor being used by Landlord to more unlfonnly allocete to the tenants In 1/'e Building the first
        floor lobby, the elevator lobbies and the_ other common areas of the Building.

 (m)    "Normal Business Hours": 7:00 a.m. until 6:00 p.m. on weekdays (except holidays, as defined
        below), and from 8:00 a.m. until 1:00 p,m. on Saturdays (except holidays). For purposes of this
        Lease, holidays are deemed to mean the following:

        January 1st                                   New Years Day
        Last.Monday In May                            Memorial Day
        July 4th                                      Independence Day
        First Monday in September                     Labor Day
        Fourth Thursday In November
        plus Friday following                         Thanksgiving Holidays
        December 26th                                 Christmas Day

2.      Lease of Premises; Parking Privileges.

(a)     In consideration of the obligation of Tenant to pay rent as provided in this Lease, and in further
       consideration of the other tenns, covenants and conditions of this Lease, Landlord hereby leases
       to Tenant, and Tenant hereby takes from Landlord, the Premises for the Lease Tenn specified
       herein, all upon and subject to the tenns and conditions set forth in this Lease. Landlord hereby
       covenants that Tenant upon paying rant as herein reseived, and perlonnlng all covenants and
       agreements contained in this Lease on the part of Tenant, shall have quiet and peaceful
       possession of the Premises.

(b)     In addition, at all times during the Lease Term, and conditioned upon the Lease being in full force
       and effect and there being no uncured default under this Lease by Tenant, Landlord hereby
       agrees to make parking privileges available to Tenant, as explained on, and governed by,
       Exhibit C attached to this Lease. In this regard, Tenant acknowledges that In order for Landlord to •
       be able 1n comply with parking allotments for all tenants in the Building, Tenant must assure that
       the aggregate of all parking utilized by Tenon~ its ownera, officers, employees, agents and
       Invitees, does not exceed the parking allotment for Tenant as specified In Exhibit C.

3.     Seivlces by Landlord. At all times during the Lease Tenn, and conditioned upon the Lease
       being in full force and effect and them being no uncured default under this Lease by Tenant,
       Landlord shall furnish the following seivices to the Premises, all of such services to be at
       Landlord's cost and expense except as specltically provided to the contrary elsewhere in this
       Lease:

(a)    Cold and warm water at those points of supply provided for general use of tenants in the Building.

(b)    Heated and refrigerated air conditioning in season during Nonna! Business Houra and at such
       temperatures and in such amounts as are reasonably considered by Landlord to be standard and
       as is consistent In quality and quantity as furnished in other comparable quality office buildings in
       the vicinity of the Building. Such services at all other times and on Sundays and holidays shall be
       furnished only at the request of Tenant, who shall bear the entire cost thereof. Whenever
       machines or equipment that generate abnonnal heat and affect the temperature otherwise
       maintained by the air conditioning system are used In the Premises, Landlord shall have the right


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           lo Install supplemental air conditioning units in the Premises; and the cost thereof, Including the
           cost of Installation, operation, use and malntenanoe, shall be paid by Tenant lo Landlord promptly
           on demand.

(c)        Elevator seJVfce In common with other tenants for Ingress and egress from the Premises, provided
           that Landlord may reasonab[y limit the number of elevators to be In operation at times other than
           Normal Business Hours.

(d)        Janltorlal cleaning services as may, In the reasonable Judgment of Landlord, be required In the
           nonnal operation of the Bu/ldlng (but no less frequently than five timas per week).

(e)        Electrlc current In the manner and lo ihe extent reasonably deemed by Landlord lo be standard
           for office use.
           The fa/lure lo any extent to furnish or any stoppage of these defined utilttles and services resulting
           from any cause whatsoever shall not render Landlord /fable In any respect for damages lo either
          person, property or business, nor be construed as an eviction of Tenant, nor entitle Tenant to any
          abatement of rent, nor relieve Tenant from fulfillment of any covenant or agreement contained
          herein. Should any malfunction of the Building Improvements or facllitias occur for any reason,
          Landlord shall use reasonable dillgence lo repair same prompfly. Tenant shall have no claim for
          rebate or abatement of rent or damages on account of such malfunction or of any intemrptlons In
          service occasioned thereby or resulting therefrom; provided, however, that if any lntamrpflon or
          cessation of seivlce continues for thirty (30) consecutive days after written notice from Tenant lo
          Landlord (and lo any mortgagee of Landlord of whom Tenant has received written notice,
          designating a specific address for notice lo such mortgagee), ldenti[ying the problem with
          reasonable specificity and being labeled 'URGENT/IMMEDIATE ACTION REQUIRED' In all
          capital letters, and Wsuch Interruption or cessation after the 30-day cure period causes the
          Premises lo be untenantable In the reasonable Judgment of Tenant, then notwithstanding any
          provision of this Lease to the contrary, Tenant's Base Rental and Tenant's share of Operating
          El(penses under this-Lease will abate as of the thfrty.first (31st) day and continue abated until the
          service is resumed.

4.        Additional Rent. All Operating Costs (As defined below) of every kind and nature paid or
           Incurred by Landlord (Including without limitation, Reasonable reserves) In operating, managing,
           accounting In connection with equipping, controlllng, decorating, fighting, repairing, replacing,
          enhancing and maintaining the Property (including, without llmitatlon, all costs and expenses
          Incident to maintaining and repalnng as reasonab[y required to maintain the properly In the same
          condition as existed when orlglnally completed) .shall be prorated and Tenant shall share therein
          In the manner provided In this Section A. Operating costs shall likewise include( but shall not be
          limited lo) Taxes (as defined Below) and Insurance Premiums (as defined below) for liability,
          properly, workers Compensation, employers liability and other casualty and/or risk Insurance
          maintained by landlord In connection with the property (including all such insurance with respect
          to parking facilities and for the entire property): The !eon "Addlllonal Renr means Tenants share
          of Operating Costs and all other sums, fees or charges (other than Base Rent) due payable by
          Tenant lo Landlord pursuant to this Lease.

      A. Tenants Share of Operating Costs shall be computed by muWpMng the Landlords estimate of
          Operating Costs for the then-existing Operating Year (as defined below) by the Tenant's Share,
         as provided In Section 1 above, and shall be paid by Tenant in advance in monthly Installments
         on the first (1") day of each calendar month, based upon Landlord's reasonable estimates of the
         Operating Costs as set forth In periodic statements dunng the Tenn 9Such periodic Intervals to be
         detennlned by Landlord). On or before April 1• of each Operating Year, Landlord shall provide lo
         tenant a deteiled report of the Actual Operating Costs, (including but not limited to lnsuranca
         premiums and Taxes paid by Landlord during the preceding Operating Year (the "Operating
         Statement"), together with reasonable documentation supporting such Operating Costs. In the
         event the aggregate of Tenanfs Installments during the Operating Year shall be less than or more
         than the amount of actual charges due from the Tenant, such deficiencies or ove!J)!lyments shall
         be paid to Landlord or credited to the next Installments of Base Rent due from the Tenant, as
         applicable, within thirty (30) days after demand therefore.

      B. Definlllons

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     1.      The term 'Taxes' means all truces, imposfflons, assessments and all other govemmenlal charges,
            If any, which are levied, assessed or Imposed upon or become due and payable In connection
            with, or Hen upon, the Property, or the operation thereof, (exoepting federal and State truces on
            Income) Including faxes levied by present or future laxlng aulhorttles and all taxes of whatsoever
            nature that are Imposed in substitution for, or lnl Heu of, any of the laxes, lmposfflons,
            assessments, or other charges included in this definition of Taxes and Including without limiltjtlon,
            any truc on rents, franchise truc or other truc levied against Landlord or the Premises, In lieu of the
            whole or any part of any truces or assessments levied, assessed or Imposed on real eslate and the
            Improvements thereon, there shall be levied, assessed or Impose on Landlord or the Premises a
            capital levy or other lax directly on the rents received there from and/or a franchise truc,
            assessment, levy or charge measured by or based, In whole or In part, upon such rents, then all
           such taxes, assessments, levies or charges, or the part thereof so measured or based, shall be
           Included within the term 'Taxes" for the purpose hereof. The foregoing sentenoe shall be
           construed to specifically Include In the definition of "Taxes" for all purposes under this lease
           franchise truces, margin truces and any other truces assessed against Landlord pur.,uant to Chapter
           171 of the Texas Code, as same may'be hereafier modified or amended, or any new leglslatlon
           enacted hereafter. However, Taxes exclude the portion, Wany, of ad valorem truces against the
           Premises that ls paid by tenants as a separate charge.

 2.         The term 'lnsuranoe Premiums' as used In this Lease means the total annual insuranoe premiums
           which accrue on all property Insurance, boiler insurance, oommerclal general and excess liability
            Insuranoe, renlal interruption insurance and other Insurance which, from tlme to time, may at
            Landlords election be carried by Landlord with respeot to the Property during any applicable
           Operating Year {or portion thereon occurring durtng the term of this Lease: provided however, In
           the event that durtng any such Operating Year all or any part of such coverage is wrttten under a
           'blanket policy' or othelWlse In such msnner that Landlord was not charged a speclfic lnsuranoe
           premium applicable solely to the Property, than In such event, the amount considered to be the
           insurance premiums with respect to such coverage for such Operating Year shall be determined In
           good faith by Landlords Insurance Agent. If the lnsuranoe pollcles maintained by the Landlord
          with respect to the Property contain any nature of deductible feature {and Landlord agrees that(!)
          the aggregate amount of the deductibles shall not exceed $100,000, and (II) the amount of the
          deductibles shall be disclosed to Tenant upon Tenant's wrttten request therefore), the Tenant In
          the event of a loss, shall pay to Landlord within ten{10) days following reoelpt from landlord's
          obligations to repair or restore the Property. Altemetely, Landlord may include such deducllbles
          in Operating Costs, In which event Landlord shall assess tenant for Tenant's Share thereof In
          connecllon with Landlord's delivery of the Operating Statement as provided above. Insurance
          Premiums shall also include costs to settle insurance claims or otherwise recover Insurance
          proceeds.

3.        The term "Operating Costs" means the aggregate of all expenses paid or Incurred by or on beha~
          of Landlord, whether struclural, non-structural, foreseen or unforeseen, relating to the owner.,hlp,
          maintenance, repair, management and operation of the Property and any sldewallcs or any other
          areas related to the Property which Landlord has a repair or malntenanoe o_bligation, determined
          on an accrual basis In accordance with generally accepted industry accounting standards,
          Including, but not limited to the following:

              (a) Wages and salanes of all employees engaged In the operation and maintenance of the
                  Property, Including faxes, insurance and benefits relating thereto.

              (b) Costs of all supplies and matertals used In the operation, maintenance, repair and
                  management of the Property:

              (c) Costs of water, sewage. Power, heating, lighting, air-conditioning, ventilating, and other
                  utilities furnished with the cooperation of the Property (excluding any costs billed to
                  speclfic tenants)

              (d) Costs of all maintenanoe and seivice agreements for the Property, including but not
                  limited to, security service, alarm service, window cleaning service, janitorial servise,
                  landscape selVice, pest control and elevator servloe:


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          (e) Costs of all insurance carried by the Landlord relating to the Property, Including but not
              limited to, property Insurance, rental lntarruption Insurance and commercial general and
              excess liabilily Insurance appllceble to the Property and the Landlord's Insurance
              deductibles, at Landlord's option as provided above:

          (ij Costs of repairs and maintenance of the parldng facllitles and landscaping of the
              Property

          (g) Management Feas

          (h) All net expenses properly allocable to an Operating Year (herainaller defined) for any
               capital improvement or structural repair Incurred to reduce or llmlt Increases In Operating
               Costs, or required by Landlord's Insurance carrier or by any change In the laws, rules,
              regulations or orders of any governmental or quasi-governmental authorily having
              Jurisdiction or expanses resulting from nonnal repair and maintenance, which expenses
              shall be repaid in equal monthly Installments together with Interest at applicable rates or
              the operational savings payback period: and

         (Q Legal expenses incurred with respect to the Property which relate directly to the
            operation of the Property and which benefit all of the tenants of the building generally,
            such as legal proceedings to abate offensive activities or uses or reduce property taxas,
            but excluding legal expenses related to the collection of rent or the sale, leasing or
            financing of the Property.

4.   Expressly excluded from the definition of the tenn Operating Costs are:

         (a) Cost for which Landlord actually receives reimbursement by Insurance, condemnation
             awards, warranties or otherwise.

         {b) Expenses' Incurred In leasing or procurlng new tenants, Including advertising and
             marketing expenses or leasing commissions paid to the agent of Landlord or other
             brokers;

         (c) Cost of renovating, decorating or constructing space for Tenant or other tenants or,
             except for those cost set forth in Section 68 (3) (h) above, renovating vacant space.

         (d) Income, capital stock, estate, inheritance, franchise or other taxes payable by Landlord
             unless the same shall have been levied as asubstitute for or supplement of real estate
             taxes pursuant to the definition a/Taxes;

        (e) Depreciation of Landlord's personal property of the Building;

        (ij Interest on debt or amortization payments on any mortgage or deed of trust, rental under
             any ground or underlying lease or similar rental under any other superl~r lease or
             sublease;

        (g) Dividends paid by Landlord;

        (h) The cost Incurred to remove or otherwise abata asbestos or asbestos-containing
            materials from the Building;

        (Q Attorney's fees, costs and disbursements and other expenses Incurred in connection with
           negotiations for leases with tenants, other occupants, or prospective tenants or other
            occupants of the Building and similar costs Incurred In connection with leasing disputes
            between Landlord and tenants, other occupants, or prospective tenants or other
            occupants of Iha Building;

        OJ Except as provided in Section 68 (3)(h) depreciatlon and amortization, or cost of a
            capita! nature (including, without limitation, additions, improvements, alterations,


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      replacements and repairs to lhe extent such are of capital nature);

 (k) Landlord's cost of services orutilities which are not standard forlhe Building and which
     are not available to Tenant without specific.charge therefore, but which are provided to
     another tenant oroocupant is specifically charged by Landlord (Irrespective of whether
     Landlord actually receives payment therefor)[or Landlord would have the right to charge
     such other tenants or occupants1, or for which Tenant or any other tenant or occupants
     pays lhlrd parties;

 (I) Subject to the other provisions of the Lease, Cost Pimited to penalties (including late
     payment), fines and associated legal expenses] Incurred by Landlord due to the violation
     by Landlord of the tenns and conditions of this Lease or of lhe leases ofolher tenants In
     the Building, or applicable federal, state and local govemmentel laws, codes and
     regulations as same shall pertain to the Building and the parking garage.
     Notwithstanding the foregoing, Interest or penalties Incurred In connection with
     assessments ortexes which are reasonably contested by Landlord shall be Included In
     Oparating Costs;

 (m) Except for the management fee and other fees to Landlord speclflcally provided In this
     lease, overhead and profrt Increments paid to affiliates of Landlord for services on or to
     lhe Proparty In excess of competitive costs for such services If they were rendered by
     non-affiliated persons or entities of similar skill, competence and experience:

(n) Costs of Landlord's general overhead, and general administrative and accounting
    expenses not directly related to or allocable to the Building Qndlvidual, partnerahlp or
    corporate, as the case may be):

(o} Any compensation paid to clerks, attendants or other persons In oommerclal concessions
     (such as snack bar) if any, operated by Landlord for Landlords economic benefit

(p) All tenns and services for which Tenant specifically reimburses Landlord (other than the
    actual Operating Costs) or which Tenant pays lhlrd persons:

(q) Penalties for late payments of Taxes:

(r) Costs directly resulting from the gross negligence or willful misconduct od Landlord
    and/or contractors

(s) Ad velorem taxes allocable to Iha leasehold Improvements of other tenants or occupants
    In the building, provided that such lex statements or other documentation specify the
    name(s) and addresses of said other tenants or occupants:

(t) Rentals and other related expenses, Wany Incurred In leasing air-conditioning systems,
    elevators or other equipment ordinarily considered to be a capital nature, except
    equipment that Is used In providing janitorial services and that Is not affoced.to the
    building or Is used In an emergency or temporary basis:

(u) Costs or expenses for sculpture, palntings or other works of art totaling In excess of
    $16000 during the initial Tenn, Including, but not limited to, costs incurred wilh respact to
    the purchase, ownershfp, !easing, showing, promotion, securing, insuri_ng, repairing
    and/or maintenance of the same:

(v) Contributions to Operating Costs

(w) Contributions to charitable organlzaUons:

(x) Costs Incurred In removing the property of fonnertenants and/or occupants of the
    Building

(y) Consulting costs and expenses Incurred by Landl.ord except to the extent that same are


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                              Incurred In an effort by Landlord to reduce or minimize Operating Costs orto the extent
                              that they relate to tho Improvement of the management or operation of the Building:

                         (z) Costs or fees relating to the defense of Landlord's title to or Interest In the Building or the
                             Property, or any part thereof: and

                         (aa) Any other expense which according to Industry standards would not be considered to be
                              a maintanance or operating expense of the Building, unless expressly provided
                             -otherwise herein:

           5.       The term 'Operating Yea!" means any calendar year ending December 31• after the
                    Commencement Date oocurs.

           6.       Tenant at Tenant's expense may audit the Operating Statement under the following conditions:

                                  (a) Tenant provides notice of its Intent to audit within ninety (90) days after Tenant's
                                      receipt of the Operating Statement:

                                  (b) The audit is perfonnad by a Certified Public Accounting Finn acceptable to both
                                      Landlord and Tenant that has not been ratelned on a contingency basis or other
                                      basis where its compensation relates to the cost savings to tenant Prior to the
                                      audit, such auditor and Tenant shall sign and deliver to Landlord a
                                      confidentiality agreement In fonn acceptable to each Landlord, Tenant and such
                                      Auditor (each being reasonable In connection therewHh):

                                  (c) The audit Is commenced not sooner than thirty (30) days and not later than sixty
                                      (60) days after the receipt by Landlord of Tenants notice of lntentto audit:

                                 (d) The audit must be conducted during nonnal business hours, at the location
                                     where Landlord maintains Its books and records, and must conclude within thirty
                                     (30) days after It commences:

                                 (e) The audit Is llmlted to the Operating Year In question and records of prior years
                                     shall not be produced for review by the auditor:

                                 (ij No event of default shall exlstwhich remains uncured:

                                 (g) Tenant shall have paid prior to or contemporaneous with the notice of Intent to
                                     audit Tenant's Share of the Operating Costs as calculated by Landlord for the
                                     Operating Year In question and the estlmated Operating Costs payments for the
                                     Operating Year during which the audit occurs: and

                                 (h) Tenant's auditor shall produce a detailed report addresses to both Landlord and
                                     Tenant with Its calculated conclusions.


          5.        Payments and Performance. Tenant agrees to pay all rents, additional rents and sums provided
to be paid by Tenant pursuant to this Lease at the times and in the manner herein provided, without any setoff,
deduction or counterclaim whatsoever. Should this Lease commence on a day other than the first day of a calendar
month or tenninate on a day other than the last day of a calendar month,· the rent for such partial month shall be
pnoportlonately reduced. The Base Rental for the first partial month, Wany, shall be payable at the beginning of said
period or as Prepaid Rental. The obligation of Tenant to pay rentals Is an Independent covenant, and no act or
ctrcumstance whatsoever, whether such act or circumstance constitutes a breach of covenant by Landlord or not,
shall release Tenant from the obligation to pay rentals. Time Is of the essence in the performanca of all ofTenanfs
obllgalfons hereunder. In the event any rental ls not received within ten (10) days after Tenant receives notice of
such late payment, provided that Landlord shall not be obligated to provide Tenant with a notice and cure perlod
with respect to the Tenant's failure to timely pay Base Rental more than two (2) times durlng any calendar year, but
Tenant shall sfill be enti11ad to receive the benefit of the five (5) day grace perlod for the remainder of such calendar
year, but there will be no roqulrement of wrltten from Landlord to Tenant of such default, or Wany rental payment is
by check which is returned for lnsuffictent funds, then in addition to the past due amount Tenant shall pay to


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 Landlord a late charge In an amount equal to five percent (5%) of Iha rental then due, In order to compensate
Landlord for Its administrative and other overhead expenses. Any such late charge shall ba payable on demand as
additional rental. In addition, ff rental Is paid by a check which Is returned for insufficient funds, Tenant shall
immediately make Iha required payment to Landlord In good funds; moreover, In such event Tenant shall also pay
to Landlord not only the late charge specified above In this Paragraph 6 Q.e., ff and to the extent that such
dishonored check causes Iha rental to become past due by more than ten days), but also an additional fee of
$250.00 to compensate Landlord for Its expense and effort in connection with the dishonored check. After the first
check Is returned for Insufficient funds, Tenant shall be required lo provide all future payments via cashlefs check,
money order, or Elecironlc Fund Transfer at Landlord's discretion.


        6.        Installation of Improvements; ADA Compliance. All Improvements to be installed In the
                  Premises at the commencement of this Lease shall be Installed as specified in the Leasehold
                  Improvements Agreement attached hereto as Exhibit D and made a part hereof. Landlord will
                 assure that the "Required Improvements" (hereafter defined) comply with Iha Americans With
                 Disabilities Act of 1990, as amended, and all related state and local laws (collectively, the 'ADA1;
                 and Landlord agrees that the remainder of the Building, other than the Premises, and Including
                 any common areas or other Improvements made to the Premises by Landlord, without regard to
                 the special needs of the Tenant's employees, shall be In compliance with the ADA (also ta~ng
                 Into account the feet that the Building was constructed before the effective date of the ADA).
                 Tenant shall be responsible for causing Its business operations within the Premises to comply with
                 the ADA

        7.        Completion of Improvements and Commencement of Rent. If the Premises are not ready for
                  ocoupancy by Tenant on the Commencement Data of this Lease, the obligations of Landlord and
                  Tenant shall nevertheless continue In full force and effect, Including the obllgallon of Tenant to
                  commence paying rent on the Commencement Date stated in Paragraph 1(d); provided, however,
                 that ff the Premises are not ready for occupancy for any reason other than Tenant's Delay (as
                  defined In Exhibit D), then the rent shall abate and not commence until the date the leasehold
                  Improvements to the Premises are substantially complete. Any abetement of rent shall constitute
                 full settlement of all claims that Tenant might otherwise have against Landlord by reason of the
                 Premises not being ready for ocoupancy by Tenant on the Commencement Data.
                 Notwithstanding the foregoing, If Tenant, with Landlord's consent, occupies the Premises after
                 substantial complatlon o!Tenanfs leasehold Improvements but prior to the beginning of the Lease
                 Term set forth herein, all of the tanns and provisions of this Lease shall be in full force and effect
                 from the commencement of such ocoupancy and the Lease Term shall commence on the date on
                 which Tenant first ocouples the Premises and shall expire the same period of months thereafter
                 as shown in Paragraph 1(d); no change shall occur In the length of the Lease Tenn. •

        8.        Limited Right to Calculate Rentable Space; Subsequent Liquidation. (a) Landlord and
                  Tenant agree that at any tlme within sixty (60) days after the Commencement Date of this Lease,
                  either party may, at lls sole eX!l/!nse, employ a licensed architect to calculate the Rentable Space
                  of the Premises and/or of the Building. If the architect perfonning any such services should Issue
                 a written statement within ninety (90) days after the date of this Lease, which lndlcetes that the
               . Rentable Space specffied for either the Premises or the Building should be modified (a
                 "Modification Statement"), and if the other party to this Lease agrees with such Modification
                 Statement, then Landlord and Tenant shall execute awritten-Amendment to Lease confinning the
                 mutually agreed lnfonnafion and the appropriate rental adjustment which results from the
                 corrected lnfonnation (e.g., increasing or decreasing the Base Rental proportionate with the
                 increase or decrease in the Rentable Space). If the architect performing any such services should
                 issue a Modlflcellon Statement within ninety (90) days after the Commencement Date of this
                 Lease, and if the other party to this Lease does not agree with such Modification Statement then
                 the other party tnay, at Its sole expense, within sixty (60) days after the date of the Modification
                 Statement employ a licensed architect to review and respond to the Modification Statement (the
                 "Response").

                If the two architects fail to reach agreement within thirty (30) days after the date of the Response,
                then they shall select a third licensed architect (either by agreement between the two architects
                or, if they fail to agree on the third architect, by requesting that the Dallas chapter of the American
                Institute of Architects provide the third architect), with the fees of the third architect to be shared


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        equally by Landlord and Tenant. Upon agreement between the two architects selected by the
        parties, or upon the final' decision of the third architect, Landlord and Tenant shaD execute a
        written Amendment to Lease conflnnlng the final detennlnatlon and, n necessary, the apprcpriate
        rental adjustment

 (b)    Notwithstending anything contained in this Lease to the contrary, both Landlord and Tenant
        acknowledge and confim, their mutual desl"' to have all financial obligations under this Lease
        flXed and liquidated as soon as possible so that they can account for and plan such obligations
        with greater certainty. Accordingly, the parties agree that n neither party employs a licensed
        architect to perfom, any. of the above-listed services within sixty (60) days after the
        Commencement Date of this Lease, or ff no Modificatlon Stetement is delivered within ninety (90)
        days after the Commencement Date of this Lease, then the provisions of Paragraph 9(a) shall be
        null and void and of no further force or effect; ,and In such event (l) so that both parties lo this
        Lease can be assured that they will not have to expend monies for professional fees regarding
        Renteble Spaoa detem,inafions after the deadlines esteblished In Paragraph 9(a), they hereby
        agree that the Rentable Space for the Premises and for the· Building, as specified In
        Paragraph 1(c) above, shall conclusively be deemed to be applicable to this Lease; and (II) so that
        both parties to this Lease can be assured as to their financial obllgatlons alter the deadlines
        established In Paragraph 9(a), they further agree that Base Renfill, the Allowance, rental
        adjustments and all other aspecls of this Lease which are based in whole or In part upon Renteble
        Space shall be deemed to be final and no longer subject to adjustment based upon Inaccuracies
        and/or errors, ff any, In the Renteble Space detem,inatlons specified In Paragraph 1(c).

9..     Repairs and Reentry. Tenant will, at Tenant's own cost and expense, maintain and keep the
       Premises and any alterations and additions thereto in sound condition and good repair, ordinary
       wear and tear excepted, and shall pay for the repair of any damage or injury done to the Building
       or any part thereof byTenant or Tenant's agents, employeas and Invitees; provided, however, that
       Tenant shall make no repairs to the Premises wtlhout the prior wrttten consent of Landlord. The
       perfonmance by Tenant of Its obllgatlon to malnteln and make repalm shall be conducted only by
       contractom approved by Landlord affer plans and specificatlons have been approved by Landlord.
        Tenant will not commit or allow any waste or damage to be committed on any portion of the
       Premises, and upon the tenmlnaHon of this Lease by lapse of time or otherwise, Tenant shall
       deliver up the Premises to Landlord In as good condition as at date of possession, ordinary wear
       and tear excepted. Upon such tenmination of this Lease, Landlord shall have the right to reenter
       and resume possession of the Premises, . Notwithstending the foregoing provisions of this
       Paragraph 10, any repairs to the Premises or the Building that are necessiteted because of any
       damage caused by fire or other casualty shall be governed by the provisions of Paragraph 18
       below. Landlord shall be responsible for maintenance to the exterior, structural and common
       areas of the Building.

10.    Alterations anll Additions by Tenant. Tenant shall make no all,,raHons In or additions to the
       Premises wHhout the prior written consent of Landlord which shall not be unreasonably withheld;
       and all alterations, additions, and Improvements made to or fixtures or Improvements placed in or
       upon the Premises by either party (except only moveable trade fixtures of TenanQ shall be
       deemed a part of the Building and the property of the Landlord at the time they are placed In or
       upon the Premises, and they shall remain upon and be surrendered wHh the Premises as a part
       thereof at the termination of this Lease, unless Landlord shall elect otherwise, whether such
       tenmlnatlon shall occur by the lapse of time or otherwise. In the event Landlord shall elect that
       certain alterations, additions and improvements made by Tenant In the Premises shall be
       removed by Tenant, Tenant shall remove them and Tenant shall restore the Premises to Its
       original .condition, at Tenant's own cost and expense, prior to the tenmlnatlon of the Lease Tenm.
       Alterations and additions to the Premises will be perfom,ed by Landlord at Tenant's cost and
       expense,

11.    Entry for Repairs and Inspection. Landlord and Its agents and representetives shall have the
       right to enter into and upon any and all parts of the Premises at all reasonable hours and with
       reasonable.prior notica when possible (or, In any emergency, at any hour) to Inspect same or
       clean or make repairs or alterations or additions as Landlord may deem necessary, and Tenant
       shall not be entitled to any abatement or reductlon of rent by reason thereof. During the period of



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           180 days prior to the axplraUon date of this Lease, Landlord and Landlord's agents may exhibit
           the Premises to prospective tenants at reasonable hours and upon prior noUce to Tenant

  12.      Mechanic's Liens. Nothing contained in this Lease shall authorize Tenant to do any act which
           shall In any way encumber the UUe of Landlord in and to the Premises or the Building or any part
           thereof; and ff any mechanic's or materialman's lien Is flied or claimed against the Premises or
           Building or any part thereof In connection with any work perfonned, materials furnished or
           obligation Incurred by or at the request of Tenant, Tenant will indemnify, defend and hold
           Landlord harmless from any claims, losses or liabilities arising out of any liens flied or claimed
           against the Premises or building or any part thereof, by, through or under Tenant, except to the
           extent that Tenant bonds around such liens In accordance with the provisions of the Texas
           Property Code or causes such Hens to be released. If.Iha lien is not released of record or bonded
          around as provide above and default in payment theraof shall continue for twenty (20) days after .
          written noflce thereof from Landlord to Tenant, Landlord shall have the rlght and privilege at
          Landlord's option of paying the same or any portion thereof without Inquiry as to the validity
          fuareof, and any amounts so paid, Including expanses and Interest, shall be repaid to µmdlord
          immediately on demand therefor as additional rent.

 13.      Tenant's Use. Tenant will be solely responsible for obtaining all neoassary oertiticates (e.g.,
          Certificate of Occupancy) and lloenses necessary for Tenant's occupancy of fue Premises and
          conducting Its business therein. Tenant will not occupy or use any portion of the Premises for any
          purpose othe.r than the Sole Permitted Use or for any purpose which Is unlawful or which, In the
         good faith judgment of Landlord, Is disreputable or which is hazardous due to risk of fire,
         explosion or other casualty. Tenant will not penmlt occupancy or use of fue Premises by more
         fuan four (4) parsons per 1,000 square feet of Rentable Spaoe of the Premises; nor will Tenant
         permit anything to be done which will In any way Q) increase the rate of fire and casualty
         insurance on fue Building or Its contents, (II) tend lo lower the first-class character of the Building,
         (Iii) create unreasonable elevator loads or otherwise Interfere with standard building operations, or
         [iv) affect the structural integrity or design capabllltles of the Building or any portion fuereof (e.g., a
         floor being occupied by TenanQ. In the event fuat, by reason of any act or conduct or business of
         Tenant, there shall be any increase in the rate of insurance on the Building or Its contents created
         by Tenant's acts or conduct or business, then Tenant hereby agrees to pay Landlord the amount
         of such Increase on demand. Tenant will conduct its business, and control Its agents, emplcyees,
         and invitees In such a manner as not to create any nuisance or Interfere with, annoy or disturb
         other tenants or Landlord in the management of the Building.

14.        Laws and Regulations; Rules of the Building. (a) Tenant at Its sole expense will maintain the
           Premises In a clean and heallhful condition and will comply with all laws, ordlnanoas, orders, rules
           and regulations of any governmental aufuorily having Jurisdiction over the use, conditions or
           occupancy of the Premises. Without limiting the generality of the foregoing, Tenant shall comply
           strlctiy and In all respects wllh the requirements of all Hazardous Waste Laws and shall Indemnify,
           defend and hold Landlord hannless from and against any llabllltY, costs or expanses fuat may
           arise on account of fue release, discharge, storage, disposal, treatment, prooasslng or other
           handling or discovery of any Hazardous Substance within the Premises, or fue discharge, release,
           disposal, storage, treatment, processing or other handling of any Hazardous Substance by
           Tenant, Its employees, agents, contractors, or invitees anywhere on fue Land or within the
          Building, oroff site. As used herein, "Hazardous Substance" means any substanoe, material or
          matter that may give rise to llabilltY under any Hazardous Waste Laws, Including (but not limlted
        . to) medical waste and petroleum products or petroleum wastes. "Hazardous Waste Laws" shall
          mean any local, state or federal laws, rules, ordlnanoes, regulations, and policy and guidance
          statements by the Environmental Agencies, either in existenoe as of the date hereof, or enacted,
          promulgated or issued after the dale of this Lease, that concern fue management, control,
          discharge, treatment, containment or removal of substances or materials that are or may become
          a threat to public healfu or the environment To the best of Landl_ord's knowledge, Landlord
          represents and warrants that the Premises are free from Hazardous Substanoes as of the
          commenoement of fuis Lease, to the extent fuat any Hazardous Substance Is In violation of
          Hazardous Waste laws.

(b)      Tenant and Tenant's agents, employees, and invitees will comply fully with all Rules and
         Regulations of the Building which are attached hereto as Exhibit E and made a part hereof as


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           though fully set out herein. As more partlcularty provided therein, Landlord shall at all times have
           the rtght to change such rules and regulations or to amend them In such reasonable manner as
           may be deemed advisable for the safety, protection, care and cleanliness of the Building and
           appurtenanoes and for preservation of good order therein, all of which rules and regulations,
           changes and amendments will be forwarded to Tenant in wrtting and shall be compiled with and
           observed by Tenant; provided, however, that no new rules or regulations shall deprtve Tenant of
           any rtghts expressly granted to Tenant pmsuant to this Lease,

 15 ..     lndemnitv. Liability and Loss or Damage. By moving Into the Premises or taking possession
           thereof, Tenant acoepls the Premises as suitable for the purposes for which they are leased and
          accepts the Building and each and every appurtenance thereof, and waives any and all defects
           therein (with Iha exception of latent defects of which Tenani gives Landlord wrttten notice within
          one year after the Commencement Date). Landlord shall not be liable to Tenant or Tenanfs
          agents, employees, guests, Invitees or any person clalmlng by, through or under Tenant for any
          injury to person, loss of or damage to property, or for loss of or damage to Tenanfs business,
          occasioned by or through the acts or omissions of Landlord, or by any cause whatsoever except
          Landlord's negligence or willful wrongdoing. Unless artslng solely from or out of Landlord's
          negligence or willful wrongdoing, Landlord shall not be liable for, and Tenant shall Indemnify,
          defend and hold Landlord hannless from, all suits, actions, damages, liability and expense in
          connection with loss of life, bodily or personal Injury or property damage artslng from or oul of any
          occurrence In, upon, at or from the Premises or the occupancy or use by Tenant of the Premises
          or any part thereof, or occasioned wholly or In part by any action or omission ofTenant, Its agents,
          contractors, employees, Invitees, or licensees, ff Landlord shall, without fault on Its part, be made
          a party to any action commenced by or against Tenan~ Tenant shall Indemnify, defend and hold
          Landlord harmless therefrom and shall pay all costs, expenses, and reasonable attorney's fees to
          Landlord incurred In connection therewith. Unless artslng solely from Lendlord's negligence or
         willful wrongdoing, Tenant shall not be liable for, and Landlord shall indemnify, defend and hold
         Tenant harmless fro.m, all suits, actions, damages, liability and expense In connection with loss of
         lffe, bodily or personal injury or property damage arising from or out of the sole negligence or
         willful wrongdoing any action or omission of Landlord, Its agents, contractors, employees, Invitees,
         or licensees,

16.       No Subrogation: Insurance. (a) Tenant hereby waives any cause of action It might have against
          Landlord on account of any loss or damage that is insured against under any lnsuranoe policy that
          covers the Premises, Tenanfs fixtures, personal property, leasehold Improvements or business
         and which names Tenant as a party insured. Landlord hereby waives any cause of action It might
          have against Tenant because of any loss or damage that Is Insured against under any Insurance
         policy that covers the Building or any property of Landlord used in connection with the Building
         and which names Lardlord as a party Insured; provided, however, that Tenant shall remain liable
         to Landlord for the amount of the "deductible' applicable to Landlord's insurance coverage, not to
         exceed $10,000. This provision is cumulative of Paragraph 16.

(b)       Tenant shall procure and maintain throughout the term of this Lease a policy or policies of
          Insurance, at Its sole cost and expense, lnsurtng Tenant and Landlord against liability for Injury to
         or death of a parson or persons, occasioned by or artsing out of or in connection with the use or
         occupancy of the Premises, the limits of such policy or policies to be In an amount not less than
         $1,000,000.00 with respect to lnjurtes to or death of any one person and In an amount of not less
         than $1,000,000.00 with respact to any one accident or disaster, and shall furnish evidence
         satisfactory to Landlord of Iha maintenance of such insurance. Tenant shall obtain a wrttten
         obligation on the part of.each Insurance company to endeavor to notify Landlord at least 10 days
         notice to prior to cancellation of such ·insurance. II ls recommended that Tenant carry fire and
         extended coverage insurance on 11,f personal property, as Landlord shall In no event be required
         to rebuild, repair or replace any part of the furniture, equipment, fixtures and other improvements
         which may have been placed by Tenant on or within the Premises.

17.      Fire and Casually. (a) If the Premises are damaged by fire or other casualty and ff such damage
         is not susceptible of repair within 180 days (as estimated, as soon es reasonably practicable after
         the occurrence of such damage, by an architect of recognized good reputation selected by
         Landlord), then in such event this Lease, at the option of Landlord exercised by gMng wrttten
         notice thereof to Tenant within 30 days after receipt of a certificate of the architect so selected,


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         shall terminate as of the date of such Joss, and Tenant shall pay the rent herl!under appor11oned
         to the time of such loss and shall pay all other obligations of Tenant owing on the date of
         termination, and Tenant shall immediately surrender the Premises to Landlord. •

 (b)     If the damage descrlbed above is susceptible of repair within 180 days, or If the damage Is not
         susceptible of repair within 180 days but Landlord falls to exercise Its option to terminate this
         Lease, Landlord shall enter and make the necessary repahs without affecting this Lease, but the
         rent hereunder shall be reduced or abated as shall be equitable, In the good faith judgment of
         Landlord, until such repairs are made, unless such damage has been so slight that Tenant's
        occupancy of the Premises is not matenally interfered with, In which oese the rent hereunder shall
        not be abated or reduced. Notwlthstendlng the foregoing, Landlord shall have the option to
        terminate this Lease and shall not be obligated to repair the Prem~•• or the Building ff the
        damage Is not covered by insurance or ff Landlord's mortgagee applies any por11on of the
       •insurance proceeds to the unpaid balance of Its Joan.

 (c)     In the event the Building Is so badly damaged or Injured by fire or other oesualty, even though the
        Premises may not be affected, that Landlord decides, within 90 days after such destruction, not to
        rebuild or repair the Building (such decision being vested exclusively In the discretion of
        Landlord), then In such event Landlord shall so notify Tenant In wntlng and this Laase shall
        terminate as of the date of Landlord's written notice to Tenant effecting Its de~ion not to rebuild,
        and the Tenant shall pay rent hereunder appor11oned to the date of such notice (subject to
        subparagraph (~) Immediately above) and shall pay all other obllgatlons of Tenant owing on the
        date of termination, and Tenant shall Immediately surrender the Premises to Landlord.

(d)     Notwlthstendlng the foregoing provisions of this Paragraph 18, Tenant agrees that ff the Premises
        or any other por11on of the Building Is damaged by fire or other casualty resultlng from the fault or
        negligence of Tenant or any of its agents, employees, or Invitees, then there shall be no
        abatement of rent before or during the repair of such damage.

18.    Condemnation. If all of the Prem~es, or so much thereof as would materlally Interfere with
       Tenant's use of the remainder, shall be taken or condemned for any public use or purpose by right
       of eminent domain, with or without lltlgatlon, or be transferred by agreement In connection with or
       In lieu of or under threat of condemnation, then the term of this Lease and the leasehold estate
       created hereby shall terminate as of the date tltle shall vest in the condemnor or transferee. If
       only a por11on of the Bullding, but not the Premises, Is taken or condemned or transferred as
       aforesaid, Landlord shall have the option to terminate this Lease effective as of the date title shall
       vest in the condemnor or transferee. Landlord shall receive the entlre award from any taking or
       condemnation (or the entire compensation paid because of any transier by agreement), and
       Tenant shall have no claim thereto.

19.    Termination Right. Tenant shall have the rlght to terminate this Lease with 60-<lays prlor written
       notice to Landlord ster11ng In month sixty-one (61) of the Lease Term. ff exercised, Tenant shall
       pay a termination penalty equal to Landlord's unamortized Tenant Improvement and Leasing
       Commissions at an annual percentage rate of seven percent (7%) straight amortization.


20.     Aeslgnment and Subletting. (a) In the event that Tenant desires to assign or mortgage this
        Lease or sublet all or any part of the Premises (with the term 'sublet" being deemed, for purposes
        of this Paragraph 21, to include Tenant's grant of a license, concession or other right of
        occupancy of any portion of the Prem~es), Tenant shall notify Landlord In wntlng (a 'Proposal
       Noticej end shall stete in the Proposal Notlce the name of the proposed assignee, mortgagee or
       sublessee and the terms of the proposed assignment, mortgage or sublease. In the Proposal
       Nottce Tenant shall also provide financial information and state the nature and character of the
       business of the proposed assignee, mortg'!9e or sublessee. Notwithstanding such Proposal
       Notlce to Landlord, Tenant shall not assign or mortgage this Lease or any right hereunder or
       interest herein, and Tenant shall not sublet the Premises In whole or in part or grant any license,
       concession or other right of occupancy of any por11on of the Premises, without the prior written
       consent of Landlord (which, subject to subsections (b} and (c) below, shall not be unreasonably
       withheld). /lJiy such assignment mortgage or subletting without Landlord's consent shall be void
       and shall, at the sole option of the Landlord, be deemed a breach of Ihm Lease. Notwithstanding


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       any assignment. mortgage or subletting consented to by Landlord, Tenant and each assignee
       shall at all limes remain fully responsible and liable for the payment of the rent herain specified
       and for compliance with all of Tenant's other covenants and obligations under this Lease. No
       consent to any assignment or mortgage of this Lease or any subletting of the Pramises shall
       constitute a waiver of the provisions of this paragraph except as to the specific Instance covered
      thereby. If Tenant Is a col])oratlon or partnership, an assignment prohlblled by this Paragraph 21
      shall be deemed to Include one or more sales or transfers, by operation of law or otherwise, or
      creation· of new stock or partnership inlerests, by which a majority of the voting shares of the
      COIJloration or inlerests In the partnership shall be vesled In a party or parties who ara not owners
      of a majorily of the voting shares or partnership Interests ofTenant as of the date hereof;
      provided, however, that the foregoing provisions of this senlence shall not be applicable if
      Tenant's stock Is listed on a re.cognlzed security exchange. Any transfer by operation of law shall
      also constitute an assignment prohibited by this Paragraph 21. Unless Landlord's withholding of
      consent Is attributable primarily to a malicious Intent to Injure Tenant (I.e., as opposed to a
      difference of opinion between Landlord and Tenant), Landlord shall not be liable to Tenant for
      wrongfully withholding its consent to an assignment or subletting under this Lease and Tenant's
      sole remedy on account thereof shall be to enforca specific perfonnance of Landlord's obligation
      to consent.

(b)   Landlord and Tenant heraby agree that the granting of consent by Landlord (I.e., if such consent
      Is granted) shall, at a minimum, be preconditioned upon the fulfillment of the following
      requirements of Landlord, as well as any other raasonable requirements of Landlord:

      (1)     Landlord shall be entitled to review Tenant's Proposal Notice for at least ten (10) days
              after receiving same from Tenant;

      (2)     Tenant shall remain primarily liable under this Lease and shall guaranly the Lease if
              Landlord so requests;

      (3)     Any proposed assignee or sublessee shall assume, In a written Instrument aocepteble to
              Landlord, all of the obligations of Tenant hereunder;

      (4)     No use shall be employed In connection with the Premises other than the Sole Pennitted
              Use set forth In this Lease;

      (5)     The Premises shall remain Intact and shall not be altered in any manner whatsoever
              unleas Tenant and the prospective assignee or sublessee shall pay the entire cost
              thereof, and Landlord's prior written approval Is obtained pursuant to Paragraph 10
              above;

      (6)     The tangible net worth of the proposed subtenanVasslgnee must be reasonably sufficient
              for the obligations under this Lease;

      (7)     Any use of the Premises pennltted hereunder by the proposed sublessee/assignee must
              not (i) violate or create any potential vlolaflon of any laws, nor (IQ violate any other
              agreements affecting the Premises, the Building or Landlord, nor (iii) increase by more
              than 5% the denslly of employees and/or other persons using the Premises from the
              densily maintained by Tenant;

      (8)     The proposed subtenanUasslgnee will not create traffic congestion or an unreasonable
              burden on existing parking or elevators;

      (9)     Tenant shall pay any and all reasonable attorney's fees or other costs associated with
              Landlord's review and approval of a prospective assignee or sublessee, not to exceed
              $1,000.00;

      (10)    No assignment or sublease shall be to a person or entily with whom Landlord Is then
              negoflating,. has negotiated with within the previous six months or cunenfly is a tenant
              within the Building.


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  (c) •    In the event of a sublease approved by Landlord where the monthly rental per square foot of
           space subleased· which Is payable by any sublessee to Tenant (Including any bonuses or any
           other consideration paid directly or Indirectly by the sublessee to Tenant) exceeds the monthly
           rental per square foot for the same space payable for the same month by Tenant to Landlord,
           Tenant shall be obllgatad to pay the amount of such excess to Landlord es additional rent
           hereunder within twenty (20) days after it is received by Tenant from the sublessee. In the event
           of an assignment approved by Landlord where Tenant receives any consideration from an
           assignee other than the assumpflon by the assignee of Tenant's obligaflons hereunder, Tenant
           shall· be obligated to pay the amount of such conslderaUon to Landlord as addlUonal rent
           hereunder within twenty (20) days after the dale It Is received by Tenant. Landlord, at Landlord's
           option, may elect to require that rental payable by any sublessee be paid directly to Landlord and
           offset Tenant's rent obllgaUonsacoordingly.

 (d)       Notwlthstandlrtg the foregoing, the provisions of Sections 21(a)-(c) will not apply to an assignment
           or sublease to a parent, subsidiary, affiliate, entity under common ownership or successor In
           interest arising out of or resulting from a merger or the sale of substantially all of the stock or
           assets of Tenant Under such clrcumstanoes, Tenant will only be obligated to notify Landlord of
           such assignment or sublease and deliver a copy of the assignment or sublease, ff applioeble, to
           Landlord.

 21..      Holding Over. Should Tenant continue to hold the Premises after this Lease terminates, whether
           by lapse of time or otheiwise, such holding over shall, unless otherwise agreed to by Landlord In
           writing, constitute and be construed as a tenancy at will at a daily rental equal to one-thirtieth
           (1/30) of an amount equal to 125% of the amount of the monthly rental payable during the last
           month prior to the termination of this Lease, and upon and subject to all of the other terms and
           provisions set forth herein exoept any right to renew this Lease. This provision shall not be
           oonstrued, however, as permission by Landlord for Tenant to hold over.

22.        Abandoned Proll!m, All personal property of Tenant remaining In the Premises after the
           expltatlon of the Lease Term or after the abandonment of the Premises by. Tenant may be treated
          by Landlord as having been abandoned by Tenant, and Landlord shall have the right to remove
          such personal property from the Premises without any obligatlon to deliver such personal property
          to Tenant and without any liability to Tenant whatsoever, It being agreed that Tenant shall have
          no right to reclaim such property. Landlord shall have no duty to notify Tenant that Landlord may
          dispose of Tenant's property. Tenant shall be presumed conclusively to have abandoned the
          Premises If the amount of Tenant's property removed or being removed by Tenant from the
          Premises Is substantial enough to Indicate a probable intent to abandon the Premises, and such
          removal is not within the nonnal course of Tenant's business, or if Tenant removes or is removing
          any matenal amount of Tenant's personal property from the Premises at a time when Tenant Is In
          default In the payment of rental due hereunder and such removal is not within the normal course
          of Tenant's business. Nothing contained In this paragraph shall prejudice or Impair Landlord's
          rights as a llenholder and secured party under Paragraph 28 hereof, and the rights granted to
          Landlord under this peregreph shall be cumulaUve of Its rights as a lien holder and secured party.

23.       Taxes. (a) Tenant shall be liable for all taxes levied or assessed against all personal property,
          furniture and fixtures placed by Tenant, or on Tenant's beha~, In the Premises. If any such taxes
          for which Tenant is liable are levied or assessed against Landlord or Landlord's property and If
          Landlord elects to pay the same or Hthe assessed value of Landlord's property is increased by
          Inclusion of personal property, fumtture or fixtures plaoed by Tenant in the Premises, and
          Landlord elects to pay the taxes based on such increase, Tenant shall pay Landlord upon demand
          that pert of such taxes for which Tenant Is primarily liable hereunder.

(b)       Tenant agrees that, as between Tenant and Landlord, Landlord has the sole and absolute right to
          contest taxes levied against the Premises and the Building (other than taxes levied directly
          against Tenant's personal property within the Premises). Accordingly, Tenant, to the maximum
          extent pennlllsd by law, irrevocably waives any and all rights that Tenant may have to receive
          from Landlord a copy of notioes reoelved by Landlord regarding the appraisal or reappraisal, for
          tax purposes, of all or any portion of the Premises or the Building (Including, without limitation, any
          rights set forth in 41.413 of the Texas Property Tax Code, as such section may be amended
          and/or supplemented from time to time). Additionally, Tenant, to the maximum extent pennltted


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         by law, hereby assigns to Landlord any and all rights of Tenant to protest or appeal any
       • governmental appraisal or reappraisal of the value of all or any portion of the Premises or the
         Building (Including, without limitation, any rights set forth In 41.413 and 42.015 of the Texas
         Property Tex Code, as such sections may be emended end/or supplemented from time to time).
         To the maximum extent permitted by law, Tenant agrees that It will not protest or appeal any such
         appraisal or reappraisal before a governmental taxing authority without the express written
         authorization of Landlord.

 24.    Transfer ·o1 Landlord's Rights. In the event Landlord transfers 11s Interest In the Building,
        Landlord shall thereby be released from any further obligations hereunder, and Tenant agreas to
        look solely to the successor in Interest of the Landlord for the performance of such obligations.

 25.     Default. (a) The following events shall be deemed to be events of defaull by Tenant under this
         Lease:. (I) Tenant shall fall to pay any rental or other sums payable by Tenant hereunder as and
        when such rental or other sums become due and payable and any such failure shall continue for a
         period of ten (10) days after written notice from Landlord to Tenant (provided, however, that if in
        any calendar year Landlord has given at least two written notices of rental defaults to Tenant, then
        for the remainder of that particular calendar year the grace period shall be reduced to five days
        and there shall be no requirement of written noUce from Landlord to Tenant); (ii) Tenant shall fall
        to comply with any other prov~lon, condition or covenant of this Lease and any such failure shall
        conUnue for a period of twenty (20) days after Landlord gives written notice thereof to Tenant;
        (fii) Tenant shall abandon, vacate or fall to physically occupy any substanUal portion of the
        Premises; (iv) any peUtlon shall be .filed by or against Tenant or any guarantor of Tenant's
        obligations under this Lease pursuant to any section or chapter of the present federal Bankruptcy
        Act or under any future faderal Bankruptcy Act or under any similar law or statute of the United
        states or any state thereof, or Tenant or any guarantor of Tenant's obligations under this Lease
        shall be adjudged bankrupt or Insolvent In proceedings filed under any section or chapter of the
       present federal bankruproy act or under any future federal bankruptcy act or under any similar law
       ,or statute of the United statas or any state thereot, (v) Tenant or any guarantor of Tenant's
        obligations under this Lease shall become Insolvent or make a transfer in fraud of creditors;
       (~) Tenant or any guarantor of this Lease shall make an asslgnmentfor the benefrt of creditors; or
       (vii) a receiver or trustee shall be appointed for Tenant or any of the assets of Tenanl

(b)    Upon the occurrence of any event of defaul~ Landlord shall have the option to do any one or more
       of the following without any further notice or demand, In addition to and not In limitation of any
       other remedy permitted by law or by this Lease:

(1)    lf(but only iij Tenant Is in arrears In its rentals by more than two months, Landlord may enforce,
       by all legal suits and other means, Its rights hereunder, Including the collection of Base Rental and
       any other sums payable by Tenant hereunder, without reentering or rasumlng possession of
       Premises and without tennlnaUng this Lease.                                     •                     •

(2)    If (but only If) Tenant Is in aoears in its rentals by more than two months, Landlord may do
       whatever Tenant Is obligated to do by the pro~lons of this Lease; and to the extent that Landlord
       deems It necessary or otherwise appropnate for Landlord to enter the Premises, Landlord may
       enter the Premises, by force ff necessary (but only ff and to the extent permitted by law), In order
       to accomplish this purpose. Tenant hereby waives any and arr claims for damagas caused by
       Landlord's actlons pursuant to this subparagraph (b)(2), and Tenant also agreas to reimburse
       Landlord Immediately upon demand for any expenses which Landlord may Incur In thus effecting
       compliance with this Lease on behalf of Tenanl.

(3)     If (but only IQ Tenant is In arrears In Its rentals by more than two months, Landlord may enter
       upon and lake possasslon of the Premises without terminating this Lease and expel or remove
       Tenant and 11s effects therefrom without being liable to prosecution of any claims for damagas
       therefor, and Landlord may relet the Premlsas for the account of Tenanl Tenant shall pay to
       Landlord all. arrearages ofBase Rental and other sums due and owing by Tenant to Landlord, and
       Tenant shall also pay to Landlord during each month of the unexpired Lease Term the
       Installments of Base Rental and other sums due hereunder, less such part, If any, that Landlord
       shall have been able to collect from a new tenant upon reletting. In this regard the partlas further
       agree that although Landlord shall use its reasonable efforts to relet the Premises after Tenant


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         has vacated the Premises, Landlord shall have no obligation lo agree to any lease terms which It
         deems lo be unacceptable, nor shall Landlord be obligated (I) lo travel outside a radius of thirty
         (30) miles from Its principal offioe In order to meet with a prospective tenant (ig to accept a
        prospective tenant for the Pramlses (orany portion thereof) which Is an existing or prospective
         tenant elsewhera In the Building, or (ill) lo expend monies for finish-out raquested by a
        prospect/ve tenant unless Landlord, in Its sole and absolute discretion, approves both the lease
        terms and the cradlt of such prospect/vs tenant. Tenant furlher agraes that In the event of any
        reletting, Tenant shall pay to Landlord on demand all Reimbursable Costs prascribed In the final
        portion of this Paragraph 26. In the event Landlord exeroises the rights and ramedles afforded to
        It under this Paragraph 26(b)(3) and then subsequently elects to tennlnate this Lease, Tenant
        shall be liable to Landlord for damages as set forlh In the final two sentences of Paragraph
        26(b)(5) below and Landlord shall have the right at any time lo demand final settlement as
        provided theraln.

(4)    11 (but only If) Tenant Is in arrears in ifs rentals by more than two months, Landlord may enter
       upon the Premises by use of a duplicate key, a master key, an electronic pass card, a locksmith's
       entry proceduras or any other means not involving personal confrontation, and change, alter or
       modify the door Jocks on all entry doors of the Premises, theraby excluding Tenant and Its agents,
       employees, representatives and Invitees, from the Premises. In such avant Landlord shall not be
       obligated lo place any written notice on the Premises explaining Landlord's action; moreover,
       Landlord shall not be required to provide the new key 01 any) to Tenant until and unless all rental
       defaults ofTenant have been fully cured.

(5)      If (but only If) Tenant is in arrears In ifs rentals by mora than two months, Landlord may tennlnate
         this Lease, ·in which event Tenant shall lmmedlately surrender the Premises lo Landlord, but If
         Tenant shall fall lo do so, Landlord may without notice and w'rthout prejudice to any other remedy
         Landlord may have, enter upon and take possession of the Premises and expel or remove Tenant
         and its effects without being liable to prosecution or any claim for damages therefor; and upon any
         such. tennlnation, Tenant agrees that In addition to Its liability for the payment of arrearage, of
      •Base Rental and other sums due and owing by Tenant lo Landlord under this Lease upon such
        tennination, Tenant shall be liable to Landlord for damages. Tenant shall pay lo Landlord as
        damages on the same days as Base Rental and other payments are expressed l(i be due under
        the provisions of this Lease, the total amount of such Base Rental and other payments, less such
        part, If any, of such payments that Landlord shall have been able to collect from a new tenant
        upon relettlng. In this regard the parties furlher agree that atthough Landlord shall use ifs
        reasonable effort to relet the Premises after Tenant has vacated the Premises, Landlord shall
        have no obligation lo agree lo any lease tenns which II deems to be unacceptable, nor shall
        Landlord be obligated (i) lo travel outside a radius of thirty (30) miles from Its principal office In
       order to meet with a prospective tenant, OQ 1o· accept a prospect/ve tenant for the Premises (or
       any portion thereoij which Is an existing or prospective tenant elsewhera In the Building, or (iiO to
       expend monies for finish-out requested by a prospective tenant unless Landlord, In Its sole and
       absolute discretion, approves both the lease tenns and the credtt of such prospective tenant.
       Tenant furlher agrees that In the event of any reletting, Tenant shall pay lo Landlord on demand
       all Reimbursable Costs prescribed in the final portion of this Paragraph 26. Landlord shall have
       the right at any time to demand final settlement Upon demand for a final settlement, Landlord
       shall have the right to reoeive, and Tenant hereby agrees lo pay, es damages for Tenant's breach
       and In addition to the Reimbursable Costs prescribed In the final section of th~ Paragraph 26, the
      dlfferenoe between the total rental provided for In this Lease for the remainder of the Lease Tenn
      and the re.asonable rental value of the Premises for such period, such dlfferenca lo be discounted
      lo present value at a rate equal lo the rote of Interest allowed by law (at the time the demand for
      final seWement Is made) when the parties to a contract have not agreed on any particular rate of
      Interest (or, In the absence of such law, at the rate of 6% per annum).

      Pursuit of any of the foregoing remedies shall not preclude pursuit of any of the other remedies
      herein provided or any other remedies provided by law or equity. Any entry by Landlord upon the
      Premises may be by use of a master or duplicate key or electronic pass card or any locksmith's
      entry procedure or other peaceable means. Any relettlng by Landlord shall be without notice lo
      Tenant, and WLandlord has not terminated this Lease, the relettlng may be In the name of Tenant
      or Landlord, as Landlord shall elect. Any ralelting shall be for such term or terms (which may be
      greater or less than the period which constltutas the balanca of the Lease Tenn) and on such


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         tenns and conditions (which may Include free rent renlal concessions or tenant Inducements of
         any nature) as Landlont in its absolute discretion may detennine, and Landlont may collect and
         receive any rents payable by reason of such reletting. In the event of any reletttng, Tenant shall
         pay to Land/on! on demand the cost of renovating, -repairing and altertng the Premises for a new
         tenant or tenants, and the cost of advertisements, brokerage fees, reasonable attorneys fees and
         other costs and expenses Incurred by Landlord In connection with such reletttng (the
         "Reimbursable Costs1, In the event any rentals actually collected by Landlont upon any such
         re/etttng for any calendar month are In excess of the amount of renlal payable by Tenant under
        this Lease for the same calendar month, the amount of such excess shall belong solely to
         Landlont, and Tenant shall have no right with respect thereto (except however, same shall be
         applied lo Tenant's deficiency, If any). In the event It is necessary for Landlont to Institute suit
        against Tenant In order to collect the rental or any other sum due hereunder or any deficiency
        between the rental and any other sum provided for by this Lease for a calendar month and the
        rental and any other sum actually collected by Landlont for such calendar month, Landlont shall
        have the right lo allow such deficiency to accumulate and to brtng an action upon several or all of
        such rental deficiencies at one time. Any suit shall not prejudice In any way the rtght of Landlont
        to bring a similar actlon for any subsequent rental deficiency or deficiencies.

26,     Security DapoeH. The Securily Deposit shall be held by Landlord without llabllily for Interest and
        as securily for the perfonnance by Tenant of Tenant's covenants and obligations under this
        Lease, It being expressly understood that the Security Deposit shall not be considered an
        advance payment of rental or a measure of Landlord's damages In case of default by Tenant upon
        the occurrence of any event of default by Tenant or upon tennlnatlon of this Lease. Landlont may
        commingle the Securily Deposit with Landlord's other funds. Landlont may, from time to time,
       without prejudice to any other remedy, use the Securily Deposit to the extent necessary to make
       good any arrearages of rent or to satisfy any other covenant or obllgatton of Tenant hereunder.
        Following any such application of the Securily Deposit, Tenant shall pay to Landlont on demand
       the amount so applied in onter to restore the Security Deposit to its original amount. If Tenant Is
       not In default at the tennlnation of this Lea.so, the balance of the Securily Deposit remaining after
       any such appllcatton shall be returned by Landlont to Tenant within thirty (30) days of the
       termination of this Laase. If Landlont transfers Its interest In the Premises during the tenn of this
       Lease, Landlord may assign the Securlly Deposit to the transferee and thereafter shall have no
       further llablllly for the return of such Security Deposit.

27..     Landlord's· Uen and Security Interest. Landlont shall have a Landlord's statutory lien, and In
         addition thereto Land/on! shall have, and Tenant hereby grants unto Landlord, a securily Interest
         in all of the goods, wares, furniture, fixtures, office equipment, supplies and other property of
         Tenant now or hereafter placed in; upon, or about the Premls.es and all proceeds thereof, as
         securtly for all of the obligattons of Tenant under this Lease, provided that Tenant shall have the
         nght to make sales of its goods, wares and merchandise to its customers In the normal and
        regular course of Its business conducted In the Premises free and clear of the aforesaid lien and
        securlly Interest. Tenant shall not remove any of said personal property from the Premises until
        all Of Tenant's obligations under this Lease have been satisfied In full. Upon the occurrence of an
        event of default by Tenant Landlord may, In addition to any other ramedles provided herein, enter
        upon the Premises and take possession by peaceable means of any and all goods, wares,
        equipment fixtures, furniture, improvements and other personal property of Tenant situated on
        the Premises, without liability for trespess or conversion, and sell the same at public or private
       sale, with or without having such property at the sale, after giving Tenant reasonable notice of the
       time and place of any public sale or of the time after which any private sale ts to be made; and at
        any such sale the Landlord or its assigns may purchase unless otherwise prohibited by law. The
        proceeds from any such disposition, less any and all expenses connected with the laking of
        possession, holding and selling of the property Oncluding reasonable attorneys fees and other
       expenses); shall be applied as a credit against the indebtedness secured by the secunly Interest
       granted in this Paragraph 28. Any surplus shall be paid to Tenant or as otherwise required by
       law; and Tenant shall pay any deficiencies forthwith. Upon request by Landlord, Tenant agrees to
       execute and deliver to Landlont a financing statement in fonn sufficl~nt to perfecl the security
       interest of Landlord in the aforementioned property and proceeds thereof under the provisions of
       the Texas Unifonn Commercial Code. Upon request by Landlont, Tenant shall provide the name
       and address of any entity that has, or claims to have, an interest In any property located on the
       Premises and a descnptlon of such property. Failure to provide such list shall result in a


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         presumpfion that all property located In the Premises belongs to Tenant free from all claims.
         Without Intending to exclude any other manner of gMng Tenant any required notice, any
         requirement of reasonable notice to Tenant of Landlord's Intention to dispose of any collateral
         pursuant to the enforcement of said security Interest shall be met ff such notice Is given in the
         manner prescribed In Paragraph 37 of this Lease at least five days before the time of any such
         disposition. Landlord shall have all of the rights and remedies of a secured party under law.

 28.      Remedies. No act or thing done by Landlord or 11s agents during the term hereof shell be
          deemed an acceptance of an attempted surrender of the Premises, and no agreement to accept a
         surrender of the Premises shall be valid unless made In writing and signed by Landlord, No
         reenby or taking possession of the Premises by Landlord shall be construed as an election on 11s
         part to terminate this Lease, unless a written notice of such Intention Is given to Tenant.
         Nolwithstanding any such relettlng or reenby or taking possession, Landford may at any time
         thereafter elect to terminate this Lease for a previous default. Landlord's acceptance of rent
         following an event of default hereunder shall not be construed as Landlord's waiver of such event
         of default. No waiver by Landlord of any violation or breach of any of the terms, provisions and
         covenants herein contained shall be deemed or construed to constitute a waiver of any other
         violation or breach of any of the terms, provisions and covenants herein oontained. Forbearanoe
        by Landlord to enforce one or more of the remedies herein provided upon an event of default shall
        not be deemed or construed to constitute a waiver of any other violation or default. The failure of
        Landlord to enforce the rules described In Paragraph 15 against Tenant or any other tenant In the
        Building shall not be deemed a waiver of any such rules. No provisions of this Leese shall be
        deemed to have been waived by Landlord unless such waiver Is In writing and is signed by
        Landlord, The rights granted to Landlord In this Lease shall be cumulative of every other right or
        remedy which Landlord may otherwise have at law or In eqully, and the exercise of one or more
        rights or remedies shall not prejudice or Impair the ooncurrent or subsequent exercise of other
        rights or remedies. If Landlord brings any action under this Lease, or consulls or places this
        Lease or any amount payable by Tenant hereunder with an attorney for the enforcement of any of
        Landlord's rights hereunder, then Tenant agrees to pay to Landlord the reasonable attorney's fees
        and other costs and expenses incurred by Landlord In connection therewith.

29..    Joint and Several Liability. If there are two or more parties comprising Tenan~ the obligations
        imposed upon Tenant pursuant to this Lease shall be Joint and several. If there is a guarantor of
       Tenant's obligations under this Lease, the obligations of Tenant shall be joint and several
       obligations of Tenant and such guarantor, and Landlord need not first proceed against Tenant
       hereunder before proceeding against suoh guarantor; nor shall any such guarantor be released
       from 11s guarantee for any reason whatsoever, including, without llmltaUon, any amendment of this
       Lease, any forbearanoe by Landlord or waiver of any of Landlord's rights, the failure to give
       Tenant or such guarantor any notices, or the release of any party liable for the payment of
       Tenant's obligaUons hereunder.

30..   Constructive Eviction. Tenant shall not be entitled to claim a constructive eviction from the
       Premises unless Tenant shall have .first notified Landlord In writing of the oondltion or conditions
       giving rise thereto, and, Wthe complaints be justified, unless Landlord shall have failed to remedy
       such conditions within a reasonable time after reoeipt of said notioe.

31.    Building Name. Landlord reserves the ~ght at any tlme to change the name by which the
       Building Is designated, and Landlord. shall have no obligation or liability whatsoever for oosts or
       eXpenses Incurred by Tenan\.as a result of such name change of the Building.

32.    Subordination and Attomment; Notice lo Mortgagee. (a) This Lease and all rights of Tenant
       hereunder are subject and subordinate to any deeds of trust, morigages or other Instruments of
       security which do now or may hereafter. cover the Building and the Land or any interest of
       Landlord therein, and to any and all advances made on the security thereof, and to any and all
       increases, renewals, modlficaUons, consolidations, replacements and extensions of any of such
       deeds of trust. morigages or instruments of security. This provision is hereby declared by
       Landlord and Tenant to be seW-operatlve and no further Instrument shall be required to etlect such
       subordination of this Lease. Tenant shall, however, upon demand at any time or times execute,
       acknowledge and deliver to Landlord any and all Instruments and certificates that, In the judgment
       of Landlord, may be necessary or proper to confinn or evidence such subordination, and Tenant


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          hereby Irrevocably appoints Landlord as Tenant's agent and attorney-In-fact for the purpose of
          executing, acknowledging and delivering any such Instruments and certificates. However,
        . notwithstanding the generallly of tho foregoing provisions of this Paragrapl) 33, Tenant agrees
        ,that any such mortgagoo shall have the right at any flma to subordinate any such deeds of trust,
          mortgages or other- Instruments of security to this Lease on such terms and subject to such
          conditions as such mortgagee may deem appropriate In !Is discretion. Tenant further covenants
         and agrees upon demand by Landlord's mortgagee at any time, before or after the institution of
         any procaedings for the foreclosure of any such deeds of trust, mortgages or other Instruments of
         security, or sale of 1he Building pursuant to any such deeds of trust, mortgages or other
         Instruments of security or voluntary sale, to attom to such purohaser upon any such S?ie and to
         recognize and attom to such purohaser as Landlord under this Lease. The agreement of Tenant
         to attom upon demand of Landlord's mortgagee contained In the ·immediately preceding sentence
         shall survive any such foreclosure sale or trustee's sale.

(b)      Tenant further agrees that whenever Tenant receives written notice of a deed of trust, mortgage
         or other Instrument of security affecting the Land and/or Building, then Tenant shall give to tho
         mortgagee written notice of each and every default under this Lease by Landlord; moreover,
        •Tenant shall no1 exercise any remedies under this Lease unless the mortgagee falls to cure such
         default within twenty (20) days, or within such longer period as may be reasonably neoessary if
         such default cannot be cured wlthln·twenty (20) days, after the mortgagee has received such
         notice. Notwithstanding anything to the contrary which may be contained In this subsection (b),
         Tenant further agrees that this subsection (b) Is solely for the benefit of an applicable mortgagee,
         I.e., granting to a mortgagee the option to cure a default by Landlord; and no mortgagee shall
         ever have any obligation to cure a default by Landlord.

(c)     Tenant hereby .agrees to execute, acknowledge and deliver to Landlord's mortgagee any and all
        instruments and certificates that In the Judgment of Landlord's mortgagee may be necessary or
        proper to conflnn or evidence the agreements set out above In this Paragraph 33, and Tenant
        hereby Irrevocably appoints Landlord's mortgagee as Tenant's agent and attorney-In-fact for the
        purpose of executing, acknowledging and delivering any such Instruments and certificates.

33.         Lease Certificates; Financial Statements. Tenant agrees to furnish from time to time, within
           ten (10) days after requested by Landlord, a certificate signed by Tenant and addressed to
           Landlord - or at Landlord's direction to any potential successor to Landlord or any existing or
           potential holder of a deed of trust or mortgage covering the Land and Building or any Interest of
           Landlord therein - to the effect that this Lease is then presentiy In full force and effect and
           specifying any modifications; that the tenn of this Lease has commenced and the full rental Is then
           accruing hereunder; that Tenant has accepted possession of the Premises and 1hat any
           Improvements required by the tenns of this Lease to be made by Landlord have been completed
          to the. satisfaction of Tenant; that no rant under this Lease has been paid mora than thirty (30)
          days In advance of Its due date; that the address for notices to be sentto Tenant Is as set forth In
          this Lease; that Tenant, as of the date of such certificate, has no charge, lien or claim of offset
          under this Lease or otheTl'Ase against rents or other charges due or to become due hereunder;
          and that to the knowledge of Tenant, Landlord Is not then in default under this Lease. The
          certificate shall also contain an acknowledgment by Tenant of receipt of notice of the assignment
          of this Lease to such holder and the agreement by Tenant with such holder that from and after
          the date of such certificate, Tenant will not pay any rent under this Lease more than 30 days in
          advance of Its due date, will not surrender or consent to the modification of any of the tenns of this
          Lease nor to the termination of this Lease by Landlord, and will not seek to tenninate this Lease
          by reason of any act or omission of Landlord until Tenant shall have given written notice of such
          act or omission to the holder of such deed of trust or mortgage (at such hold•~• lest address
        'furnished to Tenant) and until a reasonable period offime shall have elapsed following the giving
         of such notice, ·during which period such holder shall have the right but shall not be obligated, to
         remedy sucl't act or omission; provided1 howeveri that If Tenant's certificate is executed before the
         assignment of Landlord's Interest in the Lease to such holder, then the agreement of Tenant
         described In this sentence will be of no effect under such certificate unless Tenant Is furnished
      . with a copy of the assignment to such. holder within ninety (90) days after the date of such
         certificate. Tenant shall also furnish to Landlord when requested by Landlord, but no mora often
         than one time per calendar year, a statement of the financial condition of Tenant prepared by an
        .Independent Certified Public Accountant and In fonn reasonably satisfactory to Landlord.


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  34.     Limitation of Landlord Liability. The liability of Landlord to Tenant for any default by Landlord
         under the terms of this Lease shall be limited to the Interest of Landlord In the Building and the
         Land, and Landlord shall not be personally liable for any deficiency. This clause shall not be
         deemed to limit or deny any remedies which Tenant may have in the event of default by Landlord
         hereunder which do not Involve the personal liability of Landlord. Notwithstanding anything to the
         contrary contained In this Lease, In the event Landlord sells, assigns, transfers or conveys i1s
         Interest In the Land, Landlord shall have no liabllily for any acts or omissions that ocour after the
         date of said sale, assignment, transfer or conveyance.

 35.     Consents. In all circumstances under this Lease where the prtor consent of one party (the
         'consenting party'), whether it be Landlord or Tenant, Is required before the other party (the
         "requesting party') Is authorized to take any particular type of action, such consent shall not be
         withheld In a wholly unreasonable and arbitrary manner; however, the requesting party agrees
         that its exclusive remedy nIt believes that consent has been withheld Improperly (including, but
         not limited to, consent required from Landlord pursuant to Paragraph 11 or Paragraph 21 of this
         Lease) shall be to institute lltlgatlon either for a declaratory judgment or for a mandatory Injunction
         requiring that such consent be given (with the requesting party hereby waiving any claim for
         damages, attorneys lees or any other remedy unless the consenting P.arty refuses to comply with
         a court order or Judgment requiring it to grant i1s consent).

 36.     Notices. Any notice required or permitted to be given hereunder by one party to the other shall
         be deemed to be given when deposited In the United States mall, certified or registered mail,
         return receipt requested, with sufficient postage prepaid, or hand delivered, addressed to the
         respective party to whom notice is Intended to be given at the address of such party set forth
         below i1s name where It has executed this Lease. Either party hereto may at any lime by giving
         written notice to the other party in the aforesaid manner designate any other address In
         substitutlon of the foregoing address to which any such notice shall be given.

37.     Brokerage. Landlord and Tenant warrant lo each other that they have not had any dealings with
        any broker or agent In connection with the negotiation or execution of this Lease except for the
        Leasing Agent, or Agents, If any, listed In Paragraph 10) of this Laase; and each party agrees to
        Indemnify the other party and hold the other party harmless from and against any and all costs,
        expenses or liability for commissions or other compensation or charges claimed by any other
        broker or agent, through commitments of the Indemnifying party with respecl to this Lease.

38.     Force Majeure. Whenever a peJiod of time Is herein prescribed for action to be taken by
        Landlord or Tenant, the party taking the action shall not be liable or responsible for, and there
        shall be excluded from the computation for any such period of time, any reasonable delays due to
        strikes, riots, acls of God, shoJiages of labor or materials, war, governmental laws, regulations or
        restr1ctions or any other causes of any kind whatsoever which are beyond the reasonable control
        of such party; provided, however, In no event shall the foregoing apply to the financial obligations
        of either Landlord or Tenant to the other under this Lease, including Tenant's obligation to pay
        Base Rentals and all 0U1er amounts payable to Landlord hereunder.

39.     No Third Party BenellciaJV. This Lease Is for the sole benefit of Landlord, i1s successors and
        assigns, and Tenant, i1s permitted successors and assigns, and II ls not for the benefit of any third
        party.

40..    Severability. If any clause or provision of this Lease Is Illegal, Invalid or unenforceable under
        present or future laws effective during the term of this Lease, then and In that event, It Is the
        Intention of the parties hereto that the remainder of this Lease shall not be affected thereby, and It
        Is also the Intention of the parties to this Laase that In lieu of each clause or provision that Is
        Illegal, Invalid or unenforceable, there be added as a part of this Lease a clause or provision as
        similar In terms to such illegal, invalid or unenforceable clause or provision as may be possible
        and be legal, valid and enforceable.

41.     Binding Effect. The provisions of this Lease shall be binding upon and Inure to the benefit of
        Landlord and Tenant respectively, and to their respective heirs, personal representatives,



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          sucoessors and assigns, subject lo the provisions of Paragraph 21, Paragraph 25, Paragraph 35
          and Paragraph 46 hereof.

    42.   Applicable Law; Consent to Jurisdiction. This Lease shall be governed by and construed in
          accordance with the laws of the State of Texas and the laws of the United States applicable lo
          transactions in the State of Texas. Tenant hereby irrevocably agrees that any legal action or
          proceeding against It wllh respect lo this Lease may be maintained In the couris of county where
          rent Is payable under this Lease, or at Landlord's option In the U.S. District Court for the Northern
          District ofTexas; and Tenant hereby consents lo the jurisdiction and venue ofsuoh couris.

    43.   Entire Agreement; No Warranties, This Lease contains the entlre agreement between the
          parties hereto with respect lo the subject matter hereof and supersedes any and all prior and
          contemporaneous agreements, understandln9s1 promises. and representations made by either
          party to the other concerning the subject matter hereof and the terms applicable hereto. It Is
          expressly agreed by Tenant, as a material consideration for the execution of this Lease, that there
          have been no agreements pertaining lo the Premises, the Bui/ding or this Lease not Incorporated
          In wrfflng herein and that this Lease shall not be altered, waived, amended or P.Jdended, except by
          a written agreement signed by the parties hereto, unless otherwise expressly provided herein.
          Landlord's duties and warranties are limited to those set forth In this Lease, and shall not Include
          any Implied duties or warranties, all of Which are hereby disc/aimed by Landlord and waived by
          Tenant. In particular, Landlord disclaims, and Tenant waives, any warranty that the Premises are
          suitable or flt for any particular purpose or use.

    44.   NO IMPLIED REPRESENTATIONS. LANDLORD AND TENANT HEREBY ACKNOWLEDGE
          THAT THEY- ARE NOT RELYING UPON ANY BROCHURE, RENDERING, INFORMATION,
          REPRESENTATION, PROMISE OR UNDERSTANDING OF THE OTHER, OR OF ANY LEASING
          AGENT, EXCEPT AS MAY BE EXPRESSLY SET'FORTH BELOW:




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/xl          IN THIS LEASE.

n           IN _ _ _ _ _ _ _ _ _ _ _ AS WELL AS IN THIS LEASE.

NOTE: IF NO "X" (OR OTHER MARK DESIGNATING A CHOICE) IS PLACED IN EITHER BOX IN THIS
PARAGRAPH 45, THEN THE FIRST BOX WILL BE DEEMED TO HAVE BEEN MARKED.

      45.    Effective Date. The submission by Landlord of this Instrument to Tenant for examination,
             negotiation or signature does not constitute an option for, or a representation by Landlord
             regarding, a prospective lease. This Lease shall be effective ff and when (and only If and when) It
             has been executed by both Landlord and Tenant. When such condition has been satisfied, the
             effective date of this Lease shall be the latest dale accompanying a signature by Landlord and
             Tenant below; and if either or both signatures fail to be accompanied by a date, then the date of
            such slgnature(s) shall be established by the best alternative evidence. If for any reason
             whatsoever this Lease has not been fully executed within fifteen (15) business days alter the
            signature of the first party to sign, then this Lease shall be null and void and of no force or effect;
            provided, however, that If more than 15 business days elapse between the dates upon which
            Landlord and Tenant sign this Lease, but this Lease nevertheless Is in fact fully executed by both
            parties end following the execution of this Lease by both parties either (I) Landlord and Tenant
            mutually agree to Approved Working Drawings for leasehold Improvements to the Premises (as
            contemplated in Paragraph 3 of Exhibit D), or (ii) Tenant occupies the Premises, or both, then the
            Immediately preceding provision of this sentence shall be Inoperative and the remainder of this
            Lease shall be In full force and effect.


                                                 LANDLORD:

                                                 Sole Manager of 2425 West Loop, LP,


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                                                 Name:       ~M<><-"'t s. --p,..,..,._

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                                                  EXHIBIT "A'' TO LEASE AGREEMENT

                                                          LEGAL DESCRIPTION


     Being 2.4462 Acres (oelled 2.4455) of land out of the William White survey, Abslract No. 836 and out of a 7.913 acre 1ract· of
     land described as lwo In a deed from Anna Skinner Green to R.E. Smith Dated August 15, 1950 as recorded at Volum,f2145,
     Page 350 In the deed records of Harris County, Texas; and being more particularly described by metes and bounds as follows:

     COMMENCING: at a found 5/8-inch iron rod In the Northerly rlght-of-way line ofWesthelmer Road (R.O.W. varies), being the
     Southeast comer of a 2.4385 acre parcel conveyed by Lincoln National Life Insurance Company to Red Lion Hotels, Inc. In a
     deed recorded In Harris County Clerk's File No. S056346 and the southwest comer of the 3.4385 acre parcel conveyed by
     Harvey R. Houck, Jr. to Restprop, Ltd. In a deed recorded in Harris County Clerl<'s File No. R2288886;

    THENCE: Northerly N 2 deg 23 min 52 sec Wast 204.61 feel along the common line of the aforesaid 2.3468 acre parcel to the
    ,yest and 3.4385 acre parcel to the east, to Iha Northeast comer of the 2.3468 acre parcel being the southeast comer of the
    herein described parcel and the POINT OF BEGINNING, from which a found ½-Inch Iron rod In a 12-inch Hackberry Tree bears
    North 58 deg 29 min West 0:72 feet;

    THENCE: Westerly along the common line of the 2.3468 acre parcel to the south and the herein described parcel the north
    South 87 deg 44 min 46 sec West 464.50 feat (oellad 464.47 feat) to a point on the Easterly rlght-of-way (R.O.W.) line In
    Interstate 610 West Loop and the southwest comer of the herein described parcel, whence a found X In concrete bears South
    39 deg 35 min Wast 0.71 feet from whence a found railroad spike with X bears South 19 deg 50 min East 0,34 feet;

     THENCE: Northerly along Iha easterly R.O,W. line of Interstate 610 Wast Loop (R.O.W. 350 feet) North 10 deg 55 min 17 sec
     East 251.27 feet to a point whence a found X In ooncrete bears North 33 deg 17 min East 0.53 feet and whenoe a found P.K.
    nail bears South 11 deg 55 min East 0.39 fee! said point also being the southwest comers of a 7.8998 acre parcel as shown on
    the Houston Venture Plan Unrestricted Reserve A Flied In the Harris County Map Records as FIim Code Number 356074, and
    the northwest comer of the herein described parcel;

    THENCE: Easterly along the common line of the above Indicated 7.8998 acre paroel to the north and the herein described
    parcel to the south N87 deg 44 min 46 se.c East 406.61 feet (oelled 406.40 feet), to a point of the westerly line of a 3.4385 acre
    parcel of land presently owned by X in concrete bears North 12 deg 36 min East 0.34 feet;

    THENCE: Southerly along a common line of the above Indicated 3.4385 acre parcel to the east and therein described parcel to
    the west South 02 deg 23 min 52 sec East 244.64 to the POINT OF BEGINNING containing 106,557 square feet, 2.4462 acres
    more or less.




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           EXHIBIT B TO LEASE AGREEMENT

                   FLOORPLAN




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                                                EXHIBIT CTO LEASE AGREEMENT

                                                           Parking Privileges

     1.    Parking Spaces. At all times during the Lease Term, and conditioned upon the Lease being In lull force and effect
           and thera being no uncured default under this Lease as defined In Paragraph 26 of this Lease, Landlord herabi
           agraes to make parking spaces available to Tenant as follows: 3.5 parking spaces per thousand squara feet, 12 of
           which shall be reserved parking spaces. The location of such spaces shall be selected by Landlord In its sole
           dlscration.             •

 2.        Parking Rental. The rent for all parking spaces which are allotted to Tenant pursuant to Paragraph 1 immediately
           above shall be the- rate which Is from time to time designated by Landlord as standard for the Building. On the
           axecution date of the Lease, the rate is $0.00 for each "reseived' parking space In the garage and $0.00 for each
           "unraselVed" garage space. All payments of rent for parking spaces shall be made (I) at the seme time as each Base
           Rental is due under the Lease and (II) to Landlord orto such persons as Landlord may direct from time to time.

 3.         Parking; Allocation Devises. Landlord reseives the right to change its system for allocating parking spaces, e.g.,
            magnet~ parking cards, parking stickers and other devices or forms of Identification. ~ Landlord Issues magnetic
           parking cards, parking stickers or any other device or fonn of Identification, they shall remain the property of Landlord
           and shall not be transferable. Tenant will be obligated to pay a replacement charge, equal to the amount posted from
           time to time by Landlord; for loss or other replacement of any magnetic parking card or parking slicker issued by
           Landlord.

 4.         Damage to or Condemnation. If Landlord falls or Is unable to provide any parking space to Tenant pursuant to
           Paragraph 1 above because· of damage or condemnation, such failure or Inability shall never be deemed to be a
           default by Landlord as to permit Tenant to terminate the Lease, either In whole or In part. Instead, Tenant's obligation
           to pay rent for any such parking space, which Is riot provided by Landlord shall ba abated for so long as Tenant does
           not have the use of such parking space, and such abatement shall constitute full settlement of all claims that Tenant
           might otherwise have against Landlord by reason of such fallura or Inability to provide Tenant with such parking space.

 5.       Rules and Regulations. A condition of any parking shall be compliance by the parker with garage or lot rules and
          regulations, Including any sticker or other ldentificetion system which may be established by Landlord. The following
          rules and regulations ara in effect until notice ts given to Tenant of any change. Landlord raseives the right lo modify
          and/or adopt such other reasonable and generally applicable rules and regulations for the applicable parking areas as
          ft deems necessary for the operation of such areas,


          (a)      Ca,s must be parked entirely within the painted stall lines.

          (b)      All directional signs and arrows must be observed.

          (c)      The speed limit shall be five (5) miles per hour.

          (d)      Parking is prohibited In areas not striped for parking, aisles, areas where "no parking' signs are posted, In
                   cross hatched areas and in such other areas as may be designated by Landlord or Landlord's agent(s)
                   lnciudlng, but not limlted to, areas designated as 'Visitor Parking" or reserved spaces not rented under this
                   Agreement.

          (e)      Every parker Is required to park and lock his or her own car. All responslbttity for damage lo cars or persons
                   or loss of personal possessions Is assumed by the parker. •

          (Q       Spaces which are designated for small, intermediate or full-sized cars shall be so used. No Intermediate or
                  lull-size cars shall be parked In parking spaces limited to compact cars.

6.        Speclal Provisions Regarding Over-Parking. Landlord agrees to use its good faith efforts to monitor the parking
          usage of tenants In the Building and attempt to restrict tenants against permitting their owners, officers, employees,
          agents and Invitees to utilize more parking spaces than they era allotted pursuant to their respective leases. Tenant
          agrees to cooperate with Landlord's efforts In this regard. In addition, and without limiting the generality of the
          immediately preceding sentence, Tenant further agrees that ff and to the extent requested In writing by Landlord
          because of Landlord's concern that Tenant's owners, officersi employees, agents and/or invitees are utilizing more




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                                                                                                             Tenant's    Landlord's
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parking spaces than Tenant has been allotted under this Exhibit C. then at Landlord's optlon any one or more of the
following shall apply (I.e., the followihg are cumulaHve and not mutually exclusive):

(a)     Tenant shall deliver written notices to all employees and other persons who might be uttlizlng parking spaces,
        advising them of the parking limits under this Exhibit C.                                         •

(b)     Tenant shall furnish to Landlord a complete 11st of license numbers of all automobiles operated by Tenant and
        its owners. officers, employees. agents and Invitees who might be illlllzing parking spaces.

(c)     If any automobile or other vehicle owned by Tenant or any of Its employees, agents or other Invitees Is
        utilizing a parking space In excess of those allotted to Tenant under this Exhibit C. Tenant shall pay to
        Landlord as additional rent upon demand an amount equal to the dally rate or charye for such parking as
        established by Landlord from time to time for each day, or part thereof, that such automobile or other vehicle
        Is so parked.

(d)     If any overpari<lng by Tenant. Its employees, agents and other Invitees, persists after written notice thereof
        from Landlord to Tenant. such oontlnued overparking shall constitute a failure of Tenant to oomply with this
        Exhibit C: and such written notice from Landlord shall constitute the 'written notice thereof' which Is
        oontemplated In Item (II) of Seclion 26(a) of this Leese. I.e., the overparking shall constitute an event of
        default under this Lease If not cured within 30 days after such written nottoa.




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                                    EXHIBIT DTO LEASE AGREEMENT

                                   Leasehold Improvements Agreement


THIS LEASEHOLD IMPROVEMENTS AGREEMENT (this "Agreement") Is hereby Incorporated Into the attached
Lease Agreement (the "Lease"), executed concurrently herewith by and between the "Landlord" and the "Tenant"
described in such Lease, and consfllutes the entire agreement of Landlord and Tenant with respect to the construction
and completion of the Premises-described In the Lease. In the event of a conflict between the provisions of this
Agreement.and other provisions of the Lease, the provisions of this Agreement, as amended, wlll control. Terms
defined in the Lease, when used herein, shall have the same meanings as are ascribed to them In the Lease.

1.      Premises Condition. Subject to the provisions of this Agreement Tenant has agreed to acoept the Premises
        "as is,' in their presently existing condition. Tenant acknowledges having Inspected the Premises.

2.      Spaoe Plan. Landlord shall provide spaoe planning at no cost to Tenant.


3.       Working Drawings, If and after Tenant's proposed spaoe plan and any revisions thereto have been approved
        by Landlord, Tenant shall deliver to Landlord proposed working drawings for the leasehold Improvements to
        be constructed in the Premises based upon the speoe plan approved by Landlord. The working drawings
        shall consist of any and ail arohltectural, eleclricel, mechanical, plumbing, structural, communlcellon/securily
        drawings, and written speclficetlons neoessary lo permit Landlord to construct the fixed leasehold
        Improvements. The working drawings and any revisions thereto shall be prepared al Tenant's sole cost and
        expense and shall be subject to the written approval of Landlord, which approval shall not be unreasonably
        withheld. Landlord's review and/or approval of the working drawings shall not constitute any reprasentation,
        warranty or agreement of Landlord as to the adequacy, efficiency, perfonmanoe or deslrabilltY of the space
        plan, working drawings or oontemplaled leasehold improvements, or the compflance by the Working drawings
        or the leasehold Improvements with the space plan or any appliceble laws, ordinances, codes, rules or
        regulations.

4.      Landlord's Work: Tenant acoepls Leased Premises In an 'As-ls" condition. Landlord shall provide Tenant with
        a Tenant Improvement Allowance of $40.00 per Rentable Square Fool to be used for Leasehold
        Improvements.

5.     Certilicete of Occupancy: Tenant's Occupancy of the Premises. Landlord and Tenant agree that (a)
       Tenant will be responsible for obtelning whatever Certificate of Occupancy may be required by applicable law
       in connection with the Required Improvements, provided that Tenant cooperates in connection therewith and
       Tenant will oocupythe Premises as soon as possible after the dale of this Lease.




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                              EXHIBIT ETO LEASE AGREEMENT

                                Building Rules and Regulations


 1.     Sidewalks, doorways, vestibules, corridors, stairways and other similar areas shall not ba
        obstructed by Tenant or used by Tenant for any purpose other than Ingress and egress to and from
        the Premises and for going from or to another part of the Building.

 2.    Plumbing fbdures and appliances shall be used only for the purposes for which designed, and no
       sweepings, rubbish, rags or other unsuitable materials shall be thrown or placed therein. Damage
       resulting to any such fixtures or appliances or surrounding areas from misuse by Tenant shall be·
       repaired at the sole cost and expense ofTenant and Landlord shall not In any cese be responsible
       therefor.

 3.     No signs, advertisements or notices shall be painted or affixed on or to any windows or doors or
       other parts of the Building except of such color, size and style and In such places as shall be first
       approved In writing by Landlord. No nails, hooks or screws shall be driven or Inserted In any part
       of the Building except by the Building maintenance personnel nor shall any part of the Building be
       defaced by Tenant. No curtains or other window treatments will be placed between the ·glass and
       the Building standard window treatments.

4.     Landlord will provide and maintain an alphabetlcal dlrectol)I of each Tenant's flnn name on the first
       floor (main lobby) of the Building. No other directory shall be permitted unless previously
       consented to by Landlord in writing.

5.     Tenant shall not place any additional lock or locks on any doors In or to the Premises without
       Landlord's prior written consent. A reasonable number of keys to the locks on the doors which
       a.ccess the Premises from the Common Areas shall be furnished by Landlord to Tenant, and
       Tenant shall not have any dupllcete keys made. Upon tennlnallon of the Lease, Tenant shall
       return all keys to Landlord and shall provide to Landlord a means of opening all safes, cabinets
       and vaults being left with the Premises.

6.      With respect to work baing perfonned by Tenant In the Premises with the approval of Landlord,
        Tenant will refer all contractors, contractofs representatives. and Installation technicians rendering
        any service to them to Landlord for Landlord's supervision, approval and control before the
        perfonnance of any contractual services. This provision shall apply to work perfonned In the
        Building inctudlng, but not limlted to, Installation of telephones, telegraph equipment electrical
       devices and attachments, and any and all Installation of every nature affecting floors, walls, •
       woodwork, trim, windows, ceilings, equipment and any other physical portion of the Building.
       Tenant must have Landlord's written approval prior to employing any contractor. Any and all such
       contractors shall comply with these Rules and Regulations for such services including, but not
       limited to, Insurance requirements. All work In or on the Building shall comply with any and ell
      .codes.

7.    Movement In or out of the Building of fumllure or office equipment, or dispatch or receipt by Tenant
      of any bulky materials, merchandise or materials which require use of elevators or stairways, or
      movement through the Building entrances or lobby shall be restricted to such hours as Landlord
      shell designate. All such movement shall be under the supervision of Landlord and in the manner
      agreed between Tenant and Landlord by prearrangement before perfonnanca. Such
      prearrangement Initiated by Tenant will Include determination by Landlord, and subject to its
      decision and control, as to the time, mel!lod and routing of movement and as to limitations for
      safety or other concerns which may prohibit any article, equipment or any other Item from being
      brought into the Building. Tenant Is to assume all risk as to damage to articles moved and lnjul)I to
      person or public engaged or not engaged In such movement, including equipment property and
      personnel of Landlord and other tenants ff damaged or injured as a result of acts In connection with
      carrying out this service for Tenant from the time of entering the property to completlon of work;
      and Landlord shall not be liable for acts of any person engaged in, or any damage or loss to any of



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         said property or persons resuttlng from any act In connection with such service pertonned for
         Tenant.

 8.      Landlord shall have the power to prescribe the weight and posttlon of safes and other heavy
         equipment, which shall, In all cases, be positioned to distribute the weight and stand on supporting
         devices approved by Landlord. All damage done to the Building by taking In or putting out any
        .property of Tenant, or done by Tenanfs property while In the Building, shall be repaired al the
        expense-of!enant

 9.     Tenant, in its capacity as an employer, shall establish - and shall use reasonable measures to
        enforce - a· policy for Its employees which prohibits fireanns (Including, but not limited to,
        concealed handguns) In the Building and the Premises.

 10.    Tenant shall cooperete with Landlord's employees In keeping Its Premises neat and clean. Tenant
        shall not employ any person for the purpose of such cleaning other than the Building's cleaning
        and maintenance peraonnel. Landlord shall ba In no way responsible to Tenant, Hs agents,
        employees or invitees for any loss of property from the Premises or public areas or for any damage
        to any property thereon from any cause whatsoever,

 11.    To Insure orderty operation of the Building, no Ice, mineral or other watar, towels. newspapera, etc.
        shall be delivered to the Premises except by peraons appointed or approved by Landlord in writing.

12.     Corridor doom, when not in use, shall be kept closed.

13.     Should Tenant rsquire telegraphic, telephonic, annunciator or other communication service,
        Landlord will direct the electrician In wrlUng where and how wires are to be Introduced and placed
        and none shall be Introduced or placed except as Landlord shall dlrecl. Electric currerri shall not
        be used for power In excess of standard office use or heating without Landlord's prior written
        pennlsslon. Landlord shall have the sole discretion as to which communlcetion company or
       companies are permitted to·enterthe Building and service tenants In the Building.

14.    Tenant shall not make or pennit any improper odora or noises In the Building or otherwise lntertere
       in any way with other tenants or peraons having business with them.

15.    Nothing shall be swept or thrown into the corridors, halis, elevator shafts or stairways. No animals
       shall be brought Into or kept In, on or about the Premises.

16.    No machinery other than standard office equipment shall be operated by Tenant In Its Premises
       without the prior written consent of Landlord, nor shall Tenant use or keep In the Building any
       flammable or explosive fluid or substance.

17.    No portion of the Premises shall at any time be used or occupied as sleeping or lodging quartera.

18.    Landlord will not be responsible for money, jewelry or other peraonal property lost or stolen in or
       from the Premises or public areas regardless of whether such loss or theft ocoura when the area is
       locked against entry or not.

19.    Landlord reserves the right to rescind any of these rules and regulations and to make such other
       and further rules and regulations as In Hs judgment shall from time to time be advisable for the
       safety, protection, care and cleanliness of the Building, the use and operation thereof, the
       preservation of good order therein and the protection and oomfort of the tenants and their agents,
       employees and Invitees, which rules and regulations, when made and written notice thereof is
       given to Tenant shall be binding upon Tenant in like manner as if originally herein prescribed;
       provided, however, that no new rules or regulations shall deprive Tenant of any rights expressly
       granted to Tenant pursuant to this Lease.




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                                           EXHIBIT F TO LEASE AGREEMENT


                                             JANITORIAL SPECIFICATIONS


 Landlord's janitorial service shall perfonn acoordlng to the following specificetions:


         NIGHTLY FIVE (5) NIGHTS PER WEEK
 Dust and Damp Mopping
    All hard surfaced floors, Including hallways, office areas, etc.

 Vacuuming
    All carpellld areas wlll be completely vacuumed. This will illc/ude moving light furniture other than desks and file
    cabinets.

 §pot Cleaning
    All carpeted areas to remove deposits of grease, oll, beverages, etc.
    All walls, doors, window sills, ledges, elevator do,ora, etc., to remove smudges, finger prints and splash marks.
    Wall areas around light switches.
    All hard surfaced floor areas to remove spillage and other marks.
    All Interior glass areas to include desk tops.

 Dusting
     All desks that are clear of paper, Items on desk will be dusted,. but not moved.
    All telephones
    All file cabinets
    All chair rails
    All tables, counter tops, lounge chairs, etc.
    Furnishings, horizontal and vertical.

Lunchroom/Breakroom
    Table tops, counter tops, sinks and food preparation area wlll all be cleaned.
    All bright work will be polished.                                       •

Stairwell/storage Rooms
     Will be swept and mopped as necessary.

Elevators
    Vacuum carpets and spot clean.
    Clean elevator threshold tracks.
    Clean Interior wall surfaces.
    Clean elevator doors.

Drinking Fountains
    All fountains will be cleaned with gennicldal cleaner.

Glass Cleaned
    All glass tables and desk tops will be cleaned to ramove smudges.
    All glass doors at reception and walling rooms.

Lavatories
    Plumbing fixtures, Including all basins, bowls, urinals and toilet seats wlll be cleaned and disinfected.
    Sweep and wet mop floors with gennlcidal cleaner.
    Dust all ledges, vents and partitions.
    Polish all minrors and brlght-work.


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    Damp wipe all partitions.
    Restock all restroom dispensers.
    Sanitary nap~n receptacles cleaned and san!Uzed.
    All counter surfaces will be cleaned and disinfected.
    Clean all soap and paper good dispensers.

Waste Baskets/Trash & Recycle
   Will be emptied and wiped clean; ff liners are used, will be emptied only. (Liners replaced as needed.) Outside
   of wastebaskets will be wiped as necessary.
   All trash will be collected and deposited In an area designated by Landlord and in dumpsters provided by
   Landlord. •
   Boxes marked 'TRASH' will be collected and deposited in an area designated by Landlord.

Entrance Lobby
    Vacuum receptionist area completely.
    Pol~h elevator cabs.
    Sweep and/or vacuum walk-off mats.
    Broom sweep front and sidewalk to entrance lobby,
    The entrance lobby will receive special attenflon to maintain an eye-pleasing appearance at all times.
    Planters will be checked nightly for litter.

                                      WEEKLY OPERATIONS TO BE PERFORMED
   All picture frames and moldings will be dusted.
   All interior window sills and ledges will be dusted.
   All ledges, sills, and rails will be dusted.
   All vertical surfaces on furnishings will be dusted.
   Dust and vacuum all lavatory vents and light exterior surfaces.

                                    MONTHLY OPERATIONS TO BE PERFORMED
   Dust all ventilation grills and vacuum surrounding colling !lie as needed.
   Dust or damp wipe all baseboards as needed.
   Entry door glass will be squeegee cleaned Inside and outside.

                                QUARTERLY OPERATIONS TO BE PERFORMED
   Interior and exterior window _cleaning as needed,

                                            FLOOR MAINTENANCE
   Hall corridors mopped nighUy and polished weekly and scrubbed every four (4) months or three (3) times per
   year.                                                                                                          •
   Office/work areas will be mopped nlghUy, polished weekly and scrubbed every four (4) months or three (3) flmes
   per year.
   Lavatory floors will be mopped nlghUy and scrubbed every four (4) months or three (3) times per year.


   Landlord rese,ves the right to makes changes and adjustments to the schedule periodically.




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                                      FIRST AMENDMENT
                                                    TO
                                      LEASE AGREEMENT
THIS FIRST AMENDMENT TO LEASE AGREEMENT ("Amendment") is dated !he 6th day of April
2018 by and between 2425 WL, LLC ("Landlord") and Jctall Companies, Inc. ("Tenant").
WHEREAS, the original Lease Agreement ("Lease") between Landlord and Tenant was made to be
effective the !st day of August 2015;                                  . ,.
                                                                              ''
WHEREAS, the parties hereto desire to amend the original Lease to amend and restate various provisions
of the Lease;
NOW, THEREFORE, in consideration of the mutual covenants contained herein and other' good and
valuable consideration, the parties hereto agrees that Landlord shall take possession of Tenant's Premises
in order for VRBex Inc. to occupy the Premises for up to 60 months ("VRBex Term"), commencing on
June 1, 2018 ("VRBex Commencement Date") and its expiring on June l, 2023 ("VRBex Expiration").
The provisions of the Lease are added, amended, or deleted as follows:
         I. Section He) Base Rental. All amounts listed in paragraph 1(e) of the Lease are
             suspended/abated from the VERBex Commencement Date through the end of the VRBex Tenn
             and VRBex Expiration.
        2. Section 4 Additional Rent. All rental obligations of Tenant listed in Section 4,ofthe Lease are
             suspended as of the VRBex Commencement Date, through the VERBex Tenn.
        3. Section 5 Payments and Perfonnance. All payment and perfonnance obligations of Tenant
            listed in the Lease are suspended as of the VRBex Commenceme1Jl Date, through the VRBx
            Tenn.                                                                 .' . • • • • 1
        4. Section 19 Tennination Right. The first sentence of Section 19 remains intact, however the
            second sentence of Section 19 is deleted in its entirety.
       5. Section 20 Assignment and Subletting. Section 20(a)-(d) is deleted in its entirety, and restated
            to read as follows:
                 a. "Tenant shall be pennitted to assign or mortgage its Lease or sublet all or any part of
                     the Premises upon prior written notice to Landlord of such assignment, mortgage or
                     sublet."
       6. Section 23 Taxes. All duties of Tenant under Section 23 are suspended from the VRBex
            Commencement Date through the VRBex Tenn and VRBex Expiration
       7. Section 27. Deleted in its entirety.
       8, Section 32. Deleted in its entirety.
       9. Section 33. Deleted in its entirety.


                                      (Signature page to follow)




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                                SIGNATURE PAGE TO AMENDMENT


    LANDLORD:

    2425WL,LLC




    Jtle: _ _ _~ ~ - = - - - - -

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    Date:    ,f/2ll•lf
    TENANT:

    JETALL COMPANIES, INC.


    By:Autho~e

    Title:   f_.,..,,1.,,--1-



    Email: _ _ _ _ _ _ _ _ _ _ __
    Phoue:
             ------------
    Fed Tax ID: _ _ _ _ _ _ _ _ __




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                                   SECOND AMENDMENT
                                                   TO
                                     LEASE AGREEMENT
THIS SECOND AMENDMENT TO LEASE AGREEMENT ("Amendment") is dated the !st day of
February 2019 by and between Galleria 2425 Owner, LLC ("Landlord") and Jetall Companies, Inc.
("Tenant").
WHEREAS, the original Lease Agreement ("Lease") between Landlord and Tenant was made to be
effective the !st day of August 201 S;
WHEREAS, the parties hereto desire to amend the original Lease and First Amendment to the Lease to
amend and restate various provisions of the Lease and First Amendment;
NOW, THEREFORE, in consideration of the mutual covenants contained herein and other good and
valuable consideration, the parties hereto agree to the following:
The provisions of the Lease are added, amended, or deleted as follows:
       1. Section II e) Base Rental. All amounts listed in paragraph 1(e) of the Lease are suspended from
           the Sonder Commencement Date through the end of the Sonder Term.
       2. Section 4 Additional Rent. All payment and performance obligations of Tenant listed in the
          Lease are suspended as of the Sander Commencement Date, through the end of Sander Term.
       3. Section 5 Payments and Perfonnance. All payment and performance obligations of Tenant
          listed in Section 5 of the Lease are suspended as of the Souder Commencement Date, through
          the end of the Sonder Term.                                                              •
       4. Signage and Naming Rights. Tenant is granted absolute and exclusive signage rights on all
          surfaces of the building, parking garage, and the exterior of the property, including exclusive
          naming 1ights. These rights are subject and subordinate to the rights of Stage Stores, Inc. 's in
          their lease agreement. Tenant recognizes that Stage Stores, Inc. possesses building signage
          rights, and any and all rights of Tenant are subordinate to Stage Stores, Inc. 's signage rights.
       5. Section 23 Taxes. All duties of Tenant under Section 23 are suspended from the Sander
          Commencement Date through the Sonder Term.


                                      (Signature page to follow)




                                                                                                         001000
                                   SIGNATURE PAGE TO AMENDMENT


LANDLORD:

Gallel'ia 2425 Owner, I ; ~



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By:                    ·•.,
      Authorized R e p ~

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Date: __                 '\ _ _ _ _ __


TENANT:

JETALL COMPANIES, INC.


By:         ~
      Authoriz~entative

Title:      feC,, I U>I'\




Email: _ _ _ _ _ _ _ _ _ _ __
Phone: _ _ _ _ _ _ _ _ _ _ __

Fed Tax ID: _ _ _ _ _ _ _ _ __




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                                     THIRD AMENDMENT
                                                   TO
                                     LEASE AGREEMENT
THIS THffiD AMENDMENT TO LEASE AGREEMENT ("Amendment") is dated the ist day of
August 2022 by and between Galleria 2425 Owner, LLC ("Landlord") and ]etall Companies, Inc.
("Tenant").
WHEREAS, the original Lease Agreement ("Lease") between Landlord and Tenant was made to be
effective the 1st day of August 2615;
WHEREAS, the parties hereto desire to amend the original Lease, First Amendment to Lease, and Second
Amendment to Lease to amend and restate various provisions of the Lease, First Amendment to Lease and
Second Amendment to Lease;
NOW, THEREFORE, in consideration of the mutual covenants contained herein and other good and
valuable consideration, the parties hereto agree to the following:


        I. 1(c) "Premises" shall mean 19,500 square feet !Ocated on the 11 1• floor at 2425 W. Loop South,
           Houston, TX 77027 (the "Building").
       2. l(e) "Base Renjal" shall mean the schedule attached hereto as Exhibit A.
       3. 20. Notwithstanding the provisions of section 20, the Tenant may sublet the Premises or any
           part thereof without Landlord approval.
       4. 31. Deleted in its entirety.
       5. Exhibit B. Amended to be the 1l th Fioor of the Premises.
       6. Exhibit D. Section 4. Deleted and replaced with:
          "Landlord shall provide Tenant with a Tenant hnptovement Allowance of $100.00 per Ren table
          Square Foot to be used for leasehold Improvements or, at Tenant's sole election, may be used
          to offset Rent that becomes dqe and payable."


                                      (Sign_ature page to follow)




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                              SIGNATURE PAGE TO AMENDMENT


 LANDLORD:

 Galleria 2425 0 ner, LLC




Date: __2(...,__·..,_)_·-=Z-'-.1--
                               _ _ _ _ _ __


TENANT:




By: - - ~ l l . - < ' 1 - - - - - - - - -
    Authoriz

Title:   ~/'1,LJ


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Date,_---l/[LL/_    /_.,,·z_::...."'Z,-=-------
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Email: _ _ _ _ _ _ _ _ _ _ __

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Fed Tax ID: _ _ _ _ _ _ _ _ __




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                            EXHIBIT A


Lease Month   Lease Month     #          Total/Full     Total/Full
    From           To       Months      Monthly Rent   Annual Rent
 08/01/2022   09/31/2023     14            $0.00          $0.00
10/01/2023    09/30/2024     12         $35,750.00     $429,000.00
10/01/2024    09no1202s      12         $36,822.50     $441,870.00
10/01/2025    09/30/2026     12         $37,927.18     $455,126.10
10/01/2026    09/30/2027     12         $39,064.99     $468,779.88
10/01/2027    09/30/2028     12         $40,236.94     $482,843.27
10/01/2028    09/30/2029     12         $41,444.05     $497,328.56
10/01/2029    09/30/2030     12         $42,687.37     $512,248.41
10/01/2030    09/30/2031     12         $43,967.99     $527,615.86
10/01/2031    09/30/2032     12         $45,287.03     $543,444.33




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